            Case: 22-1957      Document: 18     Page: 1   Filed: 12/06/2022


                                      2022-1957

              United States Court of Appeals
                  for the Federal Circuit
                               Q3 NETWORKING LLC,
                                                            Appellant,
                             – v. –
            INTERNATIONAL TRADE COMMISSION,
                                            Appellee,
COMMSCOPE HOLDING COMPANY, INC., COMMSCOPE, INC., ARRIS
U.S. HOLDINGS, INC., RUCKUS WIRELESS, INC., HEWLETT PACKARD
     ENTERPRISE CO., ARUBA NETWORKS LLC, NETGEAR, INC.,
                                            Intervenors.

                     On Appeal from the United States International
                        Trade Commission in No. 337-TA-1227

          NON-CONFIDENTIAL BRIEF FOR APPELLANT

                                              PATRICK J. CONROY
                                              THOMAS W. KENNEDY, JR.
                                              JUSTIN KIMBLE
                                              JONATHAN H. RASTEGAR
                                              NELSON BUMGARDNER CONROY P.C.
                                              2727 North Harwood Street, Suite 250
                                              Dallas, Texas 75201
                                              (214) 446-4950
                                              pat@nelbum.com
                                              bill@nelbum.com
                                              justin@nelbum.com
                                              jon@nelbum.com


                       Counsel for Appellant Q3 Networking LLC
DECEMBER 6, 2022
COUNSEL PRESS, LLC                                                            (888) 277-3259
               Case: 22-1957        Document: 18    Page: 2   Filed: 12/06/2022



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2022-1957
   Short Case Caption Q3 Networking LLC v. ITC
   Filing Party/Entity Q3 Networking LLC



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        12/06/2022                                        /s/ Patrick J. Conroy
  Date: _________________                   Signature:

                                            Name:         Patrick J. Conroy
               Case: 22-1957      Document: 18      Page: 3      Filed: 12/06/2022



FORM 9. Certificate of Interest                                                      Form 9 (p. 2)
                                                                                        July 2020


     1. Represented                   2. Real Party in            3. Parent Corporations
         Entities.                        Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of       Provide the full names of
 all entities represented         all real parties in interest    all parent corporations
 by undersigned counsel in        for the entities. Do not        for the entities and all
 this case.                       list the real parties if        publicly held companies
                                  they are the same as the        that own 10% or more
                                  entities.                       stock in the entities.

                                  ‫܆‬
                                  ✔ None/Not Applicable           ‫܆‬
                                                                  ✔ None/Not Applicable




     Q3 Networking LLC




                                     Additional pages attached
                    Case: 22-1957                      Document: 18                  Page: 4              Filed: 12/06/2022



FORM 9. Certificate of Interest                                                                                                              Form 9 (p. 3)
                                                                                                                                                July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
            None/Not Applicable                                                       Additional pages attached
 Adduci, Mastriani & Schaumberg, LLP (Asha Allam,          Nelson Bumgardner Conroy P.C. (Bobby
Catherine Gault, Daniel Smith, David Hollander, Jr.,    Delafield, Brian Hermann, Hill Brakefield, John
                Joshua Rodriguez.)                                 Murphy, Ryan P. Griffin)

cont. - Adduci, Mastriani & Schaumberg, LLP (Joshua
   Hartman, Hayley Ostrin, Juan Garcia, Michael
                    Doman, Jr.)

Bragalone Olejko P.C. (Christian Snyder, Hunter
   Palmer, Jerry Tice, II, Marcus Benavides)




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
            None/Not Applicable                                                       Additional pages attached
 Q3 Networking LLC v. CommScope Holding                  Q3 Networking LLC v. Netgear,                    Q3 Networking LLC v. Hewlett Packard Enterprise
Co. Inc., et al., C.A. No. 1:20-cv-01263 (D. Del.)                                                            Co., et al., C.A. No. 1:20-cv-01265 (D. Del.)
                                                       Inc., C.A. No. 1:20-cv-01264 (D. Del.)

Hewlett Packard Enterprise Co., et al. v. Q3 Hewlett Packard Enterprise Co., et al. v. Q3
 Networking LLC, IPR2021-00754 (PTAB)                   Networking LLC, IPR2021-00753 (PTAB)




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔         None/Not Applicable                                                       Additional pages attached
                Case: 22-1957               Document: 18              Page: 5         Filed: 12/06/2022




                                           TABLE OF CONTENTS

CERTIFICATE OF INTEREST .................................................................................i
TABLE OF AUTHORITIES ................................................................................... vi
STATEMENT OF RELATED CASES .....................................................................1
STATEMENT OF JURISDICTION .........................................................................1
STATEMENT OF THE ISSUES ON APPEAL .......................................................2
STATEMENT OF THE CASE AND FACTS ..........................................................2
SUMMARY OF THE ARGUMENT ........................................................................4
ARGUMENT .............................................................................................................5
I.       Standard of Review..........................................................................................5
II.      The Commission’s Determination, Copied In Relevant Part from The
         Respondents’ Post-Trial Briefing, Breached the APA Requirement that the
         Agency Provide a Reasoned Explanation for its Action .................................6
III.     The Commission Failed In Its Obligation to Offer A Reasoned Explanation
         for Its Final Determination and to Consider All the Evidence and Arguments
          .......................................................................................................................10
         A.        The Pervasive Nature of the Commission’s Copying of the
                   Respondents’ Trial Briefs Precludes Review on the Merits ...............10
         B.        The Commission, In Relevant Part, Improperly Copied the
                   Respondents’ Brief in its Findings with Respect to the ’677 Patent and
                   Failed to Consider Contrary Evidence. ...............................................10
                   1.        ’677 Patent – Claim 1[pre]: “A method for transmitting
                             information …” .........................................................................11
                   2.        HPE - Claim 1[a]: “Linking” Step ............................................14
                   3.        HPE - Claim 1[b]: “Supplying” Step ........................................16
                   4.        HPE - Claim 1[c]: “Initiating” Step ..........................................17
         C.        The Commission, In Relevant Part, Copied Almost Verbatim the
                   Respondents’ Brief in its Findings of Law and Fact with Respect to
                   the ’853 Patent and Failed to Consider Contrary Evidence. ...............20
                   1.        Application of the Evidence to CommScope Accused Products
                             ...................................................................................................20
                   2.        Infringement Analysis of ’853 Patent, Claim 1 ........................22



                                                               iv
               Case: 22-1957            Document: 18           Page: 6       Filed: 12/06/2022




        D.       The Commission’s Infringement Analysis for the ’677 Patent Was
                 Copied Wholesale from the Respondents’ Briefs. ..............................30
        E.       The Commission’s Infringement Analysis for the ‘305 Patent Was
                 Copied Wholesale from the Respondents’ Briefs. ..............................44
        F.       The Commission’s Infringement Analysis for the ‘853 Patent Was
                 Copied Wholesale from the Respondents’ Briefs. ..............................52
CONCLUSION ........................................................................................................61




                STATEMENT REGARDING CONFIDENTIAL MATERIAL

        Pursuant to the Federal Circuit Rule 28(d)(1)(B), material subject to a
protective order entered by the United States International Trade Commission has
been redacted. Pages 16-18, 20-22, 24, 27-29, 32, 33, 35, 36, 38, 47, 48, 50, and 51
contain confidential business information designated as confidential in the U.S.
International Trade Commission Final Determination and party pleadings at issue in
this appeal.




                                                         v
                Case: 22-1957             Document: 18            Page: 7        Filed: 12/06/2022




                                      TABLE OF AUTHORITIES
                                                                                                              Page(s)

Cases
Arctic Cat Inc. v. GEP Power Prods.
   919 F.3d 1320 (Fed. Cir. 2019) .......................................................................... 11
Bright v. Westmoreland Cnty.,
   380 F.3d 729 (3d Cir. 2004) ................................................................................. 7

Crocs, Inc. v. Int’l Trade Comm’n,
  598 F.3d 1294 (Fed. Cir. 2010) ............................................................................ 6
Dep’t of Homeland Sec. v. Regents of the Univ. of California,
  140 S. Ct. 1891 (2020) ...................................................................................... 2, 5
Department of Commerce v. New York,
  139 S. Ct. 2551 (2019) ...................................................................................... 6, 8

DiLeo v. Ernst & Young,
   901 F.2d 624 (7th Cir. 1990) ................................................................................ 8

George v. Bay Area Rapid Transit,
  577 F.3d 1005 (9th Cir. 2009) .............................................................................. 6

Greater Bos. Television Corp. v. FCC,
  444 F.2d 841 (D.C. Cir. 1970) .............................................................................. 9
Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.
  Co.,
  463 U.S. 29 (1983) ................................................................................................ 9
Silver v. Exec. Car Leasing Long-Term Disability Plan,
    466 F.3d 727 (9th Cir. 2006) ................................................................................ 7

Statutes

5 U.S.C. § 706(2)(A).................................................................................................. 5

19 U.S.C. § 1337 .................................................................................................... 1, 2
19 U.S.C. § 1337(c) ................................................................................................... 1

                                                           vi
                Case: 22-1957           Document: 18           Page: 8        Filed: 12/06/2022




28 U.S.C. § 1295(a)(6)...............................................................................................1




                                                         vii
           Case: 22-1957        Document: 18   Page: 9   Filed: 12/06/2022




                     STATEMENT OF RELATED CASES
      No other appeal in or from the proceeding below was previously before this

or any other appellate court.

                       STATEMENT OF JURISDICTION

      This Court has jurisdiction over this appeal under 28 U.S.C. § 1295(a)(6) and

19 U.S.C. § 1337(c). The United States International Trade Commission issued its

final determination in Investigation No. 337-TA-1227, styled Certain Routers,

Access Points, Controllers, Network Management Devices, Other Networking

Products, and Hardware and Software Components Thereof (Inv. No. 337-TA-1227)

(the “1227 Investigation”)        See Appx660 at EDIS Doc. No. 758104. The

Commission conducted its investigation pursuant to section 337 of the Tariff Act of

1930, as amended, 19 U.S.C. § 1337. Q3 Networking LLC (“Q3”) timely noticed

its appeal on June 28, 2022. Dkt. No. 1.

                                  INTRODUCTION

      The Commission’s core infringement and technical domestic industry

“findings” of law and fact, with respect to each of the three patents at issue in the

1227 Investigation, were copied almost verbatim from the Respondents’ briefs in all

material respects. Those findings formed the basis for the Commission’s Final

Determination of no violation. The Commission’s copied findings, however, do not

show independent analysis by the agency, because they largely duplicate – almost



                                           1
          Case: 22-1957     Document: 18     Page: 10   Filed: 12/06/2022




word for word – the Respondents’ briefs. The Commission’s Final Determination

of no violation was therefore arbitrary and capricious because the agency failed to

“provide a reasoned explanation for its action.” Dep’t of Homeland Sec. v. Regents

of the Univ. of California, 140 S. Ct. 1891, 1913 (2020). The Commission’s Final

Determination of no violation should therefore be vacated and remanded.

                STATEMENT OF THE ISSUES ON APPEAL

      1. Whether the Commission’s Final Determination of no violation was

arbitrary and capricious and not in accordance with law when, in relevant part, it

copied nearly verbatim the findings of fact and law proposed by the Respondents in

their post-hearing briefing before the Administrative Law Judge (“ALJ”), without

offering independent agency analysis or reasoning.

      2. Whether the Commission failed to consider key aspects of the problem in

its Final Determination when it failed to recognize or discuss contrary facts and

arguments adduced at the evidentiary hearing and offered by Q3 with respect to

infringement and technical domestic industry as to the ’853, ’305 and ’677 patents.

                 STATEMENT OF THE CASE AND FACTS

      On October 28, 2020, the Commission instituted the 1227 Investigation under

Section 337 of the Tariff Act of 1930, as amended, 19 U.S.C. 1337, based on a

complaint filed by Q3 Networking LLC of Frisco, Texas (“Complainant” or “Q3”).

Appx12544-12545. The complaint alleged a violation of Section 337 in the



                                         2
             Case: 22-1957      Document: 18   Page: 11   Filed: 12/06/2022




importation into the United States, the sale for importation, or the sale within the

United States after importation of certain routers, access points, controllers, network

management devices, other networking products, and hardware and software

components thereof by reason of infringement of certain claims of U.S. Patent Nos.

7,609,677 (“the ’677 patent”) Appx609-617; 7,895,305 (“the ’305 patent”)

Appx601-608; 8,797,853 (“the ’853 patent”) Appx592-600; and 7,457,627 (“the

’627 patent”) Appx1761-1774. The complaint also alleged the existence of a

domestic industry. The notice of investigation named as respondents: CommScope

Holding Company, Inc. of Hickory, North Carolina; CommScope, Inc. of Hickory,

North Carolina; Arris US Holdings, Inc. of Suwanee, Georgia; Ruckus Wireless, Inc.

of Sunnyvale, California; Hewlett Packard Enterprise Co. of Palo Alto, California;

Aruba Networks, Inc. of Santa Clara, California; and NETGEAR, Inc. of San Jose,

California     (collectively,   “Respondents”).   Appx12545.      The    Commission

subsequently permitted Q3 to amend the complaint and notice of investigation to

correct the corporate name of respondent Aruba Networks, Inc. to respondent Aruba

Networks, LLC. Appx19142-19145 (Order 15); unreviewed by Notice, Appx19216-

19218.

      On December 7, 2021, the ALJ issued the final Initial Determination (“ID”)

in this investigation, holding that no violation of section 337 had occurred.

Appx269-591. The ID found that the accused products do not infringe the asserted



                                           3
           Case: 22-1957      Document: 18    Page: 12    Filed: 12/06/2022




claims of any of the asserted patents. The ID also found that the technical prong of

the domestic industry requirement had not been satisfied with respect to the ’853,

’305, and ’677 patents. The ID further found that it had not been shown that the

asserted claims of the ’853, ’305, and ’677 patents were invalid. The ID also found

that the domestic industry requirement (both technical and economic prongs) had

not been satisfied with respect to the ’853, ’305, and ’677 patents.

      Q3 petitioned for review of the ID. Appx40139-40247. Q3 in its Petition for

Review repeatedly warned the Commission that the ID had improperly copied the

Respondents’ briefs. See Appx40189; Appx40220; Appx40231. The Commission

disregarded Complainant’s argument in its Final Determination.

      The Commission on May 3, 2022, determined to review the ID in order to

take no position with respect to the ID’s findings with respect to Q3’s satisfaction of

the economic prong of the domestic industry requirement, and to correct certain non-

substantive citation errors in the final ID. Appx41140-41142; Appx41144. The

Commission adopted the remainder of the final ID as its own without further

modification whereupon it became the Final Determination of the Commission (the

“Final Determination”). Id.

                       SUMMARY OF THE ARGUMENT

      The Commission, in relevant part, adopted the Initial Determination (“ID”) of

the Administrative Law Judge (“ALJ”) without modification, whereupon the ID



                                          4
           Case: 22-1957     Document: 18     Page: 13   Filed: 12/06/2022




became the Final Determination of the Commission. The Commission’s “findings”

of law and fact with respect to infringement and the technical domestic industry

requirement, for each of the three patents at issue, were copied largely verbatim from

the Respondents’ post-trial briefs. The Commission’s copied findings do not reflect

independent analysis by the agency and are therefore arbitrary and capricious

because the agency failed to “provide a reasoned explanation for its action.” Dep’t

of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1913 (2020).

The Commission’s Final Determination should therefore be vacated and remanded

to the Commission for independent analysis.

                                   ARGUMENT

I.   Standard of Review

     Pursuant to the Administrative Procedure Act, the Federal Circuit “shall . .

. hold unlawful and set aside agency action, findings, and conclusions found to be .

. . arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law.” 5 U.S.C. § 706(2)(A). The Court, in determining whether the Commission’s

determination was arbitrary and capricious, must “address only whether the agency

complied with the procedural requirement that it provide a reasoned explanation for

its action.” Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct.

1891, 1913 (2020). An agency’s determination is also arbitrary and capricious if it

“failed to consider an important aspect of the problem” and offers “an explanation



                                          5
           Case: 22-1957     Document: 18     Page: 14   Filed: 12/06/2022




for its decision that runs counter to the evidence before the agency.” George v. Bay

Area Rapid Transit, 577 F.3d 1005, 1010 (9th Cir. 2009).

      The Court reviews the Commission’s legal determinations de novo and its

factual findings for substantial evidence. Crocs, Inc. v. Int’l Trade Comm’n, 598

F.3d 1294, 1302 (Fed. Cir. 2010).

II.   The Commission’s Determination, Copied In Relevant Part from The
      Respondents’ Post-Trial Briefing, Breached the APA Requirement that
      the Agency Provide a Reasoned Explanation for its Action
      The Commission’s Final Determination did not satisfy the agency’s obligation

under the Administrative Procedure Act that the agency provide a “reasoned

explanation for its action” when that determination, in relevant part, was copied

nearly verbatim from the post-trial briefs of the Respondents. As the Supreme Court

has explained, “[t]he reasoned explanation requirement of administrative law is

meant to ensure that agencies offer genuine justifications for important decisions,

reasons that can be scrutinized by courts and the interested public.” Department of

Commerce v. New York, 139 S. Ct. 2551, 2576 (2019). The APA requires that “a

finding that the actual choice made was not ‘arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.’ To make this finding the court

must consider whether the decision was based on a consideration of the relevant

factors . . . . ” (emphasis added)). Citizens to Pres. Overton Park, 401 U.S. 402, 416

(1971).



                                          6
           Case: 22-1957     Document: 18     Page: 15    Filed: 12/06/2022




     Courts of Appeal in similar circumstances have found that such verbatim

copying by a district court can constitute clear error, justifying remand and further

proceedings. That precedent is particularly relevant here, where the Commission is

acting as a court, rendering findings of fact and law. As the Third Circuit has

explained, “[j]udicial opinions are the core work-product of judges. They are much

more than findings of fact and conclusions of law; they constitute the logical and

analytical explanations of why a judge arrived at a specific decision. They are

tangible proof to the litigants that the judge actively wrestled with their claims and

arguments and made a scholarly decision based on his or her own reason and logic.

When a court adopts a party’s proposed opinion as its own, the court vitiates the vital

purposes served by judicial opinions.” Bright v. Westmoreland Cnty., 380 F.3d 729,

732 (3d Cir. 2004). Where, as here, the Commission simply copies one side’s briefs

and adopts its arguments as the agency’s findings, it risks creating the appearance

that the Commission is a fair and impartial arbiter.

     At a minimum, courts of appeal have applied heighted scrutiny to opinions that

copy the findings of law and fact offered by one of the litigants. See Silver v. Exec.

Car Leasing Long-Term Disability Plan, 466 F.3d 727, 733 (9th Cir. 2006) (applying

the clearly erroneous standard while noting that “the wholesale and verbatim

adoption of one party’s findings requires us to review the record and the district

court's opinion more thoroughly”).



                                          7
          Case: 22-1957     Document: 18     Page: 16    Filed: 12/06/2022




      The Commission’s copying of the Respondents’ opening brief is inconsistent

with agency’s obligation to provide a reasoned explanation for its conclusions. It

cannot be that a federal investigative agency can discharge its obligations under the

Administrative Procedure Act by replicating, almost word for word, without more,

the written arguments submitted by an interested party as the final determination of

the agency. As the Supreme Court has explained, “[t]he reasoned explanation

requirement of administrative law is meant to ensure that agencies offer genuine

justifications for important decisions, reasons that can be scrutinized by courts and

the interested public.” Department of Commerce v. New York, 139 S. Ct. 2551, 2576

(2019).

      Public trust in the government’s impartiality will be undermined if its

administrative agencies are permitted to copy almost verbatim an advocate’s

arguments as the opinion of the agency. A Commission Final Determination serves

a very different function from the brief of an advocate. As Judge Easterbrook,

writing for the Seventh Circuit, explained: “[a] district judge could not photocopy a

lawyer’s brief and issue it as an opinion. Briefs are argumentative, partisan

submissions. Judges should evaluate briefs and produce a neutral conclusion, not

repeat an advocate’s oratory.” DiLeo v. Ernst & Young, 901 F.2d 624 (7th Cir. 1990).

Yet that is precisely what the Commission did here. Such copying undermines the

credibility of the agency as a neutral and impartial arbiter. The need for the public



                                         8
          Case: 22-1957     Document: 18     Page: 17    Filed: 12/06/2022




to have "confidence in the process as well as the judgments of its decision-makers"

is not less significant because the decision-maker is an administrative agency not a

district court. Greater Bos. Television Corp. v. FCC, 444 F.2d 841, 852 (D.C. Cir.

1970).

      The Commission, after copying almost verbatim the Respondents’ post-

hearing briefing, also failed to discuss the arguments and evidence adduced at the

evidentiary hearing by Q3 in response to the Respondents’ “Common/Fundamental

Issues.” therefore failed to “examine[s] the relevant data and articulate[s] a

satisfactory explanation for its action including a rational connection between the

facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quotation omitted).

      The Court has a clear obligation, under these extraordinary circumstances, to

intervene, in the interest of fundamental fairness, to vacate the Final Determination

and remand to the Commission to conduct an independent analysis of the law and

facts of the 1227 Investigation. Where the Court “becomes aware, especially from

a combination of danger signals, that the agency has not really taken a "hard look"

at the salient problems, and has not genuinely engaged in reasoned decision-

making,” it must exercise judicial supervision. Greater Bos. Television Corp., 444

F.2d at 851.




                                         9
           Case: 22-1957     Document: 18     Page: 18   Filed: 12/06/2022




III. The Commission Failed In Its Obligation to Offer A Reasoned
     Explanation for Its Final Determination and to Consider All the
     Evidence and Arguments

      A.     The Pervasive Nature of the Commission’s Copying of the
             Respondents’ Trial Briefs Precludes Review on the Merits

      The scale and scope of the Commission’s near-verbatim copying of the

Respondents’ trial briefing into the agency’s Final Determination was so pervasive

as to effectively preclude review by this Court on the merits. There is little text in

the Final Determination’s findings of law or fact that originated with the

Commission – the relevant “analysis” was mostly cut and pasted from the

Respondents’ briefing. The discussion below provides representative examples of

the Commission’s copying with respect to one accused product with respect to the

’853 patent and one accused product with respect to the ’677 accused product. A

more comprehensive tabular key to the Commission’s copying of the Respondents’

briefing as it relates to infringement follows the examples.

      B.     The Commission, In Relevant Part, Improperly Copied the
             Respondents’ Brief in its Findings with Respect to the ’677 Patent
             and Failed to Consider Contrary Evidence.

      The discussion below demonstrates both the materiality and pervasiveness of

the Commission’s improper copying through an exemplary claim, Claim 1 of the

‘677 patent. The Commission’s Opinion on infringement for the ’677 patent is

largely copied directly from Respondents’ briefing with only minor stylistic

changes. Appx478-538 (ID); see also Table at Section D below. By copying the


                                         10
           Case: 22-1957       Document: 18    Page: 19   Filed: 12/06/2022




Respondents’ briefing, the Commission ignored the Complainant’s reply briefing

and all the points made therein – echoing the Respondents, who could not address

Complainant’s points because of the simultaneous exchange of reply briefs. The

Commission Opinion so closely duplicated the Respondents’ briefing that it includes

their footnotes and figures.

             1.      ’677 Patent – Claim 1[pre]: “A method for transmitting
                     information …”
      The Respondents never argued that the preamble limits claim 1 of the ’677

patent. Consequently, the Commission also did not analyze whether this preamble

limits the claim. Instead, the Commission – replicating the Respondents -- skipped

this necessary step and copied largely verbatim the Respondents’ arguments that

Complainant had not shown certain aspects of the preamble in the accused products.

The Commission, for example, copied nearly verbatim the Respondents’ claim that

Complainant’s “allegations require unaccused third-party devices to perform one or

more steps of the ‘677 patent’s asserted claim 1. Those products are outside the

notice of investigation, and the accused products themselves therefore cannot

infringe.” Appx481-482 (ID); see table below comparing Resp. Post-Hr’g Br. at

Appx39200.        The problem with both this “analysis” is that this Court “has

recognized that as a general rule preamble language is not treated as limiting.” Arctic

Cat Inc. v. GEP Power Prods. 919 F.3d 1320, 1327 (Fed. Cir. 2019). Complainant’s

briefing pointed out that the parties did not seek to construe the preamble.


                                          11
          Case: 22-1957     Document: 18     Page: 20    Filed: 12/06/2022




Appx39366 (Q3 Post-Hr’g Br.). The Commission, however, uncritically replicated

the Respondents’ error and ignored Complainant’s legal argument.

      In the following excerpt from the preamble section, the few differences

between the Respondents’ briefing and the Commission’s Final Determination are

underlined and bolded in the table below:

 RESPONDENTS’ POST-HEARING BRIEF,            FINAL DETERMINATION, APPX481-482
                     APPX39200
   First, Q3’s allegations require             First, complainant’s allegations
unaccused third party devices to            require unaccused third-party devices
perform one or more steps of the ’677       to perform one or more steps of the
Patent’s asserted claim 1. JX-0001.         ‘677 patent’s asserted claim 1. Those
Those products are outside the notice       products are outside the notice of
of investigation, and the accused           investigation, and the accused products
products themselves therefore cannot        themselves therefore cannot infringe.
infringe. Dr. Madisetti responds by         Dr. Madisetti opines that “HPE’s
opining that “HPE’s corporate               corporate witnesses also supplied
witnesses also supplied testimony           testimony supporting my position that
supporting my position that the Aruba       the Aruba access points themselves
access points themselves perform the        perform the method of claim 1 without
method of claim 1 without relying on        relying on the clients, i.e., the
the clients, i.e., the communicating        communicating devices.” See CX-
devices.” Q/A 319. This is incorrect—       3846C (Madisetti WS) at Q/A 319.
the cited testimony just states that        This is wrong. The cited testimony just
Client Match runs on certain HPE            states that Client Match runs on certain
accused products and not on third-party     HPE accused products and not on
client devices. That does not mean that     third-party client devices. That does
those third-party client devices are not    not mean that those third-party client
necessary to perform the claimed            devices are not necessary to perform
limitation—to the contrary, the third-      the claimed limitation. To the contrary,
party devices (“communicating               the third-party devices
devices”) are expressly recited in the      (“communicating devices”) are
claim.                                      expressly recited in the claim.




                                        12
          Case: 22-1957     Document: 18      Page: 21   Filed: 12/06/2022




      This excerpt is merely exemplary. The entirety of the infringement section in

the Final Determination with respect to the ’677 patent was similarly copied almost

verbatim from Respondents’ briefing with no substantive changes. The table shown

below in Section D correlates the Final Determination with the Respondents’ post-

trial briefing to show the copying in the infringement sections. The Commission –

like the Respondents – ignored the Complainant’s showing that “HPE access points

and/or controllers themselves perform the method of claim 1” in favor of a

conclusory reading of third-party devices into the claim. Appx39367. Complainant

demonstrated that the access points themselves met each limitation, never relying on

any third-party devices such as a laptop or phone as performing any of the claimed

steps. See, e.g., Appx39765 (Q3 Reply Post-Hr’g Br.) (“Claim 1 recites ‘linking …

at least two communicating devices.’ For HPE and NETGEAR, the accused products

(e.g., the access points) perform that linking step, not the communicating devices,

such as laptops and phones.”). None of this is discussed in the Respondents’ briefing

(or the Final Determination). The Commission also ignored Complainant’s showing

that, even if the claims were incorrectly read to require “communicating devices,”

those communicating devices are used by HPE when HPE tests the accused

products, thereby directly infringing the claims. Appx39393-39394.

      The Commission’s copying of Respondents briefing with respect to this claim

term – and failure to acknowledge let alone discuss Complainant’s factual showings



                                         13
           Case: 22-1957      Document: 18     Page: 22    Filed: 12/06/2022




that contradicted the Respondents’ mischaracterization of the facts—was highly

material because it was a basis for the agency’s finding of non-infringement with

respect to this claim term.

             2.     HPE - Claim 1[a]: “Linking” Step

      The Commission also largely copied Respondents’ briefing for its entire

discussion of the claimed “linking” step of limitation 1[a] of the ’677 patent.

Exemplary copied language from the Commission’s Final Determination is shown

in the table below. Again, the de minimis differences have been underlined and

bolded:

  RESPONDENTS’ POST-HEARING BRIEF,              FINAL DETERMINATION, APPX483
                    APPX39201
    Q3 claims that the step of linking          Complainant argues that the step
 two communicating devices (e.g., a          of linking two communicating devices
 phone and laptop) for transmission of       (e.g., a phone and laptop) for
 information is met by merely providing      transmission of information is met by
 the connections via the interlinking of     merely providing the connections via
 the base stations in a base station         the interlinking of the base stations in a
 network. In support, Q3 relies on one       base station network. In support,
 high-level figure in an HPE manual          complainant relies on one high-level
 showing a phone and a laptop                figure in an HPE manual showing a
 individually connected to a network.        phone and a laptop individually
 While the HPE products can be used to       connected to a network. While the HPE
 allow third-party devices to connect to     products can be used to allow third-
 a network, that does not necessarily        party devices to connect to a network,
 mean there is any overall link between      that does not necessarily mean there is
 the identified phone and the laptop for     any overall link between the identified
 “transmission of information.” Dr.          phone and the laptop for “transmission
 Madisetti has not shown an overall link     of information.” Dr. Madisetti has not
 between two third-party devices and, as     shown an overall link between two
 Dr. Lin testified, the figure alone does    third-party devices and, as Dr. Lin
 not show infringement of this method        testified, the figure alone does not


                                        14
          Case: 22-1957     Document: 18     Page: 23   Filed: 12/06/2022




 claim limitation. JX-0001 (’677 Patent)   show infringement of this method
 at claim 1 (“CSI is supplied for an       claim limitation. See JX-0001 (‘677
 overall link between the at least two     Patent) at claim 1 (“CSI26 is supplied
 communicating devices.”); Tr. (B. Lin)    for an overall link between the at least
 571:5-14; RX-1196C at Q/A 68-70.          two communicating devices.”); Lin Tr.
                                           571; RX- 1196C (Lin RWS) at Q/A
                                           68-70.

      As with its analysis of the preamble, the Commission’s Final Determination

with respect to the “linking” term is arbitrary and capricious because it failed to

consider important aspects of the problem and offer an explanation for its decision

that runs counter to the evidence before the agency. As argued in Complainant’s

briefing, the evidence before the Commission should have ended any inquiry into

the common-sense answer of whether the Accused Products operate to link

communicating devices. Appx39370-39371; Appx39765. As Complainant

explained and the evidence showed, the purpose of the access points is to provide

internet connections to end-user devices such as laptops and smartphones;

accordingly, the access point must provide a link between those communicating

devices. Appx39370-39371.

      The Commission ignored this evidence and argument. The Commission’s

Final Determination – replicating the Respondents — instead focused on copying

Respondents’ (incorrect) argument that this term requires an “overall link.”

Appx483 (ID). The Commission ignored Q3’s explanation that limitation 1[a] only

requires “linking the at least two communicating devices …”, it does not recite that



                                        15
           CONFIDENTIAL
           Case: 22-1957       MATERIAL
                         Document: 18 Page: 24 REDACTED
                                                Filed: 12/06/2022




the linking of the devices must create an “overall link.” Appx39777.                                      The

Commission did not address that point; instead, it copied Respondents’ inapposite

reference to claim 1[b]. See Appx483 (ID) (citing limitation 1[b] (instead of 1[a]) as

follows: “CSI is supplied for an overall link between the at least two communicating

devices”) (footnote omitted).

             3.     HPE - Claim 1[b]: “Supplying” Step

      The Commission also improperly copied Respondents’ briefing almost

verbatim for its entire discussion of the claimed “supplying” step of limitation 1[b]

of the ’677 patent. Exemplary copied language from the Commission’s Final

Determination is shown in the table below. There are no differences other than a

citation format change and an updating of the numbers for the footnotes.

  RESPONDENTS’ POST-HEARING BRIEF,                             ALJ’S ID, APPX485
               APPX39202-39203
    Rather than use the originally-                     Rather than use the originally-
 accused Subject to ITC PO                           accused Subject to ITC PO
 transmitted by a client device, the                 transmitted by a client device, the
 accused APs measure Subject to ITC PO               accused APs measure Subject to ITC PO


       .17 See, e.g., CX-0473C.0259-                       .28 See, e.g., CX-0473C.0259-
 0261 (Interrogatory No. 68); RX-                    0261 (Interrogatory No. 68); RX-
 1198C.0012 (Dr. Balay) at Q/A 67-69.                1198C.0012 (Dr. Balay) at Q/A 67-69.
 For Campus APs, the AP then    Subject to ITC PO
                                                     For Campus APs, the AP then      Subject to ITC PO




Subject to ITC PO                                    Subject to ITC PO



                    The controller                                       The controller
Subject to ITC PO                                    Subject to ITC PO




                                                    16
                        CONFIDENTIAL
                        Case: 22-1957        MATERIAL
                                      Document: 18 Page: 25 REDACTED
                                                             Filed: 12/06/2022




  Subject to ITC PO                                    Subject to ITC PO
        RX-1196C at Q/A 33. In no                See RX-1196C (Lin RWS) at
   instance is the accused channel-specific Q/A 33. In no instance is the accused
   information supplied from the claimed channel-specific information supplied
   radio link.18 Id.                        from the claimed radio link.29 Id.
                                               ***Note: while the footnote
                                            numbers are different, the ID also
                                            copies the footnotes themselves from
                                            Respondents’ briefing.

          The Commission simply ignored, without any discussion, Q3’s showing that the
Subject to ITC PO
                    is “channel specific information, at least from one channel for a radio link

between one of the communicating devices and at least one base station.” For

example, Complainant explained that Subject to ITC PO

                      . Appx39772. As the name shows, that information cannot originate at the

access point, instead it is the information relating to the Subject to ITC PO

the access point (the claimed base station) from the client device (the claimed

communicating device). Id; see also Appx39374; Appx39378-39388. Accordingly,

that information is necessarily from the claimed radio link. See, e.g., Appx39772.

The Commission did not acknowledge, let alone discuss, this evidence.

                          4.    HPE - Claim 1[c]: “Initiating” Step

          The Commission also improperly copied Respondents’ briefing largely verbatim

for its entire discussion of the claimed “initiating” step of limitation 1[c] of the ’677

patent. Exemplary copied language from the Commission’s Final Determination is




                                                     17
          CONFIDENTIAL
          Case: 22-1957       MATERIAL
                        Document: 18 Page: 26 REDACTED
                                               Filed: 12/06/2022




shown in the table below, with the minor differences underlined and in bold. There

are only de minimis differences between the ID and the Respondents’ briefing:

         RESPONDENTS’ POST-                                   ALJ’s ID, Appx498
      HEARING BRIEF, APPX39214
   Second, and critically, the HPE                     Second, the HPE accused products
accused products do not initiate a                  do not initiate a changeover or
changeover or handover because      Subject to
                                                    handover because Subject to ITC PO
Subject to ITC PO                                   Subject to ITC PO



         . When Client Match sends           Sub
                                                              When Client Match   Subject to ITC PO



Subject to ITC PO                                   Subject to ITC PO

             it is always the client that
decides whether to take any action
based on the received recommendation.
RX-1196C (Lin WS) at Q/A 22-23, 30,                 See RX-1196C (Lin RWS) at Q/A 22-
148, 153, 155, 170; RX-1198C (Balay                 23, 30, 148, 153, 155, 170; RX-1198C
WS) at Q/A 59-62; RX-1199C (Gielty                  (Balay WS) at Q/A 59-62; RX-1199C
WS) at Q/A 28-30; Tr. (Gielty) at                   (Gielty WS) at Q/A 28-30; Gielty Tr.
322:25-323:7. As such, at the time a                322-323. Thus, at the time a HPE
HPE accused AP sends Subject to ITC PO              accused AP sends Subject to ITC PO
Subject to ITC PO




This is because Subject to ITC PO                   This is because Subject to ITC PO

In fact, the 802.11v standard expressly             In fact, the 802.11v standard expressly
states that the client must be able to              states that the client must be able to
reject any 802.11v request.26                       reject any 802.11v request.36
                                                        ***Note: while the footnote number
                                                    is different, the ID also copies the
                                                    footnote itself from Respondents’
                                                    briefing.




                                                   18
           Case: 22-1957      Document: 18    Page: 27    Filed: 12/06/2022




      The copied briefing in the table above relates to the parties’ dispute as to what

the term “initiating at least one of a changeover…and a handover” means.

Appx39388 (citing CX-3846C (Madisetti WS) at Q/A 368). The dispute concerns

whether to explain the meaning of the word “initiating.” Id. Complainant explains

“initiating” by contending that this term means “causing, or facilitating, the

beginning of at least a changeover or a handover” in accordance with its plain

dictionary definition. Id. Respondents proposed a construction that did not define

“initiating.” Appx470 (ID).

      While Respondents did not offer their own definition of initiating,

Respondents somehow interpreted “initiating” to not be satisfied if the client device,

instead of the accused products, is the ultimate decision maker of whether a handover

to new access point occurs. Appx39388. This conflates initiating with approving or

authorizing. Id.

      Ignoring the pages of source code and documentary evidence offered by Q3

that show otherwise, the Commission’s Final Determination parroted Respondents’

argument, holding that “the client (‘communicating device’) controls whether to

initiate a handover or changeover, not the accused HPE products.” Appx498 (ID)

(copying Resp. Post-Hr’g Br. at Appx39214). This holding confuses the fact that the

client may ultimately approve a handover with the fact that the access point initiates

the handover. See, e.g., Appx39780. To reach that finding, the Commission ignored



                                         19
            CONFIDENTIAL
           Case: 22-1957        MATERIAL
                         Document: 18 Page: 28 REDACTED
                                                Filed: 12/06/2022




the documents, testimony, and source code in evidence. For example, the

Commission ignored CX-0104.0565, which states that the ClientMatch software

running on the accused access points “moves the client to an AP when a better radio

match is found.” see also Appx39390 (citing CX-3846C (Madisetti WS) at Q/A

340). As an example of the code that the Commission ignored, the infringing code

used by Subject to ITC PO

                                                       . See, e.g., Appx39781. Thus,

the client (e.g., a mobile phone) does not “control whether to initiate a handover” as

the Commission held; the code instead shows the access point initiating handovers.

      C.     The Commission, In Relevant Part, Copied Almost Verbatim the
             Respondents’ Brief in its Findings of Law and Fact with Respect
             to the ’853 Patent and Failed to Consider Contrary Evidence.

             1.     Application of the Evidence to CommScope Accused
                    Products

      In its analysis of the ’853 patent regarding the application of Q3’s testing

evidence to CommScope’s Accused Products, the Commission copied nearly

verbatim Respondents’ opening brief. The minor, immaterial differences between

the Respondents’ briefing and the Commission’s Final Determination are presented

in bold underline in the tables that follow. The remainder of the text is identical:

 RESPONDENTS’ POST-HEARING BRIEF,          FINAL DETERMINATION, APPX349
                  APPX39062
    Q3’s analysis collectively refers to     Complainant’s analysis
 the accused CommScope devices           collectively refers to the accused
 (which includes 30 APs and a            CommScope devices (which includes


                                          20
          CONFIDENTIAL
          Case: 22-1957        MATERIAL
                        Document: 18 Page: 29 REDACTED
                                               Filed: 12/06/2022




controller) as “Ruckus APs.” CX-           30 APs and a controller) as “Ruckus
3846C (Madisetti WS) at Q/A 52. Q3’s       APs.” See CX-3846C (Madisetti WS)
purported evidence may not be              at Q/A 52. Complainant’s alleged
representative of the range of accused     evidence may not be representative of
Ruckus products at least because much      the range of accused Ruckus products
of the accused functionality in the        at least because much of the accused
accused CommScope products     Subje
                                           functionality in the accused
Subject to ITC PO                          CommScope products Subject to ITC PO
                           . RDX-
0001C.0136 (JX-0175C (Jou Tr.) at                        . See RDX-0001C.0136
80:1-9). The way in which Subject to ITC PO (JX-0175C (Jou Dep. Tr.) at 80). The
Subject to ITC PO                           way in which Subject to ITC PO


may vary substantially across the
accused products. As such, Q3 has not      may vary substantially across the
met its burden to show that the cited      accused products. Consequently,
evidence is representative of the range    complainant has not shown that the
of accused Ruckus APs. RX-1195C            cited evidence is representative of the
(Acampora WS) at Q/A 92-94.                range of accused Ruckus APs. See RX-
                                           1195C (Acampora WS) at Q/A 92-94.
   Q3 references Subject to ITC PO
                                               Complainant references Subject to ITC PO
                              as           Subject to ITC PO
purported evidence of infringement of
the asserted ’853 Patent claims. CX-       as alleged evidence of infringement of
3846C at Q/A 60 (citing CX-0684C),         the asserted ‘853 patent claims. See
68, 70, 73, 84, 86. However, there is no   CX-3846C (Madisetti WS) at Q/A 60
evidence presented from which a            (citing CX-0684C), 68, 70, 73, 84, 86.
POSITA can determine whether the           However, there is no evidence
purported         fairly represents the
          Subject to ITC PO
                                           presented from which a person of
other accused Ruckus APs that are          ordinary skill can determine whether
purportedly represented. RX-1195C at       the        fairly represents the other
                                               Subject to ITC PO



Q/A 96.                                    accused Ruckus APs that are allegedly
                                           represented. See RX-1195C (Acampora
                                           WS) at Q/A 96.

     In copying nearly verbatim the Respondents’ opening post-trial briefs, the

Commission ignored the evidence subsequently developed at the hearing, even


                                          21
           CONFIDENTIAL
           Case: 22-1957        MATERIAL
                         Document: 18 Page: 30 REDACTED
                                                Filed: 12/06/2022




copying Respondents’ assertion that “there is no evidence presented from which a

person of ordinary skill can determine whether the   Subject to ITC PO
                                                                         [of one particular Ruckus

Access Point] fairly represents the other accused Ruckus APs.” Appx349 (ID);

Appx39062 (Resp. Post-Hr’g Br.). This conclusion is premised on Respondents’

assertion that “[t]he way in which Subject to ITC PO

                                                                                        may vary

substantially across the accused products.” Id. (emphasis added). At the hearing,

Respondents’ expert admitted that this statement “implies that CommScope uses

Subject to ITC PO

                  identified by CommScope’s corporate representative for the Ruckus

APs. Appx37544-37545 at 490:20-492:22. Q3 pointed to this evidence in its

rebuttal brief. Appx39836. None of this is mentioned in the Final Determination/ID.

Because the Commission simply copied Respondents’ post-trial opening brief into

its Final Determination, without further analysis, the Commission – like the

Respondents – ignored the arguments and evidence adduced at the evidentiary

hearing and argued by Q3 in the post-hearing briefing.

             2.     Infringement Analysis of ’853 Patent, Claim 1

      The Commission’s almost verbatim copying of Respondent’s post hearing

brief continued throughout its infringement analysis for the ’853 patent. The

Commission copied respondents’ post hearing briefing almost verbatim, including



                                         22
             Case: 22-1957    Document: 18      Page: 31   Filed: 12/06/2022




each section heading used by the Respondents, including “Fundamental Issue 1,”

“2” and “3,” which the Commission recast as “Common Issue 1,” “2,” and “3,”

respectively.      Representative examples of the Commission’s copying of

Respondents’ infringement analysis with respect to the’853 patent are shown below,

with the few differences in bold.

                       Common/Fundamental Issue 1 excerpt:

    RESPONDENTS’ POST-HEARING BRIEF,            FINAL DETERMINATION, APPX322
                      APPX39032
       It is simply incorrect to draw the        It is incorrect to draw the boundaries
    boundaries of the alleged                 of the alleged communication network
    communication network around only1        around only the WLAN, as
    the WLAN, as Q3 has done. That is         complainant has done. That is because
    because the accused access points are     the accused access points are connected
    connected to a broader communication      to a broader communication network of
    network of internal transmission nodes,   internal transmission nodes, as required
    as required by the ’853 Patent and        by the ‘853 patent and claims. This
    claims. This would be the                 would be the communication network
    communication network shown in blue       shown in blue in RDX-0001C.0100.
    in RDX- 0001C.0100. But Q3 ignores        Complainant disregards this true
    this true “communication network”—        “communication network,” the one
    the one existing beyond the access        existing beyond the access node and to
    node and to which the access node         which the access node provides access.
    provides access. But, critically, Q3 is   Instead, complainant calls the WLAN
    forced to excise those nodes from its     of the AP the alleged “communication
    infringement theory because there is      network.” This is not correct. Id. at
    no dispute that the accused products      Q/A 27.
    do not consider the transmission
    capacity of those other nodes.
    Instead, Q3 calls the WLAN of the AP
    the alleged “communication network.”


1
  The emphasis of “only” appears in the original of Respondents’ brief and was
reproduced as plain text in the Commission’s Final Determination.

                                          23
              CONFIDENTIAL
             Case: 22-1957
                             MATERIAL REDACTED
                      Document: 18 Page: 32 Filed: 12/06/2022




    This is simply not correct. Id. at Q/A
    27.

                        Common/Fundamental Issue 2 excerpt:

    RESPONDENTS’ POST-HEARING BRIEF, FINAL DETERMINATION, APPX326-327
                        APPX39039
       The accused APs do not make any           The accused APs do not make any
    alleged determination based on the        alleged determination based on the
            2
    overall transmission capacity of the      overall transmission capacity of the
    entire communications network to          entire communications network to
    which they attach. RX-1195C               which they attach. RX-1195C
    (Acampora WS) at Q/A 43; JX-              (Acampora WS) at Q/A 43; JX-
    0175C.0023 (Jou Tr.) at 85:10-17, RX- 0175C.0023 (Jou Dep. Tr.) at 85, RX-
    0935C (Overby WS) at Q/A 58-65            0935C (Overby WS) at Q/A 58-65
    (CommScope), 27-36 (HPE), 40-54           (CommScope), 27-36 (HPE), 40-54
    (NETGEAR). Instead, Q3 opines that (NETGEAR). Instead, complainant
    certain products will evaluate their own argues that certain products will
    alleged capacity via Subject to ITC PO    evaluate their own alleged capacity via
              CX-3846C (Madisetti WS) at Subject to ITC PO                . See CX-
    Q/A 75 (Ruckus), 131 (NETGEAR),           3846C (Madisetti WS) at Q/A 75
    202 (Aruba). But if a product could       (Ruckus), 131 (NETGEAR), 202
    satisfy the claim limitation above by     (Aruba). However, if a product could
    checking only its own node-specific       satisfy the claim limitation above by
    constraints (which was well known in      checking only its own node-specific
    the prior art), it would render the later constraints (which was well known in
    claim limitation “without further         the prior art), it would render the later
    interrogations at internal transmission   claim limitation “without further
    nodes of the communications network” interrogations at internal transmission
    entirely superfluous. The point of this   nodes of the communications network”
    limitation is that the access control     superfluous. The point of this
    function of claim 1 is able to check the limitation is that the access control
    permissibility of a requested use only    function of claim 1 is able to check the
    by taking into account the overall        permissibility of a requested use only
    transmission capacity of an entire        by taking into account the overall
    communication network and yet do so transmission capacity of an entire
    “without further interrogations at        communication network and yet do so

2
  The emphasis on “overall” appears in the original of Respondents’ brief and was
reproduced as plain text in the Commission’s Final Determination.

                                             24
              Case: 22-1957     Document: 18      Page: 33    Filed: 12/06/2022




    internal transmission nodes of the           “without further interrogations at
    communication network.” RX-1195C             internal transmission nodes of the
    at Q/A 113.                                  communication network.” See RX-
                                                 1195C (Acampora WS) at Q/A 113.

                        Common/Fundamental Issue 3 excerpt:

    RESPONDENTS’ POST-HEARING BRIEF,               FINAL DETERMINATION, APPX329
                       APPX39041
       The actual data rate that is provided        The actual data rate that is provided
    by an access point is considerably           by an access point is considerably
    lower than the IEEE 802.11 standards’        lower than the IEEE 802.11 standards’
    maximum data rate. Id. at Q/A 48-53.         maximum data rate. Id. at Q/A 48-53.
    Due to a variety of radio-related            Due to a variety of radio-related
    propagation impairments (for example         propagation impairments (for example
    proximity to the AP and other                proximity to the AP and other
    environmental factors), the data rate of     environmental factors), the data rate of
    the wireless link between an AP and its      the wireless link between an AP and its
    clients will generally be different for      clients will generally be different for
    different clients. Because of these          different clients. Due to these
    propagation impairments, the                 propagation impairments, the
    transmission capacity between an AP          transmission capacity between an AP
    and client device can vary significantly     and client device can vary significantly
    at different times. Therefore, a single      at different times. Therefore, a single
    time-shared communication channel            time-shared communication channel
    between an AP and its associated             between an AP and its associated
    clients may deliver different data rates     clients may deliver different data rates
    to each of its associated clients, and       to each of its associated clients, and
    each of these different rates may also       each of these different rates may also
    change with time. Accordingly, none of       change with time. Accordingly, none of
    these time-varying data rates is the         these time-varying data rates is the
    network capacity, nor could any              network capacity, nor could any
    weighted average of these data rates be      weighted average of these data rates be
    the network capacity. Id. Notably, this      the network capacity. Id. This data rate
    data rate or capacity is not3 the basis of   or capacity is not the basis of
    Q3’s infringement theory.                    complainant’s infringement theory.


3
 This emphasis appears in the original of Respondents’ brief and was reproduced
as plain text in the Commission’s Final Determination.

                                             25
          Case: 22-1957     Document: 18     Page: 34   Filed: 12/06/2022




      In the excerpt from Common/Fundamental Issue 1, the Commission’s

copying ignores Q3’s arguments and the language of Claim 1 in finding that an AP’s

WLAN is not a “communications network” because the WLAN is connected to a

broader network. Appx322 (ID). As explained in Q3’s briefing, Claim 1 requires

“the service being implemented in at least one communications network.” JX-0003

(’853 Pat.) at claim 1. The phrase “at least one communications network” recognizes

that devices, such as access points, can provide a LAN and yet be connected to other

networks. Figure 1 of the ’853 patent shows examples of a LAN (e.g., LAN1 or

LAN2) that constitutes a communications network while also being connected to a

broader network. Id. at Fig. 1. Q3 pointed to this claim language and explained this

issue in its rebuttal brief. Appx39824-39825. But because the Commission copied

Respondents’ opening brief, it failed to address Q3’s arguments or the clear

implications of the claim language.

            a. CommScope - ’853 Patent, Claim 1 Element-By-Element
               Analysis
      The Commission’s almost verbatim copying in its Final Determination of

Respondent’s post hearing brief then continued nearly word-for-word in its element-

by-element findings as to CommScope’s infringement:

 RESPONDENTS’ POST-HEARING BRIEF, FINAL DETERMINATION, APPX340-352
               APPX39062-39064
    Claim 1. [Element 1.0] A method        Claim 1. [Element 1.0] A method
 for checking permissibility to use a   for checking permissibility to use a
 service, the service being implemented service, the service being implemented


                                        26
           CONFIDENTIAL
          Case: 22-1957
                         MATERIAL REDACTED
                   Document: 18 Page: 35 Filed: 12/06/2022




RESPONDENTS’ POST-HEARING BRIEF, FINAL DETERMINATION, APPX340-352
               APPX39062-39064
in at least one communications           in at least one communications
network.                                 network.
   Q3’s accused “communication              Complainant’s accused
network” (WLAN for an AP) is             “communication network” (WLAN for
incompatible with the claimed            an AP) is incompatible with the
communications network                   claimed communications network
(Fundamental Issue #1). Moreover,        (Common Issue #1). Moreover, the
the accused priority tags cannot satisfy accused priority tags cannot satisfy the
the “service” recited in the claims,     “service” recited in the claims, which
which refers to a traffic stream (stream refers to a traffic stream (stream of data
of data packets), i.e., the “checking    packets), i.e., the “checking
permissibility to use a service” in the  permissibility to use a service” in the
claim is the checking of whether to      claim is the checking of whether to
permit or deny a requested stream. RX- permit or deny a requested stream. See
1195C (Acampora WS) at Q/A 98,           RX-1195C (Acampora WS) at Q/A 98,
107.                                     107.
   [Element 1.1] the communication          [Element 1.1] the communication
network having an overall                network having an overall
transmission capacity,                   transmission capacity,
   As set forth in Fundamental Issues       As set forth in Common Issues #1
#1 and 2, none of the accused APs        and 2, none of the accused APs have
have any cognizance of a broader         any cognizance of a broader
“communication network” with an          “communication network” with an
“overall transmission capacity.”         “overall transmission capacity.”
Moreover, as explained in                Moreover, as explained in Common
Fundamental Issue #3, the accused        Issue #3, the accused    Subject to ITC PO


Subject to ITC PO                     is Subject to ITC PO              is not an
not an amount of data that the wireless amount of data that the wireless
channel can transmit. RX-1195C           channel can transmit. See RX-1195C
(Acampora WS) at Q/A 110-114. For        (Acampora WS) at Q/A 110-14. For
example, Q3’s allegations are            example, complainant’s allegations
                               Subject to ITC PO


Subject to ITC PO is not the claimed     are Subject to ITC PO             is not the
overall transmission capacity of even    claimed overall transmission capacity
the AP (let alone of a broader           of even the AP (let alone of a broader
network). Therefore, Dr. Madisetti’s     network). Therefore, Dr. Madisetti’s
identified Subject to ITC PO             identified Subject to ITC PO
Subject to ITC PO does not represent the                     does not represent the


                                                   27
           CONFIDENTIAL
          Case: 22-1957
                         MATERIAL REDACTED
                   Document: 18 Page: 36 Filed: 12/06/2022




RESPONDENTS’ POST-HEARING BRIEF,             FINAL DETERMINATION, APPX340-352
               APPX39062-39064
claimed “overall transmission                claimed “overall transmission
capacity.” Id.; id. at 118, 120.             capacity.” Id.; id. at 118, 120.
   [Element 1.2] the use of the service         [Element 1.2] the use of the service
comprising transmission of at least          comprising transmission of at least
one service-specific traffic stream          one service-specific traffic stream
which is assigned to the service by an       which is assigned to the service by an
access node which is assigned to the         access node which is assigned to the
service to the communication network,        service to the communication network,
comprising: First, the accused products      comprising: First, the accused
do not practice this limitation for the      products do not practice this limitation
reasons discussed above with respect to      for the reasons discussed above with
Fundamental Issue #1                         respect to Common Issue #1
(“communications network”). RX-              (“communications network”). See RX-
1195C at Q/A 122.                            1195C (Acampora WS) at Q/A 122.
   [Element 1.3] analyzing the use of           [Element 1.3] analyzing the use of
the service with an access control           the service with an access control
function which is assigned to the            function which is assigned to the
access node; and                             access node; and
   As discussed above, the alleged              As discussed above, the alleged
“service” identified by Dr. Madisetti        “service” identified by Dr. Madisetti
(Subject to ITC PO            ) is not the   (Subject to ITC PO            ) is not the
claimed “service comprising                  claimed “service comprising
transmission of at least one service-        transmission of at least one service-
specific traffic stream.” RX-1195C           specific traffic stream.” See RX-1195C
(Acampora WS) at Q/A 136                     (Acampora WS) at Q/A 136
   [Element 1.4] checking, via the              [Element 1.4] checking, via the
access control function, without             access control function, without
further interrogations at internal           further interrogations at internal
transmission nodes of the                    transmission nodes of the
communications network, whether the          communications network, whether the
use of the service is permitted, the         use of the service is permitted, the
checking performed taking into               checking performed taking into
account an available capacity, which         account an available capacity, which
is                                           is
   As explained in Fundamental Issue            As explained in Common Issue #1,
#1, Q3’s alleged “communication              complainant’s alleged
network” is flawed, for example              “communication network” is wrong,
because the identified communication         for example because the identified

                                         28
             CONFIDENTIAL
             Case: 22-1957        MATERIAL
                           Document: 18 Page: 37 REDACTED
                                                  Filed: 12/06/2022




    RESPONDENTS’ POST-HEARING BRIEF,            FINAL DETERMINATION, APPX340-352
                  APPX39062-39064
    network does not include internal        communication network does not
    transmission nodes, as required by this  include internal transmission nodes, as
    limitation. RX-1195C at Q/A 148-51.      required by this limitation. See RX-
                                             1195C (Acampora WS) at Q/A 148-51.
       [Element 1.5] determined taking          [Element 1.5] determined taking
    into account the overall transmission into account the overall transmission
    capacity [of the communications          capacity [of the communications
    network], and                            network], and
       As explained in Fundamental Issue        As explained in Common Issue # 2,
    # 2, the accused products do not         the accused products do not determine
    determine permissibility by “taking      permissibility by “taking into account
                              4
    into account the overall transmission    the overall transmission capacity” of
    capacity” of the communications          the communications network.
    network. Moreover, as explained in       Moreover, as explained in Common
    Fundamental Issue #3,  Subject to ITC PO
                                             Issue #3, Subject to ITC PO is not an
               is not an amount of data that amount of data that the wireless
    the wireless channel can transmit. RX- channel can transmit. See RX-1195C
    1195C at Q/A 161-62, 168, 170.           (Acampora WS) at Q/A 161-62, 168,
                                             170.
       [Element 1.6] [an available           [Element 1.6] [an available capacity,
    capacity, which is] available to the            which is] available to the access
    access node for transmitting traffic            node for transmitting traffic
    streams to the communications                   streams to the communications
    network. The accused APs do not                 network. The accused APs do
    practice this limitation for the reasons        not practice this limitation for
    discussed in Fundamental Issue #1               the reasons discussed in
    (“communications network”), for                 Common Issue #1
    example because the alleged                     (“communications network”),
    communication network does not                  for example because the alleged
    include any internal transmission nodes         communication network does
    that provide capacity “available to the         not include any internal
    access node for transmitting traffic            transmission nodes that provide
                                                    capacity “available to the access
                                                    node for transmitting traffic
                                                    streams to the communications

4
 This emphasis appears in the original of Respondents’ brief and was reproduced
as plain text in the Commission’s Final Determination.

                                               29
             Case: 22-1957   Document: 18      Page: 38   Filed: 12/06/2022




    RESPONDENTS’ POST-HEARING BRIEF, FINAL DETERMINATION, APPX340-352
                  APPX39062-39064
    streams to the communications         network.” See RX-1195C
              5
    network.” RX-1195C at Q/A 172.        (Acampora WS) at Q/A 172.

        As shown, the Commission reproduced Respondents’ element-by-element

analysis nearly word-for-word, only changing “Q3” to “Complainant,”

“Fundamental” to “Common,” “flawed” to “wrong,” and adding a “See” signal to

the copied citations. The Commission even copied typographical errors from the

Respondents, including the missing period at the end of the section for Element 1.3

and the “First,” at the beginning of the single-sentence paragraph for Element 1.2

where there is no “Second” or further point.

        D.    The Commission’s Infringement Analysis for the ’677 Patent Was
              Copied Wholesale from the Respondents’ Briefs.

     The tables below show the copying performed by the Commission in its

infringement analysis with respect to the ’677 patent. The left-hand column shows

the beginning and end lines of the Final Determination/ID. The right-hand column

correlates those beginning and end lines to the Respondents’ briefing that the

Commission largely copied. The Commission made only minor changes to the text

from the Respondents’ briefs. For instance, the Commission often changes “Q3” to

“complainant”, changes “alleges” to “argues”, and makes minor changes to citation



5
 This emphasis appears in the original of Respondents’ brief and was reproduced
as plain text in the Commission’s Final Determination.

                                        30
            Case: 22-1957    Document: 18      Page: 39     Filed: 12/06/2022




format and introductions (e.g., changing “that is to say” to “in other words”). In some

instances, the Commission divides a single long paragraph from Respondents’

briefing into two paragraphs or skips a minor portion of Respondents’ briefing. But,

as can be seen in the table below, the infringement opinion offered in the Final

Determination/ID for the ’677 patent, with minor changes, is copied from

Respondents’ briefing:

    SECTION           ID                                  RESPONDENTS’ BRIEFING
         DESCRIPTION
    HPE ’677 Patent   Section VI.B.2.a.i-ii               Section VII.B.2.a.i-ii
         Infringement       (“Claim 1: HPE                      (“HPE’s Products
         Introduction       Accused Products”)                  Do Not Infringe
                                                                Claim 1”)

                         Begin: Appx478 (ID) at           Begin: Appx39196 (PHB)
                              line 166                         at line 24 (“Q3’s
                              (“Complainant’s                  infringement case is
                              infringement case is             based on HPE’s
                              based on HPE’s                   patented Client Match
                              patented Client                  technology.”)
                              Match technology.”)

                         End: Appx481 (ID) at line        End: Appx39200 (PHB) at
                              167. See RX-1198C                line 1 (RX-1198C
                              (Balay WS) at Q/A                (Balay WS) at Q/A
                              57.”)                            57.”)

    HPE ’677 Patent      Claim 1 [preamble] …             Claim 1 [preamble]
         Claim 1
         Preamble        Begin: Appx481 (ID) at           Begin: Appx39200 (PHB)
                              line 22 (“There are              at line 5 (“There are

6
  The line count includes each text line on the page including header lines and
block quotes. The “Begin” line noted is the first line in the quoted sentence.
7
  The “End” line noted is the last line in the quoted sentence.

                                          31
         CONFIDENTIAL
        Case: 22-1957        MATERIAL
                      Document: 18 Page: 40 REDACTED
                                             Filed: 12/06/2022




SECTION          ID                             RESPONDENTS’ BRIEFING
     DESCRIPTION
                        several issues with           several issues with
                        complainant’s theory          Q3’s theory of
                        of infringement for           infringement for the
                        the preamble of claim         preamble limitation of
                        1 of the ‘677                 the ’677 Patent.”)
                        patent.”)

                  End: Appx482 (ID) at line     End: Appx39201 (PHB) at
                       22 (“Dr. Madisetti            line 3 (“Dr. Madisetti
                       overlooks the fact            also ignores the fact
                       that Subject to ITC PO        that Subject to ITC PO



                                                                  . RX-
                             . See RX-1196C           1196C at Q/A 58.”)
                        (Lin RWS) at Q/A
                        58.”)

HPE ’677 Patent   Claim 1[a] …                  Claim 1[a]: Linking Step
     Limitation
     1[a]         Begin: Appx483 (ID) at        Begin: Appx39201 (PHB)
                       line 6                        at line 5 (“Q3’s
                       (“Complainant’s               accusations regarding
                       arguments regarding           the “linking…” step
                       the ‘linking…’ step           are both conclusory
                       are both conclusory           and without
                       and not supported by          competent
                       evidence.”)                   evidence.”)

                  End: Appx483 (ID) at line End: Appx39201 (PHB) at
                       19 (“at claim 1           line 16 (“at claim
                              26
                       (‘CSI[ ] is supplied      1(‘CSI is supplied for
                       for an overall link       an overall link
                       between the at least      between the at least
                       two communicating         two communicating
                       devices.’); Lin Tr.       devices.’); Tr. (B.
                       571; RX- 1196C (Lin       Lin) 571:5-14; RX-

                                   32
        CONFIDENTIAL
        Case: 22-1957        MATERIAL
                      Document: 18 Page: 41 REDACTED
                                             Filed: 12/06/2022




SECTION          ID                                    RESPONDENTS’ BRIEFING
     DESCRIPTION
                        RWS) at Q/A 68-                      1196C at Q/A 68-
                        70.”)                                70.”)

HPE ’677 Patent   Claim 1[b] …                         Claim 1[b]: Supplying Step
     Limitation
     1[b]         Begin: Appx483 (ID) at     Begin: Appx39201 (PHB)
                       line 25 (“The accused      at line 18 (“The
                       HPE products do not        accused HPE
                       satisfy limitation         products do not
                       1[b].”)                    satisfy limitation
                                                  1[b].”)

                                                       End: Appx39209 (PHB) at
                  End: Appx492 (ID) at line                 line 7 (“because   Subject to ITC PO




                       9 (“because Subject to ITC PO
                                                            communications are
                       communications are                   separate from the
                       separate from the                    overall link between
                       overall link between                 the devices.”)
                       the devices.”)

                  Complainant’s Proposed               Q3’s Strained Claim
                      Claim Construction                     Interpretation.

                                                       Begin: Appx39209 (PHB)
                  Begin: Appx492 (ID) at                    at line 11
                       line 11 (“Dr.                        (“Specifically, Dr.
                       Madisetti seeks to                   Madisetti seeks to
                       split in half the                    split in half the
                       clause”)                             clause”)

                                              End: Appx39213 (PHB) at
                  End: Appx497 (ID) at line        line 9 (“this
                       5 (“This movement           movement of data
                       of data within the AP       within the AP has
                       is not related to the       nothing to do with the
                       claimed ‘overall link’      claimed ‘overall link’
                       between the                 between the
                       communicating               communicating

                                  33
        Case: 22-1957   Document: 18     Page: 42     Filed: 12/06/2022




SECTION          ID                                 RESPONDENTS’ BRIEFING
     DESCRIPTION
                         devices. Id. at Q/A              devices. Id. at Q/A
                         123.”)                           123.”)

HPE ’677 Patent    Claim 1[c] …                     Claim 1[c]: Initiating Step
     Limitation
     1[c]          Begin: Appx497 (ID) at      Begin: Appx39213 (PHB)
                        line 11 (“The accused       at line 11 (“The
                        HPE products do not         accused HPE
                        infringe this               products do not
                        limitation for several      infringe this
                        reasons. First, there       limitation for several
                        can be no initiating”)      reasons. First, there
                                                    can be no initiating”)

                   End: Appx505 (ID) at line        End: Appx39220 (PHB) at
                        2 (“and thus do not              line 4 (“and thus do
                        form the basis of a              not form the basis of a
                        handover. See CX-                handover. CX-3846C
                        3846C (Madisetti                 (Madisetti WS) at
                        WS) at Q/A 371; id.              Q/A 371; id. at Q/A
                        at Q/A 358; RX-                  358; RX-1196C (Lin
                        1196C (Lin RWS) at               WS) at Q/A 98, 99.”)
                        Q/A 98, 99.”)

NETGEAR ’677       Section VI.B.2.b.i-ii            Section VII.B.2.b.i-ii
    Patent               (“Claim 1:                       (“NETGEAR’s
    Infringement         NETGEAR Accused                  Products Do Not
    Introduction         Products”)                       Infringe Claim 1”)

                   Begin: Appx505 (ID) at           Begin: Appx39220 (PHB)
                          line 4 (“There are at          at line 6 (“There are
                          least three distinct           at least three distinct
                          reasons why the                reasons why the
                          accused NETGEAR                accused NETGEAR
                          products do                    products do not
                   not infringe the ‘677                 infringe the ’677
                          patent.”)                      Patent.”)


                                    34
        CONFIDENTIAL
        Case: 22-1957       MATERIAL
                      Document: 18 Page: 43 REDACTED
                                             Filed: 12/06/2022




SECTION          ID                                       RESPONDENTS’ BRIEFING
     DESCRIPTION
                 End: Appx507 (ID) at line                End: Appx39222 (PHB) at
                      21 (“Thus, only the                      line 15 (“Thus, only
                      products including                       the products including
                         Subject to ITC PO                     Subject to ITC PO
                         that provide Subject to ITC PO
                                                                that provideSubject to ITC PO




                               functionality                          functionality
                         were analyzed.”)                       were analyzed.”)

NETGEAR ’677       Claim 1 [preamble] …                   Claim 1 [preamble]
    Patent Claim
    1 Preamble     Begin: Appx508 (ID) at        Begin: Appx39222 (PHB)
                        line 4 (“NETGEAR              at line 17
                        does not directly or          (“NETGEAR does
                        indirectly infringe the       not directly or
                        method claim 1 as it          indirectly infringe the
                        relates to the ‘at least      method claim 1 as it
                        two communicating             relates to the ‘at least
                        devices’ portion of           two communicating
                        the claim.”)                  devices’ portion of
                                                      the claim.”)

                   End: Appx508 (ID) at line End: Appx39222 (PHB) at
                        9 (“Inasmuch as no        line 22 (“Because no
                        single entity             single entity performs
                        performs all the steps    all the steps of claim
                        of claim 1 of the ‘677    1 of the ’677 Patent,
                        patent, NETGEAR           NETGEAR cannot
                        cannot infringe.”)        infringe.”)

NETGEAR ’677       Claim 1[a] …                           Claim 1[a]: Linking Step
    Patent
    Limitation     Begin: Appx508 (ID) at      Begin: Appx39223 (PHB)
    1[a]                line 15 (“The accused       at line 2 (“The
                        NETGEAR products            accused NETGEAR
                        do not link two             products do not link
                        communicating               two communicating
                        devices, e.g., laptop,      devices, e.g., laptop,
                        tablet, or mobile           tablet, or mobile

                                    35
        CONFIDENTIAL
        Case: 22-1957       MATERIAL
                      Document: 18 Page: 44 REDACTED
                                             Filed: 12/06/2022




SECTION          ID                             RESPONDENTS’ BRIEFING
     DESCRIPTION
                        phone (or ‘meters’            phone (or ‘meters’
                        shown in                      shown in
                        demonstratives) for           demonstratives) for
                        transmission of               transmission of
                        information.”)                information.”)

                  End: Appx510 (ID) at line     End: Appx39224 (PHB) at
                       16 (“As discussed             line 15 (“As discussed
                       above, NETGEAR’s              above, NETGEAR’s
                        Subject to ITC PO             Subject to ITC PO
                        products use                  products use
                        Subject to ITC PO             Subject to ITC PO



                                  .”)

NETGEAR ’677      Claim 1[b] …                  Claim 1[b]: Supplying Step
    Patent
    Limitation    Begin: Appx510 (ID) at        Begin: Appx39224 (PHB)
    1[b]               line 22 (“The                  at line 17 (“The
                       NETGEAR accused                NETGEAR accused
                       products do not meet           products do not meet
                       this limitation for            this limitation for
                       several reasons. First         several reasons. First
                       and foremost, in the     and foremost, in the link
                       link between the APs           between the APs and
                       and the AP acting as           the AP acting as a
                       a controller,”)                controller,”)

                  End: Appx513 (ID) at line     End: Appx39227 (PHB) at
                       15 (“what is done at          line 1 (“what is done
                       various layers, nor           at various layers, nor
                       does it explain which         does it explain which
                       layers are used.”)            layers are used.”)

NETGEAR ’677      Claim 1[c] …                  Claim 1[c]: Initiating Step
    Patent


                                   36
        Case: 22-1957   Document: 18    Page: 45     Filed: 12/06/2022




SECTION          ID                                RESPONDENTS’ BRIEFING
     DESCRIPTION
     Limitation  Begin: Appx513 (ID) at            Begin: Appx39227 (PHB)
     1[c]             line 21 (“The                     at line 3 (“The
                      NETGEAR accused                   NETGEAR accused
                      products do not meet              products do not meet
                      the ‘initiating’                  the ‘initiating’
                      limitation as                     limitation as Q3
                      complainant                       alleges.”)
                      argues.”)
                                               End: Appx39228 (PHB) at
                   End: Appx515 (ID) at line         line 19 (“Finally,
                         19 (“Finally,               Q3’s citations to
                         complainant’s               NETGEAR corporate
                         citations to                deposition testimony
                         NETGEAR corporate           fail to show that the
                         deposition testimony NETGEAR products
                         have not shown that         practice the initiating
                         the NETGEAR                 limitation.”)
                         products practice the
                         initiating
                         limitation.”).
CommScope ’677     Section VI.B.2.c.i-ii       Section VII.B.2.c.i-ii
    Patent               (“Claim 1:                  (“CommScope’s
    Infringement         CommScope                   Products Do Not
    Introduction         Accused Products”)          Infringe Claim 1”)

                   Begin: Appx516 (ID) at     Begin: Appx39228 (PHB)
                        line 1 (“There are at      at line 21 (“There are
                        least three distinct       at least three distinct
                        reasons why the            reasons why the
                        accused CommScope          accused CommScope
                        products do not            products do not
                        infringe the ‘677          infringe the ’677
                        patent.”)                  Patent.”)

                   End: Appx518 (ID) at line       End: Appx39230 (PHB) at
                        6 (“complainant has             line 22 (“Q3 fails to
                        not shown the                   show the accused
                        accused products (or            products (or a user of

                                   37
        CONFIDENTIAL
        Case: 22-1957
                       MATERIAL REDACTED
                Document: 18 Page: 46 Filed: 12/06/2022




SECTION          ID                                      RESPONDENTS’ BRIEFING
     DESCRIPTION
                         a user of the accused                the accused products)
                         products) are                        are transmitting
                         transmitting                         information in a
                         information in a                     communication
                         communication                        system with at least
                         system with at least                 two communicating
                         two communicating                    devices.”)
                         devices.”)

CommScope ’677     Claim 1 [preamble] …                  Claim 1 [preamble]
    Patent Claim
    1 Preamble     Begin: Appx518 (ID) at    Begin: Appx39230 (PHB)
                        line 10                   at line 24 (“Q3
                        (“Complainant             contends that ‘             Subject to ITC PO



                        argues that ‘             Access Points
                                     Subject to ITC PO



                        Access Points             perform a method (or
                        perform a method (or      allow a user to
                        allow a user to           perform a method) for
                        perform a method)         transmitting
                        for transmitting          information in a
                        information in a          communication
                        communication             system with at least
                        system with at least      two
                        two communicating    communicating devices’
                        devices’ where”)          where”)

                   End: Appx518 (ID) at line             End: Appx39231 (PHB) at
                        17                                    line 6

CommScope ’677     Claim 1[a] …                          Claim 1[a]: Linking Step
    Patent
    Limitation     Begin: Appx518 (ID) at       Begin: Appx39231 (PHB)
    1[a]                line 23                      at line 8 (“Q3 alleges
                        (“Complainant                that the linking of at
                        argues that the              least two
                        linking of at least two      communicating
                        communicating                devices (e.g., the
                        devices (e.g., the           mesh access points)’

                                   38
       Case: 22-1957   Document: 18     Page: 47     Filed: 12/06/2022




SECTION          ID                                RESPONDENTS’ BRIEFING
     DESCRIPTION
                        mesh access points)              is ‘done via the radio
                        is ‘done via the radio           communication
                        communication                    interface”)
                        interface”)

                  End: Appx519 (ID) at line End: Appx39232 (PHB) at
                       17 (“Complainant            line 3 (“Nor does Q3
                       does not identify or        identify, or provide
                       provide any evidence        any evidence that
                       that shows which       shows, which Mesh APs it
                       Mesh APs it                 considers to be
                       considers to be             linked, as required by
                       linked, as required by      the claim.”)
                       the claim.”)

CommScope ’677    Claim 1[b] …                     Claim 1[b]: Supplying Step
    Patent
    Limitation    Begin: Appx519 (ID) at     Begin: Appx39232 (PHB)
    1[b]                line 23 (“The             at line 5 (“The
                        CommScope accused         CommScope accused
                        products do not meet      products do not meet
                        the “supplying”           the “supplying”
                        limitation for            limitation for several
                  several reasons.”)              reasons.”)

                  End: Appx522 (ID) at line        End: Appx39234 (PHB) at
                       15 (“so that the                 line 13 (“so that the
                       application can talk             application can talk to
                       to the device driver,            the device driver, but
                       but it does not go               it does not go through
                       through the IP layer             the IP layer (or layer
                       (or layer 3/4).”)                3/4).”)

CommScope ’677    Claim 1[c] …                     Claim 1[c]: Initiating Step
    Patent
    Limitation    Begin: Appx522 (ID) at     Begin: Appx39234 (PHB)
    1[c]               line 21 (“The accused      at line 15 (“The
                       CommScope                  accused CommScope

                                   39
         Case: 22-1957   Document: 18     Page: 48     Filed: 12/06/2022




SECTION          ID                                  RESPONDENTS’ BRIEFING
     DESCRIPTION
                           products do not                 products do not
                           infringe this claim             infringe this claim
                           element for several             element for several
                           reasons.”)                      reasons.”)

                     End: Appx523 (ID) at line       End: Appx39235 (PHB) at
                          16 (“no channel-                line 7 (“no channel-
                          specific information            specific information
                          is supplied to a                is supplied to a
                          hierarchically higher           hierarchically higher
                          Internet protocol               Internet protocol
                          based channel for the           based channel for the
                          overall link between            overall link between
                          two communicating               two communicating
                          devices.”)                      devices.”)

’677 Patent          Dependent Claim [2-6]           The Accused Products do
      Dependent                                           not Infringe Claim
      Claims – All                                        [2-6]
      Respondents    Begin: Appx524 (ID) at
                           line 31               Begin: Appx39235 (PHB)
                           (“Complainant has          at line 9 (“Q3 has not
                           not provided               provided evidence
                           evidence that the          that the accused
                           accused products           products send
                           send channel-specific      channel-specific
                     information to the               information to the
                           hierarchically higher      hierarchically higher
                           Internet protocol          Internet protocol
                           based channel ‘via a       based channel ‘via a
                           bit transmission           bit transmission
                           channel’ as required       channel’ as required
                           by the claim.”)            by the claim.”)

                     End: Appx529 (ID) at line       End: Appx39238 (PHB) at
                          1 (“Further,                    line 9 (“Further, Q3
                          complainant has not             provides no
                          established how                 explanation of how

                                     40
        Case: 22-1957    Document: 18     Page: 49     Filed: 12/06/2022




SECTION          ID                                  RESPONDENTS’ BRIEFING
     DESCRIPTION
                           NETGEAR and                     NETGEAR and
                           CommScope provide               CommScope provide
                           any of the purported            any of the purported
                           ‘channel-specific               ‘channel-specific
                           information’ as                 information’ as
                           ‘control information’           ‘control information’
                           in the ‘677 patent.             in the ’677 Patent.
                           Id.”)                           Id.”)


’677 Patent Direct   Direct Infringement of the      Q3 Cannot Prove Direct
      Infringement         ‘677 Patent                    Infringement of the
      – All                                               ’677 Patent
      Respondents
                     Begin: Appx532 (ID) at          Begin: Appx39238 (PHB)
                          line 31 (“As                    at line 11 (“Q3 cannot
                          discussed below,                prove direct
                          complainant has not             infringement. RX-
                          shown direct                    1196C (Lin WS) at
                          infringement. See               Q/A 199-200. The
                          RX-1196C (Lin                   ’677 Patent claims a
                          RWS) at Q/A 199-                method for
                          200. The ‘677 patent            transmitting
                          claims a method for             information in a
                          transmitting                    communications
                          information in a                network, which”)
                          communications
                          network, which”)

                     End: Appx534 (ID) at line       End: Appx39239 (PHB) at
                          3 (“Thus,                       line 11 (“Q3’s
                          complainant has not             conclusory assertions
                          shown direct                    fail to show direct
                          infringement through            infringement through
                          testing (in the U.S.)           testing (in the U.S.) of
                          of any device.”)                any device”)




                                     41
         Case: 22-1957    Document: 18    Page: 50     Filed: 12/06/2022




SECTION              ID                           RESPONDENTS’ BRIEFING
      DESCRIPTION
’677 Patent Indirect Indirect Infringement of     Q3 Cannot Prove Indirect
      Infringement         the ‘677 Patent             Infringement of the
      – All                                            ’677 Patent
      Respondents
                     Begin: Appx534 (ID) at       Begin: Appx39239 (PHB)
                           line 5 (“complainant        at line 13 (“Q3 cannot
                           has not shown               prove indirect
                           indirect infringement.      infringement. RX-
                           See RX-1196C (Lin           1196C (Lin WS) at
                           RWS) at Q/A 201.            Q/A 201. Q3 does not
                           Complainant does            allege that
                           not argue that              Respondents’
                           respondents’                customers directly
                           customers directly          infringe claims 1-6 of
                           infringe claims 1-6 of      the ’677 Patent or that
                           the ‘677 patent or          the accused products
                           that the accused            necessarily infringe
                           products necessarily        claims 1-6”)
                           infringe claims 1-6.”)

                     End: Appx535 (ID) at line       End: Appx39240 (PHB) at
                          3 (“provide technical           line 7 (“provide
                          support, etc. to                technical support, etc.
                          respondents’                    to Respondents’
                          customers plays no              customers plays no
                          role in any specific            role in any specific
                          intent to infringe the          intent to infringe the
                          ‘677 patent. Id.”)              ’677 Patent. Id.”)

’677 Patent –        Section VI.C (“Domestic         Q3 Does Not Satisfy the
      Technical DI         Industry (Technical            Technical Prong of
                           Prong”)                        the Domestic
                                                          Industry
                                                          Requirement for the
                                                          ’677 Patent

                     Begin: Appx536 (ID) at          Begin: Appx39743 (Reply
                          line 9                          PHB) at line 21

                                     42
       Case: 22-1957   Document: 18    Page: 51     Filed: 12/06/2022




SECTION          ID                               RESPONDENTS’ BRIEFING
     DESCRIPTION
                        (“Complainant’s                 (“Q3’s arguments as
                        arguments as to why             to why the
                        the ‘SCALANCE                   ‘SCALANCE W700’
                        W700’ series                    series products
                        products allegedly              allegedly practice the
                        practice the ‘677               ’677 Patent”)
                        patent”)

                  End: Appx537 (ID) at line
                       9 (“and does not           End: Appx39744 (Reply
                       satisfy the technical           PHB) at line 15 (“and
                       prong. See RX-                  does not satisfy the
                       1196C (Lin RWS) at              DI technical prong.
                       Q/A 7, 202-03, 216-             RX-1196C at Q/A 7,
                       20.”)                           202-203, 216-220; see
                                                       RPostHB at 58-59.”)
                  Begin: Appx537 (ID) at
                       line 10 (“In               Begin: Appx39286 (PHB)
                       summary,                        at line 24 (“Q3’s
                       complainant’s                   arguments regarding
                       arguments regarding             the Scalance W1750D
                       the Scalance                    are incorrect, and the
                       W1750D are wrong,               Scalance W1750D”
                       and the Scalance
                       W1750D”

                  End: Appx537 (ID) at line
                       23 (“and likewise no       End: Appx39287 (PHB) at
                       viable domestic                 line 11 (“and likewise
                       industry evidence for           no viable domestic
                       the Scalance                    industry evidence for
                       W1750D.”)                       the Scalance
                                                       W1750D.”)
                  Begin: Appx538 (ID) at
                       line 1                     Begin: Appx39744 (Reply
                       (“Complainant’s                 PHB) at line 16
                       arguments regarding             (“Q3’s assertions
                       Dr. Balay’s ‘self-              regarding Dr. Balay’s

                                  43
         Case: 22-1957   Document: 18    Page: 52     Filed: 12/06/2022




SECTION          ID                                 RESPONDENTS’ BRIEFING
     DESCRIPTION
                          serving’ testimony              ‘self-serving’
                          are not persuasive.             testimony are another
                          See Compl. Br. at               attempt to
                          105. Dr. Balay                  manufacture a dispute
                          testified that a                where none exists.
                          Siemens W1750D                  CPostHB at 105. Dr.
                          could be”)                      Balay testified that a
                                                          Siemens W1750D
                    End: Appx538 (ID) at line             could be”
                         19 (“that it has ever
                         been done nor has          End: Appx39745 (Reply
                         complainant stated              PHB) at line 12 (“that
                         that it tested this             has ever been done
                         functionality.”)                nor has Q3 stated that
                                                         it tested this
                                                         functionality.
                                                         RPostHB at 59.”)


    E.    The Commission’s Infringement Analysis for the ‘305 Patent Was
          Copied Wholesale from the Respondents’ Briefs.

SECTION            ID                               RESPONDENTS’ BRIEFING
      DESCRIPTION
’305 Patent –      Section V.B.2.a (“web-           Section VI.B.1 (“There Is
      Limitation         based management                 No ‘Web-Based
      1[p], 8[p] –       engine”)                         Management
      All                                                 Engine’ In the
      Respondents                                         Accused Products”)

                    Begin: Appx391 (ID) at          Begin: Appx39109 (PHB)
                         line 26 (“The parties           at line 13 (“The
                         do not dispute that             parties do not dispute
                         the preamble limits             that the preamble
                         the asserted ‘305               limits the asserted
                         patent claims to a              ’305 Patent claims to
                         ‘web-based                      a ‘web-based
                         management engine               management engine


                                    44
         Case: 22-1957   Document: 18     Page: 53     Filed: 12/06/2022




SECTION          ID                                  RESPONDENTS’ BRIEFING
     DESCRIPTION
                          for a network entity,’           for a network entity,’
                          not just anything                not just anything
                          capable of                       capable of managing
                     managing a network                    a network entity.”)
                          entity.”)

                     End: Appx396 (ID) at line       End: Appx39113 (PHB) at
                          10 (“Regardless of              line 9 (“Regardless of
                          whether the engine is           whether the engine is
                          within the network              within the network
                          entity or remotely              entity or remotely
                          located from the                located from the
                          network entity, every           network entity, every
                          component of that               component of that
                          engine must reside in           engine must reside in
                          the same device. See            the same device. RX-
                          RX-0863C (Min                   0863C at Q/A 20.”)
                          RWS) at Q/A 20.”).

’305 Patent –        Section V.B.2.b (“web page Section VI.B.2 (“There Is
      Limitation           generator”)                No ‘Web Page
      1[5], 8[5] –                                    Generator’ In the
      All                                             Accused Products”)
      Respondents
                     Begin: Appx396 (ID) at          Begin: Appx39114 (PHB)
                          line 18 (“The claims            at line 12 (“The
                          require an ‘engine’             claims require an
                          with a ‘web page                ‘engine’ with a ‘web
                          generator that                  page generator that
                          generates a set of              generates a set of
                          linked web pages in             linked web pages in
                          response to a request           response to a request
                          to carry out a                  to carry out a
                          procedure.’ It is               procedure.’ It is
                          undisputed,”)                   undisputed,”)

                     End: Appx400 (ID) at line       End: Appx39117 (PHB) at
                          8 (“‘in response to a           line 7 (“‘in response

                                     45
       Case: 22-1957   Document: 18     Page: 54     Filed: 12/06/2022




SECTION          ID                                RESPONDENTS’ BRIEFING
     DESCRIPTION
                        request to carry out a           to a request to carry
                        procedure’ of a user             out a procedure’ of a
                        opening the webUI.               user opening the
                        See RX-0863C (Min                webUI. RX-0863C at
                        RWS) at Q/A 145-                 Q/As 145-146, 154-
                        146, 154-155, 161-               155, 161-162, 168-
                        162, 168-169, 173-               169, 173-174, 180-
                        174, 180-181.”)                  181.”)


                                                   JavaScript Executing on
                                                        the Browser Does
                  JavaScript Executing on               Not—and Cannot—
                       the Browser                 Constitute the Claimed
                                                        Web Page
                                                        Generator

                  Begin: Appx400 (ID) at      Begin: Appx39117 (PHB)
                       line 10                     at line 14 (“Q3
                       (“Complainant               contends that the
                       argues that the             alleged web page
                       alleged web page            generator is ‘the code
                       generator is ‘the code      that generates the
                       that generates the          WebUI,’ which
                       WebUI,’ which               includes certain
                       includes certain            JavaScript”)
                       JavaScript”)

                  End: Appx412 (ID) at line        End: Appx39126 (PHB) at
                       3 (“Nothing suggests             line 32 (“Nothing
                       that new web pages               suggests that new
                       are ‘generated’ or               web pages are
                       even displayed when              ‘generated’ or even
                       a user navigates to              displayed when a user
                       different tabs. Id. at           navigates to different
                       Q/A 165.”).                      tabs. Id. at Q/A 165.”)




                                   46
         CONFIDENTIAL
         Case: 22-1957        MATERIAL
                       Document: 18 Page: 55 REDACTED
                                              Filed: 12/06/2022




SECTION            ID                          RESPONDENTS’ BRIEFING
      DESCRIPTION
’305 Patent –      Section V.B.2.c             Section VI.B.3 (“There Is
      Limitation         (“intelligent agent”)       No ‘Web Page
      1[1], 8[1] –                                   Generator’ In the
      All                                            Accused Products”)
      Respondents
                   Begin: Appx412 (ID) at      Begin: Appx39126 (PHB)
                         line 9 (“Complainant        at line 38 (“Q3
                         argues that the             contends that the
                         intelligent agent is        intelligent agent is the
                         the software on the         software on the
                         accused products            accused products
                         responsible for             responsible for
                         sending and receiving       sending and receiving
                         messages.”)                 messages:”)

                     End: Appx421 (ID) at line                   End: Appx39132 (PHB) at
                          14 (“shows that           Subject to
                                                                      line 35 (“‘shows that
                           Subject to ITC PO                          Subject to ITC PO




                                     n. See RX-                                    RX-
                           0863C (Min RWS) at                          0863C at Q/A 71.”)
                           Q/A 71.”)

’305 Patent –        Section V.B.2.d                             Section VI.B.4 (“The
      Limitation           (“interface”)                               Accused Products
      1[4], 8[4] –                                                     Do Not Include the
      All                                                              Claimed Interface”)
      Respondents
                     Begin: Appx421 (ID) at                      Begin: Appx39133 (PHB)
                          line 19 (“Dr.                               at line 4 (“Dr.
                          Madisetti’s opinions                        Madisetti’s opinions
                          concerning this                             recognizing this
                          limitation are merely                       limitation are merely

                                               47
         CONFIDENTIAL
         Case: 22-1957        MATERIAL
                       Document: 18 Page: 56 REDACTED
                                              Filed: 12/06/2022




SECTION          ID                                 RESPONDENTS’ BRIEFING
     DESCRIPTION
                           conclusory opinions             conclusory assertions
                           that certain software           that that certain
                           on each accused                 software on each
                           product satisfies this          accused product
                           limitation.”)                   satisfies this
                                                           limitation.”)
                     End: Appx427 (ID) at line
                          18 (“Subject to ITC PO    End: Appx39138 (PHB) at
                                                         line 2 (“Subject to ITC PO




’305 Patent –        Section V.B.2.e (“data         Section VI.B.5 (“The
      Limitation           store”)                        Accused Products
      1[4], 8[4] –                                        Do Not Include the
      All                                                 Claimed Data
      Respondents                                         Store”)

                     Begin: Appx428 (ID) at         Begin: Appx39138 (PHB)
                          line 4 (“Complainant           at line 6 (“Q3
                          argues that the                contends that the
                          accused products               accused products
                          infringe this                  infringe this
                          limitation by storing          limitation by storing
                          information, values,           information, values,
                          and rules for                  and rules for
                          verifying and/or               verifying and/or
                          modifying the                  modifying the
                          operational                    operational
                          parameters of the              parameters of the
                          network entity.”)              network entity.”)


                                      48
         Case: 22-1957   Document: 18     Page: 57     Filed: 12/06/2022




SECTION          ID                                  RESPONDENTS’ BRIEFING
     DESCRIPTION
                 End: Appx429 (ID) at line           End: Appx39139 (PHB) at
                      23 (“Nor does                       line 18 (“Nor does Q3
                      complainant show                    show that any of that
                      that any of that data               data is actually used
                      is actually used by                 by the accused
                      the accused products                products to ‘generate
                      to ‘generate a set of               a set of linked web
                      linked web pages’ or                pages’ or ‘generate a
                      ‘generate a                         determination
                      determination                       result.’”)
                      result.’”)

’305 Patent –        Section V.B.2.f (“web           Section VI.B.6 (“The
      Limitation           server”)                        Accused Products
      1[3], 8[3] –                                         Do Not Include the
      All                                                  Claimed Web
      Respondents                                          Server”)

                     Begin: Appx430 (ID) at          Begin: Appx39139 (PHB)
                          line 4 (“The accused            at line 22 (“The
                          products do not                 accused products do
                          include the claimed             not include the
                          web server that                 claimed web server
                          ‘provides the                   that ‘provides the
                          interactive                     interactive
                          environment using               environment using the
                          the web pages                   web pages generated
                          generated by a web              by a web page
                          page generator.’”)              generator.’”)

                     End: Appx430 (ID) at line End: Appx39140 (PHB) at
                          21 (“let alone the           line 16 (“let alone the
                          specific WebUI               specific WebUI
                          identified by Dr.            identified by Dr.
                     Madisetti. See Compl. Br. at Madisetti. RX-0863C at
                          157; RX-0863C (Min           Q/A 110.”)
                          RWS) at Q/A 110.”)


                                     49
          CONFIDENTIAL
         Case: 22-1957
                         MATERIAL REDACTED
                  Document: 18 Page: 58 Filed: 12/06/2022




SECTION            ID                            RESPONDENTS’ BRIEFING
      DESCRIPTION
’305 Patent –      Section V.B.2.g (“generate    Section VI.B.7 (“Nothing
      Limitation         a determination               in the Accused
      1[6], 8[6] –       result”)                      Products ‘Generates
      All                                              a Determination
      Respondents                                      Result’”)

                     Begin: Appx431 (ID) at     Begin: Appx39140 (PHB)
                          line 8 (“Complainant       at line 23 (“Q3 claims
                          claims that the            that the accused
                          accused products           products infringe this
                          infringe this              limitation by
                          limitation by              comparing the ‘stored
                          comparing the ‘stored      data relating a
                          data relating a            procedure’ against
                          procedure’ against         information
                          information                retrieved”)
                          retrieved”)

                     End: Appx434 (ID) at line   End: Appx39143 (PHB) at
                          16 (“Nor does he            line 15 (“Nor does he
                          show that the               show that the
                          validation in CX-           validation in CX-
                          1313C.0297 is               1313C.0297 is
                          performed by                performed by
                          Subject to ITC PO ”)        Subject to ITC PO .”)



’305 Patent –        Begin: Appx434 (ID) at      Begin: Appx39143 (PHB)
      Limitation          line 20                     at line 19 (“Q3 also
      1[7], 8[7] –        (“Complainant               contends that the
      All                 argues that the             alleged interface on
      Respondents         alleged interface on        the accused controller
                          the accused controller      satisfies this
                          satisfies this              limitation by sending
                          limitation by sending       the retrieved
                          the retrieved               information to the
                          information to the          alleged intelligent
                          alleged intelligent         agent”)
                          agent”)

                                     50
         CONFIDENTIAL
        Case: 22-1957
                        MATERIAL REDACTED
                 Document: 18 Page: 59 Filed: 12/06/2022




SECTION          ID                         RESPONDENTS’ BRIEFING
     DESCRIPTION
                 End: Appx436 (ID) at line End: Appx39145 (PHB) at
                      22 (“The same is true      line 5 (“The same is
                      for the alleged            true for the alleged
                      interfaces for the         interfaces for the
                      accused NETGEAR            accused NETGEAR
                      and CommScope              and CommScope
                      controllers. See RX-       controllers. RX-
                      0863C (Min RWS) at         0863C at Q/A 218
                      Q/A 218                    (NETGEAR), 221
                      (NETGEAR), 221             (CommScope).”).
                      (CommScope).”)

’305 Patent –        Section V.C (“Domestic      Section VI.D (“Q3 Does
      Technical DI         Industry (Technical         Not Satisfy the
                           Prong”)                     Technical Prong of
                                                       the Domestic
                                                       Industry
                                                       Requirement for the
                                                       ’305 Patent”)

                     Begin: Appx437 (ID) at       Begin: Appx39185 (PHB)
                          line 21 (“As an initial      at line 18 (“Dr.
                          matter, Dr. Madisetti        Madisetti only maps
                          only maps the                the frontend code to
                          frontend code to the         the ’305 Patent
                          ‘305 patent claims.”)        claims”)

                     End: Appx446 (ID) at line  End: Appx39192 (PHB) at
                          2 (“that RSG900             line 1 (“that RSG900
                          does not even               does not even
                          Subject to ITC PO     ‘Subject to ITC PO       ,’
                                       ,’ which       which Q3 contends is
                          complainant argues is       the process for
                          the process for             generating a
                          generating a                determination
                          determination               result.”)
                          result”)


                                     51
         Case: 22-1957   Document: 18    Page: 60   Filed: 12/06/2022




    F.    The Commission’s Infringement Analysis for the ‘853 Patent Was
          Copied Wholesale from the Respondents’ Briefs.

SECTION            ID                          RESPONDENTS’ BRIEFING
      DESCRIPTION
’853 Direct        Section IV.B.2.a.i          Section V.B.1.a
      Infringement       (“Common Issue 1 –          (“Fundamental Issue
      Common             “communications             1–
      Issue 1            network””)                  ‘Communications
                                                     Network’”)
                   “Internal Transmission
                         Nodes”
                   Begin: Appx317 (ID) at      Begin: Appx39028 (PHB)
                         line 14                     at line 12 (“Q3’s
                         (“Complainant’s             alleged
                         alleged                     “communications
                         “communication’s            network” does not
                         network’ does not           read on the claims
                         read on the claims          …”)\
                         …”)
                   End: Appx323 at line 13     End: Appx39033 (PHB) at
                         (“Client devices            line 24 (“Client
                         cannot be internal          devices cannot be
                         transmission nodes of       internal transmission
                         the communication           nodes of the
                         network. Id.”)              communication
                                                     network”)
                   “Internal Transmission
                         Paths”

                    Begin: Appx323 (ID) at      Begin: Appx39035 (PHB)
                         line 16                     at line 15 (“Q3
                         (“Complainant               alleges that the
                         argues that the             connections between
                         connections between         the AP’s WLAN and
                         the AP’s WLAN and           its clients constitute
                         its clients constitute      multiple transmission
                         multiple transmission       paths …”)
                         paths …”)


                                    52
        Case: 22-1957    Document: 18      Page: 61     Filed: 12/06/2022




                     End: Appx325 (ID) at line End: Appx39037 (PHB) at
                           24 (“and therefore do         line 24 (“and
                           not infringe asserted         therefore do not
                           claims 1-9.”)                 infringe claims 1-9.)”
’853 Direct          Section IV.B.2.a.ii           Section V.B.1.b
      Infringement         (Common Issue 2 –             (“Fundamental Issue
      Common               “taking into account          2 – The Accused
      Issue 2              the overall                   Products do not
                           transmission                  Determine
                           capacity [of the              Permissibility by
                           communication                 “Taking Into
                           network]”                     Account the Overall
                                                         Transmission
                                                         Capacity [of the
                                                         Communication
                                                         Network]”)
                     Begin: Appx326 (ID) at        Begin: Appx39038 (PHB)
                           line 7 (“the claims           at line 18 (“the claims
                           require taking into           require taking into
                           account the                   account the capacities
                           capacities of the             of the transmission
                           transmission paths            paths and/or nodes of
                           and/or nodes of the           the entire
                           entire                        communications
                           communications                network, not just the
                           network, not just the         capacity of a single
                           capacity of a single          node …”)
                           node … ”)
                     End: Appx327 (ID) at line End: Appx39040 (PHB) at
                           18 (“. . . and thus, no       PHB at line 2 (“As
                           accused products              such, no accused
                           infringe any of the           products infringe any
                           asserted claims.”)            of the asserted
                                                         claims.”)

’853 Direct          Section IV.B.2.a.iii             Section V.B.1.c
      Infringement         (Common Issue 3 –                (“Fundamental Issue
      Common               “overall                         3 – Airtime or
      Issue 3              transmission                     Channel Utilization
                           capacity [of the                 cannot

                                      53
        Case: 22-1957   Document: 18     Page: 62     Filed: 12/06/2022




                          communications        satisfy the claimed
                          network]”                    “overall
                                                       transmission
                                                       capacity [of the
                                                communications
                                                       network]”)
                    Begin: Appx327 (ID) at      Begin: Appx39040 (PHB)
                         line 22 (“Even if an          at line 6 (“Even if an
                         AP’s WLAN could               AP’s WLAN could be
                         be considered the             considered the
                         “communication                “communication
                         network” in the ‘853          network” in the ’853
                         patent claims, …”)            Patent claims (it
                                                       cannot),…”)
                    End: Appx330 (ID) at line End: Appx39043 (PHB) at
                         6 (“…and therefore            line 19 (“…and
                         do not infringe               therefore do not
                         asserted claims 1-9 of        infringe asserted
                         the ‘853 patent.”)            claims 1-9 of the ‘853
                                                       patent.”)

HPE ’853 Patent     Section IV.B.2.b (“Claim        Section V.B.2.a (“HPE-
     Infringement         1: HPE Accused                  Specific Reasons for
     Introduction         Products”)                      Non Infringement”)
     and Claim 1
                    Begin: Appx330 (ID) at          Begin: Appx39043 (PHB)
                         line 10 (“There are             at line 24 (“There are
                         four primary reasons            four primary reasons
                         that the accused                that the accused
                         Aruba (HPE) APs do              Aruba APs do not
                         not infringe … ”)               infringe … ”)

                    End: Appx344 (ID) at line       End: Appx39058 (PHB) at
                         15 (“… for example              line 11 (“…for
                         because the alleged             example because the
                         communication                   alleged
                         network does not                communication
                         include any internal            network does not
                         transmission nodes              include any internal
                         that provide capacity           transmission nodes

                                    54
        Case: 22-1957   Document: 18     Page: 63     Filed: 12/06/2022




                         “available to the               that provide capacity
                         access node for                 “available to the
                         transmitting traffic            access node for
                         streams to the                  transmitting traffic
                         communications                  streams to the
                         network.” See RX-               communications
                         1195C (Acampora                 network.” (emphasis
                         WS) at Q/A 172.”)               added). RX-1195C
                                                         (Acampora WS) at
                                                         Q/A 172.”)
HPE ’853 Patent,   Section IV.B.2.c                 “Dependent Claims 2-9.”
     Dependent           (“Dependent Claims
     Claims              2-9: HPE Accused
                         Products”)

                   Begin: Appx344 (ID) at     Begin: Appx39058 (PHB)
                        line 17 (“Inasmuch as      at line 12 (“Because
                        the accused Aruba          the accused Aruba
                        products do not            products do not
                        infringe independent       infringe independent
                        claim 1, … ”)              claim 1, … ”)

                   End: Appx346 (ID) at line        End: Appx39059 (PHB) at
                        14 (“See claim                   line 19 (“See Element
                        element 1.3,                     1.3, discussing lack of
                        discussing lack of an            an “access control
                        “access control                  function” in the
                        function” in the                 APs.”)
                        APs.”)

NETGEAR/           Section IV.B.2.d (“Claim         Section V.B.2.b
    CommScope            1: NETGEAR and                   (“NETGEAR &
    ’853 Patent          CommScope                        CommScope-
    Introduction         Accused Products”)               Specific Reasons for
    and Claim 1                                           Non-Infringement”)

                   Begin: Appx346 (ID) at           Begin: Appx39059 (PHB)
                        line 17                          at line 22 (“Q3’s
                        (“Complainant’s                  infringement
                        infringement                     contentions for the

                                    55
       Case: 22-1957   Document: 18    Page: 64     Filed: 12/06/2022




                        contentions for the             accused NETGEAR
                        accused NETGEAR                 and CommScope
                        and CommScope                   products are
                        products are                    substantially the
                        substantially the               same, and will
                        same, and are                   therefore be
                        discussed together.”)           addressed together.”)

                  End: Appx352 (ID) at line       End: Appx39064 (PHB) at
                       3 (“… capacity                  line 16 (“…capacity
                       ‘available to the               ‘available to the
                       access node for                 access node for
                       transmitting traffic            transmitting traffic
                       streams to the                  streams to the
                       communications                  communications
                       network.’ See RX-               network.’ RX-1195C
                       1195C (Acampora                 at Q/A 172.”)
                       WS) at Q/A 172.”)

NETGEAR/          Section IV.B.2.e         “Dependent Claims 2-9.”
    CommScope           (“Dependent Claims
    ’853 Patent         2-9: NETGEAR and
    Dependent           CommScope
    Claims              Accused Products”)

                  Begin: Appx352 (ID) at          Begin: Appx39064 (PHB)
                       line 6 (“Inasmuch as            at line 17 (“Because
                       the accused                     the accused
                       NETGEAR and                     NETGEAR and
                       Ruckus APs do not               Ruckus APs do not
                       infringe independent            infringe independent
                       claim 1,                        claim 1, …”)
                  …”)
                  End: Appx353 (ID) at line       End: Appx39065 (PHB) at
                       6 (“See claim                   line 6 (“See Element
                       element 1.3,                    1.3, explaining lack of
                       explaining lack of an           an ‘access control
                       ‘access control                 function’ in the
                       function’ in the                APs.”)
                       APs.”)

                                  56
         Case: 22-1957    Document: 18     Page: 65     Filed: 12/06/2022




’853 Patent Direct  Section IV.B.3 (“Direct           Section V.B.3 (“Q3 Cannot
      Infringement,       Infringement of the               Prove Direct
      generally           ‘853 Patent” and                  Infringement of the
                          “Indirect                         ’853 Patent”)
                          Infringement of the
                          ‘853 Patent”)

                     Begin: Appx356 (ID) at           Begin: Appx39065 (PHB)
                           line 23                         at line 8 (“Q3’s
                           (“Complainant’s                 infringement theory
                           infringement theory             requires that another
                           requires that another           device—e.g., a client
                           device, e.g., a client          device manufacturer
                           device manufacturer             such as a cell phone,
                           such as a cell phone,           tablet, or computer
                           tablet, or computer             manufacturer—
                           manufacturer,                   provide …”)
                           provide …”)
                     End: Appx358 (ID) at line    End: Appx39066 (PHB) at
                           3 (“Complainant’s            line 14 (“Q3’s
                           arguments have not           conclusory assertions
                           shown alleged direct         fail to show alleged
                           infringement. See            direct infringement.
                           RX-1195C                     RX-1195C
                           (Acampora WS) at             (Acampora WS) at
                           Q/A 201-05; RDX-             Q/A 201-205; RDX-
                           0001C.0101, .0122,           0001C.0101, .0122,
                           .0138, .0143.”)              .0138, .0143.”)
’853 Patent Indirect “Indirect Infringement of    Section V.B.4 (“Q3 Cannot
      Infringement,        the ‘853 patent”             Prove Indirect
      generally                                         Infringement of the
                                                        ’853 Patent”)
                      Begin: Appx358 (ID) at      Begin: Appx39066 (PHB)
                           line 5 (“Complainant         at line (“Q3 alleges
                           argues that                  that Respondents’
                           respondents’                 customers indirectly
                           customers indirectly         infringe claims 1-9 of
                           infringe claims 1-9 of       the ’853 Patent.”)
                           the ‘853 patent.”)


                                      57
         Case: 22-1957   Document: 18    Page: 66     Filed: 12/06/2022




                    End: Appx358 (ID) at line       End: Appx39067 (PHB) at
                         23 (“…there is no                 line 7 (“… there is no
                         evidence that the                 evidence that the ’853
                         ‘853 patent’s method              Patent’s method
                         claims have been                  claims have been
                         performed because                 performed because
                         there is no evidence       there is no evidence of an
                         of an end-user or                 end-user or customer
                         customer performing               performing the
                         the accused                       accused functionality.
                         functionality. See                RX-1195C
                         RX-1195C                          (Acampora WS) at
                         (Acampora WS) at                  Q/A 208-210; RDX-
                         Q/A 208-10; RDX-                  0001C.0101, .0122,
                         0001C.0101, .0122,                .0138, .0143.”)
                         .0138, .0143.”)
’853 Patent -       Domestic Industry               Q3 Does Not Satisfy the
      Domestic           (Technical Prong)               Technical Prong of
      Industry                                           the Domestic
      (Technical                                         Industry
      Prong)                                        Requirement for the ’853
                                                         Patent

                    Begin: Appx359 (ID) at      Begin: Appx39067 (PHB)
                         line 15 (“As                at line 10 (“Q3 does
                         discussed below,            not satisfy the
                         complainant does not        requirements of the
                         satisfy the                 technical prong of
                         requirements of the         domestic industry...”)
                         technical prong of
                         domestic industry...”)

                    End: Appx359 (ID) at line End: Appx39067 (PHB) at
                         20 (“The second is a      line 14 (“The second
                         line of Siemens           is a line of Siemens
                         products referred to      products referred to as
                         as the Scalance           the Scalance W*7**
                         W*7** APs. See RX-        APs. RX-1195C
                         1195C (Acampora           (Acampora WS) at
                         WS) at Q/A 211.”)         Q/A 211..”)

                                    58
         Case: 22-1957   Document: 18    Page: 67     Filed: 12/06/2022




’853 Patent -       Domestic Industry               Q3 Does Not Satisfy the
      Domestic          (Technical Prong)                Technical Prong of
      Industry                                           the Domestic
      (Technical                                         Industry
      Prong)                                        Requirement for the ’853
                                                         Patent

                    Begin: Appx359 (ID) at    Begin: Appx39067 (PHB)
                         line 15 (“As              at line 10 (“Q3 does
                         discussed below,          not satisfy the
                         complainant does not      requirements of the
                                                   technical prong of
                                                   domestic industry...”)

                    End: Appx359 (ID) at line       End: Appx39067 (PHB) at
                         20 (“The second is a            line 14 (“The second
                         line of Siemens                 is a line of Siemens
                         products referred to            products referred to as
                         as the Scalance                 the Scalance W*7**
                         W*7** APs. …”)                  APs. ...”)

’853 Patent -       1. Scalance W1750D              1. Category 1: The
      Domestic                                            Scalance W1750D
      Industry –                                          Does Not Practice
      First                                               Claims 1-9
      Category
                    Begin: Appx359 (ID) at          Begin: Appx39067 (PHB)
                         line 22                         at line 16 (“Q3 asserts
                         (“Complainant                   that the Siemens
                         argues that the                 W1750D”)
                         Siemens W1750D”)

                    End: Appx360 (ID) at line       End: Appx39068 (PHB) at
                         13 (“does not satisfy           line 11 (“does not
                         the DI technical                satisfy the DI
                         prong. See RX-                  technical prong. RX-
                         1195C (Acampora                 1195C at Q/A 212-13,
                         WS) at Q/A 212-13,              218, 221, 223.”)
                         218, 221, 223.”)

                                    59
         Case: 22-1957   Document: 18    Page: 68     Filed: 12/06/2022




’853 Patent -       Begin: Appx360 (ID) at          Begin: Appx39674 (Reply
      Domestic           line 14                         PHB at line 11 (“Q3’s
      Industry –         (“Complainant’s                 assertions regarding
      First              arguments regarding             Dr. Balay’s”)
      Category           Dr. Balay’s”)

                    End: Appx361 (ID) at line       End: Appx39675 (Reply
                         13 (“Complainant’s              PHB at line 9 (“Q3’s
                         only allegation as to           only allegation as to
                         the Aruba APs”)                 the Aruba APs”)

’853 Patent -       2. Scalance W*7** APs           1. Scalance W7xx APs Do
      Domestic                                            Not Practice Claims
      Industry –                                          1-9 of the ’853
      Second                                              Patent
      Category
                    Begin: Appx361 (ID) at          Begin: Appx39673 (Reply
                         line 15                         PHB at line 20
                         (“Complainant’s                 (“Q3’s arguments as
                         arguments as to why             to why the “Scalance
                         the “Scalance                   W7xx””)
                         W7xx””)

                    End: Appx362 (ID) at line       End: Appx39674 (Reply
                         6 (“for the same                PHB at line 3 (“for
                         reasons provided                the same reasons
                         above with respect to           provided above with
                         respondents’                    respect to
                         products. See RX-               Respondents’
                         1195C (Acampora                 products. RPostHB at
                         WS) at Q/A 219-21,              59 (citing RX-1195C
                         223.”)                          at Q/A 219-21,
                                                         223).”)




                                    60
           Case: 22-1957     Document: 18     Page: 69   Filed: 12/06/2022




                                  CONCLUSION
      The Commission’s Final Determination, by copying almost verbatim the

Respondents’ briefing, failed to satisfy its obligation under the APA to offer a

reasoned explanation for its conclusions. It also entirely ignored contrary evidence

and argument offered by Q3. Accordingly, Q3 Networking respectfully requests

that this Court vacate the Commission’s Final Determination and remand to the

Commission to conduct its own independent analysis of the law and the facts

presented by the parties in the 1227 Investigation.



Dated: December 6, 2022                       Respectfully submitted,

                                              /s/ Patrick J. Conroy
                                              Patrick Conroy
                                              pat@nelbum.com
                                              Justin Kimble
                                              justin@nelbum.com
                                              T. William Kennedy Jr.
                                              bill@nelbum.com
                                              Jonathan H. Rastegar
                                              jon@nelbum.com
                                              NELSON BUMGARDNER CONROY PC
                                              2727 N. Harwood St. #250
                                              Dallas, TX 76107
                                              Tel. (214) 446.4950

                                              Counsel for Appellant
                                              Q3 Networking LLC




                                         61
Case: 22-1957   Document: 18   Page: 70   Filed: 12/06/2022




                    ADDENDUM
           Case: 22-1957   Document: 18    Page: 71   Filed: 12/06/2022




                    ADDENDUM TABLE OF CONTENTS

 Doc. No.                   Description                  Dated            Page
    and
Designation
 769711 -       Notice of Commission Determination      5/3/2022     Appx266
  Public
 758104 –            Final Initial Determination       12/7/2021     Appx269
Confidential
  Public             U.S. Patent No. 8,797,853                       Appx592

  Public             U.S. Patent No. 7,895,305                       Appx601

  Public             U.S. Patent No. 7,609,677                       Appx609
            Case: 22-1957        Document: 18        Page: 72     Filed: 12/06/2022




              UNITED STATES INTERNATIONAL TRADE COMMISSION
                               Washington, D.C.




  In the Matter of

  CERTAIN ROUTERS, ACCESS POINTS,
  CONTROLLERS, NETWORK                                     Investigation No. 337-TA-1227
  MANAGEMENT DEVICES, OTHER
  NETWORKING PRODUCTS, AND
  HARDWARE AND SOFTWARE
  COMPONENTS THEREOF


  NOTICE OF A COMMISSION DETERMINATION TO REVIEW IN PART A FINAL
 INITIAL DETERMINATION FINDING NO VIOLATION OF SECTION 337 AND, ON
REVIEW, TO AFFIRM THE FINDING OF NO VIOLATION; TERMINATION OF THE
                          INVESTIGATION

AGENCY:         U.S. International Trade Commission.

ACTION:         Notice.

SUMMARY: Notice is hereby given that the U.S. International Trade Commission has
determined to review in part a final initial determination (“ID”) issued by the presiding
administrative law judge (“ALJ”) on December 7, 2021, finding no violation of section 337 in
the above-referenced investigation and, on review, to affirm the finding of no violation. The
investigation is terminated.

FOR FURTHER INFORMATION CONTACT: Michael Liberman, Esq., Office of the
General Counsel, U.S. International Trade Commission, 500 E Street, SW, Washington, D.C.
20436, telephone (202) 205-2392. Copies of non-confidential documents filed in connection
with this investigation may be viewed on the Commission’s electronic docket (EDIS) at
https://edis.usitc.gov. For help accessing EDIS, please email EDIS3Help@usitc.gov. General
information concerning the Commission may also be obtained by accessing its Internet server at
https://www.usitc.gov. Hearing-impaired persons are advised that information on this matter
can be obtained by contacting the Commission’s TDD terminal on (202) 205-1810.

SUPPLEMENTARY INFORMATION: On October 28, 2020, the Commission instituted this
investigation under section 337 of the Tariff Act of 1930, as amended, 19 U.S.C. 1337, based on
a complaint filed by Q3 Networking LLC of Frisco, Texas (“Q3”). 85 FR 68367-68 (Oct. 28,
2020). The complaint alleged a violation of section 337 in the importation into the United
States, the sale for importation, or the sale within the United States after importation of certain
routers, access points, controllers, network management devices, other networking products, and




                                           Appx266
            Case: 22-1957         Document: 18       Page: 73      Filed: 12/06/2022




hardware and software components thereof by reason of infringement of certain claims of U.S.
Patent Nos. 7,609,677 (“the ’677 patent”); 7,895,305 (“the ’305 patent”); 8,797,853 (“the ’853
patent”); and 7,457,627 (“the ’627 patent”). The complaint also alleged the existence of a
domestic industry. The notice of investigation named as respondents: CommScope Holding
Company, Inc. of Hickory, North Carolina; CommScope, Inc. of Hickory, North Carolina; Arris
US Holdings, Inc. of Suwanee, Georgia; Ruckus Wireless, Inc. of Sunnyvale, California; Hewlett
Packard Enterprise Co. of Palo Alto, California; Aruba Networks, Inc. of Santa Clara, California;
and Netgear, Inc. of San Jose, California (collectively, “Respondents”). Id. at 68368. The
Commission’s Office of Unfair Import Investigations was not named as a party in this
investigation. Id.

        Subsequently, the Commission permitted complainant to amend the complaint and notice
of investigation to correct the corporate name of respondent Aruba Networks, Inc. to respondent
Aruba Networks, LLC. Order 15 (Mar. 5, 2021), unreviewed by Notice (Mar. 22, 2021). The
Commission also partially terminated the investigation by withdrawal of the ’627 patent. Order
No. 26 (July 1, 2021), unreviewed by Notice (Jul. 26, 2021).

        On December 7, 2021, the ALJ issued the final ID in this investigation, holding that no
violation of section 337 has occurred in the importation into the United States, the sale for
importation, or the sale within the United States after importation, of certain routers, access
points, controllers, network management devices, other networking products, and hardware and
software components thereof by reason of infringement of claims 1–6 of the ’677 patent; claims
1 and 8 of the ’305 patent; and claims 1–9 of the ’853 patent. 1

        The ID found that the accused products do not infringe the asserted claims of any of the
asserted patents. The ID also found that the domestic industry requirement (both technical and
economic prongs) has not been satisfied with respect to the ’853, ’305, and ’677 patents. The
ID further found that it has not been shown by clear and convincing evidence that the asserted
claims of the ’853, ’305, and ’677 patents are invalid.

        On December 20, 2021, Complainant Q3 filed a petition for review of various portions of
the ID. Also, on December 20, 2021, Respondents filed a contingent petition for review of
various portions of the ID. On December 28, 2021, both Respondents and Complainant filed
replies in response to the petition for review and the contingent petition for review, respectively.

        Having examined the record in this investigation, including the final ID, the petitions for
review, and the responses thereto, the Commission has determined to review in part the ID (1)
with respect to the economic prong of the domestic industry requirement, and on review, to take
no position, and (2) in order to correct certain non-substantive citation errors pertaining to the
ID’s technical prong findings regarding the ’305 patent, and on review, to correct those errors.

       1
         By failing to assert that Respondents infringe claims 2–3, 5, 6, 9, and 11–14 of the ’305
patent and claim 8 of the ’677 patent in its prehearing and posthearing briefs Complainant
abandoned the above-referenced claims under Ground Rule 7(c).


                                                 2

                                            Appx267
              Case: 22-1957      Document: 18        Page: 74     Filed: 12/06/2022




Specifically, the Commission cites to the following questions and answers from RX-1210C on
pages 166-73 of the ID: (i) Q/A 17 instead of Q/A 16 in the first full paragraph on page 166; (ii)
Q/A 32 instead of Q/A 28 on lines 3 and 10 in the first full paragraph on page 167; (iii) Q/A 24
instead of Q/A 22 in the first paragraph on page 168; (iv) Q/A 25 instead of Q/A 23 in the second
paragraph on page 168; (v) Q/A 26 instead of Q/A 24 in the first paragraph on page 169; (vi)
Q/A 29 instead of Q/A 28 in the second paragraph on page 169; (vii) Q/A 21-27 & 29 instead of
Q/A 19-25 on page 169; (viii) Q/A 33-35 instead of Q/A 29-32 and Q/A 35 instead of Q/A 31 in
the first paragraph on page 170 of the ID; (ix) Q/A 35 instead of Q/A 29-32 in the second
paragraph on page 170 of the ID; (x) Q/A 35-36 instead of Q/A 32 in the first paragraph on page
171 of the ID; (xi) Q/A 37 instead of Q/A 33 in the second paragraph on page 171 of the ID, in
the first full paragraph on page 172 of the ID, and in the first paragraph of page 173; and (xii)
Q/A 38-41 instead of Q/A 34-37 and Q/A 39 instead of Q/A 35 in the last paragraph on page
173. The Commission has determined not to review the remainder of the ID, including the ID’s
finding of no violation of section 337 in this investigation. 2, 3

       The investigation is hereby terminated.

       The Commission vote for this determination took place on May 3, 2022.

        The authority for the Commission’s determination is contained in section 337 of the
 Tariff Act of 1930, as amended, 19 U.S.C. 1337, and in Part 210 of the Commission’s Rules of
 Practice and Procedure, 19 CFR part 210.

           By order of the Commission.



                                                     Lisa R. Barton
                                                     Secretary to the Commission
 Issued:     May 3, 2022




       2
          With respect to the ’853 patent, Vice Chair Stayin would review the ID’s claim
construction of the term “overall transmission capacity,” and find the term should be given its
plain and ordinary meaning. Nonetheless, Vice Chair Stayin agrees that even under this revised
construction the accused products do not infringe the asserted claims of the ’853 patent, and the
domestic industry products do not practice the claims of the ’853 patent, for many of the reasons
articulated in the ID. Accordingly, he joins the Commission’s decision to affirm the ID’s
findings of no violation as to the ’853 patent.
       3
          Chair Kearns and Vice Chair Stayin note that they do not read anything in the ID (see,
e.g., ID at 207 and 260-61) as foreclosing a finding of a violation of section 337, under
appropriate facts, based on direct infringement by a respondent where the accused article is
combined post-importation with other articles to infringe an asserted patent claim.


                                                 3

                                           Appx268
        Case: 22-1957        Document: 18       Page: 75      Filed: 12/06/2022




                                     Public Version




          UNITED STATES INTERNATIONAL TRADE COMMISSION
                      WASHINGTON, D.C. 20436




 In the Matter of

 CERTAIN ROUTERS, ACCESS
 POINTS, CONTROLLERS, NETWORK
 MANAGEMENT DEVICES, OTHER                                   Inv. No. 337-TA-1227
 NETWORKING PRODUCTS, AND
 HARDWARE AND SOFTWARE
 COMPONENTS THEREOF



                        FINAL INITIAL DETERMINATION
                      Administrative Law Judge David P. Shaw

       Pursuant to the notice of investigation, 85 Fed. Reg. 68367 (Oct. 28, 2020), this is

the Initial Determination in Certain Routers, Access Points, Controllers, Network

Management Devices, Other Networking Products, and Hardware and Software

Components Thereof, United States International Trade Commission Investigation No.

337-TA-1227.

       It is held that a violation of section 337 (19 U.S.C. § 1337) has not occurred with

respect to U.S. Patent No. 8,797,853; U.S. Patent No. 7,895,305; and U.S. Patent No.

7,609,677.




                                       Appx269
            Case: 22-1957    Document: 18     Page: 76     Filed: 12/06/2022

                                  Public Version



                             TABLE OF CONTENTS



I.     Background ……………………………………………………………….….                                      1

       A.     Institution of the Investigation; Procedural History …………..……...     1

       B.     The Parties ………………………….……………….….……………..                              3

       C.     Asserted Patents and Technological Background ……………….…....           5

       D.     The Accused Products ……………………………………………….                             6

       E.     The Domestic Industry Products …………………………………….                      14

II.    Jurisdiction and Importation ………….………………………………….…..                        15

III.   General Principles of Applicable Law …..………………………………..….                   16

IV.    United States Patent No. 8,797,853 …………………………………...……..                    26

       A.     Claim Construction ……….…………………………………………..                           28

       B.     Infringement …………………………………………………………..                               41

       C.     Domestic Industry (Technical Prong) ………………………………….                  87

       D.     Validity ………………………………………………………………..                                 90

V.     United States Patent No. 7,895,305 …………………………………...……..                   103

       A.     Claim Construction ……….…………………………………………..                          106

       B.     Infringement …………………………………………………………..                              116

       C.     Domestic Industry (Technical Prong) ………………………………….                 165

       D.     Validity ………………………………………………………………..                                174

VI.    United States Patent No. 7,609,677 …………………………………...……..                   185

       A.     Claim Construction ……….…………………………………………..                          187

       B.     Infringement …………………………………………………………..                              201




                                      Appx270
             Case: 22-1957   Document: 18    Page: 77   Filed: 12/06/2022

                                 Public Version



        C.     Domestic Industry (Technical Prong) ………………………………….           263

        D.     Validity ………………………………………………………………..                          266

VII.    Domestic Industry (Economic Prong) ………..……………………….……….              290

VIII.   Conclusions of Law ………………………………………………….………                          306

IX.     Initial Determination on Violation ………………………………….………..              306

X.      Recommended Determination on Remedy and Bondi……………….………..           307

XI.     Order ………………………………………………………………...………..                              318




                                       ii

                                     Appx271
     Case: 22-1957          Document: 18     Page: 78     Filed: 12/06/2022

                                     Public Version



The following abbreviations may be used in this Initial Determination:

                      ALJ     -      Administrative Law Judge

                      CDX -          Complainant’s Demonstrative Exhibit

                      CPX     -      Complainant’s Physical Exhibit

                      CX      -      Complainant’s Exhibit

                      Dep.    -      Deposition

                      EDIS -         Electronic Document Imaging System

                      JPX     -      Joint Physical Exhibit

                      JX      -      Joint Exhibit

                      P.H.    -      Prehearing

                      RDX -          Respondents’ Demonstrative Exhibit

                      RPX     -      Respondents’ Physical Exhibit

                      RWS -          Rebuttal Witness Statement

                      RX      -      Respondents’ Exhibit

                      SRWS -         Supplemental Rebuttal Witness Statement

                      SWS -          Supplemental Witness Statement

                      Tr.     -      Transcript

                      WS      -      Witness Statement




                                           iii

                                   Appx272
         Case: 22-1957        Document: 18       Page: 79      Filed: 12/06/2022

                              Public Version
I.     Background

       A.      Institution of the Investigation; Procedural History

       By publication of a notice in the Federal Register on October 28, 2020, pursuant

to subsection (b) of section 337 of the Tariff Act of 1930, as amended, the Commission

instituted this investigation to determine:

               [W]hether there is a violation of subsection (a)(1)(B) of
               section 337 in the importation into the United States, the
               sale for importation, or the sale within the United States
               after importation of certain products identified in paragraph
               (2) by reason of infringement of one or more of claims 1–3
               and 8 of the ‘627 patent [U.S. Patent No. 7,457,627];
               claims 1–6 and 8 of the ‘677 patent [U.S. Patent No.
               7,609,677]; claims 1–3, 5, 6, 8, 9, and 11–14 of the ‘305
               patent [U.S. Patent No. 7,895,305]; and claims 1–9 of the
               ‘853 patent [U.S. Patent No. 8,797,853], and whether an
               industry in the United States exists as required by
               subsection (a)(2) of section 337.

85 Fed. Reg. 68367 (Oct. 28, 2020).

       Pursuant to section 210.10(b)(1) of the Commission’s Rules of Practice and

Procedure, 19 C.F.R. § 210.10(b)(1):

               [T]he plain language description of the accused products or
               category of accused products, which defines the scope of
               the investigation, is “Wi-Fi networking products, routers,
               satellites, extenders, Wi-Fi systems, mesh networks, mesh
               systems, gateways, modems, access points, controllers,
               network management devices, storage systems, switches,
               bridges, wireless services modules, wireless subscriber
               units, base stations, adapters, other networking products,
               and their related software/applications.”

Id.

       The complainant is Q3 Networking LLC of Frisco, Texas. The respondents are:

            1. CommScope Holding Company, Inc. of Hickory, North Carolina;
            2. CommScope, Inc. of Hickory, North Carolina;



                                         Appx273
           Case: 22-1957       Document: 18        Page: 80      Filed: 12/06/2022

                              Public Version
            3. Arris US Holdings, Inc. of Suwanee, Georgia;
            4. Ruckus Wireless, Inc. of Sunnyvale, California;
            5. Hewlett Packard Enterprise Co. of Palo Alto, California;
            6. Aruba Networks, Inc. of Santa Clara, California; and
            7. Netgear, Inc. of San Jose, California.

The Office of Unfair Import Investigations is not a party to this investigation. Id.

       The target date for completion of this investigation was originally set at 16

months, i.e., February 28, 2022, with an evidentiary hearing scheduled to commence on

June 23, 2021. See Order No. 3 (Nov. 6, 2020); Order No. 5 (Nov. 18, 2021).

       The Commission affirmed the following initial determinations:

       x    Order No. 15 (Initial Determination Granting Motion to Amend the Complaint
            and Notice of Investigation) (Mar. 5, 2021), aff’d, Commission Determination
            Not to Review an Initial Determination Granting Complainant’s Motion to
            Amend the Complaint and the Notice of Investigation (Mar. 22, 2021).

       x    Order No. 18 (Initial Determination Granting Joint Motion to Extend the
            Target Date and Amend the Procedural Schedule) (Mar. 30, 2021), aff’d,
            Commission Determination Not to Review an Initial Determination Extending
            the Target Date for Completion of the Investigation (Apr. 15, 2021).

       x    Order No. 26 (Initial Determination Granting Motion for Partial Termination
            by Withdrawal of U.S. Patent No. 7,457,627) (July 1, 2021), aff’d,
            Commission Determination Not to Review an Initial Determination
            Terminating the Investigation as to U.S. Patent No. 7,457,627 (July 26, 2021).

       As noted above, on March 30, 2021, the undersigned issued Order No. 18 (initial

determination) granting a motion to extend the target date. Order No. 18 set the target

date at approximately seventeen months and one week, i.e., April 7, 2022, which made

the deadline for this initial determination December 7, 2021. Additionally, the

undersigned issued Order No. 19 (Amended Procedural Schedule) which scheduled the

evidentiary hearing to commence on July 28, 2021. See Order No. 19 (Mar. 30, 2021).



                                             2

                                         Appx274
           Case: 22-1957       Document: 18        Page: 81       Filed: 12/06/2022

                               Public Version
       A prehearing conference was held on July 28, 2021, with the evidentiary hearing

in this investigation commencing immediately thereafter. The hearing concluded on July

30, 2021. See P.H. Tr. 1-20; Tr. 1-753. The parties were requested to file post-hearing

briefs not to exceed 300 pages in length, and to file reply briefs not to exceed 100 pages

in length. See Order No. 29 (July 21, 2021). On August 17, 2021, the parties filed a joint

outline of the issues to be decided in the Final Initial Determination. See Joint Outline of

the Issues to Be Decided (“Joint Outline”) (EDIS Doc. ID No. 749840). On August 27,

2021, the parties filed a joint outline for the reply briefs. See Joint Outline of Issues to Be

Decided in the Final Initial Determination (“Joint Reply Outline”) (EDIS Doc. ID No.

750442).

       B.      The Parties

               1.      Complainant

       The complainant is Q3 Networking LLC (“Q3” or “Q3Net”) of Frisco, Texas. 85

Fed. Reg. 68367 (Oct. 28, 2020). Q3 obtained ownership of the asserted patents from

Siemens Aktiengesellschaft (“Siemens AG”), a corporation under the Federal laws of

Germany, through a patent assignment on May 7, 2020. See CX-0002 (Patent

Assignment); CX-0003 (Recorded Patent Assignment); CX-0011C (Patent Assignment

Agreement). By virtue of a license back by complainant’s predecessor-in-interest,

Siemens AG and its licensees, including Siemens Industry, Inc. (“SII”) are licensed to

practice each of the asserted patents. See Compl. Br. at 2 (citing CX-0011C.0003).

               2.      Respondents

       As noted above, the named respondents are:

            1. CommScope Holding Company, Inc. of Hickory, North Carolina;
                                              3

                                          Appx275
           Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 82 Filed: 12/06/2022

                                           Public Version
           2. CommScope, Inc. of Hickory, North Carolina;
           3. Arris US Holdings, Inc. of Suwanee, Georgia;
           4. Ruckus Wireless, Inc. of Sunnyvale, California;
           5. Hewlett Packard Enterprise Co. of Palo Alto, California;
           6. Aruba Networks, Inc. of Santa Clara, California; and
           7. Netgear, Inc. of San Jose, California.

85 Fed. Reg. 68367 (Oct. 28, 2020).

        “HPE”

       Respondent Hewlett Packard Enterprise Company is an information technology

company founded in 2015 as part of the reorganization of the Hewlett-Packard Company,

a company formed in a Palo Alto, California in the 1930s. See Resps. Br. at 6.

Respondent Aruba Networks, LLC, is a California-based corporation founded in 2002,

and operates as a subsidiary of Hewlett Packard Enterprise Company. Id. Collectively,

these two respondents are referred to as “HPE” or the “HPE respondents.” HPE’s

business includes enterprise mobility solutions across the globe, including Wi-Fi access

points, switches, routers, and cloud-based management solutions. HPE’s U.S. business
                Redacted in Public Ve                                          Redacted in Pu

includes over                       employees and accounts for approximately                    of its annual

revenue. Id. at 7.

       “CommScope”

       Respondent CommScope Holding Company, Inc. was founded in 1976 and is

headquartered in Hickory, North Carolina. Three of its subsidiaries (CommScope, Inc.,

ARRIS US Holdings, Inc., and Ruckus Wireless, Inc.) are also respondents in this

investigation. Collectively, these respondents are referred to as “CommScope” or the

“CommScope respondents.” CommScope offers communications and entertainment


                                                         4

                                                     Appx276
                        Confidential
                    Case: 22-1957     Material
                                Document:           Redacted
                                          18 Page: 83 Filed: 12/06/2022

                                        Public Version
network infrastructure solutions, through specialized resellers and distributors, and
                                                                                                              Redacted in Public Ve

directly to customers. See Resps. Br. at 7. CommScope employs nearly                                                                  people
                                           Redacted in Public Version
worldwide, with approximately                                           of them working in the U.S. Approximately
Redacted in Pu

                 of CommScope’s total net sales are generated in the United States. Id.

                   “NETGEAR”

                   Respondent NETGEAR, Inc. (or Netgear, Inc. or “NETGEAR”) is a Delaware

corporation founded in 1996 and headquartered in San Jose. See Resps. Br. at 7.

NETGEAR designs, develops, and markets networking and Internet products for

consumers, businesses, and service providers. Id. NETGEAR offers smart home and

broadband access products that create and extend wired and wireless networks in homes,

enable connection to broadband networks; it also provides a suite of value-added services
                                                                                             Redacted in Pu

that enhance such networks. NETGEAR generates approximately                                                   of its revenue in

the United States. Id.

                   C.     Asserted Patents and Technological Background

                   United States Patent No. 8,797,853 (“the ‘853 patent”), entitled “System and

method for checking the permissibility of a use of a service,” issued on August 5, 2014,

to named inventors Rudolf Bitzinger, Christian Prehofer and Viktor Ransmayr. JX-0003

(‘853 Patent). The ‘853 patent issued from Application No. 10/239,525, filed on March

27, 2003. Id. This application claims priority to International Application No.

PCT/DE01/00863 which was published in German, on September 27, 2001. Id. at 1:7-9.

The ‘853 patent relates to “a system and method for checking the permissibility of a use

of a service” (JX-0003 at 1:14-15), and “[t]he invention discloses a method for checking

the permissibility of the transmission of a packet stream in a communications network”
                                                                         5

                                                              Appx277
         Case: 22-1957           Document: 18    Page: 84      Filed: 12/06/2022

                             Public Version
(id. at 3:28-30). The ‘853 patent has a total of 13 claims. Complainant asserts method

claims 1-9 of the ‘853 patent.

       United States Patent No. 7,895,305 (“the ‘305 patent”), entitled “Web-based

management engine and system,” issued on February 22, 2011, to named inventors

Richard Beton, and Robert Hancock. JX-0002 (‘305 Patent). The ‘305 patent issued

from Application No. 10/416,006, filed on October 27, 2003. Id. The ‘305 patent relates

to “a Web-based management engine and system of the type used to monitor and/or

control the operation of a network entity, for example, a server or a network router.” JX-

0002 at 1:4-7. The ‘305 patent has a total of 17 claims. Complainant asserts apparatus

claims 1 and 8 of the ‘305 patent.

       United States Patent No. 7,609,677 (“the ‘677 patent”), entitled “Internet protocol

based information transmission in a radio communication system,” issued on October 27,

2009, to named inventors Enric Mitjana, and Maximilian Riegel. JX-0001 (‘677 Patent).

The ‘677 patent issued from Application No. 10/507,850, filed on April 25, 2005. Id.

This application claims priority to European Application No. 020 06 022.4 filed on

March 15, 2002. Id. at 1:8-10. The ‘677 patent relates to “a method for transmitting

information in a communication system with at least two communicating devices.” JX-

0001 at 1:16-18. The ‘677 patent has a total of 16 claims. Complainant asserts method

claims 1-6 of the ‘677 patent.

       D.      The Accused Products

       Complainant argues, “the Accused Products include routers, access points,

controllers, network management devices, other networking products, and hardware and

software components thereof.” Compl. Br. at 7. Complainant argues that the following
                                            6

                                        Appx278
     Case: 22-1957         Document: 18     Page: 85      Filed: 12/06/2022

                           Public Version                                 N



products are accused of infringement:

                      1.     Accused Products that Infringe the ‘677 Patent

              The HPE products that infringe the ‘677 Patent include HPE’s:
       AP-303, AP-303P, AP-304, AP-305, AP-314, AP-315, AP-320, AP-324,
       AP-325, AP-334, AP-335, AP-344, AP-345, AP-504, AP-505, AP-514,
       AP-515, AP-534, AP-535,AP-555, AP-318, AP-518, AP-203H, AP-303H,
       AP-505H, AP-365, AP-367, AP-374,AP-375, AP-377, AP-387, AP-565,
       AP-567, AP-574, AP-575, AP-577, AP-203R, AP-203RP, AP-303HR,
       and any substantially similar models; and the 7200 series (e.g., 7205,
       7210, 7220, 7280, 7240XM), 7000 series (e.g., 7005, 7008,7010, 7024,
       7030), and 9000 series (e.g., 9004 and 9000) and any substantially similar
       models.

             The CommScope products that infringe the ‘677 Patent include
       CommScope’s: C110; E510; H320; H510; M510; R310; R320; R510;
       R550; R610; R650; R710; R720; R730; R750; R850; T305; T310c;
       T310d; T310n; T310s; T300e; T610; T610s; T710; T710s; T750; T811;
       7781-CM; P300 and any substantially similar models.

            The NETGEAR products that infringe the ‘677 Patent include
       NETGEAR’s: EX6100; WAC510; RBR750; RBS750; BR500-100NAS;
       EAX20-100NAS; EAX80-100NAS; EX6100-100NAS; EX6150-100NAS;
       EX6250-100NAS; EX6400-100NAS;EX7000-100NAS; EX7300-
       100NAS; EX7500-100NAS; EX8000-100NAS; LBR20-100NAS; MK62-
       100CNS; MK63-100CNS; MS60-100NAS; R6220-100NAS; R6230-
       100NAS; R6260-100NAS; R6350-100NAS; R6400-100NAS; R6700-
       100NAS; R6850-100NAS; R6900-200NAS; R7000-100CNS; R7200-
       100CNS; R7350-100NAS; R7400-100NAS; R7450-100NAS; R7800-
       100NAS; R7850-100NAS; R7900P-100NAS;R7960P-100NAS; R8000-
       100NAS; R9000-100NAS; RAX120-100NAS; RAX200-100CNS;
       RAX20-100NAS; RAX35-100NAS; RAX38-100NAS; RAX40-
       100NAS;RAX45-100NAS; RAX50-100NAS; RAX75-100NAS; RAX80-
       100NAS; RBK12-100NAS; RBK13-100NAS; RBK14-100NAS;
       RBK20W-100NAS; RBK22-100MXS;RBK23-100NAS; RBK43S-
       100NAS; RBK44-100NAS; RBK50-100NAS; RBK53S-100NAS;
       RBK752-100NAS; RBK753-100NAS; RBK842-1CCNAS; RBK852-
       100NAS; RBK853-100NAS; RBR20-100NAS; RBS10-100NAS; RBS20-
       100NAS;RBS50-100NAS; RBS750-100NAS; RBS850-100NAS;
       RBW30-100NAS; SRC60-100NAS; SRK60-100NAS; SRR60-100NAS;
       WAC104-100NAS; WAC124-100NAS;WAC510-100NAS; WAC540-
       100NAS; WAC564-100NAS; WAC720-100NAS;WAC730-100NAS;
       XR300-100NAS; XR500-100NAS; XRM570-100NAS; EAX11-100NAS;
       EAX12-100NAS; EAX14-100NAS; EAX15-100NAS; EAX18-

                                           7

                                   Appx279
Case: 22-1957        Document: 18      Page: 86     Filed: 12/06/2022

                     Public Version                                   N



 100NAS;EX2700-100PAS; EX2800-1AZNAS; EX3110-100NAS;
 EX3700-100NAS; EX5000-1AZNAS; EX6110-100NAS; EX6120-
 100NAS; EX7700-100NAS; R6020-100NAS;R6080-100NAS; R6120-
 100NAS; R6330-1AZNAS; R6700AX-1AZNAS; R7000P-100AUS;
 R8000P-1AZNAS; RAX10-100NAS; RAX30-100NAS; RAX42-
 100NAS;RAX43-100NAS; RAX48-100NAS; RAX70-100NAS; RAX78-
 100NAS; RAXE500-100NAS; RBK53-100NAS; RBK962-100NAS;
 RBK963-100NAS; RBS960-100NAS; SRK60B03-100NAS; SRK60B04-
 100NAS; SRK60B05-100NAS; SRK60B06-100NAS; SRS60-100NAS;
 SXK30-100NAS; SXK30B3-100NAS; SXK30B4-100NAS;SXK80-
 100NAS; SXK80B3-100NAS; SXK80B4-100NAS; SXR30-100NAS;
 SXS30-100NAS; SXS80-100NAS; WAC510B03-100NAS; WAC510PA-
 100NAS;WAC540PA-100NAS; WAX202-100NAS; WAX204-100NAS;
 WAX206-100NAS; WAX214-100NAS; WAX214PA-100NAS;
 WAX218-100NAS; WAX218PA-100NAS;WAX610-100NAS;
 WAX610PA-100NAS; WAX610Y-100NAS; WAX620-
 100NAS;WAX620PA-100NAS; WAX630-100NAS; WAX630PA-
 100NAS; XR1000-100CNS and any substantially similar models.

                2.     Accused Products that Infringe the ‘853 Patent

         The HPE products that infringe the ‘853 Patent include HPE’s:
 AP11, AP11D, AP12, AP15 AP17, AP22, AP-303, AP-303P, AP-304,
 AP-305, AP-314, AP-315, AP-320, AP-324, AP-325, AP-334, AP-335,
 AP-344, AP-345, AP-504, AP-505, AP-514, AP-515, AP-534, AP-535,
 AP-555, AP-318, AP-518, AP-203H, AP-303H, AP-505H,AP-365, AP-
 367, AP-374, AP-375, AP-377, AP-387, AP-565, AP-567, AP-574, AP-
 575, AP-577, AP-203R, AP-203RP, AP-303HR, and substantially similar
 models7200 series (e.g., 7205, 7210, 7220, 7280, 7240XM), 7000 series
 (e.g., 7005, 7008,7010, 7024, 7030), and 9000 series (e.g., 9004 and 9000)
 and substantially similar models.

       The CommScope products that infringe the ‘853 Patent include
 CommScope’s: C110; E510; H320; H510; M510; R310; R320; R510;
 R550; R610; R650; R710; R720; R730; R750; R850; T305; T310c;
 T310d; T310n; T310s; T300e; T610; T610s; T710; T710s; T750; T811;
 7781-CM; P300, and substantially similar models.

       The NETGEAR products that infringe the ‘853 Patent include
 NETGEAR’s: WAC510; WAC540; WAC564 and substantially similar
 models.

                3.     Accused Products that Infringe the ‘305 Patent

        The HPE Products that infringe the ‘305 Patent are the same HPE
 products that infringe the ‘677 Patent, as listed above, in Section I.E.1.

                                      8

                             Appx280
      Case: 22-1957       Document: 18         Page: 87   Filed: 12/06/2022

                         Public Version                                   N



       Likewise, the CommScope Products that infringe the ‘305 Patent are the
       same as those listed in Section I.E.1, in addition to the following
       CommScope controllers: ZoneDirector 1200, vSZ-E, vSZ-H, vSZ-D,
       SZ100, SZ300, and substantially similar products. The NETGEAR
       products that infringe the ‘305 Patent include NETGEAR’s: WAC720-
       100NAS and WAC730-100NAS and substantially similar products; and
       WC9500, WC7600, WC7500 and substantially similar products.

Compl. Br. at 7-10.

       Respondents argue:

               Respondents’ accused products are different kinds of Wi-Fi
       networking products, including access points, controllers, and routers.
       Respondents’ accused products are generally sold to businesses, but not
       specifically marketed to industrial customers. The specific products Q3
       alleges of infringing the Asserted Patents are listed in Appendix A.

Resps. Br. at 7-8.

       Respondents argue that the following products are accused of infringement:

                                         HPE

              Q3 alleges that the Aruba APs (AP11, AP11D, AP12, AP15 AP17,
       AP22, AP-303, AP-303P, AP-304, AP-305, AP-314, AP-315, AP-320,
       AP-324, AP-325, AP-334, AP-335, AP-344, AP-345, AP-504, AP-505,
       AP-514, AP-515, AP-534, AP-535, AP-555, AP-318, AP-518, AP-203H,
       AP-303H, AP-505H, AP-365, AP-367, AP-374, AP-375, AP-377, AP-
       387, AP-565, AP-567, AP-574, AP-575, AP-577, AP-203R, AP-203RP,
       AP-+5 LQIULQJHWKH‫ތ‬3DWHQW&;-3846C (Madisetti WS) at Q/A
       171. Q3 alleges that the Aruba APs and controllers (7205, 7210, 7220,
       7280, 7240XM, 7005, 7008, 7010, 7024, 7030, 9004, and 9000) infringe
       WKH‫ތ‬DQG‫ތ‬3DWHQWVId. at Q/As 291, 542.

                                     NETGEAR

              Q3 alleges that the NETGEAR APs (WAC510; WAC540;
       :$& LQIULQJHWKH‫ތ‬3DWHQW&;-3846C (Madisetti WS) at Q/A
       109. Q3 alleges that the NETGEAR products that provide Wi-Fi
       connectivity (EX6100; WAC510; RBR750; RBS750; BR500-100NAS;
       EAX20-100NAS; EAX80-100NAS; EX6100-100NAS; EX6150-100NAS;
       EX6250-100NAS; EX6400-100NAS; EX7000-100NAS; EX7300-
       100NAS; EX7500-100NAS; EX8000-100NAS; LBR20-100NAS; MK62-
       100CNS; MK63-100CNS; MS60-100NAS; R6220-100NAS; R6230-
       100NAS; R6260-100NAS; R6350-100NAS; R6400-100NAS; R6700-

                                           9

                                    Appx281
Case: 22-1957     Document: 18      Page: 88     Filed: 12/06/2022

                 Public Version                                  N



 100NAS; R6850-100NAS; R6900-200NAS; R7000-100CNS; R7200-
 100CNS; R7350-100NAS; R7400-100NAS; R7450-100NAS; R7800-
 100NAS; R7850-100NAS; R7900P-100NAS; R7960P-100NAS; R8000-
 100NAS; R9000-100NAS; RAX120-100NAS; RAX200-100CNS;
 RAX20-100NAS; RAX35-100NAS; RAX38-100NAS; RAX40-100NAS;
 RAX45-100NAS; RAX50-100NAS; RAX75-100NAS; RAX80-100NAS;
 RBK12-100NAS; RBK13-100NAS; RBK14-100NAS; RBK20W-
 100NAS; RBK22-100MXS; RBK23-100NAS; RBK43S-100NAS;
 RBK44-100NAS; RBK50-100NAS; RBK53S-100NAS; RBK752-
 100NAS; RBK753-100NAS; RBK842-1CCNAS; RBK852-100NAS;
 RBK853-100NAS; RBR20-100NAS; RBS10-100NAS; RBS20-100NAS;
 RBS50-100NAS; RBS750-100NAS; RBS850-100NAS; RBW30-
 100NAS; SRC60-100NAS; SRK60-100NAS; SRR60-100NAS;
 WAC104-100NAS; WAC124-100NAS; WAC510-100NAS; WAC540-
 100NAS; WAC564-100NAS; WAC720-100NAS; WAC730-100NAS;
 XR300-100NAS; XR500-100NAS; XRM570-100NAS; EAX11-100NAS;
 EAX12-100NAS; EAX14-100NAS; EAX15-100NAS; EAX18-100NAS;
 EX2700-100PAS; EX2800-1AZNAS; EX3110-100NAS; EX3700-
 100NAS; EX5000-1AZNAS; EX6110-100NAS; EX6120-100NAS;
 EX7700-100NAS; R6020-100NAS; R6080-100NAS; R6120-100NAS;
 R6330-1AZNAS; R6700AX-1AZNAS; R7000P-100AUS; R8000P-
 1AZNAS; RAX10-100NAS; RAX30-100NAS; RAX42-100NAS;
 RAX43-100NAS; RAX48-100NAS; RAX70-100NAS; RAX78-100NAS;
 RAXE500-100NAS; RBK53-100NAS; RBK962-100NAS; RBK963-
 100NAS; RBS960-100NAS; SRK60B03-100NAS; SRK60B04-100NAS;
 SRK60B05-100NAS; SRK60B06-100NAS; SRS60-100NAS; SXK30-
 100NAS; SXK30B3-100NAS; SXK30B4-100NAS; SXK80-100NAS;
 SXK80B3-100NAS; SXK80B4-100NAS; SXR30-100NAS; SXS30-
 100NAS; SXS80-100NAS; WAC510B03-100NAS; WAC510PA-
 100NAS; WAC540PA-100NAS; WAX202-100NAS; WAX204-100NAS;
 WAX206-100NAS; WAX214-100NAS; WAX214PA-100NAS;
 WAX218-100NAS; WAX218PA-100NAS; WAX610-100NAS;
 WAX610PA-100NAS; WAX610Y-100NAS; WAX620-100NAS;
 WAX620PA-100NAS; WAX630-100NAS; WAX630PA-100NAS;
 XR1000-&16 LQIULQJHWKH‫ތ‬3DWHQWId. at Q/A 429. Q3 alleges
 the NETGEAR APs (WAC720-100NAS and WAC730-100NAS) and
 FRQWUROOHUV :&:&:& LQIULQJHWKH‫ތ‬3DWHQWId. at
 Q/A 618.

                            COMMSCOPE

        Q3 alleges that the Ruckus APs (C110; E510; H320; H510; M510;
 R310; R320; R510; R550; R610; R650; R710; R720; R730; R750; R850;
 T305; T310c; T310d; T310n; T310s; T300e; T610; T610s; T710; T710s;
 T750; T811; 7781-CM; P300) alone, or with the ZoneDirector 1220

                                   10

                           Appx282
         Case: 22-1957       Document: 18       Page: 89     Filed: 12/06/2022

                            Public Version
       FRQWUROOHULQIULQJHWKH‫ތ‬3DWHQW&;-3846C (Madisetti WS) at Q/A 52.
       Q3 alleJHVWKH5XFNXV$3VLQIULQJHWKH‫ތ‬3DWHQWId. at Q/A 391. Q3
       alleges that the Ruckus APs and CommScope controllers (ZoneDirector
       1200, vSZE, vSZ-H, vSZ-'6=6= LQIULQJHWKH‫ތ‬3DWHQWId.
       at Q/A 595.

                                      SIEMENS

               Q3 alleges the Scalance W1750D, the Scalance W7xx series
       (consisting of the WLC71x, W72x, W73x, W73fx, W74x, W76x, W77x,
       DQG:[ SUDFWLFHWKH‫ތ‬3DWHQW&;-3846C (Madisetti WS) at Q/A
       242. Q3 alleges that the Scalance W7xx series (consisting of the W72x,
       W73x, W73fx, W74x, W76x, W77x, and W78x) and the W1750D
       SUDFWLFHWKH‫ތ‬3DWHQWId. at Q/As 501, 525. Q3 alleges that the
       RuggedCom RX1400 switch, the RX1500 switch and router, and the
       56*SUDFWLFHWKH‫ތ‬3DWHQWId. at Q/A 643.

Resps. Br. at Appendix A.

       Thus, as shown in the parties’ arguments above, for the ‘853 patent, (1) HPE

accused products are Aruba APs (AP11, AP11D, AP12, AP15 AP17, AP22, AP-303, AP-

303P, AP-304, AP-305, AP-314, AP-315, AP-320, AP-324, AP-325, AP-334, AP-335,

AP-344, AP-345, AP-504, AP-505, AP-514, AP-515, AP-534, AP-535, AP-555, AP-318,

AP-518, AP-203H, AP-303H, AP-505H, AP-365, AP-367, AP-374, AP-375, AP-377,

AP-387, AP-565, AP-567, AP-574, AP-575, AP-577, AP-203R, AP-203RP, AP-303HR);

(2) NETGEAR accused products are NETGEAR APs (WAC510; WAC540; WAC564);

and (3) CommScope accused products are Ruckus APs (C110; E510; H320; H510;

M510; R310; R320; R510; R550; R610; R650; R710; R720; R730; R750; R850; T305;

T310c; T310d; T310n; T310s; T300e; T610; T610s; T710; T710s; T750; T811; 7781-

CM; P300) alone, or with the ZoneDirector 1220 controller. See Compl. Br. at 7-10;

Resps. Br. at Appendix A.

       With respect to the ‘305 patent, (1) HPE accused products are Aruba APs (AP11,



                                          11

                                       Appx283
        Case: 22-1957       Document: 18     Page: 90     Filed: 12/06/2022

                            Public Version
AP11D, AP12, AP15 AP17, AP22, AP-303, AP-303P, AP-304, AP-305, AP-314, AP-

315, AP-320, AP-324, AP-325, AP-334, AP-335, AP-344, AP-345, AP-504, AP-505,

AP-514, AP-515, AP-534, AP-535, AP-555, AP-318, AP-518, AP-203H, AP-303H, AP-

505H, AP-365, AP-367, AP-374, AP-375, AP-377, AP-387, AP-565, AP-567, AP-574,

AP-575, AP-577, AP-203R, AP-203RP, AP-303HR) and controllers (7205, 7210, 7220,

7280, 7240XM, 7005, 7008, 7010, 7024, 7030, 9004, and 9000); (2) NETGEAR accused

products are NETGEAR APs (WAC720-100NAS and WAC730-100NAS) and

controllers (WC9500, WC7600, WC7500); and (3) CommScope accused products are

Ruckus APs (C110; E510; H320; H510; M510; R310; R320; R510; R550; R610; R650;

R710; R720; R730; R750; R850; T305; T310c; T310d; T310n; T310s; T300e; T610;

T610s; T710; T710s; T750; T811; 7781-CM; P300) and CommScope controllers

(ZoneDirector 1200, vSZE, vSZ-H, vSZ-D, SZ100, SZ300). See Compl. Br. at 7-10;

Resps. Br. at Appendix A.

       As for the ‘677 patent, (1) HPE accused products are Aruba APs (AP11, AP11D,

AP12, AP15 AP17, AP22, AP-303, AP-303P, AP-304, AP-305, AP-314, AP-315, AP-

320, AP-324, AP-325, AP-334, AP-335, AP-344, AP-345, AP-504, AP-505, AP-514,

AP-515, AP-534, AP-535, AP-555, AP-318, AP-518, AP-203H, AP-303H, AP-505H,

AP-365, AP-367, AP-374, AP-375, AP-377, AP-387, AP-565, AP-567, AP-574, AP-575,

AP-577, AP-203R, AP-203RP, AP-303HR) and controllers (7205, 7210, 7220, 7280,

7240XM, 7005, 7008, 7010, 7024, 7030, 9004, and 9000); (2) NETGEAR accused

products are NETGEAR products that provide Wi-Fi connectivity (EX6100; WAC510;

RBR750; RBS750; BR500-100NAS; EAX20-100NAS; EAX80-100NAS; EX6100-

100NAS; EX6150-100NAS; EX6250-100NAS; EX6400-100NAS; EX7000-100NAS;

                                        12

                                     Appx284
       Case: 22-1957   Document: 18    Page: 91   Filed: 12/06/2022

                       Public Version
EX7300-100NAS; EX7500-100NAS; EX8000-100NAS; LBR20-100NAS; MK62-

100CNS; MK63-100CNS; MS60-100NAS; R6220-100NAS; R6230-100NAS; R6260-

100NAS; R6350-100NAS; R6400-100NAS; R6700-100NAS; R6850-100NAS; R6900-

200NAS; R7000-100CNS; R7200-100CNS; R7350-100NAS; R7400-100NAS; R7450-

100NAS; R7800-100NAS; R7850-100NAS; R7900P-100NAS; R7960P-100NAS;

R8000-100NAS; R9000-100NAS; RAX120-100NAS; RAX200-100CNS; RAX20-

100NAS; RAX35-100NAS; RAX38-100NAS; RAX40-100NAS; RAX45-100NAS;

RAX50-100NAS; RAX75-100NAS; RAX80-100NAS; RBK12-100NAS; RBK13-

100NAS; RBK14-100NAS; RBK20W-100NAS; RBK22-100MXS; RBK23-100NAS;

RBK43S-100NAS; RBK44-100NAS; RBK50-100NAS; RBK53S-100NAS; RBK752-

100NAS; RBK753-100NAS; RBK842-1CCNAS; RBK852-100NAS; RBK853-100NAS;

RBR20-100NAS; RBS10-100NAS; RBS20-100NAS; RBS50-100NAS; RBS750-

100NAS; RBS850-100NAS; RBW30-100NAS; SRC60-100NAS; SRK60-100NAS;

SRR60-100NAS; WAC104-100NAS; WAC124-100NAS; WAC510-100NAS;

WAC540-100NAS; WAC564-100NAS; WAC720-100NAS; WAC730-100NAS; XR300-

100NAS; XR500-100NAS; XRM570-100NAS; EAX11-100NAS; EAX12-100NAS;

EAX14-100NAS; EAX15-100NAS; EAX18-100NAS; EX2700-100PAS; EX2800-

1AZNAS; EX3110-100NAS; EX3700-100NAS; EX5000-1AZNAS; EX6110-100NAS;

EX6120-100NAS; EX7700-100NAS; R6020-100NAS; R6080-100NAS; R6120-

100NAS; R6330-1AZNAS; R6700AX-1AZNAS; R7000P-100AUS; R8000P-1AZNAS;

RAX10-100NAS; RAX30-100NAS; RAX42-100NAS; RAX43-100NAS; RAX48-

100NAS; RAX70-100NAS; RAX78-100NAS; RAXE500-100NAS; RBK53-100NAS;

RBK962-100NAS; RBK963-100NAS; RBS960-100NAS; SRK60B03-100NAS;

                                  13

                               Appx285
        Case: 22-1957        Document: 18       Page: 92      Filed: 12/06/2022

                             Public Version
SRK60B04-100NAS; SRK60B05-100NAS; SRK60B06-100NAS; SRS60-100NAS;

SXK30-100NAS; SXK30B3-100NAS; SXK30B4-100NAS; SXK80-100NAS;

SXK80B3-100NAS; SXK80B4-100NAS; SXR30-100NAS; SXS30-100NAS; SXS80-

100NAS; WAC510B03-100NAS; WAC510PA-100NAS; WAC540PA-100NAS;

WAX202-100NAS; WAX204-100NAS; WAX206-100NAS; WAX214-100NAS;

WAX214PA-100NAS; WAX218-100NAS; WAX218PA-100NAS; WAX610-100NAS;

WAX610PA-100NAS; WAX610Y-100NAS; WAX620-100NAS; WAX620PA-

100NAS; WAX630-100NAS; WAX630PA-100NAS; XR1000-100CNS); and (3)

CommScope accused products are Ruckus APs (C110; E510; H320; H510; M510; R310;

R320; R510; R550; R610; R650; R710; R720; R730; R750; R850; T305; T310c; T310d;

T310n; T310s; T300e; T610; T610s; T710; T710s; T750; T811; 7781-CM; P300). See

Compl. Br. at 7-10; Resps. Br. at Appendix A.

       E.     The Domestic Industry Products

       Complainant argues:

              Licensee SII’s products that practice the ‘677 and ‘853 Patents
       include: Siemens’ SCALANCE W7xx products such as W72x, W73x,
       W73fx, W74x, W76x, W77x, W78x, W1750D, and substantially similar
       products. Licensee SII’s products that practice the ‘305 Patent include:
       Siemens’ RUGGEDCOM RX1400 switch, the RX1500 switch and router,
       and substantially similar products.

Compl. Br. at 10.

       Respondents argue:

               The DI Products are enterprise products intended for “industrial
       and utility style networking,” representing the “connectivity” in “Digital
       Connectivity and Power.” JX-0180C (Richards Dep. Tr.) at 16:3-5. The
       Scalance Products include “industrial wireless LAN” products, such as
       access points and client modules, which are typically used in “industrial
       vertical” industries, including aerospace and automotive manufacturing.

                                           14

                                       Appx286
        Case: 22-1957        Document: 18        Page: 93      Filed: 12/06/2022

                             Public Version
       RX-0342; JX-0180C (Richards Dep. Tr.) at 28:6-11; RX-1208C (Bazelon
       WS) at Q/A 22. The Ruggedcom Products, which are typically used in
       “industrial vertical” industries, are purchased by customers in the “utilities
       vertical” industries, such as power companies seeking to share data across
       a digitalized electric grid, as well as for rail networks and camera systems
       at stoplights. JX-0180C (Richards Dep. Tr.) at 28:3-29:8; RX-1208C
       (Bazelon WS) at Q/A 22. Q3 alleges that the RuggedCom Products
       SUDFWLFHWKH‫ތ‬3DWHQWDQGWKH6FDODQFH3URGXFWVSUDFWLFHWKH‫ތ‬DQG
       ‫ތ‬3DWHQWVCX-3846C (Madisetti WS) at Q/A 242, 501, 525, 643;
       CDX-0007C.0002. See Appendix A.

Resps. Br. at 8. Respondents argue that the following products are domestic industry

products (“DI products”):

               Q3 alleges the Scalance W1750D, the Scalance W7xx series
       (consisting of the WLC71x, W72x, W73x, W73fx, W74x, W76x, W77x,
       and W78x) practice the ‘853 Patent. CX-3846C (Madisetti WS) at Q/A
       242. Q3 alleges that the Scalance W7xx series (consisting of the W72x,
       W73x, W73fx, W74x, W76x, W77x, and W78x) and the W1750D
       practice the ‘677 Patent. Id. at Q/As 501, 525. Q3 alleges that the
       RuggedCom RX1400 switch, the RX1500 switch and router, and the
       RSG900 practice the ‘305 Patent. Id. at Q/A 643.

Resps. Br. at Appendix A.

       Thus, the parties’ arguments show that (1) for the ‘677 and ‘853 patents, the DI

products include Siemens’ SCALANCE W7xx products and W1750D products; and (2)

for the ‘305 patent, the DI products include Siemens’ RUGGEDCOM RX1400 switch,

and the RX1500 switch and router.

II.    Jurisdiction and Importation

       Jurisdiction and importation are not disputed. Respodents argue:

               The Commission must have subject matter and personal
       jurisdiction over the parties, or in rem jurisdiction over the property. See
       19 U.S.C. § 1337; Certain Steel Rod Treating Apparatus & Components
       Thereof, Inv. No. 337-TA-97, Comm’n Op., USITC Publ. No. 1210 at 4-5
       (June 30, 1981). Respondents do not dispute that the Commission has
       subject matter jurisdiction over this Investigation, that Respondents
       submitted to the personal jurisdiction of the Commission, and that the

                                            15

                                       Appx287
           Case: 22-1957         Document: 18       Page: 94      Filed: 12/06/2022

                                Public Version
          Commission has in rem jurisdiction over the accused products.

Resps. Br. at 8; see also Compl. Br. at 10-13.

          Section 337(a)(1)(B) declares unlawful, inter alia, “[t]he importation into the

United States, the sale for importation, or the sale within the United States after

importation by the owner, importer, or consignee, of articles that . . . infringe a valid and

enforceable United States patent.” 19 U.S.C. § 1337(a)(1)(B). Complainant had filed a

complaint alleging a violation of this subsection, and the Commission therefore has

subject matter jurisdiction. See Amgen, Inc. v. United States Int’l Trade Comm’n, 902

F.2d 1532, 1535-37 (Fed. Cir. 1990).

          No respondent contested the Commission’s personal jurisdiction. See Resps. Br.

at 23. Indeed, all respondents have appeared and participated in the investigation. The

Commission therefore has personal jurisdiction over those respondents. See, e.g., Certain

Liquid Crystal Display Modules, Products Containing Same, and Methods for Using the

Same, Inv. No. 337-TA-634, Final Initial and Recommended Determinations at 3 (June

12, 2009) (unreviewed).

          As noted, importation is not disputed, and the Commission therefore has in rem

jurisdiction over the accused products. See, e.g., Sealed Air Corp. v. United States Int’l

Trade Comm’n, 645 F.2d 976, 985-86 (C.C.P.A. 1981).


III.      General Principles of Applicable Law

          A.     Claim Construction

          Claim construction begins with the plain language of the claim. 1 Claims should



1
    Only those claim terms that are in controversy need to be construed, and only to the
                                               16

                                           Appx288
           Case: 22-1957        Document: 18        Page: 95       Filed: 12/06/2022

                                Public Version
be given their ordinary and customary meaning as understood by a person of ordinary

skill in the art, viewing the claim terms in the context of the entire patent. 2 Phillips v.

AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005), cert. denied, 546 U.S. 1170

(2006).

          In some instances, claim terms do not have particular meaning in a field of art,

and claim construction involves little more than the application of the widely accepted

meaning of commonly understood words. Phillips, 415 F.3d at 1314. “In such

circumstances, general purpose dictionaries may be helpful.” Id.

          In many cases, claim terms have a specialized meaning, and it is necessary to

determine what a person of skill in the art would have understood the disputed claim

language to mean. “Because the meaning of a claim term as understood by persons of

skill in the art is often not immediately apparent, and because patentees frequently use

terms idiosyncratically, the court looks to ‘those sources available to the public that show

what a person of skill in the art would have understood disputed claim language to

mean.’” Phillips, 415 F.3d at 1314 (quoting Innova/Pure Water, Inc. v. Safari Water

Filtration Sys., Inc., 381 F.3d 1111, 1116 (Fed. Cir. 2004)). The public sources identified

in Phillips include “the words of the claims themselves, the remainder of the



extent necessary to resolve the controversy. Vanderlande Indus. Nederland BV v. Int’l
Trade Comm., 366 F.3d 1311, 1323 (Fed. Cir. 2004); Vivid Tech., Inc. v. American Sci. &
Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999).
2
  Factors that may be considered when determining the level of ordinary skill in the art
include: “(1) the educational level of the inventor; (2) type of problems encountered in
the art; (3) prior art solutions to those problems; (4) rapidity with which innovations are
made; (5) sophistication of the technology; and (6) educational level of active workers in
the field.” Environmental Designs, Ltd. v. Union Oil Co., 713 F.2d 693, 696 (Fed. Cir.
1983), cert. denied, 464 U.S. 1043 (1984).

                                              17

                                           Appx289
         Case: 22-1957         Document: 18        Page: 96      Filed: 12/06/2022

                              Public Version
specification, the prosecution history, and extrinsic evidence concerning relevant

scientific principles, the meaning of technical terms, and the state of the art.” Id. (quoting

Innova, 381 F.3d at 1116).

       In cases in which the meaning of a claim term is uncertain, the specification

usually is the best guide to the meaning of the term. Phillips, 415 F.3d at 1315. As a

general rule, the particular examples or embodiments discussed in the specification are

not to be read into the claims as limitations. Markman v. Westview Instruments, Inc., 52

F.3d 967, 979 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996). The specification

is, however, always highly relevant to the claim construction analysis, and is usually

dispositive. Phillips, 415 F.3d at 1315 (quoting Vitronics Corp. v. Conceptronic, Inc., 90

F.3d 1576, 1582 (Fed. Cir. 1996)). Moreover, “[t]he construction that stays true to the

claim language and most naturally aligns with the patent’s description of the invention

will be, in the end, the correct construction.” Id. at 1316.

       Claims are not necessarily, and are not usually, limited in scope to the preferred

embodiment. RF Delaware, Inc. v. Pacific Keystone Techs., Inc., 326 F.3d 1255, 1263

(Fed. Cir. 2003); Decisioning.com, Inc. v. Federated Dep’t Stores, Inc., 527 F.3d 1300,

1314 (Fed. Cir. 2008) (“[The] description of a preferred embodiment, in the absence of a

clear intention to limit claim scope, is an insufficient basis on which to narrow the

claims.”). Nevertheless, claim constructions that exclude the preferred embodiment are

“rarely, if ever, correct and require highly persuasive evidentiary support.” Vitronics, 90

F.3d at 1583. Such a conclusion can be mandated in rare instances by clear intrinsic

evidence, such as unambiguous claim language or a clear disclaimer by the patentees



                                             18

                                         Appx290
         Case: 22-1957        Document: 18        Page: 97      Filed: 12/06/2022

                              Public Version
during patent prosecution. Elekta Instrument S.A. v. O.U.R. Sci. Int’l, Inc., 214 F.3d

1302, 1308 (Fed. Cir. 2000); Rheox, Inc. v. Entact, Inc., 276 F.3d 1319 (Fed. Cir. 2002).

       If the intrinsic evidence does not establish the meaning of a claim, then extrinsic

evidence may be considered. Extrinsic evidence consists of all evidence external to the

patent and the prosecution history, and includes inventor testimony, expert testimony, and

learned treatises. Phillips, 415 F.3d at 1317. Inventor testimony can be useful to shed

light on the relevant art. In evaluating expert testimony, a court should discount any

expert testimony that is clearly at odds with the claim construction mandated by the

claims themselves, the written description, and the prosecution history, in other words,

with the written record of the patent. Id. at 1318. Extrinsic evidence may be considered

if a court deems it helpful in determining the true meaning of language used in the patent

claims. Id.

       B.      Infringement

               1.     Direct Infringement

       Under 35 U.S.C. §271(a), direct infringement consists of making, using, offering

to sell, or selling a patented invention without consent of the patent owner. The

complainant in a section 337 investigation bears the burden of proving infringement of

the asserted patent claims by a “preponderance of the evidence.” Certain Flooring

Products, Inv. No. 337-TA-443, Comm’n Notice of Final Determination of No Violation

of Section 337, 2002 WL 448690, at *59, (Mar. 22, 2002); Enercon GmbH v. Int’l Trade

Comm’n, 151 F.3d 1376 (Fed. Cir. 1998).

       Literal infringement of a claim occurs when every limitation recited in the claim

appears in the accused device, i.e., when the properly construed claim reads on the
                                            19

                                        Appx291
         Case: 22-1957        Document: 18        Page: 98       Filed: 12/06/2022

                              Public Version
accused device exactly. 3 Amhil Enters., Ltd. v. Wawa, Inc., 81 F.3d 1554, 1562 (Fed.

Cir. 1996); Southwall Tech. v. Cardinal IG Co., 54 F.3d 1570, 1575 (Fed Cir. 1995).

       If the accused product does not literally infringe the patent claim, infringement

might be found under the doctrine of equivalents. “Under this doctrine, a product or

process that does not literally infringe upon the express terms of a patent claim may

nonetheless be found to infringe if there is ‘equivalence’ between the elements of the

accused product or process and the claimed elements of the patented invention.” Warner-

Jenkinson Co., Inc. v. Hilton Davis Chemical Co., 520 U.S. 17, 21 (1997) (citing Graver

Tank & Mfg. Co. v. Linde Air Products Co., 339 U.S. 605, 609 (1950)). “The

determination of equivalence should be applied as an objective inquiry on an

element-by-element basis.” 4 Id. at 40.

       “An element in the accused product is equivalent to a claim limitation if the

differences between the two are insubstantial. The analysis focuses on whether the

element in the accused device ‘performs substantially the same function in substantially

the same way to obtain the same result’ as the claim limitation.” AquaTex Indus. v.

Techniche Solutions, 419 F.3d 1374, 1382 (Fed. Cir. 2005) (quoting Graver Tank, 339

U.S. at 608); accord Absolute Software, 659 F.3d at 1139-40. 5


3
  Each patent claim element or limitation is considered material and essential. London v.
Carson Pirie Scott & Co., 946 F.2d 1534, 1538 (Fed. Cir. 1991). If an accused device
lacks a limitation of an independent claim, the device cannot infringe a dependent claim.
See Wahpeton Canvas Co. v. Frontier, Inc., 870 F.2d 1546, 1552 n.9 (Fed. Cir. 1989).
4
  “Infringement, whether literal or under the doctrine of equivalents, is a question of
fact.” Absolute Software, Inc. v. Stealth Signal, Inc., 659 F.3d 1121, 1130 (Fed. Cir.
2011).
5
 “The known interchangeability of substitutes for an element of a patent is one of the
express objective factors noted by Graver Tank as bearing upon whether the accused
                                             20

                                          Appx292
          Case: 22-1957        Document: 18         Page: 99      Filed: 12/06/2022

                               Public Version
       Prosecution history estoppel can prevent a patentee from relying on the doctrine

of equivalents when the patentee relinquished subject matter during the prosecution of the

patent, either by amendment or argument. AquaTex, 419 F.3d at 1382. In particular,

“[t]he doctrine of prosecution history estoppel limits the doctrine of equivalents when an

applicant makes a narrowing amendment for purposes of patentability, or clearly and

unmistakably surrenders subject matter by arguments made to an examiner.” Id.

(quoting Salazar v. Procter & Gamble Co., 414 F.3d 1342, 1344 (Fed. Cir. 2005)).

               2.      Indirect Infringement (Induced Infringement)

       Section 271(b) of the Patent Act provides: “Whoever actively induces

infringement of a patent shall be liable as an infringer.” 35 U.S.C. § 271(b).

       Under 35 U.S.C. § 271(b), whoever actively induces infringement of a patent

shall be liable as an infringer. In contrast to direct infringement, liability for inducing

infringement attaches only if the defendant knew of the patent and that the induced acts

constituted patent infringement. Commil USA, LLC v. Cisco Sys., Inc., 135 S. Ct. 1920,

1926 (2015); see also Microsoft Corp. v. Datatern, Inc., 755 F.3d 899, 904 (Fed. Cir.

2014) (to prove induced infringement, patentee must show that accused inducer took an

affirmative act to encourage infringement with knowledge that the induced acts constitute

patent infringement). Induced infringement requires a finding that the infringer

possessed a specific intent to encourage another’s infringement. i4i Ltd. Partnership v.

Microsoft Corp., 598 F.3d 831, 851 (Fed. Cir. 2010), aff’d, 564 U.S. 91 (2011).

device is substantially the same as the patented invention. Independent experimentation
by the alleged infringer would not always reflect upon the objective question whether a
person skilled in the art would have known of the interchangeability between two
elements, but in many cases it would likely be probative of such knowledge.”
Warner-Jenkinson, 520 U.S. at 36.

                                              21

                                          Appx293
         Case: 22-1957        Document: 18        Page: 100       Filed: 12/06/2022

                              Public Version
       C.      Validity

       One cannot be held liable for practicing an invalid patent claim. See Pandrol

USA, LP v. AirBoss Railway Prods., Inc., 320 F.3d 1354, 1365 (Fed. Cir. 2003).

Nevertheless, each claim of a patent is presumed to be valid, even if it depends from a

claim found to be invalid. 35 U.S.C. § 282; DMI Inc. v. Deere & Co., 802 F.2d 421 (Fed.

Cir. 1986).

       A respondent that has raised patent invalidity as an affirmative defense must

overcome the presumption by “clear and convincing” evidence of invalidity. Checkpoint

Systems, Inc. v. United States Int’l Trade Comm’n, 54 F.3d 756, 761 (Fed. Cir. 1995).

               1.      Anticipation

       Anticipation under 35 U.S.C. § 102 is a question of fact. z4 Techs., Inc. v.

Microsoft Corp., 507 F.3d 1340, 1347 (Fed. Cir. 2007). Section 102 provides that,

depending on the circumstances, a claimed invention may be anticipated by variety of

prior art, including publications, earlier-sold products, and patents. See 35 U.S.C. § 102

(e.g., section 102(b) provides that one is not entitled to a patent if the claimed invention

“was patented or described in a printed publication in this or a foreign country or in

public use or on sale in this country, more than one year prior to the date of the

application for patent in the United States”).

       The general law of anticipation may be summarized, as follows:

               A reference is anticipatory under § 102(b) when it satisfies
               particular requirements. First, the reference must disclose each
               and every element of the claimed invention, whether it does so
               explicitly or inherently. Eli Lilly & Co. v. Zenith Goldline
               Pharms., Inc., 471 F.3d 1369, 1375 (Fed.Cir.2006). While those
               elements must be “arranged or combined in the same way as in the
               claim,” Net MoneyIN, Inc. v. VeriSign, Inc., 545 F.3d 1359, 1370

                                             22

                                         Appx294
         Case: 22-1957         Document: 18         Page: 101       Filed: 12/06/2022

                               Public Version
                (Fed.Cir.2008), the reference need not satisfy an ipsissimis verbis
                test, In re Bond, 910 F.2d 831, 832-33 (Fed.Cir.1990). Second, the
                reference must “enable one of ordinary skill in the art to make the
                invention without undue experimentation.” Impax Labs., Inc. v.
                Aventis Pharms. Inc., 545 F.3d 1312, 1314 (Fed.Cir.2008); see In
                re LeGrice, 49 C.C.P.A. 1124, 301 F.2d 929, 940-44 (1962). As
                long as the reference discloses all of the claim limitations and
                enables the “subject matter that falls within the scope of the claims
                at issue,” the reference anticipates -- no “actual creation or
                reduction to practice” is required. Schering Corp. v. Geneva
                Pharms., Inc., 339 F.3d 1373, 1380-81 (Fed.Cir.2003); see In re
                Donohue, 766 F.2d 531, 533 (Fed.Cir.1985). This is so despite the
                fact that the description provided in the anticipating reference
                might not otherwise entitle its author to a patent. See Vas-Cath
                Inc. v. Mahurkar, 935 F.2d 1555, 1562 (Fed.Cir.1991) (discussing
                the “distinction between a written description adequate to support a
                claim under § 112 and a written description sufficient to anticipate
                its subject matter under § 102(b)”).

In re Gleave, 560 F.3d 1331, 1334 (Fed. Cir. 2009).

                2.      Obviousness

        Under section 103 of the Patent Act, a patent claim is invalid “if the differences

between the subject matter sought to be patented and the prior art are such that the subject

matter as a whole would have been obvious at the time the invention was made to a

person having ordinary skill in the art to which said subject matter pertains.” 6 35 U.S.C.

§ 103. While the ultimate determination of whether an invention would have been

obvious is a legal conclusion, it is based on “underlying factual inquiries including: (1)

the scope and content of the prior art; (2) the level of ordinary skill in the art; (3) the

differences between the claimed invention and the prior art; and (4) objective evidence of




6
 The standard for determining whether a patent or publication is prior art under section
103 is the same as under 35 U.S.C. § 102, which is a legal question. Panduit Corp. v.
Dennison Mfg. Co., 810 F.2d 1561, 1568 (Fed. Cir. 1987).

                                               23

                                           Appx295
         Case: 22-1957         Document: 18         Page: 102       Filed: 12/06/2022

                               Public Version
nonobviousness.” Eli Lilly and Co. v. Teva Pharmaceuticals USA, Inc., 619 F.3d 1329

(Fed. Cir. 2010).

        The objective evidence, also known as “secondary considerations,” includes

commercial success, long felt need, and failure of others. Graham v. John Deere Co.,

383 U.S. 1, 13-17 (1966); Dystar Textilfarben GmbH v. C.H. Patrick Co., 464 F.3d 1356,

1361 (Fed. Cir. 2006). “[E]vidence arising out of the so-called ‘secondary

considerations’ must always when present be considered en route to a determination of

obviousness.” Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530, 1538 (Fed. Cir. 1983).

Secondary considerations, such as commercial success, will not always dislodge a

determination of obviousness based on analysis of the prior art. See KSR Int’l Co. v.

Teleflex Inc., 550 U.S. 398, 426 (2007) (commercial success did not alter conclusion of

obviousness).

        “One of the ways in which a patent’s subject matter can be proved obvious is by

noting that there existed at the time of invention a known problem for which there was an

obvious solution encompassed by the patent’s claims.” KSR, 550 U.S. at 419-20. “[A]ny

need or problem known in the field of endeavor at the time of invention and addressed by

the patent can provide a reason for combining the elements in the manner claimed.” Id.

        Specific teachings, suggestions, or motivations to combine prior art may provide

helpful insights into the state of the art at the time of the alleged invention. Id. at 420.

Nevertheless, “an obviousness analysis cannot be confined by a formalistic conception of

the words teaching, suggestion, and motivation, or by overemphasis on the importance of

published articles and the explicit content of issued patents. The diversity of inventive

pursuits and of modern technology counsels against limiting the analysis in this way.” Id.

                                              24

                                           Appx296
         Case: 22-1957        Document: 18        Page: 103       Filed: 12/06/2022

                              Public Version
“Under the correct analysis, any need or problem known in the field of endeavor at the

time of invention and addressed by the patent can provide a reason for combining the

elements in the manner claimed.” Id. A “person of ordinary skill is also a person of

ordinary creativity.” Id. at 421.

        Nevertheless, “the burden falls on the patent challenger to show by clear and

convincing evidence that a person of ordinary skill in the art would have had reason to

attempt to make the composition or device, or carry out the claimed process, and would

have had a reasonable expectation of success in doing so.” PharmaStem Therapeutics,

Inc. v. ViaCell, Inc., 491 F.3d 1342, 1360 (Fed. Cir. 2007); see KSR, 550 U.S. at 416 (a

combination of elements must do more than yield a predictable result; combining

elements that work together in an unexpected and fruitful manner would not have been

obvious). 7

        D.     Domestic Industry

        A violation of section 337(a)(1)(B), (C), (D), or (E) can be found “only if an

industry in the United States, with respect to the articles protected by the patent,

copyright, trademark, mask work, or design concerned, exists or is in the process of being

established.” 19 U.S.C. § 1337(a)(2). Section 337(a) further provides:

               (3) For purposes of paragraph (2), an industry in the United States
               shall be considered to exist if there is in the United States, with
               respect to the articles protected by the patent, copyright, trademark,
               mask work, or design concerned—

                   (A) significant investment in plant and equipment;

7
 Further, “when the prior art teaches away from combining certain known elements,
discovery of a successful means of combining them is more likely to be nonobvious.”
KSR, 550 U.S. at 416 (citing United States v. Adams, 383 U.S. 39, 52 (1966)).

                                             25

                                         Appx297
         Case: 22-1957        Document: 18         Page: 104      Filed: 12/06/2022

                               Public Version
                   (B) significant employment of labor or capital; or

                   (C) substantial investment in its exploitation, including
                   engineering, research and development, or licensing.

19 U.S.C. § 1337(a)(3).

       These statutory requirements consist of an economic prong (which requires

certain activities) and a technical prong (which requires that these activities relate to the

intellectual property being protected). Certain Stringed Musical Instruments and

Components Thereof, Inv. No. 337-TA-586, Comm’n Op. at 13 (May 16, 2008)

(“Stringed Musical Instruments”). The burden is on the complainant to show by a

preponderance of the evidence that the domestic industry requirement is satisfied.

Certain Multimedia Display and Navigation Devices and Systems, Components Thereof,

and Products Containing Same, Inv. No. 337-TA-694, Comm’n Op. at 5 (July 22, 2011)

(“Navigation Devices”).


IV.    U.S. Patent No. 8,797,853

       United States Patent No. 8,797,853 (“the ‘853 patent”), entitled “System and

method for checking the permissibility of a use of a service,” issued on August 5, 2014,

to named inventors Rudolf Bitzinger, Christian Prehofer and Viktor Ransmayr. JX-0003

(‘853 Patent). The ‘853 patent issued from Application No. 10/239,525, filed on March

27, 2003. Id. This application claims priority to International Application No.

PCT/DE01/00863 which was published in German, on September 27, 2001. Id. at 1:7-9.

The ‘853 patent relates to “a system and method for checking the permissibility of a use

of a service” (JX-0003 at 1:14-15), and “[t]he invention discloses a method for checking

the permissibility of the transmission of a packet stream in a communications network”

                                              26

                                          Appx298
       Case: 22-1957        Document: 18         Page: 105     Filed: 12/06/2022

                            Public Version
(id. at 3:28-30). The ‘853 patent has a total of 13 claims. Complainant asserts method

claims 1-9 of the ‘853 patent.

       As discussed below, the evidence shows that (1) the asserted claims are not

infringed by the accused products; (2) complainant has not satisfied the technical prong

of the domestic industry requirement; and (3) the asserted claims are not invalid.

       Asserted method claims 1-9 of the ‘853 patent read as follows:

               1. A method for checking permissibility to use a service,
                   the service being implemented in at least one
                   communications network, the communication network
                   having an overall transmission capacity, the use of the
                   service comprising transmission of at least one service-
                   specific traffic stream which is assigned to the service
                   by an access node which is assigned to the service to
                   the communication network, comprising:
                     analyzing the use of the service with an access control
                        function which is assigned to the access node; and
                     checking, via the access control function, without
                        further interrogations at internal transmission
                        nodes of the communications network, whether
                        the use of the service is permitted, the checking
                        performed taking into account an available
                        capacity, which is
                        determined taking into account the overall
                            transmission capacity, and
                        available to the access node for transmitting
                           traffic streams to the communications
                           network.

               2. The method as claimed in claim 1, wherein the service is
                   embodied as a transmission of information which is
                   brought about using traffic streams which are
                   transmitted with priority.

               3. The method as claimed in claim 2, wherein the access
                   control function signals the permissibility of the traffic
                   stream to be transmitted with priority during use of the
                   service to the assigned access node, and the access node
                   subsequently transmits the traffic stream with priority
                                            27

                                       Appx299
       Case: 22-1957        Document: 18         Page: 106      Filed: 12/06/2022

                            Public Version
                   to DiffServ network.

              4. The method as claimed in claim 1, wherein the overall
                  transmission capacity depends at least partially on the
                  transmission capacities of transmission paths of the
                  communications network.

              5. The method as claimed in claim 1, wherein the checking
                  of the permissibility is carried out taking into account a
                  service quality level which is determined by the access
                  control function.

              6. The method as claimed in claim 4, wherein a desired
                  service quality level is specified when the use of the
                  service is applied for, the service quality level is taken
                  into account by the access control function in the
                  determination of necessary service quality level.

              7. The method as claimed in claim 1, wherein the
                  communications network is embodied as a DiffServ
                  network which transmits traffic streams with an ensured
                  service quality level in a packet-oriented fashion.

              8. The method as claimed in claim 7, wherein the access
                  control function signals the permissibility of the traffic
                  stream to be transmitted with priority during use of the
                  service to the assigned access node, and the access node
                  subsequently transmits the traffic stream with priority
                  to DiffServ network.

              9. The method as claimed in claim 1, wherein the access
                  control function is implemented within a gatekeeper.

JX-0003 (‘853 Patent) at 8:2-50 (emphasis added). 8

       A.     Claim Construction

              1.      A Person of Ordinary Skill in the Art

       Respondents argue:

              The relevant time period for the ‘853 Patent is March 2000 based

8
  In this Initial Determination, unless noted otherwise, when quoting, emphases are from
the original source, and footnotes from the original source are omitted.

                                            28

                                       Appx300
        Case: 22-1957         Document: 18        Page: 107      Filed: 12/06/2022

                              Public Version
       on the Foreign Application DE10014522, filed March 23, 2000. JX-
       0003.0003. The relevant time period for the ‘305 Patent is November 7,
       2000 based on the Foreign Application GB0027106.4, filed November 7,
       2000. JX-0002.0003. The relevant time period for the ‘677 Patent is
       March 2002 based on the Foreign Application EP02006022, filed
       November March 15, 2002. JX-0004. As to all three patents, those of
       ordinary skill in the art during the relevant period would have had at least
       an undergraduate degree in Electrical Engineering or Computer Science
       and four or more years of experience in networking, or a Master’s degree
       in Electrical Engineering or Computer Science and two or more years of
       experience in networking. RX-1195C.0005. Q3 proposes that a person of
       ordinary skill in the art “would have had an undergraduate degree in
       electrical or computer engineering (or a related field) and approximately
       two years of work experience in the field of networking.” CX-
       3930C.0005-6 at Q/A 10. Under either proposed level of ordinary in the
       art for the Asserted Patents, the arguments and conclusions are the same.

Resps. Br. at 14.

       Complainant does not provide a definition of a person of ordinary skill in the art

in its brief. See Joint Outline at 4 (citing Compl. Br. at 189-90, 199). The cited pages

merely discuss infringement of the claim elements. See Compl. Br. at 189-90, 199.

However, as noted above in respondents’ argument, “Q3 proposes that a person of

ordinary skill in the art ‘would have had an undergraduate degree in electrical or

computer engineering (or a related field) and approximately two years of work

experience in the field of networking’.” Resps. Br. at 14 (citing CX-3930C (Martin

RWS) at Q/A 10).

       As seen above, the parties mostly agree on this issue. As proposed by the parties,

the undersigned agrees that some combination of education and experience is the

appropriate level of ordinary skill. The administrative law judge finds that a person of

ordinary skill in the art with respect to the ‘853 patent is a person would have had at least

an undergraduate degree in Electrical Engineering or Computer Science (or a related


                                             29

                                         Appx301
        Case: 22-1957          Document: 18       Page: 108      Filed: 12/06/2022

                               Public Version
field) and two to four years of experience in networking, or a Master’s degree in

Electrical Engineering or Computer Science (or a related field) and two or more years of

experience in networking.

               2.         “communications network”

       Below is a chart showing the parties’ proposed claim constructions.

                                 Complainant’s Proposed          Respondents’ Proposed
        Claim Term
                                     Construction                    Construction

                                No construction necessary.
                                                              “a plurality of transmission
“communications network”        To the extent construction is nodes interconnected by
(claim 1)                       necessary, “a packet-oriented transmission paths”
                                network”

See Compl. Br. at 188-90; Resps. Claim Constr. Br. 9 at 63-65.

       For the reasons discussed below, the administrative law judge has determined that

the claim term “communications network” should be construed to mean “a plurality of

transmission nodes interconnected by transmission paths.”

       Respondents’ proposed construction of “communications network” is supported

by the surrounding claim language, is consistent with the ordinary meaning of the term

and the specification,.

       The context for the ‘853 patent and its claims is a communication network

consisting of a plurality of transmission nodes interconnected by multiple transmission

paths. Claim 1 expressly states that there are “internal transmission nodes of the

communications network.” The patentee’s use of the plural (“nodes”) indicates that the


9
 Respondents’ Initial Claim Construction Brief (EDIS Doc. ID No. 730021) (Jan. 8,
2021).

                                             30

                                         Appx302
        Case: 22-1957         Document: 18        Page: 109       Filed: 12/06/2022

                              Public Version
claimed communications network contains a plurality of the recited transmission nodes.

See, e.g., Leggett & Platt, Inc. v. Hickory Springs Mfg. Co., 285 F.3d 1353, 1357 (Fed.

Cir. 2002) (“At the outset, the claim recites ‘support wires’ in the plural, thus requiring

more than one welded ‘support wire.’”).

       Further, the sole figure in the patent, Figure 1 below (annotated), is labeled

“Communication Network” (blue) and shows a plurality of “Transmission Node[s]”

(pink) interconnected by transmission paths (yellow).




       “FIG. 1 shows an exemplary block circuit diagram of a communications

network.” JX-0003 (‘853 Patent) at 5:9. The specification describes the communication

network in Figure 1 as having four “transmission nodes [pink]” (id. at 5:23-29) and that

the “transmission nodes are connected to one another by means of four transmission

paths W12, W14, W24 and W34 [shown in yellow above].” Id. at 5:30-31. This description

is consistent with the term’s common usage in the communications field. See, e.g.,

Resps. Claim Constr. Br. Ex. 33, The Illustrated Dictionary of Electronics (Seventh

Edition), 1997, at page 130 (“communications network – An organization of transmitting

                                             31

                                         Appx303
         Case: 22-1957        Document: 18         Page: 110      Filed: 12/06/2022

                               Public Version
and receiving stations for the reliable exchange of intelligence”); Resps. Claim Constr.

Br. Ex. 34, McGraw-Hill Dictionary of Science and Technical Terms (Fifth Edition),

1994, at page 417 (“communications network … Organization of stations capable of

intercommunications but not necessarily on the same channel.”).

       Complainant argues that the term should not be construed, or that it should be

construed as “a packet-oriented network.” Complainant’s construction is deficient and

sidesteps an apparent dispute. Complainant’s “communication network” would only

include a single node with no interconnected paths. Not only would a single node fail to

be a network of nodes as disclosed by the patent, but would be inconsistent with the

central concept behind the ‘853 patent. As set forth in the background section, the point

of novelty of the ‘853 patent, as recited in claim 1, is that the access control function of

an access node can check the permissibility of a requested use by taking into account “the

overall transmission capacity” of the communication network (i.e., the capacities of the

plurality of transmission paths between nodes of the communication network) and can do

so “without further interrogations at internal transmission nodes of the communication

network.” JX-0003 (‘853 Patent) at claim 1. For this to occur, the communication

network must comprise a plurality of nodes interconnected by transmission paths.

Otherwise, the claimed permissibility checking could not take place.

               3.      “the overall transmission capacity”

       Below is a chart showing the parties’ proposed claim constructions.




                                              32

                                          Appx304
        Case: 22-1957         Document: 18       Page: 111       Filed: 12/06/2022

                              Public Version

                                Complainant’s Proposed           Respondents’ Proposed
        Claim Term
                                    Construction                     Construction

“the overall transmission
capacity”                                                      “the overall transmission
                                                               capacity” should be
[Containing phrases]           No construction necessary.
                                                               construed as:
“the communication network To the extent construction is
                                                         “the transmission capacities
having an overall          necessary, “the amount of
                                                         of the plurality of
transmission capacity”     data the network can
                                                         transmission paths between
“determined taking into    transmit”
                                                         nodes of the communication
account the overall                                      network”
transmission capacity”

See Compl. Br. at 190-98; Resps. Claim Constr. Br. at 66-75.

       For the reasons discussed below, the administrative law judge has determined that

the claim term “the overall transmission capacity” should be construed to mean “the

transmission capacities of the plurality of transmission paths between nodes of the

communication network.”

       The claim term “overall transmission capacity” is a central limitation in the ‘853

patent claims that was addressed during prosecution and was critical to the claims’

allowance over the prior art. Respondents’ construction reflects the disclosures of the

patent specification and file history, which provide that the overall transmission capacity

of the communication network is the set of transmission capacities of that entire network

(the plurality of transmission paths between nodes of the communication network).

       All of the asserted ‘853 patent dependent claims depend from claim 1. Claim 1

introduces this term as follows: “the communication network having an overall

transmission capacity.” The limitation then appears in claim 1 in the following recitation:

“checking… without further interrogations at internal transmission nodes of the


                                            33

                                        Appx305
        Case: 22-1957        Document: 18        Page: 112      Filed: 12/06/2022

                              Public Version
communications network…whether the use of the service is permitted… the checking

performed taking into account an available capacity, which is determined taking into

account the overall transmission capacity….” Id. at claim 1. This language expresses the

inventive concept of the ‘853 patent, which is that an access node checks the

permissibility of a requested use by taking into account “the overall transmission

capacity” of the communication network (i.e., the capacities of the plurality of

transmission paths between nodes of the communication network), and does so “without

further interrogations at internal transmission nodes of the communication network.”

       As discussed below, the intrinsic record confirms that “overall transmission

capacity” of a “communications network” refers to the capacities of the paths that make

up that network.

       The Specification

       The specification describes the term “overall transmission capacity” of the

communication network in several places, with the sole figure in the patent (annotated

Figure 1 below) providing an illustration: “FIG. 1 shows, by way of example, a block

circuit diagram of a communications network KN with an overall transmission capacity

G.” JX-0003 (‘853 Patent) at 5:15-17.




                                            34

                                        Appx306
        Case: 22-1957        Document: 18        Page: 113      Filed: 12/06/2022

                              Public Version




The specification describes the “the overall transmission capacity” as consisting of the

transmission capacities (orange) of the transmission paths (yellow) between the

transmission nodes in the network:

       In this exemplary embodiment, the overall transmission capacity G depends
       essentially on the transmission capacity of the transmission paths W of the
       communications network KN which is embodied as a DiffServ network DN, but
       is not limited to it. It may also depend, for example, on the transmission capacities
       of the transmission nodes. With a definition of the available capacities Cv which
       is carried out in such a way according to the invention taking into account the
       overall transmission capacity G of the DiffServ network DN, there is
       advantageously no need for permissibility checking in the internal transmission
       nodes K of the communications network KN.

Id. at. 6:64-7:10 (emphasis added). The specification further discloses exemplary tables

reflecting the transmission capacities of the transmission paths and transmission nodes in

this example:




                                            35

                                        Appx307
        Case: 22-1957         Document: 18        Page: 114      Filed: 12/06/2022

                              Public Version




Id. at. 5:37-45 and 6:42-48. As shown above, the overall transmission capacity of the

communication network is the set of transmission capacities of the plurality of

transmission paths and nodes of the communication network.

       The specification also describes the overall transmission capacity as follows: “that

capacity which is necessary to transmit the traffic streams which are just still capable of

being transmitted without loss of traffic is considered to be the overall transmission

capacity of a communications network which is composed of transmission nodes and

paths.” Id. at 2:40-45. This description is consistent with the overall transmission

capacity being the set of transmission capacities of the plurality of paths and nodes of the

communication network. This set of transmission capacities would define the limits at

which one could no longer transmit additional streams through the respective

transmission paths of the network without a loss of traffic. As shown above, the

specification further explains that the overall transmission capacity comprises this

plurality of differing capacities between the various transmission paths, and therefore a

construction reflecting these capacities is more appropriate.

       In addition, the specification discloses an embodiment in which “the overall

transmission capacity depends at least partially on the transmission capacities of the


                                             36

                                         Appx308
        Case: 22-1957         Document: 18       Page: 115       Filed: 12/06/2022

                              Public Version
transmission paths of the communications network.” Id. at 3:66-4:2. As noted above, the

specification discloses that the overall capacity depends “essentially” on these capacities

of the transmission paths. Id. at 6:64-7:1. The only other capacities on which the overall

transmission capacity could depend are the transmission capacities of the transmission

nodes. Id. at 7:2-3 (“It [the overall transmission capacity] may also depend, for example,

on the transmission capacities of the transmission nodes.”).

       The Prosecution History

       The prosecution history of the ‘853 patent confirms that the phrase “overall

transmission capacity” must refer to the capacities of the entire network, and not a

subnetwork. The applicant’s representations to the PTO to distinguish the prior art based

on this term confirms the correctness of respondents’ proposed construction and the

deficiency in complainant’s proposed construction.

       During prosecution, the examiner repeatedly rejected the application based on

U.S. Patent No. 5,740,075. See Resps. Claim Constr. Br. Ex. 35 (U.S. Patent No.

5,740,075 (“Bigham”)). Bigham discloses an Access Subnetwork Controller whose

“primary responsibility…is to control resources, provide requested resources and monitor

the use of resources within the realm of the access subnetwork.” See id. at Abstract. The

examiner repeatedly found that Bigham disclosed access control checking based on

“taking into account the overall transmission capacity.” For example:

       the Examiner notes that Bigham discloses a controller that analyzes an access
       control function at an access node, without any mention of “further interrogations
       at internal transmission nodes of the communication network”; and the evaluation
       of available transport capacity, which inherently would involve determining
       overall transport capacity. Applicant’s respectfully disagree.



                                            37

                                         Appx309
           Case: 22-1957        Document: 18        Page: 116       Filed: 12/06/2022

                                 Public Version
Resps. Claim Constr. Br. Ex. 36, November 26, 2007 Appl. Resp. at 5 (emphasis

added). 10

          For claim 1, Bigham et al. disclose a method for checking the permissibility of
          use of a service (see col. 27, lines 10-13, wherein the service is video broadcast)
          which is implemented in at least one communications network (see fig. 1,
          communication network) having an overall transmission capacity (see fig. 1,
          wherein a communication network inherently comprises an overall
          transmission capacity). … which is determined taking into account the overall
          transmission capacity (see [Bigham] col. 32, lines 50-60, wherein determining
          the available bandwidth takes into account the overall bandwidth) ….

Resps. Claim Constr. Br. Ex. 37, December 24, 2008 Examiner Ans. Br. at 4-5 (emphasis

added).

          In response to the examiner’s findings, the applicant repeatedly distinguished

Bigham from the invention in claim 1 of the ‘853 patent on the basis that Bigham’s

capacity checking did not involve “taking into account the overall transmission capacity.”

For example:

          3. Bigham does not disclose “taking into account the overall transmission
          capacity”.
          … The Examiner identifies the following passage for support that Bigham
          discloses this feature:
                  The level 1 gateway 41 1 sends a request to the Access Subnetwork
                  Controller 417 requesting a connection to the subscriber’s DET 100a of
                  the specified bandwidth. Based on its stored data tables as to resources
                  which are currently available, the Access Subnetwork Controller identifies
                  available bandwidth on one of the RF channels and a port through the
                  ATM packet handler 319 for data going to the modulator 317
                  corresponding to the particular channel. The Access Subnetwork
                  Controller internally reserves the bandwidth capacity on the particular
                  channel and an available terminating VPI/VCI value.
          Bigham, col. 32, lines 50-60. However, this passage does not teach “taking into
          account the overall transmission capacity,” a feature that does not appear in
          Bigham. Bigham is devoid of references to an “overall transmission capacity”.

10
  The ‘853 patent prosecution history is also found in JX-0006 (‘853 Patent File
History).

                                               38

                                           Appx310
        Case: 22-1957         Document: 18        Page: 117      Filed: 12/06/2022

                              Public Version
       Specifically, Access Subnetwork Controller reserves available bandwidth on the
       subnetwork rather than taking into account . . . the overall transmission
       capacity of the network.

Resps. Claim Constr. Br. Ex. 38, February 23, 2009 Reply Br. at 2-5; Ex. 39, August 11,

2010 Reply Br. at 4-8 (emphasis added). The applicant clarified that even taking into

account the available capacities of a subnetwork (as disclosed by Bigham) was

insufficient to satisfy the claim limitation of “taking into account … the overall

transmission capacity of the network.” Thus, the ‘853 patent requires taking into account

the capacities of the transmission paths and/or nodes of the overall network, not just of a

subnetwork encompassing only a portion of the overall network. This is consistent with

the specification’s disclosure that prior art systems already took into account the capacity

of an individual path. See JX-0003 (‘853 Patent) at 3:17-21.

       The applicant’s statement below shows that taking into account the transmission

capacity at a single network location (or even a subnetwork of multiple paths), cannot

satisfy “taking into account … the overall transmission capacity of the network”:

       [Distinguishing Bigham] The Access Controller 417 [in Bigham] merely
       identifies an RF channel that satisfies the requirements for the requested
       connection. To this end, the Access Controller comprises stored data tables as to
       resources which are available. However, because these tables only refer to
       available resources, they cannot contain information of the overall
       transmission capacity as claimed. The step of taking into account of the overall
       capacity of the communication network is advantageous for certain services in
       particular for service specific streams because the relation between the overall
       capacity of the communication network and the used transmission capacity for
       a service can be adapted to a provided quality level of a service. This adaptation
       is particularly advantageous for services with real time transmission, e.g. for
       speech or multimedia. Bigham merely teaches to open a channel with a specific
       bandwidth.

Resps. Claim Constr. Br. Ex. 39, August 11, 2010 Reply Br. at 4-8 (emphasis added).




                                             39

                                         Appx311
        Case: 22-1957        Document: 18        Page: 118      Filed: 12/06/2022

                             Public Version
       Likewise, the applicant distinguished the claimed “taking into account … the

overall transmission capacity of the network” from Bigham’s checking of only a portion

of the network:

       No queries in internal transmission nodes are done. Instead, the access control
       function takes into account an available capacity which is available to the access
       node for transmitting flows of traffic to the communication network. It is
       important that the available capacity has been determined taking into account
       the overall transmission capacity of the communications network. In this way it
       is ensured that the communications network is not overloaded even though
       queries in the internal transmission node are omitted.

Resps. Claim Constr. Br. Ex. 40, June 13, 2007 Appl. Resp. at 5-6 (emphasis added).

This statement further confirms that the overall transmission capacity consists of the

capacities of the paths between nodes of the overall communication network, and that the

‘853 patent does not involve querying the internal transmission nodes to determine this

information.

       While not needed to find disclaimer, the PTO relied on these representations

regarding distinctions over the prior art when deciding to issue the ‘853 patent claims.

“Appellants maintain independent claims 1 and 9 distinguish over the Bigham reference

for five separate reasons set forth in the Reply Brief (Reply Br. 4-8). We agree with

Appellants and adopt Appellants’ line of reasoning as our own. Therefore, we do not

sustain the rejection of independent claims 1 and 9 and their respective dependent claims

2, 3, and 10.” Resps. Claim Constr. Br. Ex. 41, June 13, 2013 PTAB Decision on Appeal

at 5-6. Therefore, the applicant’s representations and disclaimers, including those

regarding “the overall transmission capacity” and the distinctions over Bigham, were

relied on by the examiner in distinguishing the prior art. The applicant’s statements to

the PTO bind the claims against interpretations inconsistent with those representations

                                            40

                                        Appx312
        Case: 22-1957         Document: 18         Page: 119     Filed: 12/06/2022

                               Public Version
and disclaimers. See, e.g., Southwall Techs., 54 F.3d at 1576 (“Claims may not be

construed one way in order to obtain their allowance and in a different way against

accused infringers.”); Rheox, Inc. v. Entact, Inc., 276 F.3d 1319, 1325 (Fed. Cir. 2002)

(“Explicit arguments made during prosecution to overcome prior art can lead to a narrow

claim interpretation because ‘[t]he public has a right to rely on such definitive statements

made during prosecution.’”); Gillespie v. Dywidag Sys. Int’l, USA, 501 F.3d 1285, 1291

(Fed. Cir. 2007) (“The patentee is held to what he declares during the prosecution of his

patent.”).

        In summary, the file history expressly confirms that issuance of the ‘853 patent

claims depended on the distinctions over the prior art based on the meaning of “the

overall transmission capacity.” Respondents’ construction properly recognizes these

distinctions. Complainant’s proposed construction, “the amount of data the network can

transmit,” is insufficient to capture these distinctions.

        B.      Infringement Analysis of the ‘853 Patent

        As discussed above, complainant asserts method claims 1-9 of the ‘853 patent.

        Complainant argues that HPE, CommScope and NETGEAR accused products

directly infringe the asserted method claims, and that HPE, CommScope and NETGEAR

induce infringement. See Compl. Br. at 8-9, 11, 199-246; Compl. Reply Br. at 57-73.

Respondents disagree. See Resps. Br. at 18-34, 34-50, 50-58; Resps. Reply Br. 10-21.

                1.      Accused Products

        Complainant argues:

              The HPE products that infringe the ‘853 Patent include HPE’s:
        AP11, AP11D, AP12, AP15 AP17, AP22, AP-303, AP-303P, AP-304,

                                              41

                                          Appx313
  Case: 22-1957       Document: 18       Page: 120      Filed: 12/06/2022

                       Public Version                                   N



     AP-305, AP-314, AP-315, AP-320, AP-324, AP-325, AP-334, AP-335,
     AP-344, AP-345, AP-504, AP-505, AP-514, AP-515, AP-534, AP-535,
     AP-555, AP-318, AP-518, AP-203H, AP-303H, AP-505H,AP-365, AP-
     367, AP-374, AP-375, AP-377, AP-387, AP-565, AP-567, AP-574, AP-
     575, AP-577, AP-203R, AP-203RP, AP-303HR, and substantially similar
     models 7200 series (e.g., 7205, 7210, 7220, 7280, 7240XM), 7000 series
     (e.g., 7005, 7008,7010, 7024, 7030), and 9000 series (e.g., 9004 and 9000)
     and substantially similar models.

           The CommScope products that infringe the ‘853 Patent include
     CommScope’s: C110; E510; H320; H510; M510; R310; R320; R510;
     R550; R610; R650; R710; R720; R730; R750; R850; T305; T310c;
     T310d; T310n; T310s; T300e; T610; T610s; T710; T710s; T750; T811;
     7781-CM; P300, and substantially similar models.

           The NETGEAR products that infringe the ‘853 Patent include
     NETGEAR’s: WAC510; WAC540; WAC564 and substantially similar
     models.

Compl. Br. at 9.

     Respondents argue:

                                       HPE

            Q3 alleges that the Aruba APs (AP11, AP11D, AP12, AP15 AP17,
     AP22, AP-303, AP-303P, AP-304, AP-305, AP-314, AP-315, AP-320,
     AP-324, AP-325, AP-334, AP-335, AP-344, AP-345, AP-504, AP-505,
     AP-514, AP-515, AP-534, AP-535, AP-555, AP-318, AP-518, AP-203H,
     AP-303H, AP-505H, AP-365, AP-367, AP-374, AP-375, AP-377, AP-
     387, AP-565, AP-567, AP-574, AP-575, AP-577, AP-203R, AP-203RP,
     AP-+5 LQIULQJHWKH‫ތ‬3DWHQW&;-3846C (Madisetti WS) at Q/A
     171….

                                    NETGEAR

           Q3 alleges that the NETGEAR APs (WAC510; WAC540;
     :$& LQIULQJHWKH‫ތ‬3DWHQW&;-3846C (Madisetti WS) at Q/A
     109….

                                 COMMSCOPE

            Q3 alleges that the Ruckus APs (C110; E510; H320; H510; M510;
     R310; R320; R510; R550; R610; R650; R710; R720; R730; R750; R850;
     T305; T310c; T310d; T310n; T310s; T300e; T610; T610s; T710; T710s;
     T750; T811; 7781-CM; P300) alone, or with the ZoneDirector 1220

                                        42

                                 Appx314
         Case: 22-1957        Document: 18        Page: 121       Filed: 12/06/2022

                              Public Version
        FRQWUROOHULQIULQJHWKH‫ތ‬3DWHQW&;-3846C (Madisetti WS) at Q/A
        52….

Resps. Br. at Appendix A.

        Thus, as shown in the parties’ arguments above, for the ‘853 patent, (1) HPE

accused products are Aruba APs (AP11, AP11D, AP12, AP15 AP17, AP22, AP-303, AP-

303P, AP-304, AP-305, AP-314, AP-315, AP-320, AP-324, AP-325, AP-334, AP-335,

AP-344, AP-345, AP-504, AP-505, AP-514, AP-515, AP-534, AP-535, AP-555, AP-318,

AP-518, AP-203H, AP-303H, AP-505H, AP-365, AP-367, AP-374, AP-375, AP-377,

AP-387, AP-565, AP-567, AP-574, AP-575, AP-577, AP-203R, AP-203RP, AP-303HR);

(2) NETGEAR accused products are NETGEAR APs (WAC510; WAC540; WAC564);

and (3) CommScope accused products are Ruckus APs (C110; E510; H320; H510;

M510; R310; R320; R510; R550; R610; R650; R710; R720; R730; R750; R850; T305;

T310c; T310d; T310n; T310s; T300e; T610; T610s; T710; T710s; T750; T811; 7781-

CM; P300) alone, or with the ZoneDirector 1220 controller. See Compl. Br. at 7-10;

Resps. Br. at Appendix A.

                2.     Direct Infringement

                       a.      Claim 1: Common Issues for All Accused
                               Products

        As shown below in this ID, in order to provide a clear and thorough analysis, the

administrative law judge has largely adopted the organizational structure of respondents’

posthearing brief for the infringement section. While the limitation-by-limitation

analysis is included in the latter portion of this infringement section, three important

reasons for non-infringement that are common to all accused products for all respondents

are discussed first.

                                             43

                                         Appx315
         Case: 22-1957        Document: 18        Page: 122       Filed: 12/06/2022

                               Public Version
       The record shows that none of the accused products infringe the asserted ‘853

patent claims for at least the following reasons: (1) complainant’s alleged

“communications network,” the Wi-Fi radio channel of an accused access point, is

incorrect and does not satisfy the recited “communications network” that is required by

the claims; (2) none of the accused access points practice the asserted ‘853 patent claims

because they do not take into account, or even have any awareness of, any

transmission capacities of any other paths or nodes in the overall communication network

to which they are attached; and (3) complainant’s alleged “total airtime” and/or “channel

utilization” metric is not a transmission capacity and cannot satisfy the “overall

transmission capacity” in the claims.

       Each of these issues are discussed below. In addition to these issues, there are

respondent-specific reasons that the accused products do not infringe, as discussed below.

                              i.        Common Issue 1 – “communications
                                        network”

       Asserted independent method claim 1, with claim terms “communication(s)

network” and “internal transmission nodes” in bold and italics, is shown below. The

claim term “communication(s) network” appears five times in claim 1.

               1. A method for checking permissibility to use a service,
                   the service being implemented in at least one
                   communications network, the communication network
                   having an overall transmission capacity, the use of the
                   service comprising transmission of at least one service-
                   specific traffic stream which is assigned to the service
                   by an access node which is assigned to the service to
                   the communication network, comprising:
                     analyzing the use of the service with an access control
                        function which is assigned to the access node; and
                     checking, via the access control function, without

                                             44

                                          Appx316
        Case: 22-1957        Document: 18        Page: 123      Filed: 12/06/2022

                             Public Version
                        further interrogations at internal transmission
                        nodes of the communications network, whether
                        the use of the service is permitted, the checking
                        performed taking into account an available
                        capacity, which is
                        determined taking into account the overall
                            transmission capacity, and
                        available to the access node for transmitting
                           traffic streams to the communications
                           network.

JX-0003 (‘853 Patent) at 8:2-18 (emphasis added).

       In the claim construction section, the administrative law judge determined that the

claim term “communications network” should be construed to mean “a plurality of

transmission nodes interconnected by transmission paths.” Complainant’s alleged

“communications network” does not read on the claims because it has neither (1) internal

transmission nodes to which the accused access points can transmit traffic streams, nor

(2) multiple transmission paths connecting those nodes.

       “Internal Transmission Nodes”

       Complainant’s infringement theory is based on an incorrect “communication

network” that does not satisfy the claim limitations. Complainant argues that a single

accused access point’s (alleged access node) Wi-Fi radio, also referred to as a wireless

local area network (WLAN), can be the “communication[s] network” in the claims. See

Compl. Br. at 200-01, 216, 231; CX-3846C (Madisetti WS) at Q/A 74 (“The Ruckus APs

provide a wireless access point that allows clients to connect to the WLAN.”), 130 (same

statement for accused NETGEAR APs), 199 (same statement for accused Aruba APs).

This is incorrect. Independent claim 1, from which all remaining asserted claims 2-9

depend, requires the communication network to have “internal transmission nodes” and

                                            45

                                        Appx317
        Case: 22-1957        Document: 18       Page: 124      Filed: 12/06/2022

                             Public Version
an “overall transmission capacity” of that entire communication network consisting of

multiple transmission nodes interconnected by transmission paths. Complainant points to

an incorrect and incomplete network having no internal transmission nodes. See RX-

1195C (Acampora WS) at Q/A 16-17.

       Shown below is the language of claim 1 of the ‘853 patent (from which all

remaining asserted claims depend), with relevant language highlighted.

   Claim 1. [Element 1.0] A method for checking permissibility to use a service, the
   service being implemented in at least one communications network,
   [Element 1.1] the communication network having an overall transmission capacity,
   [Element 1.2] the use of the service comprising transmission of at least one service-
   specific traffic stream which is assigned to the service by an access node which is
   assigned to the service to the communication network, comprising:
   [Element 1.3] analyzing the use of the service with an access control function which
   is assigned to the access node; and
   [Element 1.4] checking, via the access control function, without further
   interrogations at internal transmission nodes of the communications network,
   whether the use of the service is permitted, the checking performed taking into
   account an available capacity, which is
   [Element 1.5] determined taking into account the overall transmission capacity [of the
   communications network], and
   [Element 1.6] [an available capacity, which is] available to the access node for
   transmitting traffic streams to the communications network.

The colored phrases above are the parties’ main disputes regarding whether the

“communications network” requires internal transmission nodes connected by

transmission paths, unlike complainant’s alleged communication network (which is a

single link WLAN).

       The first phrase explains what the “communications network” includes.

       “Checking … without further interrogations at internal transmission nodes of the
       communications network”
This phrase indicates that internal transmission nodes are “of the communications

                                           46

                                       Appx318
         Case: 22-1957        Document: 18        Page: 125      Filed: 12/06/2022

                              Public Version
network.” In other words, the “communications network” includes “internal transmission

nodes,” plural. A plain reading confirms that the claimed communication network must

include multiple internal transmission nodes. To read the claim as not requiring such

internal transmission nodes (as complainant does) would render meaningless this

negative limitation. RX-1195C (Acampora WS) at Q/A 20.

       The second phrase indicates that the claimed “access node” transmits traffic

streams “to the communications network.”

       “[an available capacity, which is] available to the access node for transmitting
       traffic streams to the communications network”
Therefore, there must be a communication network, i.e., one made up of internal

transmission nodes, to which the access node is able to transmit the traffic streams that

the access node is requested to transmit. The ‘853 patent discloses that an unclaimed

“transmitter” (i.e., a client device connected to the access node) is requesting to send a

traffic stream (service) to the “communications network” via the access node. JX-

0003.0008 at 5:46-49, .0009 at 7:35-41; RX-1195C (Acampora WS) at Q/A 21.

       The purpose of the “access node” is to provide access to the recited

“communications network,” which includes a plurality of “internal transmission nodes of

the communications network” (as recited in claim 1). This is consistent with how a

person of ordinary skill would understand the term “access node.” Id. at Q/A 22. The

specification confirms that an “access node” is for accessing the communication network,

for example stating that “network access devices—[are] also referred to as ‘edge devices’

or also ‘access nodes.’” JX-0003.0007 at 2:60-63. As in claim 1, the access node

“check[s] permissibility” as to whether there is sufficient transmission capacity in the


                                             47

                                         Appx319
        Case: 22-1957        Document: 18        Page: 126      Filed: 12/06/2022

                             Public Version
communication network such that access node can transmit the requested “traffic streams

to the communication network,” or not. RX-1195C (Acampora WS) at Q/A 21-22.

       Complainant is incorrect that the WLANs of the accused access points (“APs”)

satisfy the claimed “communications network.” The accused APs allow clients to

connect to a WLAN, and complainant’s alleged communication network includes only

that WLAN and the connected wireless client devices (e.g., mobile phones, laptops) that

are requesting to transmit traffic streams to the accused APs. Complainant’s accused

“communications network” merely includes a set of clients connected to a single access

node. Id. at Q/A 23.

       Complainant’s alleged communications network, a single access point with

connected clients, does not satisfy the claimed communications network because there

are no “internal transmission nodes” as required by the ‘853 patent. In other words, there

is no broader communication network of transmission nodes beyond the AP that (1) are

needed give meaning to the negative limitation requiring that such nodes are not

interrogated, and (2) provide the overall transmission capacity “available to the access

node for transmitting traffic streams to the communications network,” as recited in claim

1. Id. at Q/A 24; RDX-0001C.0098-100.

       As respondents illustrated in their brief, annotated Figure 1 of the ‘853 patent is

shown below to compare the communication network described by the ‘853 patent (blue)

with complainant’s proposed communication network (red). In the example presented in

the ‘853 patent, Figure 1 shows how a traffic stream associated with a VoIP call would

traverse the ‘853 patent’s communication network. JX-0003.0006 at 1:63-67, 2:10-14.

The exemplary VoIP call (traffic stream) in the ‘853 patent is highlighted by the pink

                                            48

                                        Appx320
        Case: 22-1957         Document: 18        Page: 127      Filed: 12/06/2022

                              Public Version
lines showing a call originating from a client device in yellow (e.g., transmitter S, or a

laptop, tablet, or smartphone) on the right, being transmitted via an access node in green

(access point) to the communications network comprising a set of internal transmission

nodes (grey, which could be modems, switches, routers, etc.), and reaching another

transmission node on the bottom of the figure, which then relays the stream to a client

device (receiver E) connected to that other transmission node. This is the type of data

transmission described and recited by the ‘853 patent, with the claimed access control

function controlling access to the communication network within the blue box. See RX-

1195C (Acampora WS) at Q/A 25.




       In contrast to the communication network claimed by the ‘853 patent,

complainant accuses a single access point and its associated clients (transmitter shown in

yellow above) as being the communication network. However, with the exception of the

AP (accused access node, shown in green), this alleged communication network lies

completely outside of the communication network in the ‘853 patent and claims. Id. at

Q/A 25-26, 28-31.




                                             49

                                         Appx321
        Case: 22-1957        Document: 18        Page: 128      Filed: 12/06/2022

                              Public Version
       It is incorrect to draw the boundaries of the alleged communication network

around only the WLAN, as complainant has done. That is because the accused access

points are connected to a broader communication network of internal transmission nodes,

as required by the ‘853 patent and claims. This would be the communication network

shown in blue in RDX-0001C.0100. Complainant disregards this true “communication

network,” the one existing beyond the access node and to which the access node provides

access. Instead, complainant calls the WLAN of the AP the alleged “communication

network.” This is not correct. Id. at Q/A 27.

       Complainant argues that the claims do not require internal transmission nodes.

See Compl. Br. at 201, 216, 231; Madisetti Tr. 48, 50-51. Complainant takes this

position because its alleged communication network, a Wi-Fi WLAN, includes no

internal transmission nodes. However, if internal transmission nodes are required by the

claims, complainant’s expert Dr. Madisetti suggests that client devices might be able to

count as internal transmission nodes. Id. Dr. Madisetti opines that client devices can

constitute any node in the network. See CX-3846C (Madisetti WS) at Q/A 204, 199; RX-

1195C (Acampora WS) at Q/A 27-32.

       However, client devices that connect to the accused APs are terminal devices and,

thus, cannot constitute the “internal transmission nodes of the communications network”

recited in claim 1 of the ‘853 patent. An internal transmission node is “internal” to the

network, meaning not an edge terminal. Client devices cannot be “internal transmission

nodes” because they are terminals (i.e., sending or receiving endpoints of data

transmissions). See RX-1195C (Acampora WS) at Q/A 32-33. In contrast to the recited

internal transmission nodes, client devices (stations or STAs) connected to the accused

                                            50

                                        Appx322
         Case: 22-1957         Document: 18        Page: 129       Filed: 12/06/2022

                               Public Version
APs do not pass received traffic to the next hop in the route. In fact, the ‘853 patent itself

uses terms for such terminal devices (“transmitter S” and “receiver E”) which are distinct

from the “internal transmission nodes.” JX-0003 (‘853 Pat.) at 5:46-49; 5:15-30. Also,

as explained earlier, these transmitters and receivers are outside the “communication

network,” as clearly depicted in Figure 1. See RX-1195C (Acampora WS) at Q/A 32-33.

       In the recited communications network, client devices (e.g., the “Transmitter” in

Figure 1) are requesting to transmit data streams, via the access node, to the

communication network. Id. at Q/A 32-33. The communication network includes

“internal transmission nodes” for transmitting the data to its destination (another terminal

device connected to another access node, as depicted by “Receiver” E in Figure 1). In

summary, client devices are requesting to use a service (transmit a traffic stream) via the

“access node,” to the “communications network” (“…access node for transmitting traffic

streams to the communications network”, in claim 1). Client devices cannot be internal

transmission nodes of the communication network. Id.

       Internal Transmission Paths

       Complainant argues that the connections between the AP’s WLAN and its clients

constitute multiple transmission paths. See Compl. Br. at 201, 216, 231.

       In general, the operation of radio transmissions is properly thought of as a single

communications channel (single link), which is the wireless equivalent of a set of clients

connected to the product by a single wired path that all of the clients are sending data to

and “listening” to for packets directed specifically to them. Id. at Q/A 35. The WLAN

created by an accused AP, the alleged “communications network,” does not include

“multiple transmission paths.” Id. In the forward direction (from AP to the clients) an

                                              51

                                          Appx323
         Case: 22-1957        Document: 18        Page: 130      Filed: 12/06/2022

                              Public Version
AP generally broadcasts a radio signal such that the transmission is received by all

connected wireless clients and accepted by only the one or more clients to which it is

addressed. Id. In the reverse direction, the AP’s antenna is capable of receiving any

radio transmission sent by a client, but if two or more clients transmit at the same time,

the transmissions would destructively interfere with each other, preventing any reception.

Regardless of how many client devices might be connected to the AP, complainant’s

alleged communication network remains a single link WLAN which, as reflected by

Figure 1 of the ‘853 patent, is outside the recited communication network except for, at

most, the access node itself, which provides an entry point to the communication

network. Id.

       As discussed above, the administrative law judge determined that the claim term

“communications network” should be construed to mean “a plurality of transmission

nodes interconnected by transmission paths.” As explained in that claim construction

section, a single transmission path does not satisfy the claim language. A single

transmission path is entirely inconsistent with the ‘853 patent’s claimed invention, which

requires an access node and multiple (at least two) transmission nodes, which would

result in multiple transmission paths between those (at least three) nodes.

       As discussed above, the administrative law judge determined that the claim term

“the overall transmission capacity” should be construed to mean “the transmission

capacities of the plurality of transmission paths between nodes of the communication

network.” As discussed in that claim construction section, during prosecution the

applicant distinguished the claims on the basis of taking into account the overall

transmission capacity of the communications network. The applicant argued that the

                                             52

                                         Appx324
        Case: 22-1957         Document: 18       Page: 131       Filed: 12/06/2022

                              Public Version
claimed “overall transmission capacity [of the communications network]” is represented

by the capacities of the entirety of the transmission nodes of the communications network

and their respective transmission paths, and that the claimed permissibility check takes

into account this entire capacity. The applicant used this point to distinguish the claims

from prior art that checked a single node’s capacity. The applicant clarified that even

taking into account the available capacities of a subnetwork of multiple nodes (as

disclosed by the Bigham reference), let alone a single node or link, was insufficient to

satisfy the limitation of “taking into account … the overall transmission capacity” of the

network. See RX-1195C (Acampora WS) at Q/A 37.

       Contradicting the applicant’s representations during prosecution, complainant

now argues that a permissibility check taking into account only an accused node’s local

link capacity infringes the asserted claims. This position is squarely at odds with the

prosecution history. Id. Thus, complainant’s alleged “communications network, “ which

consists of only an accused product and a single wireless link connected to that product,

cannot satisfy the claimed “communication network.”

       In summary, inasmuch as the alleged “communication network” for the accused

products (a WLAN) does not satisfy the “communication network” in the claims, none of

the claim limitations that recite and relate to the “communications network” are satisfied

by any of the accused access points. Id. at Q/A 38-40. Specifically, none of the accused

products practice any limitation reciting the (1) “communication(s) network” (claim

elements 1.0, 1.1, 1.2, 1.5, 1.6) or (2) “internal transmission nodes of the communications

network” (claim element 1.4), and therefore do not infringe asserted claims 1-9.



                                            53

                                         Appx325
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 132 Filed: 12/06/2022

                              Public Version
                               ii.     Common Issue 2 – “taking into account the
                                       overall transmission capacity [of the
                                       communication network]”

       As discussed above, the administrative law judge determined that the claim term

“the overall transmission capacity” should be construed to mean “the transmission

capacities of the plurality of transmission paths between nodes of the communication

network.” As explained in that claim construction section, the claims require taking into

account the capacities of the transmission paths and/or nodes of the entire

communications network, not just the capacity of a single node (or even a subnetwork of

nodes). This limitation was critical to the claims’ allowance over the prior art. As noted

above, the patent applicant confirmed that even taking into account the capacities of a

subnetwork of multiple nodes (as disclosed by the Bigham reference)—let alone the

capacity of a single node—was insufficient to satisfy the claim limitation of “taking into

account … the overall transmission capacity of the network.” RX-1195C (Acampora

WS) at Q/A 42.

       The accused APs do not make any alleged determination based on the overall

transmission capacity of the entire communications network to which they attach. RX-

1195C (Acampora WS) at Q/A 43; JX-0175C.0023 (Jou Dep. Tr.) at 85, RX-0935C

(Overby WS) at Q/A 58-65 (CommScope), 27-36 (HPE), 40-54 (NETGEAR). Instead,

complainant argues that certain products will evaluate their own alleged capacity via a

Redacted in Public Version. See CX-3846C (Madisetti WS) at Q/A 75 (Ruckus), 131

(NETGEAR), 202 (Aruba). However, if a product could satisfy the claim limitation

above by checking only its own node-specific constraints (which was well known in the

prior art), it would render the later claim limitation “without further interrogations at

                                              54

                                         Appx326
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 133 Filed: 12/06/2022

                                Public Version
internal transmission nodes of the communications network” superfluous. The point of

this limitation is that the access control function of claim 1 is able to check the

permissibility of a requested use only by taking into account the overall transmission

capacity of an entire communication network and yet do so “without further

interrogations at internal transmission nodes of the communication network.” See RX-

1195C (Acampora WS) at Q/A 113.

        The accused APs also do not satisfy complainant’s proposed construction of

“overall transmission capacity” (i.e., “the amount of data the network can transmit”)

because the accused products have no cognizance or information regarding the amount of

data the overall network can transmit. A single AP’s Redacted in Public Version (as alleged by

complainant) is not a measure of the amount of data the overall network can transmit, i.e.,

the network including a plurality of downstream “internal transmission nodes” as recited

in the claim. Id. at Q/A 113. Contrary to the inventive concept of the ‘853 patent claims,

no accused AP makes any determination whatsoever (let alone a permissibility

determination to allow/deny a data stream) based on the overall transmission capacities of

the plurality of nodes/paths in an entire network. Id.

        Accordingly, none of the accused products satisfy the limitation: “determined

taking into account the overall transmission capacity” (claim element 1.5), and thus, no

accused products infringe any of the asserted claims.

                                iii.    Common Issue 3 – “overall transmission
                                        capacity [of the communications network]”

        Even if an AP’s WLAN could be considered the “communication network” in the

‘853 patent claims, the accused APs still would not infringe the claims. This is because


                                               55

                                           Appx327
                             Confidential
                      Case: 22-1957       Material
                                    Document:           Redacted
                                              18 Page: 134 Filed: 12/06/2022

                                                  Public Version
complainant’s argument that an access point’s Redacted in Public Version (or Redacted in Public Version
Redacted in Public Version
                             or any similar expression) corresponds to the claimed “overall transmission
                                              Redacted in Public Ve

capacity” is incorrect. Yet,                                          is not the overall transmission capacity of even of a

single access point (let alone of an entire “communication network” beyond the access

point). See RX-1195C (Acampora WS) at Q/A 44.
                                                                                           Redacted in Public Ve

                   A person of ordinary skill would understand that                                                is not an overall network

capacity, a WLAN capacity, or any type of capacity whatsoever. Id. at Q/A 44. The

word “capacity” (or “transmission capacity”) has a long history within the field of

telecommunications: it is a measure of the rate at which digital information can be

transmitted across a communication channel interconnecting a transmitter and a receiver,

and is measured in bits per second. Id. at Q/A 45. In a paper published in the late 1940s,

Claude Shannon showed that the rate at which information can be communicated across a

channel is fundamentally limited by the noise that is introduced by the channel. Id. at

Q/A 46; RX-0894. In essence, noise sets a limit on the rate, but not the accuracy, at

which information can be delivered, with the rate or capacity of a channel being

computable from the bandwidth and signal-to-noise ratio of the channel. Id.

“Transmission capacity” has always been used a measure of the rate at which digital

information can be transmitted between a transmitter across a communication channel.

                   The well-understood meaning of “capacity” is consistent with the use of the term

“capacity” in the ‘853 patent. See RX-1195C (Acampora WS) at Q/A 47. In the ‘853

patent, each instance of “capacity” indicates that its units of measurement are bits per

second. See, e.g., JX-0003 at 5:40-5:44 and 6:43-47 (where Capacity CW, Capacity CDN,

and available capacity Cv (along with all related entries in the two Tables) have the units

                                                                              56

                                                                          Appx328
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 135 Filed: 12/06/2022

                                                     Public Version
of Mbps (i.e., Millions of bits per second)).

       The actual data rate that is provided by an access point is considerably lower than

the IEEE 802.11 standards’ maximum data rate. Id. at Q/A 48-53. Due to a variety of

radio-related propagation impairments (for example proximity to the AP and other

environmental factors), the data rate of the wireless link between an AP and its clients

will generally be different for different clients. Due to these propagation impairments,

the transmission capacity between an AP and client device can vary significantly at

different times. Therefore, a single time-shared communication channel between an AP

and its associated clients may deliver different data rates to each of its associated clients,

and each of these different rates may also change with time. Accordingly, none of these

time-varying data rates is the network capacity, nor could any weighted average of these

data rates be the network capacity. Id. This data rate or capacity is not the basis of

complainant’s infringement theory.
             Redacted in Public Version
       The                                of an access point’s wireless channel cannot be its overall
                                     Redacted in Public Vers

transmission capacity.                                     , which is in units of Redacted in Public Version, is the

Redacted in Public Version for the access point to make or receive wireless data

transmissions. See RX-1195C (Acampora WS) at Q/A 44. The transmission capacity

that can be achieved in a unit of airtime changes drastically based on many factors, as

explained above. In fact, at any given point in time, the transmission capacity achieved

on the wireless channel may be one or two orders of magnitude lower than the maximum

data set by the fastest modulation and coding rate allowed by the specific generation of
                                                                   Redacted in Public Version
IEEE 802.11 standard. Id. Therefore,                                                            is not an “overall transmission

capacity” of an AP (let alone of an entire “communication network” with internal

                                                                             57

                                                                    Appx329
                               Confidential
                        Case: 22-1957       Material
                                      Document:           Redacted
                                                18 Page: 136 Filed: 12/06/2022

                                                                      Public Version
transmission nodes).
                                                                                                   Redacted in Public Version             Redacted in Public Vers

                     Accordingly, inasmuch as complainant’s alleged “                                                         ” (or

                             ) is not a transmission capacity of any accused AP (let alone the transmission

capacity of an overall communications network), none of the accused products practice

any limitation reciting the “overall transmission capacity” (claim elements 1.1, 1.4, 1.5,

1.6), and therefore do not infringe asserted claims 1-9 of the ‘853 patent.


                                                                             *      *      *


                     As discussed below, in addition to these fundamental issues, there are respondent-

specific reasons that the accused products do not infringe.

                                                              b.       Claim 1: HPE Accused Products

                     There are four primary reasons that the accused Aruba (HPE) APs do not infringe

the asserted ‘853 patent claims.

                     First, the crux of complainant’s infringement contentions for the Aruba APs is

based on their alleged operation of                                                  Redacted in Public Version                                               .
                             Redacted in P

However,                                     does not               Redacted in Public Version .
                                             Redacted in P

                     Second,                                 runs                   Redacted in Public Version

                                   Redacted in Public Version                               . Based on Order 27, the controllers
                                                                                                           Redacted in P          Redacted in Public Version
are not accused products under the ‘853 patent. The fact that                                                              runs

                                   Redacted in Public Version                                  should preclude complainant’s

infringement theory. Further, the unaccused controller is a wired device that is not part

of complainant’s alleged communication network (the wireless network). Inasmuch as a
Redacted in Public Versio

                            AP transmits traffic streams to the controller (on the wired side of a network),

                                                                                    58

                                                                                 Appx330
                     Confidential
               Case: 22-1957      Material
                            Document:           Redacted
                                      18 Page: 137 Filed: 12/06/2022

                                                     Public Version
the controller would be an “internal transmission node” in the ‘853 patent claims. This

leads to several problems and inconsistencies with complainant’s infringement theory.

              Third, claim 1 relates to a permissibility check (as to whether a stream, e.g. call,

can be admitted to the “communication network” in the claim). Complainant argues that
                                                                             Redacted in P   Redacted in Pub

this permissibility check is performed by                                               .                      however, Redacted in Public Version

Redacted in Public Version. Rather, when the traffic stream associated with a call reaches
                                                                                                                                                Redacted in Public Version
the                                              Redacted in Public Version                                                                 ,
                                                                                                                                           Redacted in Public Version
Redacted in Public Version Indeed,                                 Redacted in Public Version                                          .

                     Redacted in Public Version                                                 .
                             Redacted in P

              Fourth,                        does not take into account the “overall transmission capacity” of
                                                                                                                                                                        Redacted in P

complainant’s alleged communication network in making any permissibility check.

considers                          Redacted in Public Version                                              , and does not even use this in
                                                           Redacted in P

making any permissibility check.                                           does not consider Redacted in Public Version

                     Redacted in Public Version                                                   .

              These four primary reasons are discussed in detail below.

                                                      i.           Whether the Accused ICH Functionality
                                                                   is Present on Any Accused Aruba Access
                                                                   Point

              Complainant accuses four different types of Aruba (HPE) APs of infringement

based on the incorrect assumption that                                                              Redacted in Public Version
Redacted in Public Version
                             In fact, Redacted in Public Version have the accused Redacted in Public Version on

them, as set forth below.




                                                                                   59

                                                                           Appx331
                            Confidential
                    Case: 22-1957        Material
                                   Document:           Redacted
                                             18 Page: 138 Filed: 12/06/2022

                                                              Public Version
                                                                                                        Redacted in Public Ver Redacted in Public Vers

                  Campus APs The Campus APs do not include the                                                                                      , including its

Redacted in Public Version, on the AP. Rather, this version of Redacted in Public Version

                                                                                                                                                                          Redacted in Pu

                  Redacted in Public Version                                           is a Redacted in Public Version that resides

Redacted in Public Version. See RDX-0001C.0111 (citing RX-0516.1070, .1078 (ArubaOS

8.7.1.0); RX-1198C (Balay WS) at Q/A 20). Confirming this point, Mr. Overby testified
                   Redacted in Public                                                                                                               Redacted in Public Version
that the                                source code is not Redacted in Public Version, and is instead
                                                                                                                                             Redacted in Public Versio
Redacted in Public Version. See RX-0935C (Overby WS) at Q/A 17, 19. The                                                                                                  AP
                                                  Redacted in Public Versio

directs the traffic off the                                                   AP (the accused product) and on to a wired controller.

Id. at Q/A 20, 24-25; RX-1195C (Acampora WS) at Q/A 61.

                  Instant APs The Aruba Instant APs Redacted in Public Version. The software build on an

Instant AP includes Redacted in Public Version, but the Redacted in Public Version that is installed on the

Instant APs                                Redacted in Public Version                         . See RX-1198C (Balay WS) at Q/A

23; RDX-0001C.0111 (RX-0483C, RX-0691); RX-0935C (Overby WS) at Q/A 22. An

Aruba AP running                                                  Redacted in Public Version                                              See RX-1195C

(Acampora WS) at Q/A 64.

                  Unified APs Unified APs are imported with an Instant AP software build, just

like the Instant APs. See RX-1198C (Balay WS) at Q/A 11. Therefore, like the Instant

APs, the Unified APs Redacted in Public Version. This is further confirmed by Aruba’s

documentation, which explains that the Unified APs are “shipped with a manufacturing

image based on the Instant image.” See RDX-0001C.0117; CX-3846C (Madisetti WS) at




11 Redacted in Public
       is also known as                                                          Redacted in Public Version                                              . See RX-
1198C (Balay WS) at Q/A 20.

                                                                                       60

                                                                                    Appx332
                      Confidential
                   Case: 22-1957   Material
                             Document:           Redacted
                                       18 Page: 139 Filed: 12/06/2022

                                           Public Version
Q/A 238 (citing CDX-0001C.853.218); RX-1195C (Acampora WS) at Q/A 65-66. 12

                 As imported, a Unified AP includes the Instant AP build and will operate as an

Instant AP. See RX-1198C (Balay WS) at Q/A 11. However, only if a Unified AP

                         Redacted in Public Version                                           , the Unified AP will go through

                                            Redacted in Public Version
                                                              Redacted in Public Version                            Redacted in Public Version
  Redacted in Public Version During this                                                   , the Unified AP will

                    Redacted in Public Version                             . The Unified AP is not capable of

                        Redacted in Public Version                                          . Instead, at any one time, the

Unified AP only includes e                        Redacted in Public Version                                  Id. at Q/A 11, 24-

26; RX-1195C (Acampora WS) at Q/A 65-66.

                 Instant-On APs The Aruba Instant-On APs                                     Redacted in Public Version
Redacted in P                                                                                                     Redacted in P

             . The Instant-On APs do not include Redacted in Public Version, of which                                             is a subset.
                                                                                                                        Redacted in Public Versi

See RX-1198C at Q/A 28-29. Dr. Balay has confirmed that Instant-On APs

                        Redacted in Public Version                                           Id. As a result, Instant-On APs
                                                        Redacted in P

                Redacted in Public Version                              functionality can run only Redacted in Public Version, as

explained above. Therefore, one cannot successfully accuse the Instant-On APs of

practicing a limitation of the ‘853 patent because the Instant-On APs have no ability to

                Redacted in Public Version               . See RX-1195C (Acampora WS) at Q/A 68.

                 Accordingly, the accused Redacted in Public Version is not present on Redacted in Public Version
Redacted i

         .




12                                                                                                            Redacted in Public Version
  The same is generally true for Instant APs, except these APs will not
Redacted in Public Version                        See Balay Tr. 398.

                                                                 61

                                                        Appx333
                             Confidential
                       Case: 22-1957      Material
                                    Document:           Redacted
                                              18 Page: 140 Filed: 12/06/2022

                                            Public Version
                                            ii.     Whether the Accused Redacted in Public Version
                                                    Exists Only on Non-Accused Controllers

                    Complainant’s final infringement contentions and Dr. Madisetti’s expert report

did not identify any controllers as specifically accused products for the ‘853 patent. Dr.

Madisetti’s witness statement, served July 2, 2021, attempted to identify, for the first

time, twelve HPE controllers as accused products. However, the administrative law

judge denied complainant’s motion to supplement Dr. Madisetti’s expert report, where

complainant sought to add a footnote referencing a list of controllers as accused products

for the ‘853 patent. See Order No. 27 at 4 (denying Motion No. 38). As a result, Dr.

Madisetti’s reference to controllers as accused products has been stricken. See CX-

3846C (Madisetti WS) at Q/A 171 (controllers removed); Order No. 31 at 4-8.

Therefore, any contention regarding functionality that resides on an unaccused product is

not allowed. There is no dispute that the accused Redacted in Public Version resides on a
Redacted in Public Version
                         , not on Redacted in Public Version. See CX-3847C (Jones WS) at Q/A 80; CX-

3846C (Madisetti WS) at Q/A 240.

                    Dr. Balay’s Testimony Regarding the Aruba APs

                    At the hearing, complainant’s cross-examination of HPE/Aruba’s corporate

representative, Dr. Balay, called into question certain aspects of Dr. Balay’s witness

statement. Dr. Balay’s witness statement clarified and corrected certain details regarding
Redacted in P

                that she had previously testified about in her deposition. See RX-1198C (Balay WS)

at Q/A 31-42. However, the information that complainant focuses on is actually

undisputed. All witnesses agree that Redacted in Public Version. This is addressed in Q/As

20-29 of Dr. Balay’s testimony. Complainant’s experts, Dr. Jones and Dr. Madisetti,


                                                          62

                                                      Appx334
                   Confidential
           Case: 22-1957        Material
                          Document:           Redacted
                                    18 Page: 141 Filed: 12/06/2022

                                                      Public Version
                            Redacted in P                                                          Redacted in P                      Redacted in Public Version

both admit that                             does not reside Redacted in Public Version, and that                   operates

                   See CX-3847C (Jones WS) at Q/A 80 (“Redacted in Public Version
                                                                                                                     Redacted in Public Version
                                                   ”); CX-3846C (Madisetti WS) at Q/A 240 (“

                                                ”). These are the primary factual issues that complainant raised

regarding Dr. Balay’s testimony. Dr. Balay’s testimony, based on her 18 years of

experience developing and managing the Aruba APs, is generally agreed upon by both

side’s experts in this investigation. Indeed, despite having access to the different source

code that runs on the different APs, complainant’s experts ignored the Instant and Instant-

On code. Madisetti Tr. 87-88; CX-3847C.0015-16 (Jones WS) at Q/A 83-95. Yet,

complainant criticizes Dr. Balay’s clarifying testimony, and argues that Redacted in Public Version


        Redacted in Pu

                         Operates Redacted in Public Version, which is an “Internal Transmission Node”
                                                                                                                      Redacted in P

        Complainant’s expert, Dr. Madisetti was unclear about whether                                                                 runs on any

accused product by “collectively refer[ring] to [access points and controllers] as ‘Aruba

APs’ in [his] answers.” See CX-3846C (Madisetti WS) at Q/A 171. Complainant refers

to these two separate and different networking devices as “Aruba APs” because Dr.

Madisetti opines that the “Campus APs include the managing controller.” Id. at Q/A 171,

240. It is well understood that controllers and APs are separate and distinct networking

elements. See RX-1195C (Acampora WS) at Q/A 62; RDX-0001C.00106.




                                                                        63

                                                                   Appx335
             Confidential
         Case: 22-1957    Material
                    Document:           Redacted
                              18 Page: 142 Filed: 12/06/2022

                                   Public Version




         Despite complainant’s attempt to treat the APs and controllers as a single device,

complainant did not identify controllers as accused products for the ‘853 patent.

Complainant’s belated attempt to add controllers was rejected and the controllers have

been stricken from Dr. Madisetti’s list of accused Aruba products for the ‘853 patent.

See CX-3846C (Madisetti WS) at Q/A 171 (controllers redacted); Order No. 31 at 4-8.

The accused Redacted in Public Version resides Redacted in Public Version, not Redacted in Public Version.

See RX-1198C (Balay WS) at Q/A 14; RDX-0001.0116 (JX-0169C (Balay Dep. Tr.) at

29-30). Moreover, in terms of the ‘853 patent claims, these wired controllers would be

internal transmission nodes, not access nodes, since the controllers perform layer 2

switching and, optionally, layer 3 routing. See RDX-0001C.0112 (citing RX-0516.0078

(ArubaOS 8.7.1.0 User Guide); RX-1195C (Acampora WS) at Q/A 73.
                                                                  Redacted in Public Version
         Even in the context of Aruba APs running the                                          , the Campus APs

and controllers are physically different networking devices that are sold separately. See

RX-1198C (Balay WS) at Q/A 12-13. Complainant’s grouping of two separate network

elements under one name for the purposes of the analysis is both confusing and
                                                                                                          Redacted in Publi

problematic. The accused Redacted in Public Version exists only Redacted in Public Version, and not

   , id., and yet Complainant argues that the functionality is present on an “Aruba AP.”

For example, complainant (at Q/A 240 of CX-3846C (Madisetti WS)) recognizes that


                                                      64

                                                Appx336
                         Confidential
                  Case: 22-1957       Material
                                Document:           Redacted
                                          18 Page: 143 Filed: 12/06/2022

                                                          Public Version
                                                                                                                Redacted in P

“Redacted in Public Version” (which is correct), but (at Q/A 182) asserts that “

                                                                                                        ” (which is

incorrect). See Compl. Br. at 229; CX-3846C (Madisetti WS); RX-1195C (Acampora

WS) at Q/A 71.

                  Inasmuch as complainant was not allowed to add controllers to its list accused

products, the only accused products are Aruba APs. As noted, Aruba controllers have

been removed from complainant’s list of the ‘853 patent accused products. See Order

No. 31 at 4-8; CX-3846C (Madisetti WS) at Q/A 171 (controllers redacted). Without
Redacted in Public Version                                                           Redacted in

                             , the accused Redacted in Public Version cannot even             . See RX-1195C (Acampora

WS) at Q/A 74.

                  Even if complainant was allowed to consider controllers in its infringement

theory, the accused functionality would still Redacted in Public Version

                                                                     . The accused controllers would include the

Redacted in Public Version. The controllers would thus have to be considered as part of

the “communications network,” which would preclude a finding of infringement as it is
                                   Redacted in P

undisputed that                                    does not consider the transmission capacity of the controller. See

CX-3846C (Madisetti WS) at Q/A 191, 200, 206. The Instant-On, Instant, and Unified
                                                                                                                Redacted in Public Versio

APs (as imported, with an Instant AP software build) run a software build that

                                                       and therefore does not operate in connection with the accused
Redacted in Public Version
                                       . See RX-1195C (Acampora WS) at Q/A 75.

                                                            iii.   Whether ICH Checks Permissibility

                  The accused Redacted in Public Version does not check permissibility to use a service

(send a traffic stream), as required by claim 1 of the ‘853 patent. Aruba’s documents

                                                                          65

                                                                     Appx337
                               Confidential
                       Case: 22-1957        Material
                                      Document:           Redacted
                                                18 Page: 144 Filed: 12/06/2022

                                                                 Public Version
                                   Redacted in Public

confirm that                                            is invoked Redacted in Public Version                                             See

RX-1195C (Acampora WS) at Q/A 63; RDX-0001C.0113, .0115, .0125-26; RX-

0483C.0007, .0019; RX-0516.1078, .1070, RX-1198C (Balay WS) at Q/A 47-50. As

shown in RDX-0001C.0127, even according to complainant’s flow chart, regardless of
                                                                                                                      Redacted in Public Version
the Redacted in Public Version the call is Redacted in Public Version, i.e., the source code

                                                                                                   See RX-1195C (Acampora WS) at

Q/A 103. JX-0169C (Balay Dep. Tr.) at 153, 127-128; RX-1195C (Acampora WS) at

Q/A 63; RX-0935C (Overby WS) at Q/A 34. Inasmuch as all calls (streams) are
Redacted in Public Version Redacted in P

                       ,                   does not check permissibility as to whether a stream can be transmitted.
                                                                    Redacted in P

                    Complainant argues that                                         checks permission to use a “service” in the form of

a “voice service.” See Compl. Br. at 229; CX-3846C (Madisetti WS) at Q/A 181. As

noted above, Redacted in Public Version, so permission of a voice service is not checked.

Claim 1 plainly states that the “service” for which permission is checked comprises

“transmission of at least one service-specific traffic stream.” See RX-1195C (Acampora

WS) at Q/A 102. This does not encompass checking whether an admitted traffic stream

should be provided a certain priority level. Rather, permitting a service (e.g., traffic

stream for a call) and determining whether to prioritize a call are two different concepts.

Id. at Q/A 106. The Redacted in Public Version will aRedacted in Public Version                                                            . The

only thing that might change is Redacted in Public Version                                                  . Id.

                    Moreover, even under complainant’s incorrect application of this limitation, the

accused Aruba APs do not check permission to use the alleged access category priority

level. See RX-1195C (Acampora WS) at Q/A 104. If a data stream contains a requested

priority level, that level will only be used Redacted in Public Version . See RX-1198C

                                                                                          66

                                                                                      Appx338
                        Confidential
                   Case: 22-1957     Material
                               Document:           Redacted
                                         18 Page: 145 Filed: 12/06/2022

                                                     Public Version
(Balay WS) at Q/A 50. Even then, any requested priority Redacted in Public Version

                     and does not Redacted in Public Version (the accused “communications
                                                                                                               Redacted in Public Version
network”). See RX-1195C (Acampora WS) at Q/A 109; RDX-0001C.0105.
                        Redacted in P

                    ,                   does not check permission to use one of these priority levels. See RX-
                                                                                            Redacted in P          Redacted in Public Version
1195C (Acampora WS) at Q/A 104. Rather, the relevant function in                                            will

                                                                                                                               . See

RX-0935C (Overby WS) at Q/A 32, 34. Contrary to the ‘853 patent’s claim language,
Redacted in P

                does not check if a particular priority is permitted. See RX-1195C (Acampora WS)

at Q/A 104. Instead, the alleged check of capacity occurs Redacted in Public Version

                                                                                                      , if any. See

RDX-0001C.0125 (RX-0516.1075, .1071). This is presented in RDX-0001C.0128,

which uses complainant’s flow chart (CDX-0001C.853.327) to show that the alleged

permissibility check (i.e., Redacted in Public Version                            ) Redacted in Public Version

                                          . See RX-1195C (Acampora WS) at Q/A 104. Inasmuch as the

alleged check Redacted in Public Version                                                                , the Aruba APs

do not “check[] permissibility to use a service.” That is, the alleged capacity check is not

Redacted in Public Version. Id. Therefore, the accused Aruba APs do not “check[]

permissibility to use a service,” even if the claimed “service” could properly be read on a

priority level.

                  Accordingly, none of the accused Aruba products satisfy claim element 1.0

(“checking permissibility to use a service …”) or claim element 1.4 (“checking, via the

access control function, … whether the use of the service is permitted, … taking into

account an available capacity”), and do not infringe claims 1-9 of the ‘853 patent.

                                                                   67

                                                               Appx339
               Confidential
         Case: 22-1957      Material
                      Document:           Redacted
                                18 Page: 146 Filed: 12/06/2022

                                Public Version
                                 iv.             Overall Transmission Capacity

        As explained above, the Campus APs can be connected to Redacted in Public Version

           , and Redacted in Public Version                                                     . The accused

“Redacted in Public Version” is limited to a single AP and does not take into account other links

or nodes in the controller-based network in which a Campus AP resides. However, under

complainant’s improper consideration of the Campus AP and a controller as a single

device, the capacity of the (improperly combined) “device” would have to include the
                                                                                                      Redacted in P

capacity of the wired link. See RX-1195C (Acampora WS) at Q/A 115-16.                                                 does not

analyze the capacity of that link. See RDX-0001C.0109.

                                 v.              Claim 1: Limitation by Limitation

        In view of the foregoing analysis, below is a limitation-by-limitation summary of

the reasons the accused Aruba (HPE) products do not infringe the ‘853 patent claim

limitations.

        Claim 1. [Element 1.0] A method for checking permissibility to use a
        service, the service being implemented in at least one communications
        network.

        Complainant’s accused communication network is incompatible with the claimed

communications network (Common Issue #1). See RX-1195C (Acampora WS) at Q/A
                                       Redacted in P

16-41. Additionally, the accused                       functionality runs Redacted in Public Version (which is not an
                                                                                                          Redacted in Public Version
accused product) and does not check permissibility to use the service because

                                                                                                           See RX-

1195C (Acampora WS) at Q/A 102; RX-1198C (Balay WS) at Q/A 46-50. Indeed, for

the accused Campus APs, Redacted in Public Version (complainant’s alleged

“communications network”) and is Redacted in Public Version                                                  in order it

                                                             68

                                                       Appx340
                   Confidential
           Case: 22-1957        Material
                          Document:           Redacted
                                    18 Page: 147 Filed: 12/06/2022

                                          Public Version
to Redacted in Public Version                           . Moreover, the claimed “service” is for

“transmission of” the stream. Altering the priority of a stream Redacted in Public Version

               is not checking permission to use the “service” of transmitting the stream. Id.

        Even if the claimed “service” could properly be read on a priority level (which it
           Redacted in P

cannot),                   does not check permission to use a priority level. See RX-1195C

(Acampora WS) at Q/A 102-07. Redacted in Public Version

                                               , and the alleged Redacted in Public Version check occurs

Redacted in Public Version

                                      . Id. at Q/A 104; RX-0935C (Overby WS) at Q/A 32, 34;

RDX-0001C.0125 (RX-0516.1075, .1071 (ArubaOS 8.7.1.0 User Guide)). This is shown

in complainant’s expert’s own demonstratives. See CDX-0001C.853.327.

        [Element 1.1] the communication network having an overall
        transmission capacity,

        As discussed in Common Issue #1, none of the accused products have any

cognizance of a broader communication network with an “overall transmission capacity.”

See RX-1195C (Acampora WS) at Q/A 110-11. Even under Dr. Madisetti’s theory of
                                                                      Redacted in P

considering the Campus AP and a controller (on which                                  runs) as a single unit (which

is improper), the overall capacity of that alleged “communication network” would need
                                                                                                    Redacted in P

to include the capacity of the wired link from AP to controller. However,                                           does not

analyze the capacity of that link as part of the alleged permissibility check. Id. at Q/A
                                                                                                       Redacted in Public Vers

115. Moreover, and as explained above with respect to Common Issue #3,

                                                                                                  . This would be

the case for each of the 2.4 and 5 GHz radio channels included on most, if not all, of the


                                                         69

                                                    Appx341
                         Confidential
                  Case: 22-1957       Material
                                Document:           Redacted
                                          18 Page: 148 Filed: 12/06/2022

                                                          Public Version
accused products. Id. at Q/A 116.

                [Element 1.2] the use of the service comprising transmission of at least
                one service-specific traffic stream which is assigned to the service by an
                access node which is assigned to the service to the communication
                network, comprising:

                First, the accused products do not practice this limitation for the reasons discussed

above with respect to Common Issue #1 (“communications network”). See RX-1195C

(Acampora WS) at Q/A 122, 16-41. Second, the accused Aruba (HPE) APs and
                                      Redacted in P

controllers running                                   do not check permissibility to use a “service comprising

transmission of at least one service-specific traffic stream” because Redacted in Public Version

              . Third, it is undisputed that the alleged access node (Aruba AP) Redacted in Public Version

                                      , as it is Redacted in Public Version                       . Fourth, by the

time a call reaches the accused Redacted in Public Version, Redacted in Public Version

                 (alleged communications network), and thus is not “assigned to the service to the

communication network.” Id. at Q/A 123-35.

                [Element 1.3] analyzing the use of the service with an access control
                function which is assigned to the access node; and
                                                                                                                     Redacted in Public Version
                The accused Aruba (HPE) APs do not practice this limitation because

                    by an Aruba AP Redacted in Public Version

does not “control” “access” to anything. Thus, no “access control function” is applied by

the Aruba (HPE) APs. See RX-1195C (Acampora WS) at Q/A 138-41. The Aruba
                                                                                                               Redacted in Public Version

controllers also do not perform access control on the traffic stream, because
                                                                                                     Redacted in P

                                        . Additionally, the alleged access control function (                    ) is assigned
     Redacted in Public Version
to                                (an “internal transmission node”) not an access node (AP). Moreover, the

accused Redacted in Public Version running on the separate controller does not “analyze the use of

                                                                         70

                                                                     Appx342
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 149 Filed: 12/06/2022

                              Public Version
the service” because Redacted in Public Version                             (alleged to be the priority

level) and aRedacted in Public Version             . Id. at Q/A 142-46.

       [Element 1.4] checking, via the access control function, without further
       interrogations at internal transmission nodes of the communications
       network, whether the use of the service is permitted, the checking
       performed taking into account an available capacity, which is

       As explained in Common Issue #1, complainant’s alleged “communication

network” does not satisfy the claims, for example because the identified communication

network does not include internal transmission nodes, as required by this limitation.

Additionally, Redacted in Public Version                                                                 and

ensures that Redacted in Public Version                                                . See RX-

1195C (Acampora WS) at Q/A 152; RDX-0001C.0119 (RX-0483C.0019). Inasmuch as

all call streams (“service”) are accepted, this “checking…whether the use of the service is

permitted” is not satisfied. See RX-1195C (Acampora WS) at Q/A 151-52.

       During cross-examination, Dr. Madisetti offered a new infringement theory: that

the client devices are internal transmission nodes. See Madisetti Tr. 50. While both

untimely and contrary to the plain meaning of “internal transmission nodes,” even were
                                                      Redacted in P

this new argument considered, it is undisputed that                   does not consider the capacity of

the client devices. See CX-3846C (Madisetti WS) at Q/A 191, 200, 206.

       [Element 1.5] determined taking into account the overall transmission
       capacity [of the communications network], and

       As explained in Common Issue # 2, the accused products do not determine

permissibility by “taking into account the overall transmission capacity” of the
                                                                                         Redacted in P

communications network. Nothing in the alleged communication network,                                    (or

anything else), considers the capacity of the controller or the wired link between the

                                            71

                                          Appx343
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 150 Filed: 12/06/2022

                                Public Version
Campus AP and controller. See RX-1195C (Acampora WS) at Q/A 164. Inasmuch as

Redacted in Public Version does not analyze the controller’s capacity/link, this limitation is not


satisfied. Id. at Q/A 165.


               Redacted in Public Version




        Treating the AP and controller as one device would reinforce the point that the

capacity of the controller (and its wired link to the AP) would need to be considered as

part of the “overall transmission capacity.” Otherwise, Dr. Madisetti’s overall

transmission capacity would not cover the transmission capacity of the AP and controller

considered together. Id. at Q/A 166.

        [Element 1.6] [an available capacity, which is] available to the access
        node for transmitting traffic streams to the communications network.

        The accused products do not practice this limitation for the reasons discussed

above with respect to Common Issue #1 (“communications network”), for example

because the alleged communication network does not include any internal transmission

nodes that provide capacity “available to the access node for transmitting traffic streams

to the communications network.” See RX-1195C (Acampora WS) at Q/A 172.

                        c.      Dependent Claims 2-9: HPE Accused Products

        Inasmuch as the accused Aruba products do not infringe independent claim 1,

                                               72

                                           Appx344
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 151 Filed: 12/06/2022

                                Public Version
they also do not infringe claims 2-9, which depend from claim 1. Additional reasons that

the accused Aruba products do not infringe dependent claims 2-9 are discussed below.

                                 i.      Claim 2

        Complainant has not shown that any data is actually being transmitted with

priority, as required by the method claims of the ‘853 patent. The claimed “service” is

not a priority level. Id. at Q/A 176. Additionally, the accused Campus APs do not check

any such “transmission of information” because Redacted in Public Version, and any accused

controller Redacted in Public Version                            , as discussed above. Id. at

Q/A 178.

                                 ii.     Claims 3, 7, 8

        A wireless network is not a DiffServ network, and Dr. Madisetti has not cited any

evidence of a “DiffServ network” in connection with use of the accused APs. Id. at Q/A

180. The accused Redacted in Public Version does not “signal” permissibility to transmit a traffic

stream with priority—Redacted in Public Version                           . Moreover, a Campus

AP does not transmit a traffic stream’s packets with the alleged priority. Packets could

only be transmitted with priority after the priority has been applied. Likewise, for a

traffic stream originating from a client device connected to a Campus APs, the controller

does not “subsequently” transmit the packets to the alleged DiffServ network (WLAN)

because, at this point, the packets have left the accused AP and have arrived at the

controller. Id. at Q/A 182.




                                                73

                                            Appx345
                  Confidential
           Case: 22-1957       Material
                         Document:           Redacted
                                   18 Page: 152 Filed: 12/06/2022

                                       Public Version
                                       iii.   Claim 4

       The accused products do not practice this limitation for the reasons discussed in

Common Issue #1 (“communications network”). Id. at Q/A 188.

                                       iv.    Claim 5

       The accused Redacted in Public Version                                                      Thus, a

service quality level is not taken into account when checking the alleged permissibility.
                                                      Redacted in P

Additionally, contrary to the claim language,                         does not check Redacted in Public Version

                  Rather, Redacted in Public Version

                         Id. at Q/A 192.

                                       v.     Claim 6
       Redacted in P

                       does not check Redacted in Public Version                   Redacted in Public Version

                                                                           Id. at Q/A 196.

                                       vi.    Claim 9

       See claim element 1.3, discussing lack of an “access control function” in the APs.

                                d.     Claim 1: NETGEAR and CommScope Accused
                                       Products

       Complainant’s infringement contentions for the accused NETGEAR and

CommScope products are substantially the same, and are discussed together. For both

the accused NETGEAR APs and Ruckus APs, complainant’s infringement theory is

based on how the APs perform admission control (if at all) with respect to an

Redacted in Public Version from a client (e.g., mobile phone, laptop) that is connected to the

AP. For the NETGEAR APs, complainant identifies an “Redacted in Public Version

           ” which is executed by Redacted in Public Version. See CX-3847C (Jones WS) at Q/A

                                                    74

                                                 Appx346
             Confidential
          Case: 22-1957   Material
                    Document:           Redacted
                              18 Page: 153 Filed: 12/06/2022

                                               Public Version
58; CX-3846C (Madisetti WS) at Q/A 120, 122. For the CommScope Ruckus APs, the

functionality identified for handling such Redacted in Public Version is the Redacted in Public Version
                       Redacted in Public Version
(also referred to as                                ) functionality (CX-3846C (Madisetti WS) at Q/A 66),

which is implemented in the code Redacted in Public Version                                                     . See RDX-

0001C.0136 (JX-0175C (Jou Dep. Tr.) at 80); RX-0935C (Overby WS) at Q/A 57. These

functionalities operate based on the IEEE 802.11e standard and a client device connected

to the accused NETGEAR and Ruckus APs uses the Redacted in Public Version

                                                       (see, e.g., RDX-0001C.0137-38 (JX-0175C at 71:3-

13)); RX-1195C (Acampora WS) at Q/A 83-84, 90-91.

        The accused Ruckus and NETGEAR APs do not infringe the asserted ‘853 patent

claims because (1) the accused Ruckus and NETGEAR APs do not make any decision for
Redacted in Public Version based on capacity information of any other nodes/links in an overall


communications network to which they are attached (see Common Issues # 1 and 2); and

(2) even under complainant’s incorrect proposed construction of the “communications

network” in the claims, the Ruckus and NETGEAR APs do not make any admission

decision based on even their own transmission capacity (see Common Issue #3).

                                                i.         NETGEAR testing

        Complainant references testing of a NETGEAR product as alleged evidence of

infringement. See CX-3846C (Madisetti WS) at Q/A 114, 129, 142 (citing CX-0688C
                                                          Redacted in Public Vers

(NETGEAR WAC510 Access Point                                                        Processing Test Results)). Complainant’s
                                                                                                                  Redacted in Public Version
expert states that the “NETGEAR APs respond to [Redacted in Public Version] (e.g.

                       ).” See CX-3846C (Madisetti WS) at Q/A 141. However, the testing

does not show an “acceptance or refusal.” It shows Redacted in Public Version. See CX-

                                                                             75

                                                                  Appx347
                             Confidential
                     Case: 22-1957        Material
                                    Document:           Redacted
                                              18 Page: 154 Filed: 12/06/2022

                                                              Public Version
0688C.0005 (NETGEAR WAC510 Access Point Redacted in Public Version Test Results)

(“Redacted in Public Version                                           ”); JX-0185C (Maker Dep. Tr.) at 136. Indeed, the
                                                                                                             Redacted in Public Vers

acceptance or denial of a Redacted in Public Version based on the alleged available
Redacted in Public Version            Redacted in Public Version
                             and/or                                is not a permissibility check according to the asserted

claims of the ‘853 patent (see Common Issue #3). However, even assuming that such an

acceptance or rejection was relevant to the claims, nowhere in complainant’s testing of

the accused NETGEAR products is there evidence that any alleged “service” would
Redacted in Public Version
                                      . See RX-1195C (Acampora WS) at Q/A 88-89.
                                                                                                                                       Redacted in Public V

                   Complainant’s failure to show that any Redacted in Public Version would be

impedes complainant’s ability to prove that the accused products actually perform a
                                                                                                                    Redacted in Public Version
permissibility check, as alleged. Id. at Q/A 84-89. The testing shows that

                                 As Mr. Overby explains, Mr. Jones and Dr. Madisetti disregard aspects

of the NETGEAR source code that is contrary to their opinions. See RX-0935C (Overby

WS) at Q/A 44, 49-54. As pointed out by respondents, this may explain why the testing

was not able to show than an accused NETGEAR Redacted in Public Version

                                                 based on the alleged Redacted in Public Version. See RX-1195C

(Acampora WS) at Q/A 89.

                   Moreover, the accused functionality is provided by Redacted in Public Version

                                  and NETGEAR Redacted in Public Version the particular implementation details of

the accused functionality. See JX-0177C (Nagaraju Dep. Tr.) at 183, 86; CX-3846C

(Madisetti WS) at Q/A 148. Accordingly, if the code (and Dr. Madisetti’s test results)

suggest that the accused NETGEAR APs may be configured Redacted in Public Version

                                                    then it follows that complainant’s infringement analysis is

                                                                                76

                                                                            Appx348
             Confidential
        Case: 22-1957     Material
                    Document:           Redacted
                              18 Page: 155 Filed: 12/06/2022

                             Public Version
wrong. See RX-1195C (Acampora WS) at Q/A 89.

                              ii.    CommScope – Whether complainant’s
                                     infringement allegations for Ruckus APs
                                     are representative of all accused products

       Complainant’s analysis collectively refers to the accused CommScope devices

(which includes 30 APs and a controller) as “Ruckus APs.” See CX-3846C (Madisetti

WS) at Q/A 52. Complainant’s alleged evidence may not be representative of the range

of accused Ruckus products at least because much of the accused functionality in the

accused CommScope products Redacted in Public Version                               for

those products. See RDX-0001C.0136 (JX-0175C (Jou Dep. Tr.) at 80). The way in
                                                                                Redacted in Pu

which Redacted in Public Version                 have implemented the accused

                                       may vary substantially across the accused

products. Consequently, complainant has not shown that the cited evidence is

representative of the range of accused Ruckus APs. See RX-1195C (Acampora WS) at

Q/A 92-94.

       Complainant references testing of a Ruckus R310 Unleashed (“Ruckus ZoneFlex

R310 Access Point”) device as alleged evidence of infringement of the asserted ‘853

patent claims. See CX-3846C (Madisetti WS) at Q/A 60 (citing CX-0684C), 68, 70, 73,

84, 86. However, there is no evidence presented from which a person of ordinary skill

can determine whether the testing fairly represents the other accused Ruckus APs that are

allegedly represented. See RX-1195C (Acampora WS) at Q/A 96. Additionally, the

testing Mr. Maker performed at Dr. Madisetti’s direction did not include a controller. See

JX-0185C (Maker Dep. Tr.) at 94-95, 112-113; RX-1195C (Acampora WS) at Q/A 90-

94.

                                           77

                                       Appx349
                      Confidential
                Case: 22-1957      Material
                             Document:           Redacted
                                       18 Page: 156 Filed: 12/06/2022

                                                             Public Version
                                                              iii.   NETGEAR/CommScope APs:
                                                                     Limitation-by-Limitation

              Claim 1. [Element 1.0] A method for checking permissibility to use a
              service, the service being implemented in at least one communications
              network.

              Complainant’s accused “communication network” (WLAN for an AP) is

incompatible with the claimed communications network (Common Issue #1). Moreover,

the accused priority tags cannot satisfy the “service” recited in the claims, which refers to

a traffic stream (stream of data packets), i.e., the “checking permissibility to use a

service” in the claim is the checking of whether to permit or deny a requested stream.

See RX-1195C (Acampora WS) at Q/A 98, 107.

              [Element 1.1] the communication network having an overall
              transmission capacity,

              As set forth in Common Issues #1 and 2, none of the accused APs have any

cognizance of a broader “communication network” with an “overall transmission

capacity.” Moreover, as explained in Common Issue #3, the accused Redacted in Public Version
      Redacted in Public Version
(or                            ) is not an amount of data that the wireless channel can transmit. See RX-

1195C (Acampora WS) at Q/A 110-14. For example, complainant’s allegations are
Redacted in Public Version         Redacted in Public Ve

                           , and                           is not the claimed overall transmission capacity of even the AP
                                                                                                      Redacted in Public Ve

(let alone of a broader network). Therefore, Dr. Madisetti’s identified                                                       and/or

Redacted in Public Version does not represent the claimed “overall transmission capacity.”

Id.; id. at 118, 120.

              [Element 1.2] the use of the service comprising transmission of at least
              one service-specific traffic stream which is assigned to the service by an
              access node which is assigned to the service to the communication
              network, comprising:

              First, the accused products do not practice this limitation for the reasons discussed
                                                                           78

                                                                        Appx350
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 157 Filed: 12/06/2022

                              Public Version
above with respect to Common Issue #1 (“communications network”). See RX-1195C

(Acampora WS) at Q/A 122.

       [Element 1.3] analyzing the use of the service with an access control
       function which is assigned to the access node; and

       As discussed above, the alleged “service” identified by Dr. Madisetti (voice

service priority level) is not the claimed “service comprising transmission of at least one

service-specific traffic stream.” See RX-1195C (Acampora WS) at Q/A 136

       [Element 1.4] checking, via the access control function, without further
       interrogations at internal transmission nodes of the communications
       network, whether the use of the service is permitted, the checking
       performed taking into account an available capacity, which is

       As explained in Common Issue #1, complainant’s alleged “communication

network” is wrong, for example because the identified communication network does not

include internal transmission nodes, as required by this limitation. See RX-1195C

(Acampora WS) at Q/A 148-51.

       [Element 1.5] determined taking into account the overall transmission
       capacity [of the communications network], and

       As explained in Common Issue # 2, the accused products do not determine

permissibility by “taking into account the overall transmission capacity” of the
                                                                           Redacted in Public Vers

communications network. Moreover, as explained in Common Issue #3,

           is not an amount of data that the wireless channel can transmit. See RX-1195C

(Acampora WS) at Q/A 161-62, 168, 170.

       [Element 1.6] [an available capacity, which is] available to the access
       node for transmitting traffic streams to the communications network.

       The accused APs do not practice this limitation for the reasons discussed in

Common Issue #1 (“communications network”), for example because the alleged


                                             79

                                         Appx351
         Case: 22-1957        Document: 18        Page: 158      Filed: 12/06/2022

                              Public Version
communication network does not include any internal transmission nodes that provide

capacity “available to the access node for transmitting traffic streams to the

communications network.” See RX-1195C (Acampora WS) at Q/A 172.

                       e.      Dependent Claims 2-9: NETGEAR and
                               CommScope Accused Products

       Inasmuch as the accused NETGEAR and Ruckus APs do not infringe independent

claim 1, they also do not infringe claims 2-9, which depend from claim 1. Additional

reasons that the accused APs do not infringe dependent claims 2-9 are discussed below.

                               i.     Claim 2

       Complainant has not shown that any data is actually being transmitted with

priority, as required by the method claims of the ‘853 patent. As explained above, the

claimed “service” is not a priority level. See RX-1195C (Acampora WS) at Q/A 176.

                               ii.    Claims 3, 7, 8

       A wireless network is not a DiffServ network, and Dr. Madisetti has not cited any

evidence of a “DiffServ network” in connection with use of the accused APs. Id. at Q/A

180. If a traffic stream has already been transmitted from an STA to an access node

(accused AP) via the wireless network, the access node (accused AP) will not

“subsequently transmit[] the traffic stream with priority [back] to DiffServ network [the

wireless network]” as required by claim 3 of the ‘853 patent. Id. at Q/A 184

(NETGEAR), 186 (Ruckus).

                               iii.   Claim 4

       The accused APs do not infringe for the reasons discussed in Common Issue #1

(“communications network”). Id. at Q/A 188.

                                             80

                                         Appx352
                   Confidential
              Case: 22-1957     Material
                          Document:           Redacted
                                    18 Page: 159 Filed: 12/06/2022

                                                  Public Version
                                                  iv.   Claims 5, 6

            Complainant has not identified any Redacted in Public Version in any specific
Redacted in Public Version
                             , and therefore there is no evidence of infringement under complainant’s

wrong theory. Id. at Q/A 190.

                                                  v.    Claim 9

            See claim element 1.3, explaining lack of an “access control function” in the APs.

                         3.               Indirect Infringement (Inducement)

            Complainant argues that HPE directly infringes asserted method claims 1-9 of the

‘853 patent:

                    The evidence showed that HPE directly infringes claims 1-9 of the
            ‘853 Patent. CX-3846C at Q/A 230. As detailed above, the HPE APs are
            configured to Redacted in Public Version                        . CX-3846C at Q/A
            231. The HPE APs perform the elements of claims 1-9 any time they
            receive traffic from an Redacted in Public Version, including Redacted in Public Version.
            Id. HPE performs testing on the Aruba APs Redacted in Public Version Id. This
                                Redacted in Public Version
            testing includes                               Id.; JX-0179C.0023-24, .0035. HPE has an
            Redacted in Public Version that focuses on testing access points and
            controllers Redacted in Public Version CA. Id.

Compl. Br. at 244.

            Complainant argues that HPE induces infringement of the asserted method claims

1-9 of the ‘853 patent:

                     The evidence showed that HPE induces infringement of claims 1-9
            of the ‘853 patent by end users of the Aruba APs. CX-3846C at Q/A 232.
            HPE is aware of the ‘853 patent and the activity that infringes claims 1-9.
            CX-3846C at Q/A 233. Q3 alleged infringement of the asserted patents by
            filing the complaint in this investigation, including charts demonstrating
            infringement. Id. Q3 served preliminary and supplemental infringement
            contentions asserting that HPE infringed the asserted patents via the
            accused products. Id. Based on this, HPE knew or should have known
                                Redacted in Pub

            that use of      by the accused products infringed the asserted patents.
            Id.


                                                             81

                                                          Appx353
                 Confidential
         Case: 22-1957        Material
                        Document:           Redacted
                                  18 Page: 160 Filed: 12/06/2022

                                             Public Version
               Despite this, HPE continued providing Aruba APs to its customers
                                                             Redacted in P

       and continued the encouraging the use of                   . Id. After receiving notice
       of the asserted patents, HPE must have known, or was willfully blind to
       the fact that, its customers were infringing the asserted patents. Id. Not
       only is Redacted in Public Version but HPE instructs its users on how to
       configure it. Id.; CX-0104.1078. HPE provides support to its customers
               Redacted in Public Version
       for the                            via its website. CX-3846C at Q/A 233. HPE
       admitted to providing United States customers with instructions to use the
       infringing features and technical support for such features. Id.; CX-
       0476C.0383-89. Such instructions and support encourage end users to use
       Redacted in P

             and thereby infringe the ‘853 Patent. Id.

Id.

       Complainant argues that CommScope directly infringes asserted method claims 1-

9 of the ‘853 patent:
                                                                                                 Redacted in Pub

               As detailed above, the Ruckus APs are configured to support                              .
       CX-3846C at Q/A 103-104. The Ruckus APs performs the elements of
       claims 1-9 any time they receive Redacted in Public Version if Redacted in Public Version.
                                                                             Redacted in Public Version
       CSC [CommScope] performs testing on the Ruckus APs
                                          Redacted in Public Version
             . Id. This testing includes                             . Id.; JX-0175C.0036-
       37. CSC provides a customer support team in the United States that
       supports the Ruckus APs. CX-3846C at Q/A 104; JX-0175C.0026. At the
       hearing, CSC’s corporate representative confirmed that customer support
                       Redacted in Pub

       tests      if a customer experiences a problem. Tr. (Jou) at 347:17-348:4.
       CSC’s corporate representative further testified that Redacted in Public Version
                                     Tr. (Jou) at 347:12-16.

Compl. Br. at 213.

       Complainant argues that CommScope induces infringement of the asserted

method claims 1-9 of the ‘853 patent:

               The evidence showed that CSC [CommScope] induces
       infringement of claims 1-9 by end users of the Ruckus APs. CX-3846C at
       Q/A 105. CSC is aware of the ‘853 Patent and the activity that infringes
       claims 1-9. CX-3846C at Q/A 106. Q3 alleged infringement of the
       asserted patents by filing the complaint in this investigation, including
       charts demonstrating infringement. Id. Q3 served preliminary
       infringement and supplemental contentions asserting that CSC infringed
       the asserted patents. Based on this, CSC knew or should have known that
                           Redacted in Pub

       use of       by the accused products infringed the asserted patents. Id.

                                                      82

                                                 Appx354
           Confidential
         Case: 22-1957  Material
                  Document:           Redacted
                            18 Page: 161 Filed: 12/06/2022

                                 Public Version
                CSC continued providing Ruckus APs to its customers and
                                                   Redacted in Pub

       continued the encouraging the use of            . Id. After receiving notice,
       CSC must have known, or was willfully blind to the fact that, its
       customers were infringing the asserted patents. Id. In fact, CSC admitted
       that it supports its United States customers use CAC. Id.; CX-
       0470C.0025. CSC was aware that Redacted in Public Version and knew
       that Redacted in Public Version                             Id.; JX-0175C.0014.
                                                                     Redacted in Public Version
       CSC’s customers, like Redacted in Public Version, and others,
                             Id.; JX-0175C.0025. CSC admits that the instruction
       manuals for the Ruckus APs provide instructions for Redacted in Public Version. Id.;
       CX-0470C.0023.
                                                                      Redacted in Pub

               CSC was aware that its customers were using         . CX-3846C at
       Q/A 107. CSC testified that Redacted in Public Version
                     Id. CSC testified that other customers Redacted in Public Version                    Redacted in Pub

                                    . Id.; JX-0175C.0025. CSC follows the
       testing procedures provided by Redacted in Public Version                   .
       CX-3846C at Q/A 107; JX-0175C.0014. At the hearing, CSC’s corporate
       representative admitted that Redacted in Public Version
                    . Tr. (Jou) at 346:12-347:16.

Id. at 213-14.

       Complainant argues that NETGEAR directly infringes asserted method claims 1-9

of the ‘853 patent:

               The evidence showed that NTG [NETGEAR] directly infringes
       claims 1-9 pf the ‘853 Patent. CX-3846C at Q/A 159. As detailed above,
       the NTG APs are configured to support Redacted in Public Version . CX-
       3846C at Q/A 160. The NTG APs performs the elements of claims 1-9                Redacted in Public Version

       any time they receive Redacted in Public Version. Id. NTG performs
                                                                              . Id. This
       testing includes Redacted in Public Version. Id.; JX-0177C.0026-27. NTG also
       provides a customer support team in the United States that supports the
       NTG APs. CX-3846C at Q/A 160; JX-0177C.0028. NTG’s support team
       generally attempts to recreate customer problems, directly infringing the
       ‘853 Patent. Id.; JX-0177C.0028.

Compl. Br. at 226-27.

       Complainant argues that NETGEAR induces infringement of the asserted method

claims 1-9 of the ‘853 patent:



                                                 83

                                             Appx355
              Confidential
        Case: 22-1957      Material
                     Document:           Redacted
                               18 Page: 162 Filed: 12/06/2022

                                Public Version
                The evidence showed that NTG [NETGEAR] induces
        infringement of claims 1-9 by end users of the NTG APs. CX-3846C at
        Q/A 161. NTG is aware of the ‘853 Patent and the activity that infringes
        claims 1-9. CX-3846C at Q/A 162. Q3 alleged infringement of the
        asserted patents by filing the complaint in this investigation, including
        charts demonstrating infringement. Id. Q3 served preliminary and
        supplemental infringement contentions asserting that NTG infringed the
        asserted patents via the accused products. Based on this, NTG knew or
        should have known that use of CAC by the accused products infringed the
        asserted patents. Id.

                Despite this, NTG continued providing NTG APs to its customers
                                                          Redacted in Public Versio

        and continued the encouraging the use of                  . Id. After receiving
        notice of the asserted patents, NTG must have known, or was willfully
        blind to the fact that, its customers were infringing the asserted patents.
        Id. In fact, NTG admitted that it “provides support to United States based
                            Redacted in Public V

        customers who use             functionality on the [NTG APs]”. Id.; CX-
        0479C.0007; JX-0177C.0028. NTG admits that its instruction manuals for
        the NTG APs provide instructions for Redacted in Public Version. CX-3846C
        at Q/A 162; CX-0479C.0004-05. NTG admits that data sheets for the
        NTG APs advertise support for Redacted in Public Version. Id.; CX-0479C.0006.

Id. at 227.

        Direct Infringement of the ‘853 Patent

        Complainant’s infringement theory requires that another device, e.g., a client

device manufacturer such as a cell phone, tablet, or computer manufacturer, provide at

least the request to use a service and the transmission of data to the “access node”

(accused product). See Compl. Br. at 244 (HPE), 213 (CommScope), 226-27

(NETGEAR); CX-3846C (Madisetti WS) at Q/A 181 (HPE), 66 (CommScope), 120

(NETGEAR); RX-1195C (Acampora WS) at Q/A 201-02. A person having ordinary

skill in the art would understand that, in order to check permissibility to use a service,

there must be a request to use a service in the first instance. See RX-1195C (Acampora

WS) at Q/A 201-02. The required client device (or devices) is not at issue in this

investigation, and complainant has not alleged that any respondent imports an infringing

                                                     84

                                                   Appx356
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 163 Filed: 12/06/2022

                               Public Version
client device. Complainant’s infringement opinions therefore do not rely upon evidence

of a single entity that could be found to directly infringe the claims because there is no

evidence provided of a single entity that performs all of the claimed elements. Id. at Q/A

201-202; Limelight Networks, Inc. v. Akamai Techs., Inc., 572 U.S. 915, 922 (2014)

(holding that there can be no direct infringement if “the performance of all the patent’s

steps is not attributable to any one person”).

       Complainant argues that the respondents directly infringe by testing the accused

products in the United States. See Compl. Br. at 244. Complainant has not presented any

evidence that each of the accused method claim steps of the ‘853 patent have been

performed by any respondent in this alleged testing. Complainant’s arguments fail as a

matter of law. E.g., Limelight, 572 U.S. at 921 (“A method patent … is not infringed

unless all the steps are carried out.”); Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201,

1222 (Fed. Cir. 2014) (“Because [plaintiff] cannot point to any evidence in the record that

[party] performed the infringing steps, or that any of its customers were under its

direction or control, the jury did not have substantial evidence to find direct

infringement.”). Second, even if there were evidence that any respondent tested the

alleged functionality, complainant has not shown that the claimed testing (1) is performed

in the United States, or (2) performs each and every claim limitation.

       Indeed, the accused functionality is Redacted in Public Version

                        See CX-0477C.0002-3 (HPE Resp. to Rog. 173), RX-1198C

(Balay WS) at Q/A 51 (Redacted in Public Version                       ); CX-0481C.0002-3

(NETGEAR’s Resp. to Rog. 173), JX-0177C.0026-27 (Nagaraju Dep. Tr.) at 99; CX-

0472C.0002-3 (CommScope Resp. to Rog. 173), JX-0175C.0036-37 (Jou Dep. Tr.) at

                                             85

                                          Appx357
                Confidential
            Case: 22-1957    Material
                       Document:           Redacted
                                 18 Page: 164 Filed: 12/06/2022

                                        Public Version
139-140, 97-98, RX-1201C (Jou WS) at Q/A 21. Complainant’s arguments have not

shown alleged direct infringement. See RX-1195C (Acampora WS) at Q/A 201-05;

RDX-0001C.0101, .0122, .0138, .0143.

          Indirect Infringement of the ‘853 patent

          Complainant argues that respondents’ customers indirectly infringe claims 1-9 of

the ‘853 patent. See Compl. Br. at 244, 213-14, 227; CX-3846C (Madisetti WS) at Q/A

105 (CommScope), 161 (NETGEAR), 232 (HPE). Complainant argues that respondents

encourage their customers to use their products. However, complainant has not presented

any evidence (or even alleged) that a NETGEAR and/or HPE customer has actually

practiced any asserted ‘853 patent claim. Limelight, 572 U.S. at 921. For CommScope,

complainant states Redacted in Public Version                                                constitutes evidence of

the use of that functionality. See CX-3846C (Madisetti WS) at Q/A 106. However,
Redacted in Public Version
                             are not evidence of Redacted in Public Version actually practicing or using
                                                               Redacted in Public Version
the accused functionality in the United States, and                                         does not constitute

evidence that those customers ever practiced the asserted ‘853 patent method claims.

Varian Med. Sys., Inc. v. Elekta AB, No. CV 15-871, 2016 WL 3748772, at *4 (D. Del.

July 12, 2016) (dismissing complaint in part because it “does not adequately allege that

any third party actually used the accused device” as required by the asserted method

claims) (emphasis in original). Even assuming complainant’s infringement contentions

are correct, there is no evidence that the ‘853 patent’s method claims have been

performed because there is no evidence of an end-user or customer performing the

accused functionality. See RX-1195C (Acampora WS) at Q/A 208-10; RDX-

0001C.0101, .0122, .0138, .0143.

                                                       86

                                                   Appx358
            Confidential
        Case: 22-1957    Material
                   Document:           Redacted
                             18 Page: 165 Filed: 12/06/2022

                             Public Version
       C.      Domestic Industry (Technical Prong)

       As discussed above, complainant relies on method claims 1-9 of the ‘853 patent

for the technical prong of the domestic industry requirement.

       Complainant argues, inter alia:

              The evidence showed that Siemens provides “Scalance APs” that
       perform the methods of the ‘853 Patent Redacted in Public Version
                                                 Those products include
       SCALANCE W7xx products such as WLC71x, W72x, W73x, W73fx,
       W74x, W76x, W77x, and W78x and substantially similar products. CX-
       3846C at Q/A 242. In addition, the Scalance W1750D (“W1750D”)
       performs these methods. Id. Dr. Madisetti analyzed the Scalance APs and
       found that they infringe. See generally CX-3846C at Q/A 241-289.

Compl. Br. at 246; see id. at 246-60.

       Respondents disagree. See Resps. Br. at 58-60; Resps. Reply Br. 21-23.

       As discussed below, complainant does not satisfy the requirements of the

technical prong of domestic industry for the ‘853 patent because the alleged domestic

industry products do not practice any claim of the ‘853 patent.

       Complainant identifies two categories of products. The first is the Siemens

Scalance W1750D Access Point. The second is a line of Siemens products referred to as

the Scalance W*7** APs. See RX-1195C (Acampora WS) at Q/A 211.

               1.     Scalance W1750D

       Complainant argues that the Siemens W1750D Redacted in Public Version

         See Compl. Br. at 260. Redacted in Public Version

                            the Siemens W1750D. See RX-1198C (Balay WS) at Q/A

15-17. The Redacted in Public Version                                          . Id. As Dr. Acampora
                                                           Redacted in

explained, the Siemens W1750D Redacted in Public Version                 Redacted in Public Version that




                                            87

                                         Appx359
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 166 Filed: 12/06/2022

                             Public Version
Redacted in Public Version        Redacted in Public Version                  . Id. at Q/A

16-18; RX-1195C (Acampora WS) at Q/A 213-16; RDX-001C.0145-47 (RX-1204

(W1750D Function Manual); RX-1203 (W1750D Configuration Manual); RX-1205

(W1750D Siemens Industry Online Product Support page)). Redacted in Public Version



                                                 . Id.

       Redacted in Public Version



                                                               See Compl. Br. at 260; CX-

3846C (Madisetti WS) at Q/A 286. Redacted in Public Version

                                           , the identified Scalance W1750D is not

within the scope of the ‘853 patent claims and does not satisfy the DI technical prong.

See RX-1195C (Acampora WS) at Q/A 212-13, 218, 221, 223.

       Complainant’s arguments regarding Dr. Balay’s testimony create a dispute where

none exists. It is undisputed that a Siemens W1750D Redacted in Public Version

                   See Balay Tr. 404 Redacted in Public Version



However, complainant has presented no evidence that Siemens Redacted in Public Version

Redacted in Public Version

                                          Complainant did not present any evidence of a

Scalance W1750D Redacted in Public Version

                               Indeed, the only specific evidence in the record regarding

the use of the Scalance W1750D is Redacted in Public Version

                                            88

                                        Appx360
                             Confidential
                      Case: 22-1957       Material
                                    Document:           Redacted
                                              18 Page: 167 Filed: 12/06/2022

                                                            Public Version
Redacted in Public Version
                             See JX-0185C (Maker Dep. Tr.) at 94-95.

                  Complainant equates a “virtual controller” Redacted in Public Version
                                                                                                           Redacted in Public Version
                                                                             with a “service controller”

                                                                                                                 See Balay

Tr. 429 Redacted in Public Version




                               As explained during the hearing, an Instant AP operating as a “virtual

controller” Redacted in Public Version                                                             . See Balay Tr. 430-

431 (“Q. So, Dr. Balay, the question was, does the virtual controller Redacted in Public Version

                                                                   A. No, it doesn’t.”). Complainant’s only
                                     Redacted in Public V

allegation as to the                                    APs is based on Redacted in Public Version

                                2.           Scalance W*7** APs

                  Complainant’s arguments as to why the “Scalance W7xx” APs allegedly practice

the asserted claims of the ‘853 patent Redacted in Public Version

                                            See Compl. Br. at 246-54 (claim 1), 254-260 (claims 2-9); CX-

3846C (Madisetti WS) at Q/A 247; Resps. Br. at 59; RX-1195C (Acampora WS) at Q/A

217. Complainant summarily asserts that the Siemens APs use “Redacted in Public Version”

See Compl. Br. at 246 (citing CX-3846C (Madisetti WS) at Q/A 241-89. Complainant

has not shown that the Scalance W7xx products actually use Redacted in Public Version, or that,

even if they do, the identified Redacted in Public Version

                     on the identified Scalance W7xx products. Redacted in Public Version

                                                                        89

                                                                     Appx361
            Confidential
        Case: 22-1957    Material
                   Document:           Redacted
                             18 Page: 168 Filed: 12/06/2022

                              Public Version
Redacted in Public Version
                                                                          Redacted in Public Version
                                                       The Siemens APs



would not be within the scope of the ‘853 patent claims Redacted in Public Version

                                               See RX-1195C (Acampora WS) at Q/A

219-21, 223.

               3.      Direct and Indirect Practice of Claims 1-9

       Complainant presents no evidence that Siemens has ever used or tested any

alleged domestic industry product in the United States to allegedly practice the ‘853

patent claims. See generally Compl. Br. at 246-60; CX-3846C (Madisetti WS) at Q/A

242; RX-1195C (Acampora WS) at Q/A 222; RDX-0001C.0148. Complainant also

presents no evidence that a Siemens customer has used any alleged domestic industry

product in the United States to allegedly practice the ‘853 patent claims. Id. In fact,

complainant does not even argue that Siemens has directly or indirectly practiced the

‘853 patent claims. Id. Therefore, complainant cannot satisfy the technical prong of

domestic industry.

       D.      Validity of the ‘853 Patent

       Respondents argue, inter alia:

              The earliest filing date to which the ‘853 Patent claims priority is
       March 23, 2000 (the date of a German priority application). JX-
       0003.0003. Asserted claims 1-9 are invalid in view of numerous
       independent prior art references, three of which are identified below.

       Invalidated                 x    Claims 1-2, 4-7, and 9 are anticipated
       under both                       by Li (U.S. Patent No. 6,738,819);
       Respondents’                x    Claims 3 and 8-9 are rendered obvious

                                             90

                                         Appx362
       Case: 22-1957        Document: 18          Page: 169      Filed: 12/06/2022

                             Public Version
       and Q3’s                        by Li; and
       proposed                    x   Claims 1-9 are rendered obvious by
       constructions:                  Shirahase (a printed publication titled
                                       “Design and Deployment of QoS
                                       Enabled Network for Contents
                                       Businesses”).
       Mirrors Q3’s                x   Claims 1-9 are rendered obvious by
       infringement                    Scholefield (Pat. App. No. AU
       theory and                      8,685,898) under Q3’s proposed
       therefore                       constructions and infringement theory.
       invalidates
       under Q3’s
       theory:

               Q3 alleges that only the following limitations of claim 1 are not
       disclosed by the prior art:

       Reference(s)                Limitations Q3 Alleges are Not Disclosed
       Li,                         x “overall transmission capacity” (Claim
       Shirahase, and                 1.1)
       Scholefield                 x “checking … without further
                                      interrogations of the internal
                                      transmission nodes” (Claim 1.4)
                                   x “an available capacity, which is
                                      determined taking into account the
                                      overall transmission capacity” (Claim
                                      1.5)
       Li only                     x “checking … taking into account an
                                      available capacity” (Claim 1.4)

       Q3 also does not dispute that Li, Shirahase, and/or Scholefield disclose the
       additional limitations of dependent claims 2-9.

Resps. Br. at 60-61; see id. at 61-98; Resps. Reply Br. 23-27.

       Complainant disagrees. See Compl. Br. at 260-71; Compl. Reply Br. 75-81.

       For the reasons set forth below, respondents have not shown by clear and

convincing evidence that the asserted claims of the ‘853 patent are invalid. 13


13
   On October 8, 2021, the Patent Trial and Appeal Board (PTAB) denied institution of
inter partes review. The PTAB noted that “the Final Determination in the parallel ITC
                                             91

                                       Appx363
         Case: 22-1957        Document: 18       Page: 170       Filed: 12/06/2022

                              Public Version
               1.      Li (JX-0012)

       As discussed below, respondents did not prove by clear and convincing evidence

that U.S. Patent No. 6,738,819 (“Li”), JX-0012, anticipates claims 1-2, 4-7, and 9, or that

Li renders obvious claims 3, 8 and 9.

       First, Li does not disclose an “overall transmission capacity” as required by

claims 1-9. See CX-3930C (Martin RWS) at Q/A 17. Dr. Acampora opines that each

link in Li’s DiffServ network has a “total bandwidth capacity,” and that “overall

transmission capacity” is the set of numbers reflecting the total link bandwidths of the

various links. Id. In particular, Dr. Acampora identifies the optical links OC3 and OC12.

Id. This is incorrect because while the “overall transmission capacity” can partially

depend on the transmission capacities of transmission paths of the communications

network, the mere presence of transmission paths does not disclose an “overall

transmission capacity.” Id.

       Li assesses bandwidth using an “iterative weakest link method,” as an

improvement upon the shortcomings of the “basic weakest link method.” See JX-0012

(Li) at 2:40-54. As Li explains, a “basic weakest link method can be used for deciding

whether to allow more traffic to enter a network when receiving a new request.” JX-0012

(Li) at 4:48-50. The basic weakest link method assumes “that all the admitted traffic will

converge onto the weakest link of the network.” JX-0012 (Li) at 4:52-54. The basic

weakest link method “ensures that the total traffic volume admitted into [the] network

proceeding is due six months before a final written decision would be due if we did
institute an inter partes review,” and it concluded that “efficiency and integrity of the
system are best served by denying institution.” See Complainant’s Notice of
Supplemental Authority regarding U.S. Patent No. 8,797,853 (Nov. 2, 2021) Ex. 2 (Case
IPR-2021-00754, Paper 9) at 12 (EDIS Doc. ID No. 755711).

                                            92

                                         Appx364
         Case: 22-1957        Document: 18         Page: 171      Filed: 12/06/2022

                               Public Version
will not exceed the capacity of the weakest link (Rw) in the network.” JX-0012 (Li) at

4:55-58. In other words, only traffic that can fit on the weakest link is allowed on the

network. However, the overall transmission capacity is greater than the capacity of the

weakest link. See CX-3930C (Martin RWS) at Q/A 18. Indeed, Li criticizes the basic

weakest link for its failure to utilize network resources. Id.; JX-0012 (Li) at 5:13-19.

Further, Li criticizes the assumption that all traffic would “use the weakest link at the

same time.” See CX-3930C (Martin RWS) at Q/A 18; JX-0012 (Li) at 5:37-40. The

iterative measurement method initially assumes that traffic will converge onto the

weakest link of the network, but then revises that assumption by “periodically measuring

the traffic load on each link of the network.” See CX-3930C (Martin RWS) at Q/A 18;

JX-0012 (Li) at 2:49-54, 6:39-53. Li’s iterative measurement method “improve[s]

bandwidth utilization” because it allows the network to allocate resources that are greater

than the weakest link. See CX-3930C (Martin RWS) at Q/A 18; JX-0012 (Li) at 3:3-6.

However, this improved bandwidth utilization still does not amount to the “overall

transmission capacity” for the network. Id. As with the basic weakest link method, the

“overall transmission capacity” is still greater than the capacity allocated via the iterative

measurement method. Id.

       Second, Li does not disclose “an available capacity, which is determined taking

into account the overall transmission capacity” as required by claims 1-9. See CX-3930C

(Martin RWS) at Q/A 19-20. Dr. Acampora opines Li’s “admit limit (AL)” is the

claimed available capacity, but the admit limit is not “determined taking into account the

overall transmission capacity.” Id. Instead, the admit limit is determined based on the

capacity of the weakest link, which is not the overall transmission capacity. Indeed, Li’s

                                              93

                                          Appx365
        Case: 22-1957         Document: 18        Page: 172      Filed: 12/06/2022

                              Public Version
iterative measurement method allows the transmission capacity to exceed the weakest

link. Id.; JX-0012 (Li) at 6:39-53.

       Third, Li does not disclose “checking … taking into account an available

capacity” as required by claims 1-9. See CX-3930C (Martin RWS) at Q/A 21. Dr.

Acampora opines that “Li initially assumes that all flows will be assigned to the weakest

link and admits calls accordingly, thereby assuring that QoS objectives are met.” Id.;

RX-0765.0010. This is wrong. See CX-3930C (Martin RWS) at Q/A 21. Li states that

“[t]he bandwidth allocation is based on the assumption that it is unlikely for all admitted

traffic to use the weakest link at the same time.” Id.; JX-0012 (Li) at 5:37-40. Li does

not allow incoming traffic to exceed the capacity of the weakest link, but it does not

assume the traffic will converge on that link. See CX-3930C (Martin RWS) at Q/A 21.

The capacity of the weakest link is not determined taking into account the overall

transmission capacity. Id. Instead, it is based solely on the isolated capacity of the

weakest link, as the reason for updating the weakest link measurement at certain time

intervals is that the overall transmission capacity of the network is greater than the

capacity of the weakest link. Id.; JX-0012 (Li) at Abstract; 5:30-33; 6:30-32.

       Fourth, Li does not disclose “checking … without further interrogations of the

internal transmission nodes” as required by claims 1-9. See CX-3930C (Martin RWS) at

Q/A 22. The absence of a requirement for signaling or reservation setup in a network

does not mean that the process fails to involve further interrogations. Id. Indeed, the

prosecution history for the ‘853 patent discussed this where the applicant explained that

“the mere absence of a disclosure is nothing but a mere absence of disclosure, but never a

positive proof that the not disclosed steps are not performed.” Id.; JX-0006.0391 (‘853

                                             94

                                         Appx366
         Case: 22-1957        Document: 18       Page: 173       Filed: 12/06/2022

                              Public Version
Patent File History). The fact that Li does not discuss whether further interrogations

occur is not evidence that such interrogations do not occur. See CX-3930C (Martin

RWS) at Q/A 22. Further, Li’s specification suggests that interrogations do in fact occur.

Id. Li checks requests against an admit limit (AL) variable that the QoS manager

maintains. Id.; JX-0012 (Li) at 6:41-43; 6:61-67. The admit limit is controlled by an

“update engine block” that “administers the AL based on measurements polled from all

routers 30-32.” See CX-3930C (Martin RWS) at Q/A 22; JX-0012 (Li) at 6:43-45. This

polling constitutes an interrogation. See CX-3930C (Martin RWS) at Q/A 22. Li does

not preclude these interrogations from occurring as part of the request evaluation process.

Id. Indeed, such a configuration would be logical, as it would ensure that the system

would not inadvertently reject requests based on an inaccurate admit limit. Id.

       Respondents have not shown that Li renders dependent claims 3, 8, and 9 obvious

for the same reasons set forth above for independent claim 1.

               2.      Shirahase (RX-0136)

       As discussed below, respondents did not prove by clear and convincing evidence

that a printed publication entitled “Design and Deployment of QoS Enabled Network for

Contents Businesses” by Akira Shirahase (“Shirahase”), RX-0136, renders obvious

claims 1-9.

       First, Shirahase does not disclose “an overall transmission capacity” as required

by claims 1-9. See CX-3930C (Martin RWS) at Q/A 24. Dr. Acampora opines that the

Bandwidth Calculator (“BC”) in Shirahase must know the “total bandwidth of each link”,

which is incorrect. Id. Rather, Shirahase states that the BC “keeps a record of bandwidth

reservation of all links in a domain.” Id.; Shirahase, p. 5. This does not require the BC to

                                            95

                                         Appx367
         Case: 22-1957         Document: 18        Page: 174       Filed: 12/06/2022

                               Public Version
have knowledge of the total bandwidth of each link, it merely requires a record of what’s

been reserved. See CX-3930C (Martin RWS) at Q/A 24. There are scenarios where

bandwidth can be fluid. Id. For example, wireless links present a fluid total bandwidth.

Id. Similarly, a person of ordinary skill would have understood that the amount of data

that can be transmitted over a link is a function of the modulation and coding scheme

used on the link. Id. Thus, the fact that BC keeps track of bandwidth reservations does

not mean a person of ordinary skill would expect the BC to keep track of total bandwidth.

Id.

       Dr. Acampora opines that “the collective set of ‘total link bandwidth’ for the links

in the network satisfies the ‘overall transmission capacity’ in this limitation,” and that it

would have been obvious to “subtract the reserved bandwidth from the overall

transmission capacity.” Id.; RX-0765.0029. As an initial matter, the phrase “total link

bandwidth” does not appear in Shirahase. Id. Further, Shirahase does not state that the

BC calculates whether there is sufficient bandwidth available. Id. Instead, Shirahase

states that the BC performs steps that do not require the BC to calculate the available

bandwidth for any of the links. See CX-3930C (Martin RWS) at Q/A 24. There are

several ways to determine if the links in a route have sufficient available bandwidth

without subtracting the reserved bandwidth from a total bandwidth. Id. For example, if

all links in the network had a minimum required bandwidth, the BC could determine a

link has sufficient bandwidth by comparing the reserved amount to the total amount. Id.

Such comparisons are less taxing on the system than the one Dr. Acampora proposes and,

thus, more desirable. Id. Also, determining if all links in the route have sufficient

amount of bandwidth available is not the same as determining if the network has

                                              96

                                          Appx368
         Case: 22-1957        Document: 18        Page: 175       Filed: 12/06/2022

                              Public Version
sufficient bandwidth available. Id. Calculations on a subset of the links in the network

do not reveal the overall transmission capacity of the network. Id. The BC only

considers the links in the route. Id. In other words, the BC does not consider every link

in the network, only those in the route. Id. Inasmuch as the BC does not consider all

links in the network, even under Dr. Acampora’s reading of Shirahase, determining

whether there is sufficient bandwidth does not involve the overall transmission capacity.

Id. Even if determining whether there is sufficient bandwidth were to involve all links in

the network, it would not be necessary to know the total bandwidth for each link. Id.

       Shirahase does not disclose “overall transmission capacity” under either parties’

proposed constructions for this term. See CX-3930C (Martin RWS) at Q/A 25. For

example, Dr. Acampora states that “Shirahase’s network has an “overall transmission

capacity” that is both (1) an “amount of data a network can transmit” (complainant’s

proposed construction) in at least the same way disclosed by the ‘853 patent, and (2) the

transmission capacities of the plurality of transmission paths between nodes of the

communications network (respondents’ proposed construction).” Id.; RX-0765.0029.

However, Shirahase does not state that it maintains the set of capacities for the links in its

network. See CX-3930C (Martin RWS) at Q/A 25. Further, even if the capacity of each

network element were known, it would still not show the overall transmission capacity of

the network. Id. Among other things, how the network links are arranged (e.g., in series

vs. in parallel) impacts the network’s capacity. Id.

       Second, Shirahase does not disclose “an available capacity, which is determined

taking into account the overall transmission capacity” as required by claims 1-9. See CX-

3930C (Martin RWS) at Q/A 26. Dr. Acampora opines that “the available capacity is the

                                             97

                                         Appx369
         Case: 22-1957        Document: 18        Page: 176      Filed: 12/06/2022

                              Public Version
lowest remaining unallocated capacity among the set of links on a selected route,” and

that “the available capacity is then the link in a chosen path for which the difference

between the link capacity and the reserved capacity is smallest.” Id.; RX-0765.0036. Dr.

Acampora is incorrect, as this capacity is not determined taking into account the overall

transmission capacity of the network. See CX-3930C (Martin RWS) at Q/A 26. Dr.

Acampora opines that the available capacity of an individual link is available capacity for

the overall network. Id. However, the available capacity for an individual link is not

determined taking into account the overall transmission capacity of the network. Id.

Whether an individual network link or a chosen path has available capacity does not

address whether the network has an available capacity. Id. Accordingly, Shirahase does

not disclose “an available capacity, which is determined taking into account the overall

transmission capacity.” Id.

       Third, Shirahase does not disclose “checking … without further interrogations of

the internal transmission modes” as required by claims 1-9. See CX-3930C (Martin

RWS) at Q/A 27. First, Dr. Acampora is incorrect in concluding that “because the BB

maintains a global view of the resource allocation for all nodes, there is no need to further

interrogate other transmission nodes in order to perform admission control.” Id.; RX-

0765.0035. For example, the BC needs to interrogate various network nodes to

determine their respective capacities. See CX-3930C (Martin RWS) at Q/A 27. Such

interrogations could be triggered when handling a request to use the Premium Service to

ensure accurate processing. Id. Moreover, the fact that Dr. Acampora opines that

admission control does not require further interrogations does not mean that the process

does not involve further interrogations. Id. Indeed, this was discussed in the prosecution

                                             98

                                         Appx370
        Case: 22-1957         Document: 18       Page: 177       Filed: 12/06/2022

                              Public Version
for the ‘853 patent where the applicant explained that “the mere absence of a disclosure is

nothing but a mere absence of disclosure, but never a positive proof that the not disclosed

steps are not performed.” Id.; JX-0006.0391 (‘853 Patent File History). The fact that

Shirahase does not discuss whether further interrogations occur is not evidence that such

interrogations do not occur. See CX-3930C (Martin RWS) at Q/A 27.

       Moreover, respondents have not identified source code from a prior art single-link

network (or shown testing from such a system). Id. Indeed, respondents have not been

able to obtain source code for a prior art system that disclosed “checking, via the access

control function, without further interrogations at internal transmission nodes of the

communications network, whether the use of the service is permitted.” Id.

               3.      Scholefield (JX-00014)

       As discussed below, respondents did not prove by clear and convincing evidence

that Patent Application No. AU 8,685,898 (“Scholefield”), JX-0014, renders obvious

claims 1-9.

       First, Scholefield does not disclose the claimed “overall transmission capacity” as

required by claims 1-9. See CX-3930C (Martin RWS) at Q/A 29. Dr. Acampora’s

opinion that Scholefield’s “theoretical channel capacity” discloses the claimed “overall

transmission capacity” is incorrect. Id. The term “theoretical channel capacity” refers to

the channel capacity under the Shannon-Hartley theorem. Id. The Shannon–Hartley

theorem establishes what that channel capacity is for a finite-bandwidth continuous-time

channel subject to Gaussian noise. Id. The theoretical channel capacity refers to the

maximum possible channel capacity rather than the overall channel capacity. Id. The

distinction between theoretical and actual is not trivial. Id. There is a difference between

                                            99

                                         Appx371
         Case: 22-1957        Document: 18         Page: 178       Filed: 12/06/2022

                               Public Version
theory and practice. Id. For example, certain LTE networks can theoretically deliver

“download speeds of 1 Gigabit per second (1 Gbps).” Id.; CX-3925.0001. However, “in

actual practice, users will typically see speeds that are quite a bit lower, usually in the

100s of Mbps range.” Id. In other words, Scholefield’s “theoretical channel capacity” is

not the same as the overall channel capacity. See CX-3930C (Martin RWS) at Q/A 29.

Indeed, it is well documented that “it is not possible in practice to reach the Shannon

limit.” Id.; CX3926.0003.

       Figure 3 of Scholefield illustrates “theoretical channel capacity” as a fixed

amount in Figure 3. See CX-3930C (Martin RWS) at Q/A 29; JX-0014.0014. In

evaluating the new service request, Scholefield compares the network load to the

maximum possible channel capacity, rather than its actual transmission capacity. See

CX-3930C (Martin RWS) at Q/A 29. The maximum possible channel capacity is not the

same as the overall transmission capacity. Id. The overall transmission capacity

corresponds to the maximum actual channel capacity. Id. Indeed, the ‘853 patent

recognizes that the overall transmission capacity is dynamic. Id.; JX-0003 (‘853 Patent)

at 3:43-45. In other words, the ‘853 patent recognizes that the overall transmission

capacity is a function of network conditions and not a theoretical construct. See CX-

3930C (Martin RWS) at Q/A 29. Contrary to Dr. Acampora’s opinion, Scholefield’s

“theoretical channel capacity” is not an overall transmission capacity. Id.

       Second, Scholefield does not disclose “an available capacity, which is determined

taking into account the overall transmission capacity,” as required by claims 1-9. See

CX-3930C (Martin RWS) at Q/A 30. Dr. Acampora incorrectly opines that Scholefield’s

“surplus capacity” is the claimed available capacity. Id. The claims require the available

                                             100

                                          Appx372
        Case: 22-1957        Document: 18         Page: 179     Filed: 12/06/2022

                             Public Version
capacity be “determined taking into account the overall transmission capacity.” Id. This

means that the determination of available capacity must involve the overall transmission

capacity. Id. The most straightforward way to achieve this is to subtract the used

capacity from the overall transmission capacity (e.g., the airtime). Id. However,

Scholefield’s “theoretical channel capacity” is not the same as the claimed “overall

transmission capacity.” Id. Instead, Scholefield’s “theoretical channel capacity”

represents the maximum possible channel capacity. Id.

       Scholefield’s approach, and its disadvantage, was recognized during the

prosecution of the ‘853 patent. See CX-3930C (Martin RWS) at Q/A 31; JX-0006.0368

(‘853 Patent File History). By using the “theoretical channel capacity” rather than the

actual channel capacity, Scholefield allows for the network to be overloaded. See CX-

3930C (Martin RWS) at Q/A 31. Indeed, only a fraction of Scholefield’s “surplus

capacity” will actually be available as the “surplus capacity” was based on a “theoretical

channel capacity” that is greater than the actual channel capacity. Id. Accordingly,

Scholefield does not disclose “an available capacity, which is determined taking into

account the overall transmission capacity.” Id.

       Third, Scholefield does not disclose “checking … without further interrogations

of the internal transmission nodes” as required by claims 1-9. See CX-3930C (Martin

RWS) at Q/A 32. In evaluating a service request, Scholefield compares the requirements

of the request to the surplus capacity. Id.; Scholefield, p. 9. To perform this comparison,

Scholefield must first determine the surplus capacity. Id. Scholefield uses a recursive

estimator to ascertain network conditions. See CX-3930C (Martin RWS) at Q/A 32;

Scholefield, p. 8. However, Scholefield does not detail whether the recursive estimator

                                           101

                                        Appx373
        Case: 22-1957         Document: 18        Page: 180      Filed: 12/06/2022

                              Public Version
relies on interrogations of the internal transmission nodes of the network. CX-3930C

(Martin RWS) at Q/A 32. A person of ordinary skill could have reasonably expected the

recursive estimator to rely on interrogations of the internal transmission nodes of the

network. Id. Querying network components is a straightforward and logical way for the

recursive estimator to obtain the estimate of network load that it requires. Id.

       Dr. Acampora opines that Scholefield discloses “checking, via the access control

function, without further interrogations at internal transmission nodes of the

communications network” under complainant’s interpretation of “the communication

network.” See CX-3930C (Martin RWS) at Q/A 33. Yet, Scholefield does not explain

how the data used to calculate surplus capacity is obtained. Id. Indeed, this was

discussed in the prosecution for the ‘853 patent where the applicant explained that “the

mere absence of a disclosure is nothing but a mere absence of disclosure, but never a

positive proof that the not disclosed steps are not performed.” Id.; JX-0006.0391 (‘853

Patent File History). The fact that Scholefield does not discuss whether further

interrogations occur is not evidence that such interrogations do not occur, particularly

when a person of ordinary skill would have recognized that such interrogations are a

logical way to obtain the data used to calculate surplus capacity. See CX-3930C (Martin

RWS) at Q/A 33.

       Moreover, respondents have not identified source code from a prior art single-link

network system (or shown testing from such a system). Id. Indeed, respondents have not

been able to obtain source code for a prior art system that disclosed “checking, via the

access control function, without further interrogations at internal transmission nodes of

the communications network, whether the use of the service is permitted.” Id.

                                            102

                                         Appx374
        Case: 22-1957        Document: 18        Page: 181      Filed: 12/06/2022

                             Public Version
                4.     Secondary Considerations

       As discussed above, objective evidence, also known as “secondary

considerations,” includes commercial success, long felt need, and failure of others.

Graham, 383 U.S. at 13-17 (1966); Dystar, 464 F.3d at 1361. “[E]vidence arising out of

the so-called ‘secondary considerations’ must always when present be considered en

route to a determination of obviousness.” Stratoflex, 713 F.2d at 1538. Nevertheless,

secondary considerations, such as commercial success, will not always dislodge a

determination of obviousness based on analysis of the prior art. See KSR Int’l Co. v.

Teleflex Inc., 550 U.S. at 426 (commercial success did not alter conclusion of

obviousness).

       Yet, the parties, and especially complainant, presented no argument or evidence

concerning secondary considerations. The subject is absent from their posthearing briefs,

and from the Joint Outline. 14 Consequestly, the administrative law judge concludes that

secondary considerations would have no affect on an obviousness determination,

especially if any asserted claim were found to be invalid.


V.     U.S. Patent No. 7,895,305

       United States Patent No. 7,895,305 (“the ‘305 patent), entitled “Web-based

management engine and system,” issued on February 22, 2011, to named inventors

Richard Beton, and Robert Hancock. JX-0002 (‘305 Patent). The ‘305 patent issued

from Application No. 10/416,006, filed on October 27, 2003. Id. The ‘305 patent relates

14
  In reviewing the record, the administrative law judge notes that there is evidence that
the ‘853 patent was distinguished over the prior art, particularly Scholefield. That
evidence, however, was not developed by complainant into an argument relating to a
Graham factor, such as long felt need or failure of others.

                                           103

                                        Appx375
        Case: 22-1957        Document: 18        Page: 182     Filed: 12/06/2022

                             Public Version
to “a Web-based management engine and system of the type used to monitor and/or

control the operation of a network entity, for example, a server or a network router.” JX-

0002 (‘305 Patent) at 1:4-7. The ‘305 patent has a total of 17 claims. Complainant

asserts apparatus claims 1 and 8 of the ‘305 patent.

       As discussed below, the evidence shows that (1) the asserted claims are not

infringed by the accused products; (2) complainant has not satisfied the technical prong

of the domestic industry requirement; and (3) the asserted claims are not invalid.

       Asserted apparatus claims 1 and 8 of the ‘305 patent read as follows:

               1. A Web-based management engine for a network entity,
                   comprising:
                     an intelligent agent that obtains information about at
                         least one operational parameter of the network
                         entity and/or modifies the behavior of the network
                         entity, the intelligent agent interacting with the
                         network entity in accordance with a
                         predetermined data structure;
                     a data store storing data relating to a procedure for
                         managing the at least one operational parameter of
                         the network entity;
                     a Web server that provides an interactive environment
                        to manage the at least one operational parameter
                        of the network entity, and
                     an interface that communicates values of the at least
                         one operational parameter between the Web
                         server and the intelligent agent in accordance with
                         the predetermined data structure,
                     wherein the Web server provides the interactive
                        environment using the Web pages generated by a
                        Web page generator, the Web page generator that
                        generates a set of linked Web pages in response
                        to a request to carry out a procedure, wherein
                        each Web page of the set of linked Web pages
                        being based upon the data stored in the data store
                        and corresponding to at least one step in the
                        procedure to manage the at least one operational

                                           104

                                        Appx376
Case: 22-1957     Document: 18        Page: 183       Filed: 12/06/2022

                  Public Version                                      ION



                   parameter of the network entity,
                wherein the interface uses the stored data relating to a
                   procedure for managing the at least one
                   operational parameter of the network entity to
                   generate a determination result indicating whether
                   information retrieved using a form provided on
                   the set of linked Web pages conforms to a rule
                   relating to the procedure to manage the at least
                   one operational parameter of the network entity,
                   and wherein the interface communicates values to
                   the intelligent agent based on the information
                   retrieved from the form in response to the
                   determination result indicating conformance.

         8. A Web-based management system comprising a Web-
             based management engine comprising:
                an intelligent agent that obtains information about at
                    least one operational parameter of the network
                    entity and/or modifies the behavior of the network
                    entity, the intelligent agent interacting with the
                    network entity in accordance with a
                    predetermined data structure;
                a data store storing data relating to a procedure for
                    managing the at least one operational parameter of
                    the network entity;
                a Web server that provides an interactive environment
                   to manage the at least one operational parameter
                   of the network entity, and
                an interface that communicates values of the at least
                    one operational parameter between the Web
                    server and the intelligent agent in accordance with
                    the predetermined data structure,
                wherein the Web server provides the interactive
                   environment using the Web pages generated by a
                   Web page generator, the Web page generator
                   generating a set of linked Web pages in response
                   to a request to carry out a procedure, wherein each
                   Web page of the set of linked Web pages being
                   based upon the data stored in the data store and
                   corresponding to at least one step in the procedure
                   to manage the at least one operational parameter
                   of the network entity, and


                                       105

                             Appx377
       Case: 22-1957        Document: 18          Page: 184    Filed: 12/06/2022

                             Public Version
                     wherein the interface uses the stored data relating to
                        the procedure for managing the at least one
                        operational parameter of the network entity to
                        generate a determination result indicating whether
                        values to be communicated to the intelligent agent
                        from the Web server conform to a rule relating to
                        the procedure for managing the at least one
                        operational parameter of the network entity, and
                     wherein the interface communicates values from the
                        Web server to the intelligent agent in response to
                        the determination result indicating conformance.

JX-0002 (‘305 Patent) at 5:34-6:3, 6:30-67 (emphasis added).

       A.      Claim Construction

               1.     A Person of Ordinary Skill in the Art

       Respondents argue:

                The relevant time period for the ‘853 Patent is March 2000 based
       on the Foreign Application DE10014522, filed March 23, 2000. JX-
       0003.0003. The relevant time period for the ‘305 Patent is November 7,
       2000 based on the Foreign Application GB0027106.4, filed November 7,
       2000. JX-0002.0003. The relevant time period for the ‘677 Patent is
       March 2002 based on the Foreign Application EP02006022, filed
       November March 15, 2002. JX-0004. As to all three patents, those of
       ordinary skill in the art during the relevant period would have had at least
       an undergraduate degree in Electrical Engineering or Computer Science
       and four or more years of experience in networking, or a Master’s degree
       in Electrical Engineering or Computer Science and two or more years of
       experience in networking. RX-1195C.0005. Q3 proposes that a person of
       ordinary skill in the art “would have had an undergraduate degree in
       electrical or computer engineering (or a related field) and approximately
       two years of work experience in the field of networking.” CX-
       3930C.0005-6 at Q/A 10. Under either proposed level of ordinary in the
       art for the Asserted Patents, the arguments and conclusions are the same.

Resps. Br. at 14.

       Complainant does not provide a definition of a person of ordinary skill in the art

in its brief. See Joint Outline at 3 (citing Compl. Br. at 130). The cited page merely

discusses a disputed claim term. See Compl. Br. at 130. However, as noted above in

                                            106

                                       Appx378
        Case: 22-1957         Document: 18        Page: 185      Filed: 12/06/2022

                              Public Version
respondents’ argument, “Q3 proposes that a person of ordinary skill in the art ‘would

have had an undergraduate degree in electrical or computer engineering (or a related

field) and approximately two years of work experience in the field of networking’.”

Resps. Br. at 14 (citing CX-3930C (Martin RWS) at Q/A 10).

       As seen above, the parties mostly agree on this issue. As proposed by the parties,

the undersigned agrees that some combination of education and experience is the

appropriate level of ordinary skill. The administrative law judge finds that a person of

ordinary skill in the art with respect to the ‘305 patent is a person would have had at least

an undergraduate degree in Electrical Engineering or Computer Science (or a related

field) and two to four years of experience in networking, or a Master’s degree in

Electrical Engineering or Computer Science (or a related field) and two or more years of

experience in networking.

               2.      Agreed Claim Term

       The parties agree on the construction of the following claim term.

              Claim Term                          Agreed Proposed Construction

                                           “device which is capable of being
                                           interconnected by network interconnects to
“network entity” (claims 1, 8)
                                           form part of an information technology
                                           network”

See Compl. Br. at 171; Resps. Claim Constr. Br. at 33.

       The administrative law judge has determined to adopt the parties’ proposed

construction for the claim term “network entity.”

               3.      “generated by a Web page generator”

       Below is a chart showing the parties’ proposed claim constructions.
                                            107

                                         Appx379
           Case: 22-1957       Document: 18        Page: 186     Filed: 12/06/2022

                               Public Version

                                  Complainant’s Proposed         Respondents’ Proposed
          Claim Term
                                      Construction                   Construction

                                                               “created by a Web page
“generated by a Web page                                       generating unit that is not a
                                No Construction Necessary
generator” (claims 1, 8)                                       Web Server or part of a Web
                                                               Server”

See Compl. Br. at 129-33; Resps. Claim Constr. Br. at 48-52.

          For the reasons discussed below, the administrative law judge has determined that

the claim term “generated by a Web page generator” should be construed to mean

“created by a Web page generating unit that is not a Web Server or part of a Web

Server.”

          The parties dispute whether the term “generated by a Web page generator” should

be construed. Respondents’ construction establishes the proper scope of this disputed

claim term by distinguishing the “Web page generator” from the Web server in a manner

consistent with the intrinsic evidence and ordinary meaning of the term. Complainant

seeks to expand the term to cover the Web server and other recited components of the

claimed web-based management engine, thereby eliminating the very limitation that was

key to the ‘305 patent’s issuance in the first place.

          A correct reading of the ‘305 patent claims makes clear that claim 1 and 8’s “web

page generator” is separate and distinct from the “web server.” The specification

describes two different embodiments of the web page generator and web server: one

where the two are separate, and another where the two are combined into an “adapted

web server.” Claims 1 and 8 recite the former, while unasserted claim 15 recites the

latter.


                                             108

                                          Appx380
        Case: 22-1957        Document: 18        Page: 187     Filed: 12/06/2022

                             Public Version
       Figure 2 and its accompanying text describe the embodiment recited in claims 1

and 8, where the web page generator (WPGI unit 204; colored red below) is “a separate

independent entity” from that of the web server (Web server 204; colored green below) or

any other component of the web-based management engine (200; outlined blue below):




‘305 patent at 3:67-4:2, Fig. 2. This arrangement is distinguished from prior art web-

based management systems where the web server retrieved web pages using template

web pages:

             One known Web-based management technique comprises a
             network entity having a Web server in communication with an
             SNMP agent, the SNMP agent being capable of obtaining data
             relating to, and modifying data affecting, the behaviour of the
             network. The Web server is arranged to retrieve, from a store,
             template Web pages (“forms”) corresponding to procedural
             steps which need to be taken in order to obtain, and/or modify,
             data relating to the behavior of the network entity. Data
             obtained or modified by means of the Web server and the
             template Web pages are communicated between the Web
             server and the SNMP agent in the MIB format.


                                           109

                                       Appx381
         Case: 22-1957         Document: 18        Page: 188      Filed: 12/06/2022

                               Public Version
Id. at 1:44-61 (emphasis added). The ‘305 patent relies on a web page generator separate

and distinct from the web server to “provid[e] the automatic generation of Web pages,”

and uses the web server just to present the web pages generated by the web page

generator, which allegedly “permits user-friendly management of a network entity.” Id.

at 2:64-3:5; see also id. at 2:1-63.

        Alternatively, the specification explains that it may be “conceivable that the

WPGI unit 204 can be [sic] form part of the Web server 202.” Id. at 3:67-4:2. This

arrangement is claimed in unasserted claim 15 of the ‘305 patent. Specifically,

independent method claim 15 recites “combining a Web server and web page generator

to form an adapted Web server,” demonstrating the applicant’s intent to treat the “web

server” and “web page generator” of claim 1 as two separate and distinct components,

which claim 15 then combines “to form an adapted Web server.” See Southwall Techs.,

54 F.3d at 1579 (“Interpretation of a disputed claim term requires reference not only to

the specification and prosecution history, but also to other claims.”); see also e.g.,

General Elec. Co. v. U. S., 572 F.2d 745, 752-53 (Ct. Cl. 1978) (“Significant evidence of

the scope of any claim is the language employed in other claims of the same patent.”—

relying upon two independent claims not at issue to interpret disputed claim term “anti-

hunting means” in three independent claims). That respondents’ construction results in

claim 1 not covering every embodiment described in the specification does not make it

incorrect.

        The prosecution history likewise confirms that the applicant intended for the

disputed claims to cover only the Fig. 2 embodiment. This was the very distinction that

the applicant relied upon to distinguish the claimed system from that of the examiner-

                                             110

                                         Appx382
        Case: 22-1957         Document: 18        Page: 189      Filed: 12/06/2022

                              Public Version
cited prior art. See Resps. Claim Constr. Br. Ex. 27, 15 Jan. 18, 2008 Office Action

Response at 10 (“[T]he Web-based management engine of applicants’ claim 1 includes

both a Web Server and a Web page generator.”), 11-12 (“Stewart does not disclose a

Web Server and a Web page generator.”). The specification’s broader embodiments do

not negate a prosecution history that “mandates a narrower construction.” TecSec, Inc. v.

IBM Corp., 731 F.3d 1336, 1345 (Fed. Cir. 2013).

       Finally, respondents’ construction also includes the phrase “created by,” the plain

and ordinary meaning of the phrase “generated by” in the claims. See, e.g., Resps. Claim

Constr. Br. Ex. 28, The New Penguin English Dict. (2000) at 582 (defining “generate” as

“to bring something into existence; to create it”); Resps. Claim Constr. Br. Ex. 29,

Encarta World English Dict. (1999) at 742 (defining “generate” as “create; to bring

something into existence or effect.”). During prosecution, the applicant intentionally

relied upon the term “generated by” to distinguish the claimed web-page generator from

examiner-cited prior art that “merely serves previously stored web pages.” See Resps.

Claim Constr. Br. Ex. 30, June 30, 2008 RCE and Office Action Response at 9; Resps.

Claim Constr. Br. Ex. 27, Jan. 18, 2008 Office Action Response at 10-12; Seachange, 413

F.3d at 1372–73 (“Where an applicant argues that a claim possesses a feature that the

prior art does not possess in order to overcome a prior art rejection, the argument may

serve to narrow the scope of otherwise broad claim language.”). This is also consistent

with the specification, which criticizes the prior art approach of using a web server to

“retrieve, from a store, template web pages.” See JX-0002 (‘305 Patent) at 1:49-51, 1:61-


15
  The ‘305 patent prosecution history is also found in JX-0005 (‘305 Patent File
History).

                                            111

                                         Appx383
         Case: 22-1957         Document: 18        Page: 190      Filed: 12/06/2022

                               Public Version
2:34. Consistent with this intrinsic evidence and the ordinary meaning of the terms,

respondents’ construction requires that the web page generator create webpages, not just

serve previously stored web pages.

               4.        “set of linked Web pages in response to a request to carry out a
                         procedure”

       Below is a chart showing the parties’ proposed claim constructions.

                                  Complainant’s Proposed          Respondents’ Proposed
        Claim Term
                                      Construction                    Construction

“set of linked Web pages in                                     “plurality of linked Web
response to a request to carry                                  pages in response to a single
                               No Construction Necessary
out a procedure” (claims 1,                                     request to carry out a
8)                                                              procedure”

See Compl. Br. at 133; Resps. Claim Constr. Br. at 52-55.

       For the reasons discussed below, the administrative law judge has determined that

the claim term “set of linked Web pages in response to a request to carry out a procedure”

should be construed to mean “plurality of linked Web pages in response to a single

request to carry out a procedure.”

       The plain language of the term “set of linked Web pages” means a “plurality of

linked Web Pages.” Nor can there be any dispute that these pages are generated in

response to a “request to carry out a procedure,” a phrase recited in the limitation itself.

The main issue to resolve here is whether the claimed set of linked Web pages are

generated in response to one request to carry out a procedure, or multiple requests to

carry out a procedure.

       The plain language of the claims supports respondents’ construction for three

reasons. First, the claim language refers to “Web pages” in the plural, not singular, and

                                             112

                                         Appx384
         Case: 22-1957        Document: 18            Page: 191   Filed: 12/06/2022

                              Public Version
thus requires more than one web page. See, e.g., Leggett & Platt, Inc. v. Hickory Springs

Mfg. Co., 285 F.3d 1353, 1357 (Fed. Cir. 2002) (“At the outset, the claim recites ‘support

wires’ in the plural, thus requiring more than one welded ‘support wire.’”); see also

Medtronic, Inc. v. Guidant Corp., 465 F.3d 1360, 1377 (Fed. Cir. 2006) (holding that

“detecting cardiac signals” refers to multiple signals). Second, the claim language

describes the “pages” as “linked,” which inherently requires multiple pages because a

single web page cannot be linked to itself. Third, the claim language uses the plural to

refer to the web pages (“set of linked Web pages”) and the singular to refer to the request

that triggered generation of those claimed pages (“a [singular] request to carry out a

[singular] procedure”), confirming that the plurality of web Pages are generated in

response to a single, or individual, request.

       The Federal Circuit’s decision in Harari v. Lee is particularly instructive. The

disputed claim in that case recited “a method comprising accessing a number of control

gates and a bit line to activate a number of cells.” Harari v. Lee, 656 F.3d 1331, 1341

(Fed. Cir. 2011) (emphasis in original). The Court held that the “the plain language of

the claim clearly indicates that only a single bit line is used when accessing a number of

cells.” Id. Like the disputed claim in Harari, the disputed claims here require that

generating the “set of linked generated” in response to “a” single request, not multiple

requests.

       Further, the prosecution history for the ‘305 patent supports respondents’

proposed construction. To differentiate the claims from the examiner-cited prior art

(Meyer), the applicant argued that the web-page generator does not “generat[e] individual



                                                113

                                         Appx385
        Case: 22-1957        Document: 18          Page: 192    Filed: 12/06/2022

                              Public Version
web-pages in response to individual requests,” but rather generates a plurality of linked

Web pages in response to a single request:

        Applicant’s Statement                              Fig. 4 of Meyer

Meyer is clear that a single Web page is
generated in response to a single
request and a linked page is not
generated until that link is selected.
This is consistent with the example
provided by Meyer in connection with
FIG. 4 …. In this example a Web page is
generated and when the user selects
“F11” a new web page is generated.
This single Web page generation does
not involve a set of linked web pages in
response to a request to carry out a
procedure as recited in claim 1.

Resps. Claim Constr. Br. Ex. 32, July 15, 2010 Pre-Appeal Br. at 2 (emphasis in original).

The applicant went on to explain that Meyer only disclosed a 1:1 correspondence

between a generated page and a request to carry out the procedure, which is not the

claimed invention:

       The cited sections of Meyer do not support this position. Instead, as is
       clear from the reproduction of column 5, lines 21-25, this section of Meyer
       discusses creating ‘a Web page’ in which ‘the network data [is displayed]
       as a table on that page.’ There is nothing in this or any other section
       discussing that more than one Web page is generated in response to any
       particular request.

Id. at 2-3 (emphasis added); see also Resps. Claim Constr. Br. Ex. 31, June 16, 2010

Office Action Response at 2 (“[T]here is no indication [in Meyer] that anything other

than a single Web page should be generated, and there is certainly nothing in this or any

other section of Meyer disclosing or suggesting generating a set of linked Web pages.”).

In doing so, the applicant disavowed any construction of this limitation that would cover

                                             114

                                        Appx386
         Case: 22-1957        Document: 18         Page: 193      Filed: 12/06/2022

                              Public Version
generating just one page in response to one request to carry out a procedure. See Rheox,

Inc. v. Entact, Inc., 276 F.3d 1319, 1325 (Fed. Cir. 2002) (“Explicit arguments made

during prosecution to overcome prior art can lead to a narrow claim interpretation

because ‘[t]he public has a right to rely on such definitive statements made during

prosecution.’”) (citations removed) (alterations in original); Ekchian v. Home Depot, Inc.,

104 F.3d 1299, 1304 (Fed. Cir. 1997) (“[B]y distinguishing the claimed invention over

the prior art, an applicant is indicating what the claims do not cover.”).

       Similarly, during prosecution the applicant made clear that the generation of an

individual page in response to an individual request, performed multiple times, would not

satisfy the claim. Specifically, the applicant explained that the Meyer-based combination

(with Ahlstrom) “at best discloses generating individual web pages in response to

individual requests:”

       Appellants’ claim 1 recites a web page generator generating “a set of
       linked Web pages in response to a request to carry out a procedure.” In
       contrast, the combination of Ahlstrom and Meyer at best discloses
       generating an individual Web page that contain links in response to a
       request, and then generating another individual Web page when one of the
       links is selected.

Resps. Claim Constr. Br. Ex. 32, July 15, 2010 Pre-Appeal Br. at 1 (underline emphasis

added). Thus, generating a single page in response to a single request, but doing so

multiple times, still does not satisfy the claim. Consistent with the prosecution history,

respondents’ construction makes clear the entire set of linked webpages must be

generated in response to a single request.

       Complainant seeks to broaden the plain language of the claim and contravene its

prosecution disclaimers by reading the claim on the generation of a single page in


                                             115

                                         Appx387
           Case: 22-1957        Document: 18        Page: 194     Filed: 12/06/2022

                                Public Version
response to a single request to carry out a procedure. See Southwall Techs., 54 F.3d at

1576 (“Claims may not be construed one way in order to obtain their allowance and in a

different way against accused infringers.”). Further, prosecution disclaimer precludes

complainant from “recapturing through claim interpretation specific meanings disclaimed

during prosecution.” See Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1323 (Fed.

Cir. 2003). The “set of linked Web pages” limitation must therefore be construed to

mean a generating a “plurality of linked Web pages in response to a single request to

carry out a procedure.”

          B.     Infringement Analysis of the ‘305 Patent

          As discussed above, complainant asserts apparatus claims 1 and 8 of the ‘305

patent.

          Complainant argues that HPE, CommScope and NETGEAR accused products

directly infringe the asserted apparatus claims of the ‘305 patent. See Compl. Br. at 133-

70; Compl. Reply Br. at 38-51. Respondents disagree. See Resps. Br. at 98-136; Resps.

Reply Br. 28-43.

                 1.      Accused Products

          Complainant argues:

                 The HPE Products that infringe the ‘305 Patent are the same HPE
          products that infringe the ‘677 Patent, as listed above, in Section I.E.1.
          Likewise, the CommScope Products that infringe the ‘305 Patent are the
          same as those listed in Section I.E.1, in addition to the following
          CommScope controllers: ZoneDirector 1200, vSZ-E, vSZ-H, vSZ-D,
          SZ100, SZ300, and substantially similar products. The NETGEAR
          products that infringe the ‘305 Patent include NETGEAR’s: WAC720-
          100NAS and WAC730-100NAS and substantially similar products; and
          WC9500, WC7600, WC7500 and substantially similar products.

Compl. Br. at 9-10.
                                              116

                                          Appx388
        Case: 22-1957       Document: 18        Page: 195     Filed: 12/06/2022

                            Public Version
       Respondents argue:

                                         HPE

       ….Q3 alleges that the Aruba APs and controllers (7205, 7210, 7220, 7280,
       7240XM, 7005, 7008, 7010, 7024, 7030, 9004, and 9000) infringe the
       ‫ތ‬DQG‫ތ‬3DWHQWVId. at Q/As 291, 542.

                                     NETGEAR

       ….Q3 alleges the NETGEAR APs (WAC720-100NAS and WAC730-
       100NAS DQGFRQWUROOHUV :&:&:& LQIULQJHWKH‫ތ‬
       Patent. Id. at Q/A 618.

                                   COMMSCOPE

       ….Q3 alleges that the Ruckus APs and CommScope controllers
       (ZoneDirector 1200, vSZE, vSZ-H, vSZ-D, SZ100, SZ300) infringe the
       ‫ތ‬305 Patent. Id. at Q/A 595.

Resps. Br. at Appendix A.

       Thus, the parties’ arguments show that for the ‘305 patent, (1) HPE accused

products are Aruba APs (AP11, AP11D, AP12, AP15 AP17, AP22, AP-303, AP-303P,

AP-304, AP-305, AP-314, AP-315, AP-320, AP-324, AP-325, AP-334, AP-335, AP-344,

AP-345, AP-504, AP-505, AP-514, AP-515, AP-534, AP-535, AP-555, AP-318, AP-518,

AP-203H, AP-303H, AP-505H, AP-365, AP-367, AP-374, AP-375, AP-377, AP-387,

AP-565, AP-567, AP-574, AP-575, AP-577, AP-203R, AP-203RP, AP-303HR) and

controllers (7205, 7210, 7220, 7280, 7240XM, 7005, 7008, 7010, 7024, 7030, 9004, and

9000); (2) NETGEAR accused products are NETGEAR APs (WAC720-100NAS and

WAC730-100NAS) and controllers (WC9500, WC7600, WC7500); and (3) CommScope

accused products are Ruckus APs (C110; E510; H320; H510; M510; R310; R320; R510;

R550; R610; R650; R710; R720; R730; R750; R850; T305; T310c; T310d; T310n;

T310s; T300e; T610; T610s; T710; T710s; T750; T811; 7781-CM; P300) and


                                          117

                                      Appx389
        Case: 22-1957        Document: 18          Page: 196   Filed: 12/06/2022

                             Public Version
CommScope controllers (ZoneDirector 1200, vSZE, vSZ-H, vSZ-D, SZ100, SZ300).

               2.       Direct Infringement

       Complainant argues that the HPE accused products infringe claims 1 and 8 of the

‘305 patent:

               The evidence has shown that the HPE Products infringe claims 1
       and 8 of the ‘305 Patent. See generally CX-3846, Madisetti WS at Q/A
       541-593. Q3’s expert, Vijay Madisetti, analyzed the HPE Products, and
       he found them to meet all the limitations of claims 1 and 8 of the ‘305
       Patent. Id. The HPE Products are the same products as accused of
       infringing the ‘677 Patent. Id. at Q/A 543. The evidence discussed in
       relation to the HPE Products for the ‘677 Patent including for example
       identifying these products, their documents, their features, their ArubaOS
       operating system, also applies to the ‘305 Patent. Id.

  Compl. Br. at 133-34; see id. at 134-50.

       Complainant argues that the CommScope accused products infringe claims 1 and

8 of the ‘305 patent:

               The evidence has shown that the CommScope Products infringe
       claims 1 and 8 of the ‘305 Patent. See generally CX-3846, Madisetti WS
       at Q/A 594-617. Q3’s expert, Dr. Madisetti, analyzed the CommScope
       Products, and he found them to meet all the limitations of claims 1 and 8
       of the ‘305 Patent. Id. The CommScope Products are the same products
       as accused of infringing the ‘677 Patent (Id. at Q/A 596) plus the
       following CommScope controllers: ZoneDirector 1200, vSZ-E, vSZ-H,
       vSZ-D, SZ100, SZ300, and substantially similar products. Those products
       are collectively the “CommScope Products” for this ‘305 Patent section.

                The evidence discussed in relation to the CommScope Products
       for the ‘677 Patent including for example identifying these products, their
       documents, their features, their source code, also applies to the ‘305
       Patent. Id.

  Compl. Br. at 150; see id. at 150-61.

       Complainant argues that the NETGEAR accused products infringe claims 1 and 8

of the ‘305 patent:


                                             118

                                          Appx390
        Case: 22-1957        Document: 18         Page: 197     Filed: 12/06/2022

                             Public Version
               The evidence has shown that the NETGEAR 305 Products infringe
       claims 1 and 8 of the ‘305 Patent. See generally CX-3846, Madisetti WS
       at Q/A 618-642. Q3’s expert, Dr. Madisetti, analyzed the NETGEAR 305
       Products, and he found them to meet all the limitations of claims 1 and 8
       of the ‘305 Patent. Id.

               The evidence has shown that at least the following NETGEAR
       Access Points infringe the ‘305 Patent: WAC720-100NAS and WAC730-
       100NAS and substantially similar products (“NETGEAR 305 Access
       Points”). Id. at Q/A 618. NETGEAR also provides the following
       infringing controllers: WC9500, WC7600, WC7500, and substantially
       similar products (the “NETGEAR Controllers”). Id. The NETGEAR
       Controllers and NETGEAR 305 Access Points are collectively the
       “NETGEAR 305 Products.” Id.

               The NETGEAR 305 Products are a subset of the products accused
       of infringing the ‘677 Patent. Id. at Q/A 619. The evidence discussed in
       relation to the NETGEAR 305 Products for the ‘677 Patent including for
       example identifying these products, their documents, their features, and
       their source code, also applies to the ‘305 Patent. Id.

  Compl. Br. at 161; see id. at 162-70.

       Respondents disagree. See Resps. Br. at 98-136.


                                     *       *       *

       For the reasons discussed below, the evidence shows that the asserted ‘305 patent

claims are not infringed by the accused products.

                       a.     “web-based management engine”

1[p], 8[p]   A web-based management engine for a network entity, comprising

       The parties do not dispute that the preamble limits the asserted ‘305 patent claims

to a “web-based management engine for a network entity,” not just anything capable of

managing a network entity. Compare CX-3846C (Madisetti WS) at Q/A 554, 600, 627

with RX-0863C (Min RWS) at Q/A 16. Nor is there any dispute that, even if it is not

limiting, the preamble still recites an apparatus, an “engine,” that must “compris[e]” the
                                            119

                                          Appx391
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 198 Filed: 12/06/2022

                                         Public Version
claimed components, namely an “intelligent agent,” “data store,” “Web server,”

“interface,” and “web page generator.” Compare CX-3846C (Madisetti WS) at Q/A 554,

600, 627 with RX-0863C (Min RWS) at Q/A 16.

       The only dispute is whether every component of the claimed “web-based

management engine” must reside on the same device, as respondents argue, or whether

those components can be spread across multiple devices, as complainant argues for

purposes of infringement. Indeed, to satisfy the technical prong of the domestic industry
                                                       Redacted in Public Version
requirement, complainant argues that the “                                           ” on certain RuggedCom devices

practices this limitation where every component of that engine resides on a single device,

e.g., the RX1400 shown on the left below. Complainant combines software components

from one type of accused product (controller) with certain components from a different

type of accused product (access point) into a “system” that also includes a browser not

provided by any of the respondents.

            Complainant’s Inconsistent Application of the Term “Engine”
   Domestic Industry                                                          Infringement




For each respondent, the software components that complainant maps to the claimed

components of the web-based management engine are spread across multiple devices:
                                                              Redacted in Public V

       For HPE, the alleged intelligent agent (                                ) resides on the access points; but
                  Redacted in Public V

alleged interface (                  ) and web server both reside on the controllers, and the alleged


                                                       120

                                                   Appx392
              Confidential
           Case: 22-1957   Material
                     Document:           Redacted
                               18 Page: 199 Filed: 12/06/2022

                                                             Public Version
                                        Redacted in Public

web page generator (                                     ) executes on the browser (not provided by HPE). See RDX-

0020C.0096 (Paul Min Demonstratives). 16

         For NETGEAR, the alleged intelligent agent and web server reside on controllers;
                                                                                                                            Redacted in Public Versi

but alleged interface (Redacted in Public Version) and alleged web page generator (                                                               )

execute on browser (not provided by NETGEAR). See RX-0863C (Min RWS) at Q/A

26.
                                                                                       Redacted in Public Version
         For CommScope, the alleged intelligent agent (                                                         ) and web server
                                                                               Redacted in Public Version
reside on the controllers; but the alleged interface (                                                      ) and the alleged web page
             Redacted in Public Versi

generator (                        ) execute on the browser (not provided by CommScope). See RX-

0863C (Min RWS) at Q/A 28.

         As discussed below, complainant’s infringement position is wrong for multiple

reasons.

         First, complainant’s interpretation of “engine” captures any random collection of

software for a network entity, rendering the claim term “engine” meaningless. However,

“engine” does not just mean “software.” It has its own meaning. “Engine” is a term

frequently used by those skilled in the art to refer to the core software component

responsible for performing a specific function. Dr. Min confirmed at the hearing that

“Engine is something that does something very specific, like a network management

engine. That’s an engine that does network management.” Id. Dr. Min explained that

“engine is [a] term that I use in my own work a lot,” including “a content search engine”


16
   Notably, the accused HPE access points Redacted in Public Version
               identified and relied upon by Dr. Madisetti. The Instant Access Points have a
Redacted in Public Version                                                       Redacted in Public Version
                           which is not addressed by complainant. The Campus APs
            . They are Redacted in Public Version. See RX-0863C (Min RWS) at Q/A 24.

                                                                       121

                                                                    Appx393
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 200 Filed: 12/06/2022

                                Public Version
and a “protocol off-load engine,” and that “[t]hese are terms that we use as a people in the

field.” Min Tr. 694-695.

        Although complainant’s infringement expert, Dr. Madisetti, did not opine on this

issue, complainant’s invalidity expert, Dr. Martin, testified that “the word ‘engine’ is a

term that’s often used in computer science” and that he too has used it to describe a

software component that performs a specific function. See JX-0189C (Martin Dep. Tr.)

at 279, 263-264. For example, Dr. Martin “refer[s] to the component that does the

analysis” in his Redacted in Public Version         as the “engine.” See JX-0189C (Martin

Dep. Tr.) at 263-264, 276 (“I chose the word ‘engine’ because it felt like it appropriately

described Redacted in Public Version you know, analysis component.”). Indeed, Dr. Martin uses the

term “engine” when referring to the “analysis component” in his Redacted in Public Version

product to avoid “confusion” because “everyone can understand what I’m talking about

when I say engine.” Id.

        Second, complainant’s infringement position contradicts the plain and ordinary

meaning of the term “engine.” According to Dr. Min, a person of ordinary skill would

understand the plain and ordinary meaning of “engine” to be the core mechanism driving

a device, every component of which must reside on that singular device. See RX-0863C

(Min RWS) at Q/A 19. This is consistent with Dr. Martin’s meaning of the term

“engine” when he described the “analysis component” of his Redacted in Public Version

product. See JX-0189C (Martin Dep. Tr.) at 286 (“all the modules for [the] engine [of

the Redacted in Public Version product] run on the same virtual machine”). Indeed, while

there are no formal guidelines for what should be called an engine in the software

industry, computer scientists like Dr. Min commonly use a car engine as a metaphor to

                                              122

                                           Appx394
        Case: 22-1957        Document: 18        Page: 201      Filed: 12/06/2022

                              Public Version
explain what’s “under the hood” of a particular device. See RX-0863C (Min RWS) at

Q/A 19 (discussing RDX-0020C.0095 (Paul Min Demonstratives)); JX-0189C (Martin

Dep. Tr.) at 280-281 (Dr. Martin confirming that “the word ‘engine’ is used to convey the

fact that it does work.”). As every component of a car’s engine resides in a single car and

not spread across multiple cars, a person of ordinary skill would understand that the

components of the claimed engine must also reside on the same network device and not

spread across multiple network devices. Id. Otherwise, the ability to drive one network

device would depend on whether the other network devices (those hosting the remaining

parts of the claimed engine) are connected to the same network, and whether they are

operating. Id.

       Third, complainant’s infringement position contradicts the ‘305 patent, which

discloses that, in the preferred embodiment, “the Web-based management engine is

located within the network entity 102.” See JX-0002 (‘305 Patent) at 3:63-64. While the

‘305 patent discloses that the “Web-based management engine can be remotely located

from the network entity” (JX-0002 (‘305 Patent) at 3:65-67), it never teaches spreading

the components of that engine across multiple network entities, as complainant argues.

The ‘305 patent teaches placing the claimed components within the solid line defining the

boundary of the web-based management engine (red), whether that engine is “located

within the network entity” or “remotely located from the network entity.”




                                           123

                                        Appx395
        Case: 22-1957        Document: 18         Page: 202     Filed: 12/06/2022

                             Public Version

   Engine Located within Network             Engine Remotely Located From Network
              Entity                                         Entity




        Indeed, when testifying about that same sentence during cross-examination, Dr.

Min made clear that the sentence just says that “the whole thing [web-based management

engine] can be within that network entity 102 or some other thing, server, dedicated

computer, or another network entity”; “It doesn’t say part of it is any one place and [the]

other part of it is [in] another place.” Min Tr. 696-697 (Dr. Min: “But [] the second part

of this sentence you highlighted, starting from line 65, that the Web-based management

engine can be located remotely, it doesn’t say a part of it is. The whole thing can be

somewhere else.”). Regardless of whether the engine is within the network entity or

remotely located from the network entity, every component of that engine must reside in

the same device. See RX-0863C (Min RWS) at Q/A 20.

                       b.     “web page generator”

            “wherein the web server provides the interactive environment using the web
            pages generated by a web page generator, the web page generator that
1[5],       generates a set of linked web pages in response to a request to carry out a
8[5]        procedure, wherein each web page of the set of linked web pages being based
            upon data stored in the data store and corresponding to at least one step in the
            procedure to manage the at least one operational parameter of the network
            entity”

        The claims require an “engine” with a “web page generator that generates a set of

linked web pages in response to a request to carry out a procedure.” It is undisputed,

                                            124

                                        Appx396
        Case: 22-1957        Document: 18         Page: 203     Filed: 12/06/2022

                             Public Version
however, that the accused products provide the web user interface (“webUI”) using

prewritten, stored web pages, i.e., web pages that are manually written by an engineer(s)

before the devices are manufactured and then stored on each device during the

manufacturing process. See RX-1210C (Min SWS) at Q/A 11. However, using web

pages that were “custom-written manually” before the device’s software was built was

what the ‘305 patent allegedly obviated by providing a “web-based management engine”

on the device itself that “provid[es] automatic generation of web pages” using a “web

page generator.” JX-0002 (‘305) at 1:55-67, 2:64-3:7.

 Prior Art Manually Written Web Pages                  Claimed Web-Page Generation




The parties’ principal dispute is whether this limitation requires that the alleged web page

generator on the accused products create or otherwise bring into existence a new web

page, as respondents argue, or whether it may be satisfied by serving prewritten, stored

web pages that were manually written offline, as complainant argues. As discussed

below, the accused products do not practice this limitation under either party’s proposed

constructions.

                              i.      “generates a set of linked web pages in response
                                      to a request to carry out a procedure”

       Unlike the “web page generator” of the claimed “web-based management

engine,” the accused products use prewritten, stored web pages that were manually

written by a software engineer, before the accused products are even manufactured. See

                                            125

                                        Appx397
        Case: 22-1957        Document: 18         Page: 204     Filed: 12/06/2022

                             Public Version
RX-1210C (Min SWS) at Q/A 11. The tools used by the software engineer to write the

web page(s) do not execute (or even reside) on the accused products. Rather, those tools

reside on the software engineer’s computer and are manually run by the engineer once as

part of the software development process, i.e., prior to starting the Web Server of the

accused products. Id. Once manually written offline, the .HTML file(s) are then placed

on every accused product as part of the manufacturing process.

          Writing Web Pages Offline, Before Device Is Even Manufactured




The web pages are not generated by a “web page generator” on the accused products.

Rather, the web pages are manually written by an engineer before the product is even

manufactured.

       Complainant’s infringement position contradicts the plain meaning of the claims.

Indeed, complainant’s own expert, Dr. Paul Martin, admitted that the term “generate”

web pages means create web pages that did not previously exist, not serve prewritten,

stored web pages:

       Q: When you say generating it, you mean that it’s created on the spot, not
          prestored?
       A: If something is pre-stored, it is not generated by that thing, sure.
                                          . . . . .
       Q: Is that also your understanding of the meaning of the claim term
           generates a set of linked web pages?
       A: Created by it at some point, sure.


                                            126

                                        Appx398
        Case: 22-1957        Document: 18        Page: 205      Filed: 12/06/2022

                             Public Version
JX-0189C (Martin Dep. Tr.) at 443 (emphasis added). As Dr. Martin admitted, if

something “created the HTML files that were referenced here, then it would, by

definition, have generated them, that is tautology.” Id. at 455; id. 444 (Dr. Martin: “when

we’re talking about Cybercore generating something, that means that Cybercore 650

needs to have created it at some point.”), 445 (Dr. Martin: “If Cybercore 650 created the

web pages, it generated them, sure.”).

       Complainant’s infringement position also contradicts the prosecution history,

where applicants had to make multiple narrowing amendments over the course of six

office action responses and an appeal brief. For instance, the applicants expressly

distinguished the claimed “web page generator” that generates web pages from the

Sawyer prior art “web server that provides stored web pages,” which “merely serv[es]

previously stored web pages” that were “custom written manually.” JX-0005.0194 (‘305

Patent File History) (emphasis added). According to the applicants, the claimed engine

“avoids this manual process by providing a web page generator that generates web pages

based on data stored in the data store.” JX-0005.0193 (‘305 Patent File History)

(emphasis added); RDX-0020C.0133 (Paul Min Demonstratives). The accused products

use the same “conventional web-based management techniques” as Sawyer—namely, a

web server that “serv[es] previously stored web pages.” See RX-0863C (Min RWS) at

Q/A 145, 147 (HPE), 162 (NETGEAR), 174 (CommScope); JX-0005.0195 (‘305 Patent

File History) (“[Sawyer] at most discloses a web server that provides stored web pages in

response to HTTP requests.”).

       Further, unlike the claimed web page generator, the accused products cannot

generate web pages “in response to a request to carry out a procedure,” let alone generate

                                           127

                                         Appx399
                              Confidential
                           Case: 22-1957   Material
                                     Document:           Redacted
                                               18 Page: 206 Filed: 12/06/2022

                                                             Public Version
those web pages “based on the data stored in the data store,” as claimed. Complainant

argues that the “request to carry out a procedure” is when person opens the webUI (e.g.,

uses a browser to connect to the accused product). See CX-3846C (Madisetti WS) at Q/A

582, 612, 639. However, as explained above, the accused web pages were written in the

back office before a customer accesses the webUI, and therefore they cannot be

“generated” later, “in response to a request to carry out a procedure” of a user opening

the webUI. See RX-0863C (Min RWS) at Q/A 145-146, 154-155, 161-162, 168-169,

173-174, 180-181.

                                                              ii.         JavaScript Executing on the Browser

                     Complainant argues that the alleged web page generator is “the code that

generates the WebUI,” which includes certain JavaScript (*.js file) executing on the

browser. See CX-3846C (Madisetti WS) at Q/A 639 (NETGEAR: alleging that the web
                                         Redacted in Public Versi

page generator is the “                                        ” file); 612 (same for CommScope); 584 (HPE: alleging
                                                                    Redacted in Public

that the web page generator is the “                                                 ” file). Complainant does not explain how

JavaScript “generates” a web page by modifying an existing HTML file.

                     First, the Accused NETGEAR Products do not have any JavaScript file called
   Redacted in Public Versi                                                                                                                   Redacted in Public Versi

“                          .” Dr. Madisetti incorrectly testified in his witness statement that the                                                                      file

on the accused NETGEAR products generates web pages, when in reality no such file

exists on the NETGEAR source code computer. See CX-3846C (Madisetti WS) at Q/A

639; CX-3847C (Jones WS) at Q/A 137-38. Dr. Madisetti never reviewed any source

code on a source code computer. He only reviewed printouts of the source code, and
Redacted in Public Versi

                           does not appear in any printouts of NETGEAR source code. Complainant’s
                                                                                               Redacted in Public Versi

source code expert, Mr. Jones, did not discuss the                                                                        file in his expert report or

                                                                                         128

                                                                                 Appx400
             Confidential
           Case: 22-1957  Material
                    Document:           Redacted
                              18 Page: 207 Filed: 12/06/2022

                                                 Public Version
witness statement. During cross examination, Dr. Madisetti repeated his testimony at the

hearing:
                                                                           Redacted in Public Versi

       Q. And you personally confirmed that that          file was -- was saved in the
          directory as you -- as you described in your witness statement?

       A. The directory?

       Q. Yeah, did you look at that code and see what was -- what was there?

       A. I verified -- I verified what the code did. For example, I described --

       Q. How did you verify what that code did?

       A. I reviewed Dr. -- Mr. Jones’ report. And I believe I reviewed the code as well.

Madisetti Tr. 240; 237 (Dr. Madisetti: “So what I say is that the code that generates the
                      Redacted in Public Versi

WebUI through this                               file. And then it generates multiple linked pages.”); 239 (“Q.
                                                                                                      Redacted in Public Versi

Well, are you -- are you relying on Dr. Jones’ review of the                                                                     file? A. No, but I’m

not sure I answered your question.”).

       Second, JavaScript does not generate web pages. Complainant offers an

alternative theory that sending data to a browser which is inserted into a preexisting page

by JavaScript satisfies this limitation. This is not the case. Rather, and separate from

serving the prewritten, stored web pages, the web server on the accused products can also

send the browser unstructured data which can be processed by JavaScript executing on

the browser for display. See RX-0863C (Min RWS) at Q/A 147. However, such

unstructured data is not a “web page.” Id. at Q/A 164, 177.

       Complainant’s source code expert, Mr. Jones, differentiated between generating a

web page and inserting data into an existing web page in the same way as Dr. Min:
                                                                                                                                      Redacted in Pub
                                                                          Redacted in Public Version
             Q: And so [] when a user clicks on an
                                      Redacted in Public Version
                                                                 to trigger
                       , the         isn’t generating a new html file; it’s
               inserting the response body into an existing html file?

                                                                    129

                                                                   Appx401
        Case: 22-1957        Document: 18          Page: 208    Filed: 12/06/2022

                             Public Version
           A: I believe that’s the way it works.

JX-0187C (Jones Dep. Tr.) at 313-314 (emphasis added); compare CX-0682C.0058 with

RX-1210C (Min SWS) at Q/A 21; RDX-0020C.0139-141 (Paul Min Demonstratives).

Thus, the accused products do not generate a web page in response to a “request to carry

out a procedure,” as claimed. They can only (1) serve pre-written, stored HTML files

and/or (2) send unstructured data to JavaScript that can render it for display. See RX-

1210C (Min SWS) at Q/A 11, 23.

       Finally, complainant’s argument that modifying an existing web page is the same

as generating a new web page, would recapture subject matter that the applicants

disavowed during prosecution of the ‘305 patent. See JX-0005.0194-0195 (‘305 Patent

File History); RX-1210C (Min SWS) at Q/A 25. Indeed, just like the accused products,

the network management station 103 of Sawyer includes a web server 503, and Sawyer

teaches that “[t]he [web] server 503 stores [the] web pages 507” that rendered by

browser. See RX-0262 at 3:16-17, 3:31-32; see also RX-1210C (Min SWS) at Q/A 25.

Just like the accused products, after “the network management station 103 creates an

HTTP request for the managed device 101, step 301,” Sawyer teaches that the HTTP

request “is relayed to the web server 215, step 302,” upon which “[t]he web server 215 []

generates an SNMP request for forwarding to the managed device 101 in order to get data

to fulfill the HTTP request.” See RX-0262 at 3:35-45; RDX-0020C.0144 (Paul Min

Demonstratives); RX-1210C (Min SWS) at Q/A 25. Upon receiving the data from the

managed device 101, Sawyer teaches that the web server 215 will “uses the data in the

SNMP response” to modify the stored web page and “forwards the resulting HTTP web

page to the managed device 101, step 305,” which will then “forward the HTTP web

                                           130

                                        Appx402
           Confidential
         Case: 22-1957  Material
                  Document:           Redacted
                            18 Page: 209 Filed: 12/06/2022

                              Public Version
page to the management station 103, step 306, where it is displayed for the user, step

307.” RX-0262 at 3:48-54; see also RX-1210C (Min SWS) at Q/A 25.

       Even if modifying an existing web page were the same as generating a web page,

the accused products still would not satisfy this limitation for at least two reasons.

       First, the alleged web page generator of the accused products does not modify “a

set of linked web pages.” See RX-1210C (Min SWS) at Q/A 28. For NETGEAR and

CommScope, the accused products Redacted in Public Version                , and the web

server Redacted in Public Version                       , i.e., when the user first launches

the WebUI from the browser. See RX-0863C (Min RWS) at Q/A 107 (NETGEAR), 111

(CommScope). Afterwards, the accused products Redacted in Public Version

                                                           . See RX-1210C (Min SWS) at

Q/A 11. While the accused HPE products include Redacted in Public Version, the web

server Redacted in Public Version

                            Thereafter, the web server Redacted in Public Version



                    Id.; see also RX-0863C (Min RWS) at Q/A 152. The evidence shows

that the alleged web page generator of the accused products would only modify a single

web page, whereas the web page generator of the claimed web-based management engine

“generates a set of linked web pages in response to a request to carry out a procedure.”

RX-0863C (Min RWS) at Q/A 151-152 (HPE), 164-166 (NETGEAR), 176-178

(CommScope). Dr. Min illustrated this distinction in RX-1210C (Min SWS) at Q/A 22-

25.



                                             131

                                         Appx403
        Case: 22-1957        Document: 18        Page: 210     Filed: 12/06/2022

                             Public Version
       Second, the alleged web page generator of the accused products would only

modify a web page after that web page is sent by the web server to the browser, which

cannot satisfy the claim’s requirement that the web page generator generate the web

pages before they are sent by the web server to the browser. See RX-0863C (Min RWS)

at Q/A 98-99. Specifically, the asserted ‘305 patent claims require “the Web Server

provides the interactive environment using the web pages generated by the web page

generator,” which means that the web server must serve “generated” web pages. See RX-

0863C (Min RWS) at Q/A 98. Dr. Min explained that a person of ordinary skill would

understand from the claims that the web pages must be “generated” before they are sent

from the web server (yellow below) to the browser (purple), which is consistent with the

‘305 patent specification. See RX-0863C (Min RWS) at Q/A 99; RDX-0020C.0107

(Paul Min Demonstratives).

     Complainant’s Infringement Position                         ‘305 Patent




Thus, even if the JavaScript file sent from the accused products to the browser could

generate a set of linked web page by modifying an existing web page, that JavaScript file

still cannot be the claimed web page generator because it only executes on the browser,

i.e., after the web server provides the web pages to the browser. See RX-0863C (Min

RWS) at Q/A 98.



                                           132

                                       Appx404
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 211 Filed: 12/06/2022

                                Public Version
       Complainant tried to create a factual dispute by having its expert Dr. Madisetti

testify for the first time at the hearing that the JavaScript files execute on the accused

controllers (Madisetti Tr. 232), despite admitting at his deposition that those same

JavaScript files execute on the browser:

                                         Redacted in Public Vers       Redacted in Public Vers




                  Redacted in Public Version


Madisetti Tr. 238 (same for NETGEAR); Id. at 241-242 (same for CommScope). While

the JavaScript files are sent by the accused controllers to the browser, they cannot modify

web pages (or perform any other functions) while on the accused products. See RX-

1210C (Min SWS) at Q/A 4; RX-0863C (Min RWS) at Q/A 96-98. Unlike Dr. Madisetti

or Dr. Jones, Dr. Min provided a detailed source code trace confirming that the

JavaScript files do not modify any of the prewritten, stored web pages until they sent to

the browser. See RX-0863C (Min RWS) at Q/A 104. For HPE, the accused controllers

respond to a request to carry out a procedure by Redacted in Public Version

                                                                                                     . See RX-0863C
                                                                                                                              Redacted in Public Versi

(Min RWS) at Q/A 145-147 (citing RX-0580C, RX-0578C, RX-0536C-0546C).



                                                                   See RX-0863C (Min RWS) at Q/A 104;
                                                                                                 Redacted in Public Version

see, e.g., RX-0535C (HPE Source Code Print-Out) lns. 1729 to 1753 (

                                                                     ); JX-0167C (Adjali Dep. Tr.) at 133-

134. Inasmuch as NETGEAR and CommScope Redacted in Public Version

the accused controllers Redacted in Public Version
                                                           133

                                                Appx405
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 212 Filed: 12/06/2022

                                Public Version
Redacted in Public Version                                                                                             See

RX-1210C (Min SWS) at Q/A 11; RX-0863C (Min RWS) at Q/A 107 (NETGEAR), RX-

0863C (Min RWS) at Q/A 111-12 (CommScope). For at least these reasons, the accused

products do not practice this limitation.

                                iii.      Additional Issues

        HPE Accused Products
                                        Redacted in Public

        Dr. Madisetti opines that the                        file generates Redacted in Public Version

           See CX-3846C (Madisetti WS) at Q/A 582. This is wrong. As Dr. Min

explained, Redacted in Public Version

                                                                                           See RX-0863C
                                                                                                                        Redacte

(Min RWS) at Q/A 142. The code excerpted by Dr. Madisetti in Q/A 584 shows that t
                                                                                                Redacted in Public Version
                                                              This JavaScript file is used to

                                                                                    ; it is not generating

any web pages. Id.

        Dr. Madisetti also opines that the Redacted in Public Version                     is “generated”

from Redacted in Public Version. See CX-3846C (Madisetti WS) at Q/A 558. That is not true. The

Redacted in Public Version is stored Redacted in Public Version             (RX-0532C, RX-0578C) and

Redacted in Public Version                                                            See RX-0863C (Min

RWS) at Q/A 144; RX-0533C (HPE Source Code Print-Out) lns 573-670, lns 609, 615,

624, 658, 666; see also RX-0640C (HPE Source Code Print-Out) lns 1413-1428; RX-

0639C (HPE Source Code Print-Out) lns 290 and 458; RX-0639C lns 1089-1099; RX-

0579C (HPE Source Code Print-Out) lns 564-661, lns 661, 600, 606, 615, 649, 657.

        Dr. Madisetti next opines that Redacted in Public Version

                                                             134

                                                 Appx406
               Confidential
           Case: 22-1957    Material
                      Document:           Redacted
                                18 Page: 213 Filed: 12/06/2022

                                                           Public Version
comprise a “set of linked web pages” because “Redacted in Public Version

                       ” See CX-3846C (Madisetti WS) at Q/A 558. This is not true. As Dr.

Min demonstrated, Redacted in Public Version



                                             See RX-0863C (Min RWS) at Q/A 149. Complainant relies on

Redacted in Public Version

Redacted in Public Version

Redacted in Public Version




                                                                                                                                           See RX-0863C

(Min RWS) at Q/A 151.

          Nor does Redacted in Public Version                                    show a “set of linked web pages.” The function

Redacted in Public Version                in the file         Redacted in Public Version
                                                                                           is just JavaScript code for Redacted in Public Version

                                                          . RX-0535C (HPE Source Code Print-Out) lns 1078-1087.
                Redacted in Public Version                                                          Redacted in Public Version                Redacted in Public Version

Indeed, the                                  on RX-0535C do not even                                                                because
                                                                                                                                           Redacted in Public Version
                                                                                              , which is shorthand for
                                      Redacted in Publi

               Instead of                             , these Redacted in Public Version                                                             , which can

Redacted in Public Version
                                                                                                                                                                 Redacted in Public Version
Redacted in Public Version, in this case, the function                                                 Redacted in Public Version
                                                                                                                                    . This function

                                                                                           135

                                                                                Appx407
                  Confidential
            Case: 22-1957      Material
                         Document:           Redacted
                                   18 Page: 214 Filed: 12/06/2022

                                               Public Version
Redacted in Public Version

                                                                   Nor does Redacted in Public Version

                                                                            As Dr. Min explained, the

pages Redacted in Public Version                                      , and the cited source code does
          Redacted in Public Version
not use                                for linking web pages. See RX-0863C (Min RWS) at Q/A 152.

          Complainant also argues that the set of linked web pages are generated in

response to “a request to launch the Web interface.” See CX-3846C (Madisetti WS) at

Q/A 582. That is not a “request to carry out a procedure,” 17 but even if it was, the

Redacted in Public Version identified by complainant does not appear in response to launching


the WebUI. The Redacted in Public Version                             appears instead and that page does

not allow the user to manage the accused access points. See RX-0863C (Min RWS) at

Q/A 154.

          Nor does the purported “evidence” relied upon by complainant show otherwise.

Contrary to Dr. Madisetti’s testimony, HPE’s corporate witness did not confirm that “the

HPE Products meet this limitation.” See CX-3846C (Madisetti WS) at Q/A 583 (relying

on JX-0167C (Adjali Dep. Tr.) at 183-184). Mr. Adjali identified Redacted in Public Version

      for the mobility controllers and explained that they are pre-written, -stored files, not


17
   The language of this limitation makes clear that the procedure referred to in “a request
to carry out a procedure” is “to manage the at least one operational parameter of the
network entity.” JX-0002 (‘305 Patent) at cl. 1. Otherwise, the claims would recapture
subject matter that was distinguished during prosecution, particularly since any
generation of more than one web page always comes after launching the web interface.
See JX-0005.0542 (‘305 Patent File History); JX-0005.0552 (applicant distinguishing
prior art reference: “In this example a Web page is generated and when the user selects
“F11” a new web page is generated. This single Web page generation does not involve
generating a set of linked web pages in response to a request to carry out a procedure as
recited in the claim 1.”).

                                                           136

                                                         Appx408
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 215 Filed: 12/06/2022

                              Public Version
that they are generated. See, e.g., JX-0167C (Adjali Dep. Tr.) at 179, 188-189. Although

Redacted in Public Version                                          , they are not generated

by the Controller. See RX-0863C (Min RWS) at Q/A 158. HPE’s corporate witness

likewise did not confirm that Redacted in Public Version                        as Dr.

Madisetti opines. See CX-3846C (Madisetti WS) at Q/A 583 (relying on JX-0167C

(Adjali Dep. Tr.) at 185-186). Mr. Adjali never admitted that Redacted in Public Version

                     . He simply identified Redacted in Public Version

              See JX-0167C (Adjali Dep. Tr.) at 184-186. That Mr. Adjali identified the

Redacted in Public Version                                                               as

required by the claims.

       Additionally, complainant has not shown that anything other than the web pages

are generated in response to the user launching the WebUI. Complainant does not even

point to any source code to support its argument. See RX-0863C (Min RWS) at Q/A 155.

Complainant has not shown that the accused HPE products store the “data” required by

this limitation, and thus, it cannot show that each of the web pages is based on that data,

as required by the claims. Id. at Q/A 156. Complainant has not shown that “the WebUI

is used to configure and validate operational parameters,” has not shown how or why

using the WebUI to “configure and validate operational parameters” is the same as a web

page that corresponds to “at least one step in the procedure to manage the at least one

operational parameter of the network entity,” as required by the claims. Dr. Madisetti

points only to screenshots of the WebUI, which do not demonstrate that each web page

within the alleged set of linked web pages depicted in these screenshots corresponds to

“at least one step in the procedure,” as required by the claims. Nor can it. Only the

                                            137

                                         Appx409
                                Confidential
                     Case: 22-1957           Material
                                       Document:           Redacted
                                                 18 Page: 216 Filed: 12/06/2022

                                            Public Version
Configuration page can be used to manage an operational parameter. Id. at Q/A 157.

                 NETGEAR and CommScope Accused Products

                 For the NETGEAR and CommScope accused products, complainant never
                                            Redacted in Public Versi

identifies any source code in                                          that “generates” a web page, or “a set of linked web

pages.” Nor does it show that a “set of linked web pages” are generated at all, let alone
     Redacted in Public Versi

by                         . Complainant merely points to the tabs on a single web page. See CX-3846C

(Madisetti WS) at Q/A 639 (NETGEAR), 612 (CommScope). However, as Dr. Min

explained, “a tab is not a web page; it’s just a part of a web page. Nor does the presence

of those tabs suggest that the web interface comprises more than a single web page.”

RX-0863C (Min RWS) at Q/A 177. The accused WebUI for both NETGEAR and

CommScope Redacted in Public Version

                                                                                       (RX-0863C (Min RWS) at Q/A

166 (NETGEAR), 178 (CommScope)), which is what the applicants distinguished from

“a set of linked web pages.” See JX-0005.0542 (‘305 Patent File History); JX-

0005.0552.

                 Additionally, complainant has not shown that the tabs are generated in response to

the user making a request to launch the WebUI. The sole WebUI screenshot cited by Dr.

Madisetti (CX-1313C.0030-31; CX-0735C.0114-15) cannot show when the tabs are

purportedly generated, and Dr. Madisetti does not point to any source code to support this

argument. See RX-0863C (Min RWS) at Q/A169, 177. Complainant has not shown that

the accused CommScope and NETGEAR products store the “data” required by this

limitation, and thus, complainant cannot show that each of the web pages is based on that

data, as required by the claims. For the accused NETGEAR products, Dr. Madisetti does
                                                                            138

                                                                         Appx410
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 217 Filed: 12/06/2022

                             Public Version
not offer an opinion on whether each web page is “based upon the data stored in the data

store,” as required by the claims. For the accused CommScope products, CPX-

0006C.469 (COMMSCOPE_CODE_0000469) cited by Dr. Madisetti does not include

the relevant source code he mentioned. The code cited by Dr. Madisetti merely shows

Redacted in Public Version

                             . Nothing in the code informs that the web page is “based

upon the data stored in the data store.” See RX-0863C (Min RWS) at Q/A 183.

       Moreover, Dr. Madisetti does not offer an opinion on whether each web page

“correspond[s] to at least one step in the procedure to manage the at least one operational

parameter of the network entity.” While Dr. Madisetti says that the webpages “are used

to modify [the] operational parameters,” he has not shown how or why this is the same as

a web page that corresponds to “at least one step in the procedure to manage the at least

one operational parameter of the network entity,” as required by the claims. Dr.

Madisetti points only to a screenshot of the WebUI, which cannot demonstrate that each

webpage within the alleged set of linked web pages depicted in that screenshot

corresponds to “at least one step in the procedure.” See RX-0863C (Min RWS) at Q/A

184.

       Complainant has not shown each tab corresponds to webpages. Dr. Madisetti

relies upon an excerpt of a CommScope user manual (CX-1313C.0030-31) describing

several form elements for ZoneDirector, but nothing in that excerpt shows that each tab

corresponds to a web page. See CX-3846C (Madisetti WS) at Q/A 609. The WebUI

Redacted in Public Version                                              . See RX-0863C
                                                                         Redacted in Public Version

(Min RWS) at Q/A 177. Similarly, for NETGEAR, as a user navigates

                                            139

                                        Appx411
                  Confidential
             Case: 22-1957     Material
                         Document:           Redacted
                                   18 Page: 218 Filed: 12/06/2022

                                          Public Version
Redacted in Public Version                       , Redacted in Public Version

                                          . Nothing suggests that new web pages are “generated” or

even displayed when a user navigates to different tabs. Id. at Q/A 165.

                                   c.      “intelligent agent”

                      An intelligent agent that obtains information about at least one operational
1[1], 8[1]            parameter of the network entity and/or modifies the behavior of the network
                      entity, the intelligent agent interacting with the network entity in accordance
                      with the predetermined data structure.

            Complainant argues that the intelligent agent is the software on the accused

products responsible for sending and receiving messages. For HPE, Dr. Madisetti opines

that “[t]he intelligent agent is the code in the access point that receives and/or processes
Redacted in Public Version
                             from the controller,” which “includes the Redacted in Public Version.” See

CX-3846C (Madisetti WS) at Q/A 562. For NETGEAR, Dr. Madisetti opines that “[t]he

intelligent agent is the controller software called Redacted in Public Version” (CX-3846C

(Madisetti WS) at Q/A 628), “which handles sending configurations to the network

entities (access points), thereby modifying the behavior of the access points.” See CX-

3846C (Madisetti WS) at Q/A 631.

            Complainant’s argument is wrong because (1) it renders the term “intelligent

agent” meaningless; (2) it contradicts the plain and ordinary meaning of the term “agent,”

and (3) the alleged intelligent agents neither obtain nor modify any operational

parameters of the alleged network entity.

            First, an “intelligent agent” is not simply any software process that receives and

processes messages. Under complainant’s argument, most, if not all, software processes

would qualify as an “intelligent agent,” rendering the term meaningless. The patentee

                                                        140

                                                     Appx412
           Confidential
         Case: 22-1957  Material
                  Document:           Redacted
                            18 Page: 219 Filed: 12/06/2022

                              Public Version
knew how to use the term “software” (e.g. JX-0002 (‘305 Patent) at 1:56), but chose to

claim an “intelligent agent.” The code in the AP that receives and/or processes messages

is not an agent; it is just Redacted in Public Version                                  . See

RX-0863C (Min RWS) at Q/A 31 (“Long before the ‘305 Patent, computer scientists

knew of many ways to send messages within and between devices, and in my career, I’ve

never heard these common messaging mechanisms used as the litmus test of an

“intelligent agent.”). Dr. Madisetti’s inability to identify code that does more than

dispatch messages to other software only shows the lack of an intelligent agent. See RX-

0863C (Min RWS) at Q/A 41-42, 60-61.

       Second, while the term “intelligent agent” is not a term of art, the term “agent” is.

A person of ordinary skill would know that the plain and ordinary meaning of “agent” is

software that acts on behalf of a managing entity while running in a persistent (runs

continuously to complete a particular objective), autonomous (decides for itself when an

activity should be performed), and perspective manner (perceives the context in which it

operates and takes action accordingly). See RX-0863C (Min RWS) at Q/A 32

(discussing RX-0300). Although the ‘305 patent does not define the term “intelligent

agent,” the one example that it does provide (“SNMP Agent 206”) aligns with the plain

and ordinary meaning of that term, namely software “agent” that acts on behalf of a

managing entity in a persistent, autonomous, and perspective manner. See JX-0002 (‘305

Patent) at 2:36. For example, an SNMP agent acts in a persistent, autonomous, and

perspective manner when it monitors operating parameters, perceives the presence of

certain conditions, and autonomously sends alerts to an SNMP manager when certain



                                            141

                                         Appx413
             Confidential
         Case: 22-1957    Material
                    Document:           Redacted
                              18 Page: 220 Filed: 12/06/2022

                                            Public Version
conditions are met. See RX-0863C (Min RWS) at Q/A 33. The accused products lack

such an agent. See RX-0863C (Min RWS) at Q/A 29-76.

      Third, the alleged intelligent agents neither obtain nor modify any operational
                          Redacted in Public V

parameters. For HPE,                         does not actually obtain and/or modify the alleged

operational parameters. Dr. Madisetti does not show that Redacted in Public Version




            . Nor does he show that Redacted in Public Version

                                                                                   See RX-0863C (Min

RWS) at Q/A 45.

      For NETGEAR, Dr. Madisetti says that Redacted in Public Version

                         (CX-3846C (Madisetti WS) at Q/A 631) and points to the function

Redacted in Public Version in CPX-0007C.351 (NTGRITC_CODE_0000001-705), but Dr.


Madisetti admits that it Redacted in Public Version

                            Id. As shown on RDX-0020C.0102 (Paul Min Demonstratives),

this function merely Redacted in Public Version                                                    ;

it is not related to obtaining or configuring an operational parameter of the AP or

modifying the behavior of the AP. In fact, Dr. Madisetti has not identified any source

code in Redacted in Public Version that is related to any of Redacted in Public Version

                                                 See RX-0863C (Min RWS) at Q/A 64.

      For CommScope, Redacted in Public Version

                                                                         . See CX-0464C (Commscope

Respondents’ Eighth Supplemental Objections and Responses To Complainant’s First Set

                                                          142

                                                      Appx414
                      Confidential
                    Case: 22-1957  Material
                             Document:           Redacted
                                       18 Page: 221 Filed: 12/06/2022

                                                        Public Version
Of Interrogatories Nos. 1-77 to Respondents Dated Apr. 5, 2021) at CommScope Third

Supplemental Response to Interrogatory No. 58. Dr. Madisetti has not shown that any of
                                                                       Redacted in Public Version
the accused products actually use the alleged                                                       to “obtain[] information about

at least one operational parameter of the network entity and/or modifies the behavior of

the network entity,” or even “interact[] with the network entity in accordance with a

predetermined data structure.”

                Nor does complainant show that the accused products have an intelligent agent.

HPE’s corporate witness did not “confirm[] that there is an intelligent agent used for
Redacted in Publi

               ,” as Dr. Madisetti opines in Q/A 256. Rather, HPE’s corporate witness testified

that he would not characterize it as an agent. See JX-0167C (Adjali Dep. Tr.) at 172 (“Q:
                       Redacted in Public Version
So is there a                                       on the Campus APs? A: I’m not sure I would characterize it as

an agent per se. It is a process running on the AP.”).

                The NETGEAR source code relied upon by complainant either does not include

Redacted in Public Version                                                                                 or is not related to
Redacted in Public Version.             Dr. Madisetti cites CPX-0007 (NTGRITC_CODE_0000001-705) to

show that Redacted in Public Version

                                                           See CX-3846C (Madisetti WS) at Q/A 631. However,

that code Redacted in Public Version) is JavaScript executed in the browser; not the
Redacted in Public Version on the controllers.                   See RX-0863C (Min RWS) at Q/A 63.

                Predetermined Data Structure

                Even if the code that processes and receives messages was an intelligent agent (and

it is not), the alleged intelligent agent cannot “interact[] with the network entity in

accordance with a predetermined data structure,” as required by the claims. See RX-
                                                                     143

                                                                  Appx415
                           Confidential
                   Case: 22-1957        Material
                                  Document:           Redacted
                                            18 Page: 222 Filed: 12/06/2022

                                                    Public Version
0863C (Min RWS) at Q/A 46, 65, 73. Complainant argues that the protocols used by the

accused controllers to communicate with the accused access points are a “predetermined

data structure” because they are “a protocol established in advance [of] the intelligent

agent interacting with the network entity.” See CX-3846C (Madisetti WS) at Q/A 562,

601, 628.
                                                                                                                   Redacted in Publi

           For HPE, Dr. Madisetti opines that the “predetermined data structure is                                                  ,” and

reasons that “[i]t is predetermined given that it is a protocol established in advance [of]

the intelligent agent interacting with the network entity.” See CX-3846C (Madisetti WS)

at Q/A 562. For NETGEAR, Dr. Madisetti opines that “[t]he predetermined data

structure is the data structure which is found in Redacted in Public Version,” and “[t]he
                                                                     Redacted in Public Version                        Redacted in Public Ve

predetermined data structure can also include                                                     ,” which misspells

                       See CX-3846C (Madisetti WS) at Q/A 628. For CommScope, Dr. Madisetti

opines that “predetermined data structure is the Redacted in Public Version which is defined by
      Redacted in Public Version

the                                ,” stating that “this data structure can be found in the function

Redacted in Public Version and other sections of Redacted in Public Version,” and reasons that “it is

predetermined given that it is established in advance of the intelligent agent interacting

with the network entity.” See CX-3846C (Madisetti WS) at Q/A 601.

           Complainant’s arguments are wrong. First, a protocol defines a mechanism by

which two entities can communicate; it is not itself a data structure. See RX-0863C (Min

RWS) at Q/A 36. Redacted in Public Version are communication protocols for sending/receiving

messages, they are not a data structure. Indeed, the ‘305 patent never refers to SNMP as

a predetermined data structure even though the “P” in SNMP stands for protocol. See

JX-0002 (‘305 Patent). As Dr. Min explained:

                                                                  144

                                                               Appx416
            Confidential
          Case: 22-1957  Material
                   Document:           Redacted
                             18 Page: 223 Filed: 12/06/2022

                              Public Version
          Protocols define the format of messages to be understood between the
          sending entity and the receiving entity. The protocol messages sent
          and received do not have the predefined data structures, and instead
          each protocol message has a header, which instructs the receiver how
          to interpret the body of the message.
                                     Redacted in Public Version
RX-0863C.0024 at Q/A 75. Nor is                                   itself a predetermined data structure.
                                             Redacted in Public Version
See RX-0863C (Min RWS) at Q/A 67.                                         “is an infrastructure module for

communication between the controller and Access Point,” which Redacted in Public Version



                                                                                                                   JX-
                                                                                           Redacted in Public Version
0048C.0016 (WC7520 Software Architecture). Nothing indicates that                                                       is a

data structure, let alone a “predetermined data structure.” See RX-0863C (Min RWS) at

Q/A 67.

       Second, complainant’s infringement position contradicts the plain and ordinary

meaning of the term “predetermined data structure.” See RX-0863C (Min RWS) at Q/A

36. While a protocol may use a predetermined data structure, it would do so by using the

same data structure every time it sends a message so that the recipient knows the data

structure used in the message before it even receives the message. Id. That the same

predetermined data structure must be used is reflected in the claims, which refer to “a”

and “the” structure used by the intelligent agent and interface. This is also consistent

with the ‘305 patent specification, which makes clear that “the intelligent agent may be

an SNMP agent” and “[t]he predetermined data structure may be an MIB.” Id. Indeed,

SNMP uses the same data structure in every SNMP message, (namely, the Object

Identifiers from the MIB data structure) so that the recipient always knows the data

structure used in the SNMP message before it even receives the message. Id.

                                                   145

                                            Appx417
                                       Confidential
                               Case: 22-1957        Material
                                              Document:           Redacted
                                                        18 Page: 224 Filed: 12/06/2022

                              C
                                                                   Public Version

                    RDX-0020C.0097 (Paul Min
                                                                                                   RX-0863C.0014 at Q/A 38
                        Demonstratives)

                                                                                      SNMP message use a predetermined data structure
                                                                                      of OIDs. The sender of an SNMP message will use
                                                                                      the OIDs to specify what attributes are being
                                                                                      communicated. The recipient of the SNMP
                                                                                      message will take the OIDs and look up in a MIB
                                                                                      tree to find out what the OID is actually referring to.
                                                                                      Because every SNMP message will use OIDs to
                                                                                      specify the attributes in the message, and the SNMP
                                                                                      message recipient knows that the attributes in the
                                                                                      message will always be OIDs, we say that SNMP
                                                                                      protocol uses a predetermined data structure – MIB.

                     The alleged intelligent agents simply do not use a predetermined data structure.
                        Redacted in Publi                                                                                     Redacted in Publi

For HPE,                                    does not use the same data structure for its messages. A                                              message
                                                                                                                                                     Redacted in Publi

can use a different data structure each time it is sent. As a result, the recipient of a

message cannot and does not necessarily know the specific data structure used in the
Redacted in Publi                                                                                  Redacted in Publi

                    before it receives the message. The recipient of the                                               message cannot identify
                                                         Redacted in Publi

the data structure used by the                                               message unless and until Redacted in Public Version

                                                                                                                                                    . See

RX-0863C (Min RWS) at Q/A 51 (using RDX-0020C.0099 (Paul Min Demonstratives)

to show that Redacted in Public Version

                                                                                ); RX-0608C (HPE Source Code Print-Out); RX-

0609C (HPE Source Code Print-Out); RX- 0610C (HPE Source Code Print-Out); RX-

0625C (HPE Source Code Print-Out); RX-0626C (HPE Source Code Print-Out); RX-

0627C (HPE Source Code Print-Out).
                                                                                                                                  Redacted in Public Version
                     For NETGEAR, Redacted in Public Version communicate using

(RDX-0020C.0103 (Paul Min Demonstratives)), which means they do not use a

                                                                                    146

                                                                                    Appx418
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 225 Filed: 12/06/2022

                                            Public Version
“predetermined data structure. Redacted in Public Version




There is no “predetermined data structure” involved because all of the operational

parameters Redacted in Public Version

                                                  , not identified from a “predetermined data

structure.” See RX-0863C (Min RWS) at Q/A 69. For CommScope, Redacted in Public Version



              See CX-0464C (Commscope Respondents’ Eighth Supplemental Objections

and Responses To Complainant’s First Set Of Interrogatories Nos. 1-77 to Respondents

Dated Apr. 5, 2021) at CommScope Third Supplemental Response to Interrogatory No.

58.

       Nor does the purported “evidence” relied upon by complainant satisfy this

limitation. See RX-0863C (Min RWS) at Q/A 50, 52, 53. Despite Dr. Madisetti’s

statement to the contrary, HPE’s corporate witness never testified Redacted in Public Version

                                              See CX-3846C (Madisetti WS) at Q/A 565; RX-0863C

(Min RWS) at Q/A 52. Mr. Adjali simply stated that Redacted in Public Version
                                                                                                     Redacted in Publi

                   See JX-0167C (Adjali Dep. Tr.) at 57 (explaining that                                                 is “a
                                                                 Redacted in Publi

communication protocol.”), at 59 (explaining that “                                  . . . does have a specific what I

would describe as syntax in which the controller and the AP need to understand, if that’s

what you’re implying by saying format.”)).
                        Redacted in Publi

       The exemplary                        message relied upon by Dr. Madisetti (CX-3289C.0035)

shows that Redacted in Public Version

                                                        147

                                                     Appx419
              Confidential
          Case: 22-1957    Material
                     Document:           Redacted
                               18 Page: 226 Filed: 12/06/2022

                                                Public Version
Redacted in Public Version                                   The former allows the recipient to process the
                           Redacted in Publi

data in the latter since                       messages do not use the same data structure in every

message. For this reason, Redacted in Public Version



                                                              See RX-0863C (Min RWS) at Q/A 50.

         Redacted in Public Version (RDX-0020C.0098 (Paul Min Demonstratives))

shows Redacted in Public Version



                  See RX-0863C (Min RWS) at Q/A 51 (analyzing RX-0616C (HPE

Source Code Print-Out); RX-0953C (HPE Source Code Print-Out); RX-0615C (HPE

Source Code Print-Out); RX-0614C (HPE Source Code Print-Out) (Opaque definition)).

Additionally, Redacted in Public Version



See RX-0616C (HPE Source Code Print-Out) ln. 2323. Together, these parameters

Redacted in Public Version                                         The function Redacted in Public Version

                                                             However, Redacted in Public Version is not a data
                                                                                                         Redacted in Publi          Redacted in P

structure. In fact, Redacted in Public Version is completely lacking in structure.                                           uses

        because Redacted in Public Version                                                                                                          See

RX-0618C (HPE Source Code Print-Out).

         The Redacted in Public Version function (RX-0600C (HPE Source Code Print-Out) and on
                                                                       Redacted in Public Version
RDX-0020C.0100 (Paul Min Demonstratives)), the                                                      (RX-0600C (HPE Source
                                                                                                                      Redacted in Public Version
Code Print-Out) and RDX-0020C.0100 (Paul Min Demonstratives)), and

(RX-0582C (HPE Source Code Print-Out) and RDX-0020C.0100 (Paul Min

                                                             148

                                                          Appx420
             Confidential
        Case: 22-1957     Material
                    Document:           Redacted
                              18 Page: 227 Filed: 12/06/2022

                                              Public Version
                                                     Redacted in Publi

Demonstratives)) actually show that                                      messages are not based on any predetermined

data structure and instead, as shown below, they are Redacted in Public Version



             There is no “predefined data structure” Redacted in Public Version See RX-

0863C (Min RWS) at Q/A 54. That code on RDX-0020C.0101 (Paul Min

Demonstratives) just shows Redacted in Public Version



The same is true for RX-0582C (HPE Source Code Print-Out). That code merely shows

Redacted in Public Version

                                                 See RX-0863C (Min RWS) at Q/A 56-57.
              Redacted in Public Version
       The                                 source code cited by Dr. Madisetti (RDX-0020C.0104 (Paul

Min Demonstratives)) shows that Redacted in Public Version

                                                                                                               See

RX-0863C (Min RWS) at Q/A 71.

                                  d.          “interface”

                an interface that communicates values of the at least one operational
1[4], 8[4]      parameter between the Web server and the intelligent agent in accordance
                with the predetermined data structure.

       Dr. Madisetti’s opinions concerning this limitation are merely conclusory

opinions that certain software on each accused product satisfies this limitation.

Complainant does not explain why the identified software purportedly constitutes the

claimed interface, let alone that it uses a “predetermined data structure” as claimed. Nor




                                                                         149

                                                             Appx421
              Confidential
            Case: 22-1957  Material
                     Document:           Redacted
                               18 Page: 228 Filed: 12/06/2022

                                 Public Version
can it. Dr. Min’s unrefuted testimony on the code shows the identified software is not the

claimed interface.

        For the accused NETGEAR and CommScope products, complainant broadly

contends that the alleged interface is “the software that supplies the web server user

inputs and provides them to the intelligent agent in accordance with the predetermined

data structure.” See Compl. Br. at 157, 167. Complainant’s arguments merely recite the

claim language, stating only that the alleged interface can be found in JavaScript while

lacking any analysis:

        x     For NETGEAR, the alleged interface “can be found in
              Redacted in Public Version, which also includes Redacted in Public Version
                                                                                 .” CX-3846C (Madisetti WS)
              at Q/A 637.

        x     For CommScope, the alleged interface “can be found in the Redacted in Public Version
              function” and “the Redacted in Public Version.” CX-3846C (Madisetti WS) at
              Q/A 611.

        As an initial matter, complainant’s arguments are too vague. See RX-0863C (Min

RWS) at Q/A 128, 131. For example, Redacted in Public Version has over 1600 lines of

code, yet complainant does not point to any specific lines of code that qualify as the

claimed interface. See RX-0863C (Min RWS) at Q/A 128. The same is true of
                                     Redacted in Public Version
Redacted in Public Version” and “                             .” See RX-0863C (Min RWS) at Q/A 131.

        Complainant’s infringement position also contradicts the claim language because
                                           Redacted in Public Version
neither Redacted in Public Version nor                                  is positioned “between the Web server

and the intelligent agent,” as required by the claims. See RX-0863C (Min RWS) at Q/A

128-30 (NETGEAR), 133-135 (CommScope). According to Dr. Min, a person of

ordinary skill would “understand from reading the claims that the interface must be


                                                           150

                                                   Appx422
        Case: 22-1957        Document: 18        Page: 229      Filed: 12/06/2022

                             Public Version
positioned such that it communicates values ‘between the Web Server and the intelligent

agent’ ‘in accordance with the predetermined data structure.’” See RX-0863C (Min

RWS) at Q/A 144; RDX-0020C.0109 (Paul Min Demonstratives). This is consistent with

the plain and ordinary meaning of the term “interface”—namely, “software for

connecting two items of software together so they can communicate with each other.”

See RX-0863C (Min RWS) at Q/A 115.




       Dr. Min testified that the claim language also aligns with the ‘305 patent

specification, which teaches positioning the interface between the web server and the

intelligent agent so it can communicate with both the web server and the intelligent agent.

Id. at Q/A 116. The ‘305 patent discloses the interface (WPGI 204) in only one position:

between the Web Server 202 and the SNMP Agent 206 such that the web server and

agent communicate through the interface. See RX-0863C (Min RWS) at Q/A 116

(discussing RDX-0020C.0110 (Paul Min Demonstratives)). It appears that this was

intentional. Inasmuch as prior art engines provided the WebUI using prewritten, stored

web pages based on the predetermined data structure used by the network entity, “the

web server and the intelligent agent communicated directly.” Id. at Q/A 177. The ‘305

patent, however, teaches “generating web pages (on the fly) for the network entity

currently being managed [by] positioning an interface [red below] between the web

server and intelligent agent [in order] to automatically convert the data communicated


                                           151

                                        Appx423
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 230 Filed: 12/06/2022

                                Public Version
between the Web Server and the intelligent agent into the predetermined data structure

used by the network entity.” Id. Dr. Min illustrated this distinction below (id. at Q/A

116-117; RDX-0020C.0110 (Paul Min Demonstratives)).

              The ‘305 Patent                                   The Prior Art




       Despite complainant’s arguments to the contrary, the alleged interface cannot

satisfy this limitation. For NETGEAR, the alleged interface (Redacted in Public Version)
                                                                                             Redacted in Public Version
cannot communicate between the web server and alleged intelligent agent (

         ). See RX-0863C (Min RWS) at Q/A 128. Inasmuch as the

Redacted in Public Version is JavaScript running on the client-side browser, it cannot

communicate values “between” the web server and the appliance manager since they both

reside on the controller. Id. at Q/A 129. Nor does Redacted in Public Version communicate
                                                         Redacted in Public Version
values using the alleged predetermined data structure (                               ). Id. at Q/A 128. As

shown in the schematic below (RDX-0020C.0013 (Paul Min Demonstratives)), which Dr.

Madisetti relies upon (CX-3846C (Madisetti WS) at Q/A 623), any communication
                                                                                                        Redacted in Public

between the browser (purple) and the processes within the controllers occurs via

(pink), not the Redacted in Public Version          (orange). See RX-0863C (Min RWS)

at Q/A 130.




                                             152

                                         Appx424
                 Confidential
           Case: 22-1957      Material
                        Document:           Redacted
                                  18 Page: 231 Filed: 12/06/2022

                                                     Public Version

Redacted in Public Version


Complainant’s own source code expert, Mr. Jones, confirmed that “[t]he Redacted in Public Version

is used for communications between the AP and the Controller,” and in fact Mr. Jones

did not think that Redacted in Public Version communicates with the Redacted in Public Version
        Redacted in Public Version
using                                :

                  Q: And based on your review of the NETGEAR source code, was the
                     Redacted in Public Version used to communicate between Redacted in Public Version
                                 and the Redacted in Public Version file running on the
                     browser?

                  A: I don’t think so.

JX-0186C (Jones Dep. Tr.) at 123, 124 (“Q: Communications between the browser and

the controller do not use Redacted in Public Version, correct? A: I don’t know. I suspect the

answer is no”).
                                                                          Redacted in Public Version
          For CommScope, the alleged interface (                                                   ) likewise does not
                                                                                                                                        Redacted in Public V

communicate values between the web server and the alleged intelligent agent (
                                                                                                       Redacted in Public Version
     ). See RX-0863C (Min RWS) at Q/A 133. Inasmuch as                                                                              is JavaScript

running on the client-side browser, it cannot communicate values “between” the web
                        Redacted in Public Version
server and the                                       since both purportedly reside on the controller. Id. at Q/A

134. Nor does validators.js communicate with the web server using the alleged
                                                                                                                       Redacted in Public Version
predetermined data structure (Redacted in Public Version). Id. at Q/A 133.                                                                           is

                                                                    153

                                                                Appx425
              Confidential
           Case: 22-1957   Material
                     Document:           Redacted
                               18 Page: 232 Filed: 12/06/2022

                                                                Public Version
                                                                                      Redacted in Public V

JavaScript running on the browser, and                                                                       is a protocol used for communications

between a controller and an access point. Id. at Q/A 136. The communication between
                                                                                                    Redacted in Public V

the browser and the web server does not use                                                                            , and complainant has not presented
                                                                                                                                                       Redacted in Public Version
any evidence suggesting otherwise. Id. Mr. Jones not only “agree[d] that

does not provide any communication functionality” (JX-0186C (Jones Dep. Tr.) at 117-
                                                               Redacted in Public Version
118), he also confirmed that                                                                does not even use the alleged predetermined

data structure:
                                          Redacted in Public Version
              Q: Does                                                       use the Redacted in Public Version
                                                                                ?

              A: No, it does not.
                                                                                                             Redacted in Public Version
JX-0186C (Jones Dep. Tr.) at 116, 115 (“Q: Is                                                                                             executed on the Browser? A:

Yes.”).

          For HPE, complainant argues that the “interface is the backend controller code,

including the Redacted in Public Version                                                                                                                                   ,”
                                          Redacted in Publi

which allegedly uses                                          as a predetermined data structure to communicate between the
                                                                                                                                                        Redacted in Public V

“web server of the controller and the intelligent agent of the Access Point (
                     Redacted in Publi

software) via                       .” See Compl. Br. at 144; CX-3846C (Madisetti WS) at Q/A 579.

Indeed, complainant provides no evidence to support its theory. Dr. Min’s unrefuted

testimony on the source code shows the exact opposite.
                   Redacted in Public V                                                                                                                               Redacted in Publi

          First,                          does not communicate with the web server, let alone using                                                                                  .

Rather, data enters/exits the web server through Redacted in Public Version that undisputedly
             Redacted in Publi

do not use                  . In the upstream direction, Redacted in Public Version

                                                                                                                                                                     . See


                                                                                               154

                                                                                      Appx426
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 233 Filed: 12/06/2022

                                        Public Version
                                                                                               Redacted in Publi

RX-0863C (Min RWS) at Q/A 123. However, rather than use                                                       , Redacted in Public Version

                                                                                              . Id. Redacted in Public Version



                                  . Id. Likewise, in the other direction, Redacted in Public Version

                                                                                                                      Id. at Q/A 124.

Redacted in Public Version                                                                                             Id. at Q/A 125.

Dr. Min shows this in the annotated diagram below (RDX-0020C.0112 (Paul Min

Demonstratives)):



Redacted in Public Version

Complainant’s experts offered no rebuttal to Dr. Min’s analysis. For example,
                                            Redacted in Publi

complainant has not shown that                                  is used when communicating with the web server.

See. RX-0863C (Min RWS) at Q/A 123-25. Complainant’s own source code expert, Dr.
                                                        Redacted in Publi

Jones, admitted this, testifying that “                                     is pretty much used for communications

between the controller and the AP.” See JX-0186C (Jones Dep. Tr.) at 129-130.
                                                           Redacted in Public V                                        Redacted in Public V

       Second, the alleged interface (                                        ) does not communicate with                                , let
              Redacted in Publi

alone using                  . Rather, Redacted in Public Version



                                                                                                            See RX-0863C (Min

RWS) at Q/A 122.

                                                                            155

                                                                 Appx427
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 234 Filed: 12/06/2022

                              Public Version


Redacted in Public Version


                       e.     “data store”

            a data store storing data relating to a procedure for managing the at least one
1[2],
            operational parameter of the network entity.
8[2]

        Complainant argues that the accused products infringe this limitation by storing

information, values, and rules for verifying and/or modifying the operational parameters

of the network entity. See CX-3846C (Madisetti WS) at Q/A 568 (HPE), 633

(NETGEAR), 606 (CommScope). Complainant’s infringement position is wrong for

multiple reasons.

        First, complainant’s infringement position contradicts the claim language.

Element 1.2 requires storing “data relating to a procedure for managing the at least one

operational parameter of the network entity,” not storing the actual procedure. Thus, the

“data relating to a procedure” cannot be the same as alleged procedure. Rather, this

limitation requires “data relating to a procedure for managing the at least one operational

parameter of the network entity,” which is different from the separately claimed

“procedure” and the separately claimed “operational parameter.” Dr. Madisetti conflates

the claimed “procedure” with the separately claimed “data relating to a procedure.” If

this limitation only required storing the software of the other limitations, as complainant


                                             156

                                        Appx428
                        Confidential
                  Case: 22-1957      Material
                               Document:           Redacted
                                         18 Page: 235 Filed: 12/06/2022

                                           Public Version
argues, then it would be meaningless. See RX-0863C (Min RWS) at Q/A 79.

                Second, complainant’s infringement position contradicts the prosecution history.

See RX-0863C (Min RWS) at Q/A 80. The procedure identified by Dr. Madisetti is no

different from the “policies, or declarative statements that contain objectives for how a

network is to behave” that the applicant distinguished from “a procedure for managing

the at least one operational parameter of the network entity.” Id.; e.g., JX-0005.0505

(‘305 Patent File History) (exemplary policy: “If Source in R&Dlaboratory then Allow

Internet Access.”); JX-0005.0507 (another exemplary policy). As one example, the

regulatory channel check identified by Dr. Madisetti reflects a policy that the network

should not use an unlicensed radio channel. See CX-3846C (Madisetti WS) at Q/A 559.

Thus, the alleged data stored on the accused products cannot satisfy this claim limitation.

See RX-0863C (Min RWS) at Q/A 80.

                Third, even if the data allegedly stored on the accused products was “data relating

to a procedure for managing the at least one operational parameter of the network entity,”

complainant does not identify the specific “information, values, and rules” for HPE (RX-

0863C (Min RWS) at Q/A 85), the “data needed for Redacted in Public Version to validate

operational parameters,” or the “values used for setting rules, the entered values intended

to be used to set operational parameter, and the rules for setting the values or operational

parameters” for NETGEAR (RX-0863C (Min RWS) at Q/A 89), or the “data needed for
Redacted in Public Version
                             to validate operational parameters” for CommScope (RX-0863C (Min RWS)

at Q/A 93). Nor does complainant show that any of that data is actually used by the

accused products to “generate a set of linked web pages” or “generate a determination

result.”

                                                        157

                                                     Appx429
             Confidential
        Case: 22-1957     Material
                    Document:           Redacted
                              18 Page: 236 Filed: 12/06/2022

                              Public Version
                       f.      “Web server”

             a Web server that provides an interactive environment to manage the at least
1[3], 8[3]
             one operational parameter of the network entity.

       The accused products do not include the claimed web server that “provides the

interactive environment using the web pages generated by a web page generator.” See

RX-0863C (Min RWS) at Q/A 102, 106, 110.

       For HPE, complainant argues that the controllers contain a web server, not the

access ints. The Campus Access Points Redacted in Public Version. While Dr. Madisetti

cites to deposition testimony concerning the Instant Access Points, he does not provide

any opinions for the remainder of the claim limitations for the Instant Access Points. See

Compl. Br. at 33, 34, 37; RX-0863C (Min RWS) at Q/A 102. For NETGEAR, the

contents in the directory identified by Dr. Madisetti does not contain the web server.

That folder contains only JavaScript files that are executed on the browser. Dr. Madisetti

incorrectly opines that the Web server runs on JavaScript on the controllers. See Compl.

Br. at 168. However, the web server does not run on JavaScript because JavaScript files

are executed on the browser, not the web server. See RX-0863C (Min RWS) at Q/A 106.

For CommScope, complainant does not identify with sufficient particularity the web

server on the controllers that satisfies this limitation. Dr. Madisetti points only to a

directory without identifying any particularity lines of code showing that the web server

provides any interactive environment, let alone the specific WebUI identified by Dr.

Madisetti. See Compl. Br. at 157; RX-0863C (Min RWS) at Q/A 110.




                                             158

                                         Appx430
        Case: 22-1957         Document: 18         Page: 237      Filed: 12/06/2022

                              Public Version
                       g.      “generate a determination result”

            wherein the interface uses the stored data relating to a procedure for
1[6],       managing the at least one operational parameter of the network entity to
8[6]        generate a determination result indicating whether information retrieved using
            a form provided on the set of linked Web pages conforms to a rule relating to
            the procedure to manage the at least one operational parameter of the network
            entity

        Complainant claims that the accused products infringe this limitation by

comparing the “stored data relating a procedure” against information retrieved using a

form on the WebUI to verify whether the information conforms to an unspecified rule.

See RX-0863C (Min RWS) at Q/A 186.

        First, complainant’s infringement position contradicts the claim language. Id. at

Q/A 187. The term “generate a determination result” does not simply mean “determine”

whether the retrieved information conforms to a rule (e.g., verify). Rather, the interface

must also “generate” the “result” of that determination. Id. Inasmuch as the result must

also “indicat[e]” whether the information conforms to a result, a person of ordinary skill

would understand that this limitation also requires that the interface indicate the result.

Id.

        Second, complainant’s infringement position contradicts the prosecution history

for the same reason. See RX-0863C (Min RWS) at Q/A 188; JX-0005.0442 (‘305 Patent

File History) (applicant replaced the term “verify” with “generate a determination result

indicating whether” to distinguish prior art reference Grover).

        Third, the accused products do not practice this limitation because (1) the alleged

interfaces do not “generate a determination result,” (2) the alleged interfaces do not

validate information using the “stored data relating to a procedure,” (3) the validation

                                             159

                                         Appx431
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 238 Filed: 12/06/2022

                                        Public Version
checks do not validate “information retrieved using a form on the set of linked web

pages”; and (4) the validation checks do not indicate whether the retrieved information

conforms to “a rule relating to the procedure to manage the operational parameters of the

network entity.” See RX-0863C (Min RWS) at Q/A 191-99 (HPE), 200-02

(NETGEAR), 204-07 (CommScope).
                                                                  Redacted in Public Version
       For HPE, Dr. Madisetti opines that the “                                               ” on the controllers uses “the

information, values, and rules used to validate and/or modify the operational parameter

and generates a determination result indicating whether information retrieved using a

form on the set of linked web pages conforms to a rule relating to a procedure to manage

the at least one operation [sic] parameter or [sic] the network entity,” but only identifies

two validation checks: Redacted in Public Version

See Compl. Br. at 147; CX-3846C (Madisetti WS) at Q/A 558, 559. Complainant’s

argument is incorrect for multiple reasons. See RX-0863C (Min RWS) at Q/A 190.
                                                                                   Redacted in Public V

       First, the two “validation checks” performed by                                                    are no different than the

prior art process of “verify[ing] information” distinguished by the applicants during

prosecution. Id. at Q/A 191. The applicant in fact replaced the term “verify” with

“generate a determination result” to make that distinction even clearer. Id.; JX-

0005.0460 (‘305 Patent File History). What’s more, the applicants expressly

distinguished such policy validations from the “procedure” recited in the independent

claims. Id. at Q/A 192; JX-0005.0502-0517 at 5, 6-7 (‘305 Patent File History). In other

words, the claims require that the interface perform “an analysis to determine if a

procedural step for managing a network entity is possible,” (id.) but Dr. Madisetti does
                           Redacted in Public V

not opine, or show, that                          performs this analysis. See RX-0863C (Min RWS) at

                                                            160

                                                         Appx432
                     Confidential
               Case: 22-1957      Material
                            Document:           Redacted
                                      18 Page: 239 Filed: 12/06/2022

                                                             Public Version
Q/A 191-92.
                               Redacted in Public V

             Second,                                  does not perform the validation checks using the “stored data

relating to a procedure” as claimed. The validation checks do not validate “information

retrieved using a form on the set of linked web pages” as claimed; and the validation

checks do not indicate whether the retrieved information conforms to “a rule relating to

the procedure,” as claimed. See RX-0863C (Min RWS) at Q/A 194. In fact, Dr.

Madisetti does not show that the “channel” and “regulatory country” validation is
                                                                                                    Redacted in Public V

performed on data entered into a form on a web page. Id. Nor does                                                          validate any
                                                                                                                           Redacted in Public V

other parameters identified by Dr. Madisetti. Id. at Q/A 195. For example,                                                                        does
                               Redacted in Public Version
not validate the                                            value using the stored data. Id. (Dr. Min demonstrating that

Redacted in Public Version

                                                                                                              ); CPX-

0008C.3541 (Q3_HPE_CODE_0000001-5775), ln. 1089.

             For NETGEAR and CommScope, complainant does not identify any specific

“determination result” that is generated by the alleged interface (Redacted in Public Version
      Redacted in Public Version
and                                , respectively), let alone show that the alleged interfaces are even capable

of generating a determination result. See Compl. Br. at 169, 159; RX-0863C (Min RWS)

at Q/A 200 (NETGEAR), 204 (CommScope). Nor does complainant identify any

specific data allegedly used by the alleged interfaces Redacted in Public Version

                           to generate a determination result, let alone show that the alleged interfaces

actually use those unidentified values or rules to generate the alleged determination

result. Id. at Q/A 202 (NETGEAR), 207 (CommScope). Dr. Madisetti does not identify



                                                                           161

                                                                       Appx433
                         Confidential
                       Case: 22-1957  Material
                                Document:           Redacted
                                          18 Page: 240 Filed: 12/06/2022

                                         Public Version
any source code that supports this argument. Id. at Q/A 202 (NETGEAR), 207

(CommScope).

                  As with the other limitations, none of the purported ‘evidence’ relied upon by

complainant shows that the accused products practice this limitation. For HPE, Dr.

Madisetti purportedly provides “examples of those forms [] in the WebUI images,” but

none of the WebUI images actually show a form for Redacted in Public Version

                                Complainant’s reliance on the HPE Manual (CX-0104.0032) is

similarly misplaced because, as shown by Dr. Min, those validations do not use the data

stored in the data store. The excerpts from the two verification checks performed by
Redacted in Public Version does not satisfy this limitation for the reasons above.                      See RX-0863C

(Min RWS) at Q/A 197-198. For NETGEAR, Dr. Madisetti relies on screenshots of the

WebUI to satisfy this limitation (CX-3846C.0299-0311), but he never shows that the

alleged parameters in the screenshots are validated by Redacted in Public Version. For

CommScope, Dr. Madisetti never shows that the returned value in CPX-0006C.469

(COMMSCOPE_CODE_0000001-473) is reflected in the interactive environment. Nor
                                                                                               Redacted in Public Version
does he show that the validation in CX-1313C.0297 is performed by


1[7],                    wherein the interface communicates values to the intelligent agent based on
8[7]                     the information retrieved from the form in response to the determination
                         result indicating conformance.

                  Complainant argues that the alleged interface on the accused controller satisfies

this limitation by sending the retrieved information to the alleged intelligent agent. For
                                           Redacted in Public V

HPE, complainant argues that “                                    communicates values to the intelligent agent
Redacted in Public V

(                ),” referring back to Redacted in Public Version                                           . See Compl.


                                                                      162

                                                                  Appx434
                             Confidential
                    Case: 22-1957         Material
                                    Document:           Redacted
                                              18 Page: 241 Filed: 12/06/2022

                                          Public Version
Br. at 148; CX-3846C (Madisetti WS) at Q/A 589, 559. For NETGEAR, complainant

argues that “the Redacted in Public Version, which also includes the validation code and is

part of the interface takes operational parameter values input into the WebUI, validates

them, and then sends them to the intelligent agent Redacted in Public Version) to be sent to

the access point.” See Compl. Br. at 169; CX-3846C (Madisetti WS) at Q/A 641. For

CommScope, complainant argues that “the Redacted in Public Version function, which is part of

the interface, communicates values… to the intelligent agent to be sent to the access point
      Redacted in Public V

via                      .” See Compl. Br. at 160; CX-3846C (Madisetti WS) at Q/A 616. Moreover,

complainant has not shown that the retrieved information is only sent to the alleged

intelligent agent after it is validated. See RX-0863C (Min RWS) at Q/A 209.

                Additionally, complainant’s infringement position contradicts the claim language

and the prosecution history. Claim 1 requires that the interface communicate the values

to the intelligent agent “in response to the determination result indicating conformance,”

which in fact requires that the interface not communicate the values to the agent until

after the determination result indicates conformance. See RX-0863C (Min RWS) at Q/A

210. During prosecution, the applicant narrowed claim 1 by adding Element 1.7 to make

clear that the interface must “verify[] commands prior to sending them to the intelligent

agent.” Id. at Q/A 211; JX-0005.0468-0469 (‘305 Patent File History). The interface

must not communicate values to the intelligent agent until after the determination result

indicates conformance. See RX-0863C (Min RWS) at Q/A 210-11.

                The accused products do not infringe this limitation for multiple reasons. First,

the alleged determination result does not “indicat[e] conformance,” as claimed. Id. at

Q/A 214, 217, 220. For HPE, while Dr. Madisetti relies upon Redacted in Public Version

                                                      163

                                                   Appx435
                        Confidential
                  Case: 22-1957      Material
                               Document:           Redacted
                                         18 Page: 242 Filed: 12/06/2022

                                                                    Public Version
Redacted in Public Version to satisfy this limitation, the applicants expressly distinguished

such policy validations from the “procedure” recited in the independent claims. JX-

0005.0502-0517 (‘305 Patent File History). Put differently, the claims require that the

interface perform “an analysis to determine if a procedural step for managing a network

entity is possible,” (JX-0005.0502-0517), but Dr. Madisetti does not opine, or
                                         Redacted in Public V

demonstrate, that                                               performs this analysis. Id. at Q/A 214. The same is true of
Redacted in Public Version
                             for the CommScope controllers and of Redacted in Public Version for the

NETGEAR controllers. Id. at Q/A 217 (NETGEAR), 220 (CommScope).
                                                                       Redacted in Public V   Redacted in Public Version
                Second, even if HPE’s                                                     ,                                (for the CommScope controllers), and

Redacted in Public Version (for the NETGEAR controllers) do perform “an analysis to

determine if a procedural step for managing a network entity is possible,” complainant

has not shown that the alleged interfaces only communicate values to the alleged

intelligent agent if the alleged determination result indicates conformance. See RX-

0863C (Min RWS) at Q/A 215, 218, 221. For HPE, Dr. Madisetti never opines or,
                         Redacted in Public V                                                                   Redacted in Public V

shows, that                                     communicates the values to                                                         if and only if the verification check
                               Redacted in Public V

performed by                                          indicates conformance to the rule. Id. at Q/A 215. Rather, Dr.
                                                                   Redacted in Public V                                                             Redacted in Public V

Madisetti simply states that “                                                            communicates values to the agent (                                          ) to meet

this limitation,” but as shown above, the prosecution history makes clear that the

interface must “verify[] commands prior to sending them to the intelligent agent.” Id.;

JX-0005.0502-0517 (‘305 Patent File History). The same is true for the alleged

interfaces for the accused NETGEAR and CommScope controllers. See RX-0863C (Min

RWS) at Q/A 218 (NETGEAR), 221 (CommScope).



                                                                                                       164

                                                                                                Appx436
        Case: 22-1957        Document: 18         Page: 243      Filed: 12/06/2022

                              Public Version
        C.     Domestic Industry (Technical Prong)

       For the technical prong of the domestic industry requirement, complainant relies

on apparatus claims 1, 2, 5 and 8 of the ‘305 patent.

       Complainant argues, inter alia:

              Siemens provides networking products under the RuggedCom
       brand, which include the RX1400 switch, the RX1500 switch and router,
       and substantially similar products (the “RuggedCom Products”). The
       evidence has shown that the RuggedCom Products practice claims 1, 2, 5
       and 8 of the ‘305 Patent. See generally CX-3846, Madisetti WS at Q/A
       643-673. Q3’s expert, Vijay Madisetti, analyzed the RuggedCom
       Products, and he found them to meet all the limitations of claims 1, 2, 5
       and 8 of the ‘305 Patent. Id.

               The RX1400 is shown and described in CX-0618C. CX-3846,
       Madisetti WS at Q/A 645 (citing CX-0618C.0010-.0011). The RX1500 is
       shown and described in CX-0613C. CX-3846, Madisetti WS at Q/A 646
       (citing CX-0613C.0010-.0011).

Compl. Br. at 170 ; see id. at 170-77; Compl. Reply Br. 51-53.

       Respondents argue that the alleged domestic industry products do not practice any

asserted claim of the ‘305 patent. See Resps. Br. at 176-83; Resps. Reply Br. 54.

       As discussed below, the evidence shows that complainant has not satisfied the

technical prong of the domestic industry requirement.

       As an initial matter, Dr. Madisetti only maps the frontend code to the ‘305 patent

claims. See RX-0863C (Min RWS) at Q/A 239 (“Although Dr. Madisetti’s witness

statement refers to the source code executed on the RuggedCom Products, Dr. Madisetti

did not rely upon that code to reach the opinions expressed in his expert report because

that backend code wasn’t produced until after Dr. Madisetti served his expert report and I

served my rebuttal report.”). In any event, as discussed below, the backend code




                                            165

                                         Appx437
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 244 Filed: 12/06/2022

                                 Public Version
reviewed by Dr. Min and Mr. Jones shows that the RuggedCom devices do not practice

the ‘305 patent. See RX-1210C (Min SWS) at Q/A 5.

                 1.      “web page generator”

             “wherein the web server provides the interactive environment using the web
             pages generated by a web page generator, the web page generator that
1[5],        generates a set of linked web pages in response to a request to carry out a
8[5]         procedure, wherein each web page of the set of linked web pages being based
             upon data stored in the data store and corresponding to at least one step in the
             procedure to manage the at least one operational parameter of the network
             entity”

        Dr. Min’s analysis of the backend code confirms that the RuggedCom devices do

not practice this limitation because they provide the Redacted in Public Version




          See RX-1210C (Min SWS) at Q/A 11; CPX-0030C (SCL-RC000001 – SCL-

RC000686). Dr. Min’s opinion is consistent with Mr. Jones’ understanding of the
                                                                                          Redacted in Public V

backend code. See RX-1210C (Min SWS) at Q/A 16. Mr. Jones testified that the




                                         See JX-0187C (Jones Dep. Tr.) at 290-291. Mr.

Jones also confirmed during his supplemental deposition that Redacted in Public Version



                                                                                               Id. at

196:4-10. Consistent with Dr. Min’s opinion, Mr. Jones agreed that “before the


                                                 166

                                            Appx438
          Confidential
        Case: 22-1957  Material
                 Document:           Redacted
                           18 Page: 245 Filed: 12/06/2022

                             Public Version
RuggedCom product is even turned on by the user, the Redacted in Public Version



                    Id. at 297.

       RuggedCom devices do not generate web pages in response to a user selecting

any of the nodes from the navigation menu, Redacted in Public Version                       See

RX-1210C (Min SWS) at Q/A 28. Rather, when a user selects a node from the

navigation bar, Redacted in Public Version



                                  Id. This is consistent with Mr. Jones’ witness statement

and testimony, as well as the Siemens Configuration Manuals for the RX1400 and

RX1500, which make clear that wRedacted in Public Version

                                                                                See RX-

1210C (Min SWS) at Q/A 28; RDX-0020C.0153-154 (Paul Min Demonstratives); JX-

0187C (Jones Dep. Tr.) at 313-314.


          Redacted in Public Version


                                                                                     Redacted in Public V

Responsive to the alleged “request to carry out a procedure,” RuggedCom devices

                 . They simply Redacted in Public Version                  See RX-1210C

(Min SWS) at Q/A 19-21; RDX-0020C.0136-141 (Paul Min Demonstratives); JX-0187C

(Jones Dep. Tr.) at 313-314, 311-312, 301.

                                             167

                                          Appx439
            Confidential
        Case: 22-1957    Material
                   Document:           Redacted
                             18 Page: 246 Filed: 12/06/2022

                              Public Version
       A form is not the same as a web page. See RX-1210C (Min SWS) at Q/A 22. A

browser can only render web pages from html files (*.html), not from an html block code

composed as a form element. Id. One html file gets rendered to one web page. Id. One

cannot simply pass a block of html code to the browser and asks the browser to render it

as a web page. Id. If one wants to see a form depicted by a block of html code, he or she

must first insert it into an existing HTML file. Id. In response to an HTTP Get request,

the web server returns a block of html code composed of a form as the response body, not

a standalone html file. Id. To display the form, the browser must have this block of html

code, insert it into an existing html file, and render the modified html file as a whole web

page. Id.

       The block of html code is only composed as a form, which is rendered as part of a

web page (as shown in RDX-0020C.0137 (Paul Min Demonstratives)). A form is not

itself a web page. Id. One can access the web page containing this form using a URL,

but the user cannot access this form through that URL without the .html file. Id. The

only way to see a form in a browser is to use a URL to access the .html file that contains

this form. Id. This explanation, based on Dr. Min’s testimony, is consistent with Mr.

Jones’ understanding of the Redacted in Public Version. Id. at Q/A 23. Mr. Jones testified

during his supplemental deposition that Redacted in Public Version



                                                                       See RDX-

0020C.0140 (Paul Min Demonstratives); JX-0187C (Jones Dep. Tr.) at 313-314.

       Modifying a web page is not the same as generating one. When a user modifies a

web page, one is simply changing the content of a previously generated web page,

                                            168

                                         Appx440
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 247 Filed: 12/06/2022

                             Public Version
whereas when a user generates a web page, one is creating (bringing into existence) an

.HTML file that did not exist prior to the act of generation. See RX-1210C (Min SWS) at

Q/A 24. Modifying an existing web page cannot satisfy this limitation of the ‘305 patent

for at least the following two reasons. The terms “form” and “web page” are separately

claimed because both appear in the ‘305 patent claims. For this reason, a person of

ordinary skill would understand that creating a “form” is not the same as creating a “web

page.” Indeed, the claim language requires using “a form provided on the set of linked

web pages,” which is consistent with the plain and ordinary meaning of the term form,

i.e., a portion of a web page. In fact, the RuggedCom devices (RX1400 and RX1500)

Redacted in Public Version



See id. at Q/A 27.

       Even if modifying an existing web page were the same as generating a web page,
                                                                                  Redacted in Public Vers

the RX1400 and RX1500 products still would not practice this limitation because




                                                     See RX-1210C (Min SWS) at Q/A

28. Both Dr. Min and Mr. Jones (the only experts who opined on the backend code)

confirmed that Redacted in Public Version

                                                                                                .

See RX-1210C (Min SWS) at Q/A 19-25; CX-3847C (Jones WS) at Q/A 145; JX-0187C

(Jones Dep. Tr.) at 313-314, 311-312, 301; RDX-0020C.0146 (Paul Min

Demonstratives).

                                            169

                                       Appx441
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 248 Filed: 12/06/2022

                             Public Version
               2.     “generate a determination result”

            wherein the interface uses the stored data relating to a procedure for
1[6],       managing the at least one operational parameter of the network entity to
8[6]        generate a determination result indicating whether information retrieved using
            a form provided on the set of linked Web pages conforms to a rule relating to
            the procedure to manage the at least one operational parameter of the network
            entity

        Complainant argues that the RuggedCom devices practice this limitation because

Redacted in Public Version

          See Compl. Br. at 175-76. However, Redacted in Public Version

                                                                               (lines 17824-

17832) Redacted in Public Version         (lines 17835-17839) Redacted in Public Version

                                           (CPX-0030C SCL-RC000666 (SCL-

RC000001 – SCL-RC000686)). See RX-1210C (Min SWS) at Q/A 29-32; RDX-
                                                                          Redacted in Public Version
0020C.0156-157 (Paul Min Demonstratives). Rather, as Dr. Min opined,


                                                                                       Redacted in Public Version

                                        See RX-1210C (Min SWS) at Q/A 31.



                             . Id.

        Complainant does not show that Redacted in Public Version                                 . See

RX-1210C (Min SWS) at Q/A 29-32. Mr. Jones states that Redacted in Public Version



         Id. Given its absence in Redacted in Public Version                                                  ),
                                                                                           Redacted in Public Versio

Dr. Min believes that Redacted in Public Version                       Id. Thus,

cannot satisfy this limitation because it Redacted in Public Version

                                           170

                                        Appx442
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 249 Filed: 12/06/2022

                               Public Version
Redacted in Public Version Id. This is consistent with Mr. Jones’ understanding of the

Redacted in Public Version See RX-1210C (Min SWS) at Q/A 32. Mr. Jones testified that


Redacted in Public Version

                                                    JX-0187C (Jones Dep. Tr.) at 339. Mr.

Jones agreed that the Redacted in Public Version


                                                                               Redacted in Public V

                             Id. at 337. Mr. Jones does not dispute that the

                                          Id. at 342.

                3.      “wherein the interface communicates”


1[7],       wherein the interface communicates values to the intelligent agent based on
8[7]        the information retrieved from the form in response to the determination
            result indicating conformance.

        Complainant appears to argue that the alleged interface satisfies this limitation by

Redacted in Public Version

                                       See Compl. Br. at 176 (“this limitation can be met

for example by the transactions written Redacted in Public Version”). Yet, that argument is not

supported by the evidence. See RX-1210C (Min SWS) at Q/A 33.

        Redacted in Public Version

                                                                        Id. As shown on

RDX-0020C.0162 (Paul Min Demonstratives), Redacted in Public Version

                                                                                      Id. Mr.

Jones confirmed that the Redacted in Public Version




                                              171

                                          Appx443
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 250 Filed: 12/06/2022

                             Public Version
and Mr. Jones never identifies any Redacted in Public Version

          See JX-0187C (Jones Dep. Tr.) at 354-356.

       Furthermore, Redacted in Public Version

                                                 See RX-1210C (Min SWS) at Q/A 33.

Indeed, Mr. Jones admitted during his deposition that Redacted in Public Version

                                                 See JX-0187C (Jones Dep. Tr.) at 356-

357, 365-366, 369, 360, 353, 354-356. Inasmuch as Redacted in Public Version

                                                   , the RuggedCom devices cannot

satisfy this limitation. See RX-1210C (Min SWS) at Q/A 33.

       Contrary to complainant’s argument, Redacted in Public Version

                                                         . Id. Complainant appears to

argue that this limitation can be met either by committing values that have been validated

using the commit button and/or writing transactions to the CDB database. See Compl.
                                                                            Redacted in Public Version

Br. at 176 (“the RuggedCom Products meet this limitation [ ] for example,



                                    , as shown in CDX-1C.305.152 (title label) (CDX-

0001C-305.0153, footer label))”). However, both Dr. Min and Mr. Jones confirmed that

Redacted in Public Version

                                      Id.; JX-0187C (Jones Dep. Tr.) at 358-359, 360,

361-362, 143.

       In addition, the functions associated with the Redacted in Public Version



                                                                                                     See

                                           172

                                        Appx444
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 251 Filed: 12/06/2022

                              Public Version
RX-1210C (Min SWS) at Q/A 33. Mr. Jones testified that “Redacted in Public Version

                                                                                   .” See JX-

0187C (Jones Dep. Tr.) at 358-359, 360. The WebUI for the RuggedCom devices

includes a separate and distinct button, the Commit button, only further demonstrates that

a user must manually select the “Commit” button in order to trigger the functions

associated with that button. See RX-1210C (Min SWS) at Q/A 33. This was confirmed

by Mr. Jones. See JX-0187C (Jones Dep. Tr.) at 361-362. Indeed, the product manuals

state that the user must select the “Commit” button from the toolbar to “commit all

pending changes.” See RX-1210C (Min SWS) at Q/A 33. A person of ordinary skill

would understand that the values cannot be automatically committed because the toolbar

also includes an “Exit Transaction” button that allows the user to “exit from the

configuration editing mode” so that “all pending changes will be discarded.” Id. If the

values were automatically committed after validation as complainant suggests, then the

“Exit Transaction” button would also be rendered superfluous. Id.

               4.     RSG900

       The RSG900 does not include the same software components as the RX1400 and
                                                                      Redacted in Public Version
RX1500. See RX-1210C (Min SWS) at Q/A 34-37. This is because



                             Id. at Q/A 35. Indeed, Mr. Jones confirmed that the RSG900

not only Redacted in Public Version

                                              See JX-0187C (Jones Dep. Tr.) at 367, 367.

Mr. Jones also testified that Redacted in Public Version

                                                     Id. at 367-368. Mr. Jones admitted

                                           173

                                        Appx445
            Confidential
        Case: 22-1957    Material
                   Document:           Redacted
                             18 Page: 252 Filed: 12/06/2022

                             Public Version
that RSG900 does not even Redacted in Public Version which complainant argues is the

process for generating a determination result. Id. at 367-368.

       D.      Validity of the ‘305 Patent

       Respondents argue, inter alia:

               Rarely does one find a case with more evidence of prior use than
       this one. Even setting aside HPE’s own prior conception and
       commercialization of the invalidating CNMS product, the record is replete
       with evidence showing that “Web-based network management systems
       were very common by then, and most vendors offered their products for
       Web-based network management.” RX-0864C (Min WS) at Q/A 21
       (citing RX-0267). The earliest filing date to which the ‘305 Patent claims
       priority is November 7, 2000. JX-0002 (‘305 Patent), sec. (30). And yet,
       as Dr. Min recognized, “a prior art book titled Web-Based Network
       Management identifies ‘at least a couple dozen vendors who offer[ed]
       products for Web-based network management’ in the 1990s, including
       Hewlett Packard, IBM, and WIPRO.” Id. (quoting RX-0267); RDX-
       0020C.0004. The ‘305 Patent itself describes several prior art web-based
       management techniques, “whereby Internet pages (also known as web
       pages) are used to obtain and manipulate information concerning the
       operation of the network entity.” Id. (1:40-44).

              Unsurprisingly, claims 1 and 8 of the ‘305 Patent are invalid in
       view of a WIPRO prior art patent (Nair), a Canon prior art patent
       (Carcerano), and HPE’s own prior art software product called Compaq
       Network Management Software (CNMS):

                                  Respondents’                   Q3’s
                                  Constructions              Constructions
                                 and/or Litigation              and/or
                                     Position                 Litigation
                                                               Position
       Nair (§ 103)                      9                        9
       Nair +                            9                        9
       Carcerano (§
       103)
       CNMS (§ 102)                                               9
       CNMS (§ 103)                                               9
       CNMS (§                                                    9
       102(g))



                                             174

                                        Appx446
         Case: 22-1957        Document: 18         Page: 253    Filed: 12/06/2022

                              Public Version
       As shown below, Q3 does not meaningfully dispute the prior art’s
       straightforward disclosures. Nor does Q3 dispute that Nair and CNMS
       disclose the additional limitations of dependent claims 2 and 5 of the ‘305
       Patent, which Q3 has maintained for Domestic Industry even though
       claims 2 and 5 are no longer asserted against Respondents.

Resps. Br. at 136-37; see id. at 137-76; Resps. Reply Br. 43-54.

       Complainant disagrees. See Compl. Br. at 177-86; Compl. Reply Br. 53-57.


                                      *      *       *

       For the reasons set forth below, respondents have not shown by clear and

convincing evidence that the asserted apparatus claims of the ‘305 patent are invalid.

               1.      Nair (RX-0080)

       As discussed below, respondents have not shown by clear and convincing

evidence that U.S. Patent No. 5,987,513 (“Nair”), RX-0080, renders obvious claims 1-3,

5-6, 8-9, and 11-14.

       Respondents have not shown that Nair discloses element [1.1] or [8.1]. In his

expert report, Dr. Min opined that Nair’s “SNMP Back-End 630” discloses the

“intelligent agent,” but in his witness statement he opined that the so-called “SNMP agent

310/370” discloses that element. See Min Tr. 665, 666. Dr. Min testified at the hearing

that he “still maintain[s] my position saying that the SNMP back-end in Nair … can be an

intelligent agent as claimed.” Id. at 668.

       Nair discloses components 310 and 370 as “agents.” See RX-0080 (Nair) at 8:55-

67; 9:37-51; 9:66-10:12. The “SNMP backend 630” is the thing that communicates with

the SNMP agents. It is not an agent itself. See CX-3930C (Martin RWS) at Q/A 71; RX-




                                             175

                                          Appx447
        Case: 22-1957         Document: 18        Page: 254      Filed: 12/06/2022

                              Public Version
0080 (Nair) at 20:5-9; 20:54-64. However, with respect to elements [1.4] and [8.4], Dr.

Min opines that the intelligent agent is the “SNMP Back-End 360.” See Min Tr. 668.

       Respondents have not shown that Nair discloses or renders obvious element [1.3]

or [8.3] which is “a Web server that provides an interactive environment to manage the at

least one operational parameter of the network entity.” Respondents argue that Nair’s

“HTTP front-end 660” discloses the claimed “Web server.” However, Nair explicitly

discloses that it is instead “Cybercore 650” that is a web server. See CX-3930C (Martin

RWS) at Q/A 73. “Cybercore 650 performs many of [the] traditional web server

functions in addition to several functions to provide the features of the present invention.

Thus, cybercore 650 can be implemented by modifying web-server software.” See RX-

0080 (Nair) at 19:36-40, 21:15-16. Further, Nair discloses “cybercore 650” as the “core

module.” See RX-0080 (Nair) at 19:26-27. “The components of computer system (e.g.,

cybercore 650) access the required portion of the software, templates etc. during

execution in a known way depending on where they are stored.” RX-0080 (Nair) at

28:17-20. Nair does not disclose that “HTTP front-end 660” is a web server. See CX-

3930C (Martin RWS) at Q/A 73.

       Further, respondents are incorrect that Nair teaches that the HTTP Front-End 660

is transferring documents and web pages to a browser. See CX-3930C (Martin RWS) at

Q/A 73. Rather, Nair discloses that it is “cybercore 650” that causes data to be

transferred to a browser. See RX-0080 (Nair) at 21:15-16; 19:47-61. “Cybercore 650

interacts with front-end 660, back-end 630, and displays data retrieved dynamically using

the templates.” RX-0080 (Nair) at 19:48-50. Nair discloses that the “cybercore 650” has

HTTP server functionality, but Nair is ambiguous about the functionality of the “HTTP

                                            176

                                         Appx448
           Case: 22-1957        Document: 18        Page: 255      Filed: 12/06/2022

                                Public Version
Front-End 660,” and does not explicitly disclose it as a web server. See CX-3930C

(Martin RWS) at Q/A 73. Indeed, a person of ordinary skill could have concluded that

the front-end is a proxy server, for example. See CX-3930C (Martin RWS) at Q/A 73.

          Respondents also have not shown that Nair discloses or renders obvious element

[1.4] or [8.4] which is “an interface that communicates values of the at least one

operational parameter between the Web server and the intelligent agent in accordance

with the predetermined data structure.” As discussed above, Nair’s “cybercore 650” is

disclosed as a web server. Thus, Dr. Min’s opinions regarding this element that rely upon

“HTTP front-end 660” as the “Web server” are incorrect, as well as his identification of

“cybercore 650” as representing the “interface.” See CX-3930C (Martin RWS) at Q/A

74. As discussed above, Nair’s “SNMP back-end 630” is not disclosed as the “intelligent

agent.”

          Dr. Min is incorrect that Nair discloses that “when the user using the browser

wants to see the operational parameter of a selected network element, the HTTP Front-

End 660 passes two things to the Cybercore 650 at step 1110: (1) the URL of a desired

template, and (2) an identifier for the selected network element.” See RX-0864C (Min

WS) at Q/A 62 (citing to RX-0080 (Nair) at 20:13-20). The paragraph that Dr. Min cites

to does not discuss the HTTP front-end 660, and does not disclose that that element

performs the function that Dr. Min opines it does. See CX-3930C (Martin RWS) at Q/A

75.

          Dr. Min opines, “to the extent that the SNMP Agent is the intelligent agent, it is

my opinion that a person of ordinary skill would understand that the Cybercore 650 and

SNMP Back-End 630 comprise the interface and still communicate with the SNMP

                                              177

                                           Appx449
         Case: 22-1957        Document: 18       Page: 256      Filed: 12/06/2022

                              Public Version
Agent based on the same OID numbers gathered by the interface.” See RX-0864.0017

(Min WS). Dr. Min is incorrect because his analysis of this element solely focuses on the

“SNMP back-end 630,” but not “the Cybercore 650” as the claimed “intelligent agent.”

See CX-3930C (Martin RWS) at Q/A 75. Thus, respondents have not shown that this

element is disclosed in Nair. See CX-3930C (Martin RWS) at Q/A 75.

       Respondents also have not shown that Nair discloses or renders obvious element

[1.5] or [8.5]. Nair does not disclose or render obvious this element under the

constructions proposed by either party for the terms (1) “generated by a Web page

generator” or (2) “set of linked Web pages in response to a request to carry out a

procedure.” See CX-3930C (Martin RWS) at Q/A 76. Dr. Min opines that the “Web

page generator” of this element is disclosed by Nair’s “cybercore 650.” However, as

noted above, Nair explicitly discloses that the “cybercore 650” is a web server. See CX-

3930C (Martin RWS) at Q/A 77; RX-0080 (Nair) at 19:36-40; 19:26-27; 28:17-20. Thus,

the “cybercore 650” cannot disclose the claimed “Web page generator.”

       Respondents have not shown that Nair discloses or renders obvious element [1.6]

or [8.6]. While respondents argue that Nair’s “cybercore 650” discloses the claimed

“interface,” the “cybercore 650” is a server. See CX-3930C (Martin RWS) at Q/A 79-80.

Further, Nair does not disclose that the “cybercore 650” performs all the limitations in

this element. See id. Dr. Min opines that the “determination result” is the “error

message,” but the “cybercore 650” does not generate that error message. See id. Nair

states that “NMS 101 includes a default error page if an error occurs and no onError

clause is specified for a group.” RX-0080 (Nair) at 16:44-46.



                                           178

                                        Appx450
        Case: 22-1957         Document: 18         Page: 257     Filed: 12/06/2022

                              Public Version
       Respondents have not shown that Nair discloses or renders obvious element [1.7]

and [8.7]. As discussed, it is incorrect that Nair’s “cybercore 650” discloses the claimed

“interface,” or that Nair’s “SNMP back-end 630” discloses the claimed “intelligent

agent,” or that Nair’s “error message” discloses the claimed “determination result.” See

CX-3930C (Martin RWS) at Q/A 81. Thus, for at least those reasons, Nair does not

disclose this element. See id.

               2.      Carcerano (RX-0049) in combination with Nair

       As discussed below, respondents have not shown by clear and convincing

evidence that Nair combined with E.P. Pub. No. 0,996,253 (“Carcerano”), RX-0049,

renders obvious claims 1-3, 5-6, 8-9, and 11-14.

       As an initial matter, respondents rely on Carcerano to fill apparent gaps within

Nair for elements [1.5], [1.6], and [1.7]. Thus, to the extent Nair does not disclose the

remaining claim elements, as argued above, then combining it with Carcerano would not

address those deficiencies. See Min Tr. 672; CX-3930C (Martin RWS) at Q/A 86.

Furthermore, respondents have not shown that the proposed combination renders the

claims obvious, because there is not a reasonable expectation of success, the combination

may involve undue experimentation, a person of ordinary skill would not have looked

from Nair to Carcerano, and the combination would involve significant complexity. See

CX-3930C (Martin RWS) at Q/A 85-87. Dr. Min opines that a person of ordinary skill

would have been motivated to combine Carcerano (RX-0049) with Nair, and that

Carcerano discloses “a set of linked Web pages” and a “determination result” for

elements [1.5], [1.6], and [1.7].



                                            179

                                         Appx451
         Case: 22-1957         Document: 18        Page: 258       Filed: 12/06/2022

                               Public Version
       Dr. Min opines that “[a]pplying Carcerano’s teachings to Nair’s Network

Management System, a [POSITA] would have been motivated to implement the ‘Log

on/off button 129’ from Carcerano into the access level rights [sic] the hypertext

documents of Nair in order to allow a user to toggle from end user mode to administrator

mode, (password required), or vice versa (no password required).” See RX-0864C (Min

WS) at Q/A 110. Yet, Dr. Min simplifies the complexity and magnitude of the alleged

combination by adding the “Log on/off button” from Carcerano to the “hypertext

documents of Nair.” See CX-3930C (Martin RWS) at Q/A 86. Dr. Min’s understanding

would not simply add an HTML element to a web page. See CX-3930C (Martin RWS) at

Q/A 86. In order for the “Log on/off button” to have any meaning, an entire account

management system needs to be ported over from Carcerano. See id. That is, “Log

on/off” requires one or more user accounts to be associated with the Log on or Log off

action in order for either of these operations to have any contextual meaning, and a “Log

on” or “Log off” button requires there be at least one account to “Log on” to or “Log off”

of. See id. Dr. Min appears to acknowledge this. He states, “allow a user to toggle from

end user mode to administrator mode, (password required), or vice versa (no password

required).” See RX-0864C.0029 (Min WS).

       Managing user accounts properly is a complex and detailed process. See CX-

3930C (Martin RWS) at Q/A 87. One would, at a minimum, need to add the ability to

securely manage an administrator password including to store, update and change it, as

well as the ability to securely facilitate user session tracking on both a client and server.

See id. User session tracking is the concept of keeping track of clients that are “logged”

into the system at the server side so that privileged information that requires credentials

                                             180

                                          Appx452
         Case: 22-1957        Document: 18         Page: 259      Filed: 12/06/2022

                              Public Version
can be returned to such clients. See id. This can be implemented in a wide variety of

ways, but integrating such a change in Nair is not trivial. See id. One integrating such a

change into Nair would at a minimum need to add components to the system to facilitate

the functions secure username and password storage, for user session tracking (both

client and server-side).

               3.          “CNMS”

       Respondents argue, “&106LVSULRUDUWWRWKH‫ތ‬Patent under pre-AIA 35

U.S.C. § 102(g) because Compaq conceived of and reduced to practice the claimed web-

based management engine in the United States before the ‘305 Patent’s invention date. A

patent is invalid for prior invention under §102(g)(2) if another inventor either reduced

the invention to practice first, or conceived of the invention first and then exercised

reasonable diligence in reducing the invention to practice, provided that the prior inventor

did not abandon, suppress, or conceal the invention.” Resps. Br. at 174-75. Respondents

argue that “CNMS” anticipates or renders obvious asserted claims 1-2, 5 and 8 of the

‘305 patent.

       As discussed below, respondents have not shown by clear and convincing

evidence that alleged prior art product “CNMS” anticipates or renders obvious asserted

claims 1-2, 5 and 8.

       First, respondents have not shown that CNMS is prior art under pre-AIA 35

U.S.C. § 102 (g). Specifically, respondents have not shown that CNMS is a single

reference that was publicly available before the critical date of the ‘305 patent, or that

they did not suppress or conceal the “invention” within CNMS. First, Dr. Min admitted

that he is not opining that a single document regarding CNMS discloses each and every

                                             181

                                         Appx453
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 260 Filed: 12/06/2022

                             Public Version
claim limitation, and that he is not relying solely upon source code as disclosing each and

every claim limitation.18 See Min Tr. 677-678, 679.

       Second, respondents have not shown that the claimed functionality of CNMS was

available to the public. Dr. Min admitted that the source code and other evidence that he

relied upon regarding CNMS was marked “Confidential Business Information” under the

Protective Order, which provides that “confidential business information is information

which has not been made public.” See Min Tr. 679-680; Order No. 1. Dr. Min further

admitted that he had to review non-public source code to verify the functionalities, and

that “CNMS is not a product that was sold.” See Min Tr. 680-681. Dr. Min also

admitted that users could not observe the inner workings of CNMS: “Q. You agree, don’t

you, that users of CNMS could not observe the inner workings of CNMS? A. Users

cannot see the inner working. That is correct. And that’s why I need a high-definition,

high-level source code to verify that.” Min Tr. 683.

       The testimony of fact witnesses Peter Hansen and David Green, upon which

respondents rely, does not show that a particular version of CNMS was publicly available

as of the critical date. See CX-3930C (Martin RWS) at Q/A 91-94. For example, Mr.

Hansen testified that the source code for CNMS was not publicly available, or made

available to customers. See JX-0193C (Hansen Dep. Tr.) at 42, 43. He testified that the

Redacted in Public Version

See JX-0193C (Hansen Dep. Tr.) at 51-53. Moreover, with respect to the CD that Mr.

18
  In relying on numerous versions of two different software offerings, numerous
supporting networking devices (switches, routers, and hubs), numerous user guides, and
other documentation, Dr. Min has not demonstrated that any one software offering or
document embodied or disclosed each and every claim limitation. See CX-3930C
(Martin RWS) at Q/A 88-90.

                                           182

                                        Appx454
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 261 Filed: 12/06/2022

                              Public Version
Hansen provided to Dr. Min, about which Dr. Min says he “primarily relied upon,” Mr.

Hansen testified that he did not remember how the CD was created or what version of

CNMS was the last version he worked on. See JX-0193C (Hansen Dep. Tr.) at 35, 37.

He testified that he did not know whether the contents of the CD corresponded to a

released version of CNMS, or whether any or all of the code on the CD was built and

delivered. See JX-0193C (Hansen Dep. Tr.) at 84-85, 86-89. Like Dr. Min, he testified

that customers would not have been able to observe how CNMS functioned. See JX-

0193C (Hansen Dep. Tr.) at 129, 134.

       Moreover, with respect to the CNMS Source Code CD that Mr. Hansen provided

to Dr. Min, Mr. Hansen’s testimony demonstrates a lack of knowledge about facts such

as the contents of the CD, where they came from, and who had access to them. For

example, Mr. Hansen testified that he did not know whether anyone used the installation

package that was on the CD to install CNMS, and did not remember who created the CD.

See JX-0193C (Hansen Dep. Tr.) at 44-45. He testified that he did not know how the

files that were included on the CD were selected. See JX-0193C (Hansen Dep. Tr.) at 84.

With respect to Redacted in Public Version

             (JX-0057C), Mr. Hansen testified that he did not know Redacted in Public Version

                                                        See JX-0193C (Hansen Dep. Tr.) at

107. Mr. Green testified that he was not familiar with CNMS, and “had nothing to do

with CNMS,” and was not involved in the creation of the CDs he provided to Dr. Min.

See JX-0191C (Green Dep. Tr.) at 51, 64.

       Respondents have not shown that element [1.4] and [8.4] is disclosed by CNMS

or rendered obvious by CNMS. Dr. Min opines that the claimed “operational parameter”

                                            183

                                         Appx455
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 262 Filed: 12/06/2022

                             Public Version
is disclosed by the Redacted in Public Version of a device. See RX-0864C.0038 (Min
                                                                                            Redacted in Public

WS). For element [1.4], Dr. Min does not identify any claimed “values” of

                       that are “communicated” between the “Web server” and the

“intelligent agent.” Rather, Dr. Min opines that some, unidentified “values” are

communicated, or “validated.” Moreover, Dr. Min does not demonstrate that it is the
                                  Redacted in Public Version
“interface,” which he opines is                                that communicates any “values.” See CX-

3930C (Martin RWS) at Q/A 95.

                4.     Secondary Considerations

       As discussed above, objective evidence, also known as “secondary

considerations,” includes commercial success, long felt need, and failure of others.

Graham, 383 U.S. at 13-17 (1966); Dystar, 464 F.3d at 1361. “[E]vidence arising out of

the so-called ‘secondary considerations’ must always when present be considered en

route to a determination of obviousness.” Stratoflex, 713 F.2d at 1538. Nevertheless,

secondary considerations, such as commercial success, will not always dislodge a

determination of obviousness based on analysis of the prior art. See KSR Int’l Co. v.

Teleflex Inc., 550 U.S. at 426 (commercial success did not alter conclusion of

obviousness).

       Yet, the parties, and especially complainant, presented no argument or evidence

concerning secondary considerations. The subject is absent from their posthearing briefs,

and from the Joint Outline. Consequestly, the administrative law judge concludes that

secondary considerations would have no affect on an obviousness determination,

especially if any asserted claim were found to be invalid.



                                                           184

                                                    Appx456
        Case: 22-1957        Document: 18        Page: 263      Filed: 12/06/2022

                             Public Version
       VI.     U.S. Patent No. 7,609,677

       United States Patent No. 7,609,677 (“the ‘677 patent), entitled “Internet protocol

based information transmission in a radio communication system,” issued on October 27,

2009, to named inventors Enric Mitjana, and Maximilian Riegel. JX-0001 (‘677 Patent).

The ‘677 patent issued from Application No. 10/507,850, filed on April 25, 2005. Id.

This application claims priority to European Application No. 020 06 022.4 filed on

March 15, 2002. Id. at 1:8-10. The ‘677 patent relates to “a method for transmitting

information in a communication system with at least two communicating devices.” JX-

0001 (‘677 Patent) at 1:16-18. The ‘677 patent has a total of 16 claims. Complainant

asserts method claims 1-6 of the ‘677 patent.

       As discussed below, the evidence shows that (1) the asserted claims are not

infringed by the accused products; (2) complainant has not satisfied the technical prong

of the domestic industry requirement; and (3) the asserted claims are not invalid.

       Asserted method claims 1-6 of the ‘677 patent read as follows:

               1. A method for transmitting information in a
                   communication system with at least two
                   communicating devices, comprising:
                    linking the at least two communicating devices for
                        transmission of the information at least via a radio
                        communication interface of a radio
                        communication system having base stations
                        interlinked via a base station network, said linking
                        using channels arranged in hierarchical protocol
                        layers;
                    supplying channel-specific information, at least from
                       one channel for a radio link between one of the
                       communicating devices and at least one base
                       station, to a hierarchically higher Internet
                       protocol based channel for an overall link
                       between the at least two communicating devices;

                                           185

                                        Appx457
  Case: 22-1957       Document: 18        Page: 264       Filed: 12/06/2022

                      Public Version                                        ION



                       and
                    initiating at least one of a changeover in respect of
                        at least one multiple access medium and a
                        handover based on the channel-specific
                        information supplied from the channel for the
                        radio link to the hierarchically higher Internet
                        protocol based channel for the overall link.

              2. A method according to claim 1, wherein said supplying
                  sends the channel-specific information to the
                  hierarchically higher Internet protocol based channel
                  via a bit transmission channel to provide specific
                  information about a physical radio link between the one
                  of the communicating devices and the at least one base
                  station.

              3. A method according to claim 2, wherein said supplying
                  supplies the channel-specific information to the
                  hierarchically higher Internet protocol based channel
                  via a data link layer channel to ensure the radio link
                  between the at least one of the communicating devices
                  and the at least one base station.

              4. A method according to claim 2, wherein the channel-
                  specific information relates to parameter information
                  about the radio link between the at least one of the
                  communicating devices and the at least one base
                  station.

              5. A method according to claim 2, wherein the channel-
                  specific information relates to calculations on data
                  relating to the radio link between the at least one of the
                  communicating devices and the at least one base
                  station.

              6. A method according to claim 3, wherein the channel-
                  specific information is control information related to
                  the radio link between the at least one of the
                  communicating devices and the at least one base
                  station.

JX-0001 (‘677 Patent) at 5:50-6:26 (emphasis added).




                                           186

                                 Appx458
        Case: 22-1957        Document: 18         Page: 265     Filed: 12/06/2022

                             Public Version
       A.      Claim Construction

               1.      A Person of Ordinary Skill in the Art

       Respondents argue:

                The relevant time period for the ‘853 Patent is March 2000 based
       on the Foreign Application DE10014522, filed March 23, 2000. JX-
       0003.0003. The relevant time period for the ‘305 Patent is November 7,
       2000 based on the Foreign Application GB0027106.4, filed November 7,
       2000. JX-0002.0003. The relevant time period for the ‘677 Patent is
       March 2002 based on the Foreign Application EP02006022, filed
       November March 15, 2002. JX-0004. As to all three patents, those of
       ordinary skill in the art during the relevant period would have had at least
       an undergraduate degree in Electrical Engineering or Computer Science
       and four or more years of experience in networking, or a Master’s degree
       in Electrical Engineering or Computer Science and two or more years of
       experience in networking. RX-1195C.0005. Q3 proposes that a person of
       ordinary skill in the art “would have had an undergraduate degree in
       electrical or computer engineering (or a related field) and approximately
       two years of work experience in the field of networking.” CX-
       3930C.0005-6 at Q/A 10. Under either proposed level of ordinary in the
       art for the Asserted Patents, the arguments and conclusions are the same.

Resps. Br. at 14.

       Complainant does not provide a definition of a person of ordinary skill in the art

in its brief. See Joint Outline at 1 (citing Compl. Br. at 27, 121). The cited pages merely

discuss claim construction and validity issues. See Compl. Br. at 27, 121. However, as

noted above in respondents’ argument, “Q3 proposes that a person of ordinary skill in the

art ‘would have had an undergraduate degree in electrical or computer engineering (or a

related field) and approximately two years of work experience in the field of

networking’.” See Resps. Br. at 14 (citing CX-3930C (Martin RWS) at Q/A 10).

       As seen above, the parties mostly agree on this issue. As proposed by the parties,

the undersigned agrees that some combination of education and experience is the

appropriate level of ordinary skill. The administrative law judge finds that a person of

                                            187

                                        Appx459
        Case: 22-1957         Document: 18        Page: 266      Filed: 12/06/2022

                              Public Version
ordinary skill in the art with respect to the ‘677 patent is a person would have had at least

an undergraduate degree in Electrical Engineering or Computer Science (or a related

field) and two to four years of experience in networking, or a Master’s degree in

Electrical Engineering or Computer Science (or a related field) and two or more years of

experience in networking.

               2.      Agreed Claim Terms

       The parties agree on the construction of the following claim terms.

              Claim Term                          Agreed Proposed Construction


“changeover [in respect of at least one    “a change from one multiple access medium
multiple access medium]” (claim 1)         to another”



                                           “a switch from communicating with one base
“handover” (claim 1)                       station to communicating with a different
                                           base station”


See Compl. Br. at 56-57; Resps. Claim Constr. Br. at 33.

       The administrative law judge has determined to adopt the parties’ proposed

construction for the claim terms “changeover [in respect of at least one multiple access

medium]” and “handover.”




                                            188

                                          Appx460
        Case: 22-1957        Document: 18        Page: 267      Filed: 12/06/2022

                             Public Version
               3.     “supplying channel-specific information”

       Below is a chart showing the parties’ proposed claim constructions.

                                Complainant’s Proposed          Respondents’ Proposed
        Claim Term
                                    Construction                    Construction

                              plain and ordinary meaning
                            or                                “transmitting information
“supplying channel-specific
                            “supplying any suitable           about the physical radio
information” (claim 1)
                            information about the             link”
                            channel”

See Compl. Br. at 23-25; Resps. Claim Constr. Br. at 39-43.

       For the reasons discussed below, the administrative law judge has determined that

the claim term “supplying channel-specific information” should be construed to mean

“transmitting information about the physical radio link.”

       The ‘677 patent specification confirms that supplying channel-specific

information requires transmitting information about a physical radio link between a

communicating device and a base station, as proposed by respondents. Annotated Figure

1, below, shows a communicating device 10 (e.g., a mobile device) (yellow)

communicating with a base station 12 (pink) over a physical radio link (green).




                                           189

                                        Appx461
        Case: 22-1957        Document: 18         Page: 268     Filed: 12/06/2022

                             Public Version




Both the surrounding claim language and specification confirm that the “channel” in the

term “channel-specific information” is the physical radio link between the

communicating device and base station. Id. at 3:18-19 (“information is supplied at least

from one channel on a channel-specific basis…”), 3:65-67 (referring to a “bit

transmission channel”), cl. 1 (“supplying channel-specific information, at least from one

channel for a radio link....”). As a simple matter of logic and grammar, this physical

radio link information is information about the physical radio link.

       The ‘677 patent’s Summary of the Invention section explains that the “channel-

specific” information concerns the radio link: “[a]ccording to the invention, for the radio

link between a communicating device and at least one base station, information is

supplied at least from one channel on a channel-specific basis ….” JX-0001 (‘677

Patent) at 3:17-22. Accordingly, every embodiment of “channel-specific information” in



                                            190

                                        Appx462
        Case: 22-1957         Document: 18        Page: 269      Filed: 12/06/2022

                              Public Version
the ‘677 patent describes information about a channel of the physical radio link between

communicating device 10 and base station 12. See, e.g., JX-0001 (‘677 Patent) at 3:63-

4:2 (“specific information about the physical radio link between a communicating device

10 and at least one base station 12 is supplied from a bit transmission channel”); id. at

4:3-7 (“channel-specific information to be supplied to the hierarchically higher Internet

protocol based channel from a data link layer channel for ensuring the radio link between

a communicating device 10 and at least one base station 12.”); and id. at 4:15-17

(“parameter information in respect of the radio link between communicating device 10

and base station can 12 be communicated to higher layers”).

       The prosecution history confirms that supplying channel-specific information

requires transmitting information about a physical radio link between a communicating

device and a base station. During prosecution, the applicant distinguished its purported

invention from a prior art reference, Lopponen, on the basis that Lopponen does not

disclose exchanging information about the “physical channel conditions” to the transport

layer, Layer 4. See Applicant’s Response to Rejection 2007-10-26, at 8 (“Thus, any data

exchanged on the overall link using the internet protocol is unaware of the physical

channel conditions. There is no apparent change in this process disclosed, suggested, or

even contemplated in the disclosure of Lopponen.”). Complainant cannot now recapture

an alternative specific meaning disclaimed during prosecution.

       During prosecution, applicant distinguished its purported invention from a

combination of prior art references, Lopponen in view of U.S. Patent Application No.

2005/0009528 (“Iwamura”). In response to a rejection, applicant argued that “Iwamura,

as in Lopponen, there is no disclosure, suggestion, nor even contemplation that such

                                            191

                                         Appx463
        Case: 22-1957         Document: 18         Page: 270     Filed: 12/06/2022

                              Public Version
channel-specific information present at the physical layer (modulation is effected at the

physical layer) is supplied to an Internet protocol based layer. Even a combination of the

two references do not suggest the supply of radio link channel related information to an

Internet protocol based channel.” See Resps. Claim Constr. Br. Ex. 23, June 30, 2008

Applicant’s Response to Rejection at 9. 19

       In sum, respondents’ construction requiring “supplying channel-specific

information” to mean transmitting information about a physical radio link is confirmed

by both the ‘677 patent specification and file history.

       Complainant’s proposed construction of “channel-specific information” is derived

from a single sentence in the specification stating that the supplied information “can

basically encompass and contain all suitable information.” JX-0001 (‘677 Patent) at

4:13-14. However, the term “all suitable information” is vague and the specification

provides little guidance to one of skill in the art as to what would render any particular

channel information suitable or not suitable.

       Complainant does not dispute that channel-specific information includes

“information about the physical radio link,” as required by respondents’ proposed

construction. Rather, complainant’s primary argument is that respondents are seeking to

read a limitation from the specification into the meaning of “channel-specific

information.” See Compl. Br. at 14-15.

       Yet, it is clear from the claim language that the ‘677 patent requires “supplying

channel-specific information, at least from one channel for a radio link between one of


19
  The ‘677 patent prosecution history is also found in JX-0004 (‘677 Patent File
History).

                                             192

                                         Appx464
        Case: 22-1957           Document: 18      Page: 271      Filed: 12/06/2022

                                Public Version
the communicating devices and at least one base station.” JX-0001 (‘677 Patent) at claim

1. Inasmuch as the claim language describes from where the channel-specific

information derives (i.e., at least from one channel for a radio link), one can understand

what channel-specific is, i.e., information about the physical radio link. The prosecution

history further confirms that supplying channel-specific information requires transmitting

information about a physical radio link between a communicating device and a base

station. See Resps. Claim Constr. Br. Ex. 23, June 30, 2008 Applicant’s Response to

Rejection at 9 (“Even a combination of the two references do not suggest the supply of

radio link channel related information to an Internet protocol based channel.”); Resps.

Claim Constr. Br. Ex. 18, October 26, 2007 Applicant’s Response to Rejection at 8

(“Thus, any data exchanged on the overall link using the internet protocol is unaware of

the physical channel conditions.”). Complainant cannot now recapture an alternative

specific meaning disclaimed during prosecution. See Omega Eng’g, Inc. v. Raytek Corp.,

334 F.3d 1314, 1323 (Fed. Cir. 2003); Gillespie v. Dywidag Sys. Int’l, USA, 501 F.3d

1285, 1291 (Fed. Cir. 2007) (“The patentee is held to what he declares during the

prosecution of his patent.”).

       Complainant argues that respondents’ proposed construction of “channel-specific

information” is improper because it excludes an embodiment that supposedly describes

transmitting information about a layer 2 channel. Compl. Br. at 24-25 (“channel-specific

information to be supplied…from a data link layer channel”) (emphasis in original).

This is not correct. Every embodiment in the ‘677 patent specification discusses

“channel-specific information” in the context of a physical radio link.

       The embodiment cited by complainant describes how the channel-specific

                                            193

                                         Appx465
         Case: 22-1957        Document: 18        Page: 272      Filed: 12/06/2022

                              Public Version
information is sent to the higher channel, not what that information comprises.

Specifically, the embodiment refers to sending the “channel-specific information … to

the hierarchically higher Internet protocol based channel from a data link layer [layer 2]

channel.” See JX-0001 (‘677 Patent) at 4:3-12. That the channel-specific information is

supplied from a data link layer channel to the higher channel does not mean the

information itself must be about the data link layer channel. Indeed, the ‘677 patent

explains that one can supply channel-specific information “via a data link layer channel”

so as to “ensure the radio link between the at least one of the communicating devices and

the at least one base station.” JX-0001 (‘677 Patent) at claim 3. Thus, respondents’

proposed construction is consistent with the specification.

       Complainant argues that term “supplying” requires no additional construction.

However, complainant does not dispute that the meaning of the term “supplying” is

“transmitting.” Id. at 15-16. Nor does it dispute that transmitting is consistent with the

specification of the ‘677 patent, which makes clear that channel-specific information is

“transmitted to higher layers.” See JX-0001 (‘677 Patent) at 3:63-4:2, 4:3-12; Compl. Br.

at 15. Claim 1 itself states that “channel-specific information [was] supplied from the

channel for the radio link,” meaning it is transmitted over the radio link.




                                            194

                                         Appx466
         Case: 22-1957         Document: 18         Page: 273       Filed: 12/06/2022

                               Public Version
                4.      “hierarchically higher Internet protocol based channel
                        for an overall link between the at least two
                        communicating devices”

        Below is a chart showing the parties’ proposed claim constructions.

                                  Complainant’s Proposed            Respondents’ Proposed
        Claim Term
                                      Construction                      Construction

“[supplying channel-specific “[supplying channel-specific
                                                                  “[supplying channel-specific
information, at least from       information, at least from
                                                                  information, at least from
one channel for a radio link one channel for a radio link
                                                                  one channel for a radio link
between one of the               between one of the
                                                                  between one of the
communicating devices and communicating devices and
                                                                  communicating devices and
at least one base station, to a] at least one base station, to a]
                                                                  at least one base station, to a]
hierarchically higher Internet Layer 4 or higher layer of the
                                                                  ISO/OSI layer 3 or above
protocol based channel for       hierarchical protocol layers
                                                                  based channel for an overall
an overall link between the at for an overall link between
                                                                  link between the at least two
least two communicating          the at least two
                                                                  communicating devices”
devices” (claim 1)               communicating devices”

See Compl. Br. at 25-31; Resps. Claim Constr. Br. at 33-39; Resps. Reply Br. at 55-57.

        Complainant argues, inter alia:

                The first dispute for this term is whether the “hierarchically higher
        Internet protocol based channel” is Layer 3 as set forth in Complainant’s
        construction or Layer 4 as set forth in Respondents’ construction.
        Respondents proposed adopting Complainant’s construction for the
        purpose of narrowing the issues. Complainant responded by proposing to
        adopt Respondent’s construction because it would further narrow the
        issues by eliminating the Matta reference. The parties agreed to swap
        positions and briefing on this term, where Complainant now seeks
        Respondent’s construction and vice-versa as reflected in the table above.

Compl. Br. at 25-26.

        Respondents argue, inter alia:

        The procedural history of this term’s proposed construction is worth
        noting. On June 30, 2021, Respondents attempted to narrow the disputes
        in the case by adopting Q3’s (broader) proposed construction, which
        included at least Layers 3 and 4 as hierarchically higher Internet protocol
        based channels. Two weeks later, Q3 decided to be opportunistic and

                                              195

                                           Appx467
        Case: 22-1957        Document: 18         Page: 274     Filed: 12/06/2022

                             Public Version
       changed its position to adopt Respondents’ prior proposed construction,
       which had already been abandoned. Now, according to Q3, Layer 3 is not
       a hierarchically higher Internet protocol based channel, as that term is used
       in the ‘677 Patent.

Resps. Br. at 56 n.16.

       As discussed below, the administrative law judge has determined that the claim

term “hierarchically higher Internet protocol based channel for an overall link between

the at least two communicating devices” should be construed to mean “ISO/OSI layer 3

or above based channel for an overall link between the at least two communicating

devices.”

       There is no dispute that this term would ordinarily include Layer 3, nor does

complainant deny that Internet protocol based networking protocols in the OSI stack start

at Layer 3. Indeed, Dr. Lin confirmed that layer 3 is the network layer, and layer 4 is the

transport layer during the hearing. Lin Tr. 603-604.

       The ‘677 patent specification states that “the information to be forwarded to

hierarchically higher channels or layers being primarily Layer 1 and/or Layer 2

information as defined in the ISO/OSI model.” See JX-0001 (‘677 Patent) at 3:30-32;

3:63-4:2 (describing Layer 1 information being supplied to higher layers); 4:3-12

(describing Layer 2 information being supplied to higher layers). Therefore, a person of

ordinary skill would understand that the hierarchically higher layers begin at Layer 3.

       This construction of the term “hierarchically higher Internet protocol based

channel” is consistent with the OSI model, as illustrated in complainant’s own

demonstratives. On CDX-0001C-677.0044 reproduced below, the two layers that start at

Layer 3 (“Network”) and Layer 4 (“Transport”) show the typical IP based protocol


                                            196

                                        Appx468
         Case: 22-1957        Document: 18         Page: 275      Filed: 12/06/2022

                               Public Version
functions. For Layer 3, it contains the “path determination and logical addressing”

(which is required for IP protocols) and includes “IP, ARP, IPsec, ICMP, IGMP, OSPF”

protocols supported at this layer. 20 For Layer 4, also part of the IP protocol, is described

as “end-to-end connections and reliability,” and includes “TCP, UDP, SCTP, SSL, TLS”

protocols being supported. Thus, at least Layers 3 and 4 are the Internet Protocol based

layers that meet the hierarchically higher Internet protocol based channel requirement of

the claims. See Lin Tr. 603-604.




       Narrowing this term would narrow the breadth of the invention, and would

impermissibly limit the invention based upon a misreading of one disclosed embodiment.

Further narrowing of this claim is not warranted. To “limit the claims to the disclosed

embodiments without a clear disclaimer in the intrinsic record that limits the invention to

these embodiments.” Nautilus Group, Inc. v. Icon Health & Fitness, Inc., 82 F. App’x

691, 694 (Fed. Cir. 2003). Thus, the claims should not be narrowed to exclude Layer 3.




20
  There is no dispute that “IP protocol” is Layer 3. See CX-3846C (Madisetti WS) at
Q/A 415 (“Examples of protocol layers are AppleTalk, or IP protocol, which are layer
3.”).

                                             197

                                         Appx469
        Case: 22-1957           Document: 18       Page: 276       Filed: 12/06/2022

                                Public Version
               5.      “initiating at least one of a changeover [in respect of at
                       least one multiple access medium] and a handover”

       Below is a chart showing the parties’ proposed claim constructions.

                                  Complainant’s Proposed           Respondents’ Proposed
        Claim Term
                                      Construction                     Construction

                                                                 “initiating at least one of (i) a
                                                                 change from one multiple
“initiating at least one of a
                                                                 access medium to another
changeover [in respect of at    “causing, or facilitating, the
                                                                 and (ii) a switch from
least one multiple access       beginning of at least a
                                                                 communicating with one
medium] and a handover”         changeover or a handover”
                                                                 base station to
(claim 1)
                                                                 communicating with a
                                                                 different base station”

See Compl. Br. at 31-32; Resps. Claim Constr. Br. at 43-46.

       For the reasons discussed below, the administrative law judge has determined that

the claim term “initiating at least one of a changeover [in respect of at least one multiple

access medium] and a handover” should be construed to mean “initiating at least one of

(i) a change from one multiple access medium to another and (ii) a switch from

communicating with one base station to communicating with a different base station.”

       The main dispute regarding the phrase “initiating at least one of a changeover [in

respect of at least one multiple access medium] and a handover” is over the meaning of

“initiating.” As noted above, the parties agree on the meaning of “changeover [in respect

of at least one multiple access medium]” (i.e., a change from one multiple access medium

to another) and “handover” (i.e., a switch from communicating with one base station to

communicating with a different base station.). These agreed definitions are reflected in

respondents’ proposed construction.




                                             198

                                          Appx470
         Case: 22-1957        Document: 18        Page: 277      Filed: 12/06/2022

                              Public Version
       The broader language of claim 1 recites: “initiating at least one of a changeover in

respect of at least one multiple access medium and a handover based on the channel-

specific information supplied from the channel for the radio link to the hierarchically

higher Internet protocol based channel for the overall link.” In accordance with the

parties’ agreed construction of “changeover” and “handover,” this step requires that at

least one of a “change” and a “switch” is initiated based on the channel-specific

information supplied from the channel for the radio link to the hierarchically higher

Internet protocol based channel for the overall link.

       Indeed, each of the specification’s descriptions of the “initiating” step describes a

clear and direct link between the channel-specific information and the occurrence of

handover/changeover. See JX-00014 (‘677 Patent) at 4:65-67 (“[O]n the basis of the

transmitted information, the frequency, time slot and/or code used can be changed.”),

5:29-31 (“If … a radio link is deteriorating, the mobile station can initiate an IP address

change before the link breaks up completely.”), 5:35-37.

       Complainant’s proposed construction replaces the word “initiating” with a

dictionary definition of “initiating” that lacks support in the intrinsic record. One should

not start with the extrinsic evidence and work backwards in construing a claim. See

Phillips, 415 F.3d at 1321 (Fed. Cir. 2005) (“The risk of systematic overbreadth is greatly

reduced if the court instead focuses at the outset on how the patentee used the claim term

in the claims, specification, and prosecution history, rather than starting with a broad

definition and whittling it down). The fact that the words “causing” and “facilitating”

appear in a dictionary definition of “initiating” should not supersede the teachings of the

intrinsic record, which never mention “causing, or facilitating, the beginning of” in

                                            199

                                         Appx471
         Case: 22-1957        Document: 18         Page: 278      Filed: 12/06/2022

                               Public Version
connection with the disclosed changeover or handover. See Phillips, 415 F.3d at 1321-22

(cautioning that “[d]ictionaries, by their nature, provide an expansive array of definitions

… from the common to the obscure. By design, general dictionaries collect the

definitions of a term as used not only in a particular art field, but in many different

settings … Thus, the use of the dictionary may extend patent protection beyond what

should properly be afforded by the inventor’s patent.”). Each of the specification’s

descriptions of the “initiating” step describe a clear and direct link between the channel-

specific information and the actual changeover or handover. See, e.g., JX-0001 (‘677

Patent) at 4:65-67 (“[O]n the basis of the transmitted information, the frequency, time

slot and/or code used can be changed.”), 5:29-31 (“If, for example, a radio link is

deteriorating, the mobile station can initiate an IP address change before the link breaks

up completely.”), 5:35-37 (similar). Complainant’s proposed construction, particularly

inclusion of the verb “facilitate,” 21 would deny the claimed linkage between the channel-

specific information and the initiation of a changeover or handover to include unclaimed

steps that simply precede the changeover or handover.

       Even if dictionary definitions were helpful in interpreting “initiating,”

complainant’s dictionaries are inconsistent with the general meaning of the term as

confirmed by various other dictionaries at the relevant time period. See, e.g., Resps.

Claim Constr. Br. Ex. 24, Collins English Dictionary (Fourth Edition 1998) at 792

(initiate: “to begin or originate”); Resps. Claim Constr. Br. Ex. 25, Random House




21
  Complainant’s cited definition from the New Oxford American Dictionary does not
include this verb.

                                             200

                                          Appx472
        Case: 22-1957         Document: 18        Page: 279    Filed: 12/06/2022

                              Public Version
Webster’s College Dictionary (2000) at 680 (initiate: “to begin, set going, or

originate”). 22

        B.        Infringement Analysis of the ‘677 Patent

        As discussed above, complainant asserts method claims 1-6 of the ‘677 patent.

        Complainant argues that HPE, CommScope and NETGEAR accused products

directly infringe the asserted method claims 1-6 of the ‘677 patent, and that HPE,

CommScope and NETGEAR induce infringement. See Compl. Br. at 32-100; Compl.

Reply Br. at 2-6, 6-31. Respondents disagree. See Resps. Br. at 185-187, 187-231;

Resps. Reply Br. 63-83.

                  1.    Accused Products

        Complainant argues:

               The HPE products that infringe the ‘677 Patent include HPE’s:
        AP-303, AP-303P, AP-304, AP-305, AP-314, AP-315, AP-320, AP-324,
        AP-325, AP-334, AP-335, AP-344, AP-345, AP-504, AP-505, AP-514,
        AP-515, AP-534, AP-535,AP-555, AP-318, AP-518, AP-203H, AP-303H,
        AP-505H, AP-365, AP-367, AP-374,AP-375, AP-377, AP-387, AP-565,
        AP-567, AP-574, AP-575, AP-577, AP-203R, AP-203RP, AP-303HR,
        and any substantially similar models; and the 7200 series (e.g., 7205,
        7210, 7220, 7280, 7240XM), 7000 series (e.g., 7005, 7008,7010, 7024,
        7030), and 9000 series (e.g., 9004 and 9000) and any substantially similar
        models.

              The CommScope products that infringe the ‘677 Patent include
        CommScope’s: C110; E510; H320; H510; M510; R310; R320; R510;
        R550; R610; R650; R710; R720; R730; R750; R850; T305; T310c;
        T310d; T310n; T310s; T300e; T610; T610s; T710; T710s; T750; T811;
        7781-CM; P300 and any substantially similar models.

             The NETGEAR products that infringe the ‘677 Patent include
        NETGEAR’s: EX6100; WAC510; RBR750; RBS750; BR500-100NAS;
        EAX20-100NAS; EAX80-100NAS; EX6100-100NAS; EX6150-100NAS;

22
  Complainant’s cited Merriam-Webster’s Collegiate Dictionary also defines “initiate”
as “set going,” but complainant appears to ignore this portion of its dictionary.

                                            201

                                       Appx473
    Case: 22-1957    Document: 18    Page: 280   Filed: 12/06/2022

                     Public Version                            N



       EX6250-100NAS; EX6400-100NAS;EX7000-100NAS; EX7300-
       100NAS; EX7500-100NAS; EX8000-100NAS; LBR20-100NAS; MK62-
       100CNS; MK63-100CNS; MS60-100NAS; R6220-100NAS; R6230-
       100NAS; R6260-100NAS; R6350-100NAS; R6400-100NAS; R6700-
       100NAS; R6850-100NAS; R6900-200NAS; R7000-100CNS; R7200-
       100CNS; R7350-100NAS; R7400-100NAS; R7450-100NAS; R7800-
       100NAS; R7850-100NAS; R7900P-100NAS;R7960P-100NAS; R8000-
       100NAS; R9000-100NAS; RAX120-100NAS; RAX200-100CNS;
       RAX20-100NAS; RAX35-100NAS; RAX38-100NAS; RAX40-
       100NAS;RAX45-100NAS; RAX50-100NAS; RAX75-100NAS; RAX80-
       100NAS; RBK12-100NAS; RBK13-100NAS; RBK14-100NAS;
       RBK20W-100NAS; RBK22-100MXS;RBK23-100NAS; RBK43S-
       100NAS; RBK44-100NAS; RBK50-100NAS; RBK53S-100NAS;
       RBK752-100NAS; RBK753-100NAS; RBK842-1CCNAS; RBK852-
       100NAS; RBK853-100NAS; RBR20-100NAS; RBS10-100NAS; RBS20-
       100NAS;RBS50-100NAS; RBS750-100NAS; RBS850-100NAS;
       RBW30-100NAS; SRC60-100NAS; SRK60-100NAS; SRR60-100NAS;
       WAC104-100NAS; WAC124-100NAS;WAC510-100NAS; WAC540-
       100NAS; WAC564-100NAS; WAC720-100NAS;WAC730-100NAS;
       XR300-100NAS; XR500-100NAS; XRM570-100NAS; EAX11-100NAS;
       EAX12-100NAS; EAX14-100NAS; EAX15-100NAS; EAX18-
       100NAS;EX2700-100PAS; EX2800-1AZNAS; EX3110-100NAS;
       EX3700-100NAS; EX5000-1AZNAS; EX6110-100NAS; EX6120-
       100NAS; EX7700-100NAS; R6020-100NAS;R6080-100NAS; R6120-
       100NAS; R6330-1AZNAS; R6700AX-1AZNAS; R7000P-100AUS;
       R8000P-1AZNAS; RAX10-100NAS; RAX30-100NAS; RAX42-
       100NAS;RAX43-100NAS; RAX48-100NAS; RAX70-100NAS; RAX78-
       100NAS; RAXE500-100NAS; RBK53-100NAS; RBK962-100NAS;
       RBK963-100NAS; RBS960-100NAS; SRK60B03-100NAS; SRK60B04-
       100NAS; SRK60B05-100NAS; SRK60B06-100NAS; SRS60-100NAS;
       SXK30-100NAS; SXK30B3-100NAS; SXK30B4-100NAS;SXK80-
       100NAS; SXK80B3-100NAS; SXK80B4-100NAS; SXR30-100NAS;
       SXS30-100NAS; SXS80-100NAS; WAC510B03-100NAS; WAC510PA-
       100NAS;WAC540PA-100NAS; WAX202-100NAS; WAX204-100NAS;
       WAX206-100NAS; WAX214-100NAS; WAX214PA-100NAS;
       WAX218-100NAS; WAX218PA-100NAS;WAX610-100NAS;
       WAX610PA-100NAS; WAX610Y-100NAS; WAX620-
       100NAS;WAX620PA-100NAS; WAX630-100NAS; WAX630PA-
       100NAS; XR1000-100CNS and any substantially similar models.

Compl. Br. at 7-9.




                                    202

                             Appx474
Case: 22-1957      Document: 18      Page: 281      Filed: 12/06/2022

                   Public Version                                  N



  Respondents argue:

                                   HPE

  ….Q3 alleges that the Aruba APs and controllers (7205, 7210, 7220, 7280,
  7240XM, 7005, 7008, 7010, 7024, 7030, 9004, and 9000) infringe the
  ‫ތ‬DQG‫ތ‬3DWHQWVId. at Q/As 291, 542.

                                NETGEAR

  ….Q3 alleges that the NETGEAR products that provide Wi-Fi
  connectivity (EX6100; WAC510; RBR750; RBS750; BR500-100NAS;
  EAX20-100NAS; EAX80-100NAS; EX6100-100NAS; EX6150-100NAS;
  EX6250-100NAS; EX6400-100NAS; EX7000-100NAS; EX7300-
  100NAS; EX7500-100NAS; EX8000-100NAS; LBR20-100NAS; MK62-
  100CNS; MK63-100CNS; MS60-100NAS; R6220-100NAS; R6230-
  100NAS; R6260-100NAS; R6350-100NAS; R6400-100NAS; R6700-
  100NAS; R6850-100NAS; R6900-200NAS; R7000-100CNS; R7200-
  100CNS; R7350-100NAS; R7400-100NAS; R7450-100NAS; R7800-
  100NAS; R7850-100NAS; R7900P-100NAS; R7960P-100NAS; R8000-
  100NAS; R9000-100NAS; RAX120-100NAS; RAX200-100CNS;
  RAX20-100NAS; RAX35-100NAS; RAX38-100NAS; RAX40-100NAS;
  RAX45-100NAS; RAX50-100NAS; RAX75-100NAS; RAX80-100NAS;
  RBK12-100NAS; RBK13-100NAS; RBK14-100NAS; RBK20W-
  100NAS; RBK22-100MXS; RBK23-100NAS; RBK43S-100NAS;
  RBK44-100NAS; RBK50-100NAS; RBK53S-100NAS; RBK752-
  100NAS; RBK753-100NAS; RBK842-1CCNAS; RBK852-100NAS;
  RBK853-100NAS; RBR20-100NAS; RBS10-100NAS; RBS20-100NAS;
  RBS50-100NAS; RBS750-100NAS; RBS850-100NAS; RBW30-
  100NAS; SRC60-100NAS; SRK60-100NAS; SRR60-100NAS;
  WAC104-100NAS; WAC124-100NAS; WAC510-100NAS; WAC540-
  100NAS; WAC564-100NAS; WAC720-100NAS; WAC730-100NAS;
  XR300-100NAS; XR500-100NAS; XRM570-100NAS; EAX11-100NAS;
  EAX12-100NAS; EAX14-100NAS; EAX15-100NAS; EAX18-100NAS;
  EX2700-100PAS; EX2800-1AZNAS; EX3110-100NAS; EX3700-
  100NAS; EX5000-1AZNAS; EX6110-100NAS; EX6120-100NAS;
  EX7700-100NAS; R6020-100NAS; R6080-100NAS; R6120-100NAS;
  R6330-1AZNAS; R6700AX-1AZNAS; R7000P-100AUS; R8000P-
  1AZNAS; RAX10-100NAS; RAX30-100NAS; RAX42-100NAS;
  RAX43-100NAS; RAX48-100NAS; RAX70-100NAS; RAX78-100NAS;
  RAXE500-100NAS; RBK53-100NAS; RBK962-100NAS; RBK963-
  100NAS; RBS960-100NAS; SRK60B03-100NAS; SRK60B04-100NAS;
  SRK60B05-100NAS; SRK60B06-100NAS; SRS60-100NAS; SXK30-
  100NAS; SXK30B3-100NAS; SXK30B4-100NAS; SXK80-100NAS;
  SXK80B3-100NAS; SXK80B4-100NAS; SXR30-100NAS; SXS30-

                                    203

                             Appx475
        Case: 22-1957       Document: 18        Page: 282     Filed: 12/06/2022

                            Public Version
       100NAS; SXS80-100NAS; WAC510B03-100NAS; WAC510PA-
       100NAS; WAC540PA-100NAS; WAX202-100NAS; WAX204-100NAS;
       WAX206-100NAS; WAX214-100NAS; WAX214PA-100NAS;
       WAX218-100NAS; WAX218PA-100NAS; WAX610-100NAS;
       WAX610PA-100NAS; WAX610Y-100NAS; WAX620-100NAS;
       WAX620PA-100NAS; WAX630-100NAS; WAX630PA-100NAS;
       XR1000-&16 LQIULQJHWKH‫ތ‬3DWHQWId. at Q/A 429….

                                   COMMSCOPE

       «4DOOHJHVWKH5XFNXV$3VLQIULQJHWKH‫ތ‬3DWHQWId. at Q/A 391….

Resps. Br. at Appendix A.

       Thus, the parties’ arguments show that for the ‘677 patent, (1) HPE accused

products are Aruba APs 23 and controllers (7205, 7210, 7220, 7280, 7240XM, 7005, 7008,

7010, 7024, 7030, 9004, and 9000); (2) NETGEAR accused products are NETGEAR

products that provide Wi-Fi connectivity; 24 and (3) CommScope accused products are


23
  AP11, AP11D, AP12, AP15 AP17, AP22, AP-303, AP-303P, AP-304, AP-305, AP-
314, AP-315, AP-320, AP-324, AP-325, AP-334, AP-335, AP-344, AP-345, AP-504,
AP-505, AP-514, AP-515, AP-534, AP-535, AP-555, AP-318, AP-518, AP-203H, AP-
303H, AP-505H, AP-365, AP-367, AP-374, AP-375, AP-377, AP-387, AP-565, AP-567,
AP-574, AP-575, AP-577, AP-203R, AP-203RP, AP-303HR.
24
  (EX6100; WAC510; RBR750; RBS750; BR500-100NAS; EAX20-100NAS; EAX80-
100NAS; EX6100-100NAS; EX6150-100NAS; EX6250-100NAS; EX6400-100NAS;
EX7000-100NAS; EX7300-100NAS; EX7500-100NAS; EX8000-100NAS; LBR20-
100NAS; MK62-100CNS; MK63-100CNS; MS60-100NAS; R6220-100NAS; R6230-
100NAS; R6260-100NAS; R6350-100NAS; R6400-100NAS; R6700-100NAS; R6850-
100NAS; R6900-200NAS; R7000-100CNS; R7200-100CNS; R7350-100NAS; R7400-
100NAS; R7450-100NAS; R7800-100NAS; R7850-100NAS; R7900P-100NAS;
R7960P-100NAS; R8000-100NAS; R9000-100NAS; RAX120-100NAS; RAX200-
100CNS; RAX20-100NAS; RAX35-100NAS; RAX38-100NAS; RAX40-100NAS;
RAX45-100NAS; RAX50-100NAS; RAX75-100NAS; RAX80-100NAS; RBK12-
100NAS; RBK13-100NAS; RBK14-100NAS; RBK20W-100NAS; RBK22-100MXS;
RBK23-100NAS; RBK43S-100NAS; RBK44-100NAS; RBK50-100NAS; RBK53S-
100NAS; RBK752-100NAS; RBK753-100NAS; RBK842-1CCNAS; RBK852-100NAS;
RBK853-100NAS; RBR20-100NAS; RBS10-100NAS; RBS20-100NAS; RBS50-
100NAS; RBS750-100NAS; RBS850-100NAS; RBW30-100NAS; SRC60-100NAS;
SRK60-100NAS; SRR60-100NAS; WAC104-100NAS; WAC124-100NAS; WAC510-
100NAS; WAC540-100NAS; WAC564-100NAS; WAC720-100NAS; WAC730-
                                          204

                                       Appx476
           Case: 22-1957        Document: 18        Page: 283      Filed: 12/06/2022

                                Public Version
Ruckus APs (C110; E510; H320; H510; M510; R310; R320; R510; R550; R610; R650;

R710; R720; R730; R750; R850; T305; T310c; T310d; T310n; T310s; T300e; T610;

T610s; T710; T710s; T750; T811; 7781-CM; P300).

                 2.     Direct Infringement

          For the reasons discussed below, the accused products do not infringe the ‘677

patent.

          Asserted independent method claim 1 of the ‘677 patent reads as follows:

                 1. A method for transmitting information in a
                     communication system with at least two
                     communicating devices, comprising:
                       linking the at least two communicating devices for
                           transmission of the information at least via a radio
                           communication interface of a radio
                           communication system having base stations
                           interlinked via a base station network, said linking
                           using channels arranged in hierarchical protocol
                           layers;
                       supplying channel-specific information, at least from
                          one channel for a radio link between one of the


100NAS; XR300-100NAS; XR500-100NAS; XRM570-100NAS; EAX11-100NAS;
EAX12-100NAS; EAX14-100NAS; EAX15-100NAS; EAX18-100NAS; EX2700-
100PAS; EX2800-1AZNAS; EX3110-100NAS; EX3700-100NAS; EX5000-1AZNAS;
EX6110-100NAS; EX6120-100NAS; EX7700-100NAS; R6020-100NAS; R6080-
100NAS; R6120-100NAS; R6330-1AZNAS; R6700AX-1AZNAS; R7000P-100AUS;
R8000P-1AZNAS; RAX10-100NAS; RAX30-100NAS; RAX42-100NAS; RAX43-
100NAS; RAX48-100NAS; RAX70-100NAS; RAX78-100NAS; RAXE500-100NAS;
RBK53-100NAS; RBK962-100NAS; RBK963-100NAS; RBS960-100NAS; SRK60B03-
100NAS; SRK60B04-100NAS; SRK60B05-100NAS; SRK60B06-100NAS; SRS60-
100NAS; SXK30-100NAS; SXK30B3-100NAS; SXK30B4-100NAS; SXK80-100NAS;
SXK80B3-100NAS; SXK80B4-100NAS; SXR30-100NAS; SXS30-100NAS; SXS80-
100NAS; WAC510B03-100NAS; WAC510PA-100NAS; WAC540PA-100NAS;
WAX202-100NAS; WAX204-100NAS; WAX206-100NAS; WAX214-100NAS;
WAX214PA-100NAS; WAX218-100NAS; WAX218PA-100NAS; WAX610-100NAS;
WAX610PA-100NAS; WAX610Y-100NAS; WAX620-100NAS; WAX620PA-
100NAS; WAX630-100NAS; WAX630PA-100NAS; XR1000-100CNS)

                                              205

                                           Appx477
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 284 Filed: 12/06/2022

                              Public Version
                         communicating devices and at least one base
                         station, to a hierarchically higher Internet
                         protocol based channel for an overall link
                         between the at least two communicating devices;
                         and
                     initiating at least one of a changeover in respect of
                         at least one multiple access medium and a
                         handover based on the channel-specific
                         information supplied from the channel for the
                         radio link to the hierarchically higher Internet
                         protocol based channel for the overall link.

JX-0001 (‘677 Patent) at 5:50-6:2 (emphasis added).

                       a.     Claim 1: HPE Accused Products

                              i.      Overview: Instant, Unified, and Instant
                                      On APs

       Complainant’s infringement case is based on HPE’s patented Client Match

technology. However, not all accused products run Client Match, let alone the same

version of Client Match. Despite this, complainant (through Dr. Madisetti) only analyzed

the Campus AP version and has not offered any infringement opinion on non-Campus AP

versions, i.e., Instant, Unified, and Instant On APs. See Madisetti Tr. 87.

       Dr. Madisetti does not analyze the Instant On APs. Indeed, the undisputed

evidence shows the Instant On APs Redacted in Public Version                 . See RX-1198C

(Balay WS) at Q/A 57; RX-1196C (Lin RWS) at Q/A 25-26. The Instant APs, which run
                                                                         Redacted in Public Version
the Redacted in Public Version , do not implement the key features of                                 that

complainant relies on to support its infringement case. See RX-1198C (Balay WS) at

Q/A 79-82. Redacted in Public Version                                                         See

RX-1198C (Balay WS) at Q/A 11.

       Rather than analyze Redacted in Public Version


                                            206

                                         Appx478
                               Confidential
                        Case: 22-1957       Material
                                      Document:           Redacted
                                                18 Page: 285 Filed: 12/06/2022

                                                Public Version
Redacted in Public Version
                             , complainant instead argues that a customer could Redacted in Public Version

                                                                    . However, the undisputed evidence

confirms that Redacted in Public Version

                 . See RX-1198C (Balay WS) at Q/A 28, 57. Complainant offers no evidence that

any U.S. customers Redacted in Public Version

                       . Further, even assuming complainant had such evidence, that does not change

the fact that (1) these products are imported with Redacted in Public Version                            (RX-

1198C (Balay WS) at Q/A 11-14), and (2) certainly not all customers make such a

Redacted in Public Version. See RX-1198C (Balay WS) at Q/A 11.



                                                 ii.    Client Match Overview

                    Certain Aruba (HPE) APs provide a technology branded as Client Match, which

Redacted in Public Version

                    . See RX-1196C.0010 (Lin RWS). Client Match aims to provide better

connectivity to clients by Redacted in Public Version

                                                          Id. Dr. Lin and Mr. Overby provide a thorough

overview of HPE’s Client Match technology, summarized below. See RX-1196C (Lin

RWS) at Q/A 22-23, 25-38; RX-0935C (Overby WS) at Q/A 87-94. Complainant

accuses three algorithms in Client Match: Redacted in Public Version

                                      See RX-1196C (Lin RWS) at Q/A 28-31.

                    The Redacted in Public Version implementation is described in detail below. With respect to

Campus APs and Client Match’s Redacted in Public Version                            , HPE’s Campus APs will

Redacted in Public Version

See RX-0935C (Overby WS) at Q/A 88-89; CPX-0008C.3336 at ln. 2974, ln. 3299 (HPE

                                                              207

                                                           Appx479
                   Confidential
              Case: 22-1957     Material
                          Document:           Redacted
                                    18 Page: 286 Filed: 12/06/2022

                                                                     Public Version
Produced Source Code Q3_HPE_CODE_0000001-5775); RX-0554C at lns. 2801, 2812-

2815, 2854; CPX-0008C.2788 at lns. 1234-1235. The Campus AP also transmits the
                                                                                                                       Redacted in Public Vers
Redacted in Public Version
                              to the HPE controller by using a version of Aruba’s

                                                            See CPX-0008C.3336 at ln. 2974.

            Once the controller receives the message from the AP, Redacted in Public Version

                                                                                                                . See CPX-0008C.2864

at lns. 2829, 2958, 2959, 3095, 3133-3135 (HPE Produced Source Code

Q3_HPE_CODE_0000001-5775). That application Redacted in Public Version
                                                                                                                           Redacted in Public Versio

                                                                     During the next Redacted in Public Version, the AP

                                                                                                 See CPX-0008C.3336 at lns. 2974,
                                                                                                                                                       Redacted in Public Version

3347; CPX-0008C.0312 at ln. 833. The Redacted in Public Version function compares
                                                                                                                  Redacted in Public Version
                                                             with Redacted in Public Version. This                                               was not
                     Redacted in Publi

received via                        ; rather, it was Redacted in Public Version                                                                  . See RX-

1198C (Balay WS) at Q/A 69; RX-1196C (Lin RWS) at Q/A 157. If the Redacted in Public Version

                                                                         , the Redacted in Public Version function calls another function

to Redacted in Public Version                                                                                                  . See CPX-

0008C.0312 at lns. 833, 911, 926; CPX-0008C.0312 at lns. 539, 544, 568, 569, 648.

            If Client Match is Redacted in Public Version                                                                                                  , the

controller can Redacted in Public Version

     . See CPX-0008C.1428 at lns. 2144-2147, 2149-2157, 2180 (HPE Produced Source

Code Q3_HPE_CODE_0000001-5775); CPX-0008C.1682 at lns. 224, 249-271, 387-391.
                                         Redacted in Public Versio

Then, if the client is                                               compatible, the Campus AP Redacted in Public Version

                  See RX-0600C at lns. 1758-1762, 2227, 2228; CPX-0008C.0512 at ln. 10950;

                                                                                      208

                                                                                  Appx480
             Confidential
        Case: 22-1957     Material
                    Document:           Redacted
                              18 Page: 287 Filed: 12/06/2022

                                            Public Version
RX-0485C (Q3_HPE_0059339 at 385); RX-0486C (Q3_HPE_0059417 at 431); JX-

0065C (Q3_HPE_0017078 at 81). The client can Redacted in Public Version

                                                     . Ultimately, the handover is Redacted in Public Version. See

RX-1198C (Balay WS) at Q/A 59-60.

       As noted above, Instant APs’ version of Client Match is Redacted in Public Version

                                        . For Instant APs, the Redacted in Public Version between devices,
           Redacted in Public Version
known as “                          ,” uses Redacted in Public Version                                   . See CPX-

0008C.4649 at lns. 4979, 4987, 4992, 4997, 4924, 4951, 4963, 4965 (HPE Produced
                                                                        Redacted in Public Version
Source Code Q3_HPE_CODE_0000001-5775). The                                                           in Instant APs is stored

Redacted in Public Version                    and the Instant AP will Redacted in Public Version
                                                                                                                Redacted in Public Version
                                                                  See, e.g., RX-0513C.0012 (

                                                             ); JX-0088C.0014 (Redacted in Public Version

                                             ) (“Redacted in Public Version                                            .”).

Instant APs Redacted in Public Version                                  .

       Instant-On APs Redacted in Public Version . See RX-1198C (Balay WS) at Q/A

57.

                                            iii.    Individual Limitations Not Found in the
                                                    HPE Products

       Claim 1 [preamble]: “A method for transmitting information in a
       communication system with at least two communicating devices,
       comprising:”

       There are several issues with complainant’s theory of infringement for the

preamble of claim 1 of the ‘677 patent. See RX-1196C (Lin RWS) at Q/A 55-58. First,

complainant’s allegations require unaccused third-party devices to perform one or more


                                                           209

                                                       Appx481
             Confidential
           Case: 22-1957  Material
                    Document:           Redacted
                              18 Page: 288 Filed: 12/06/2022

                               Public Version
steps of the ‘677 patent’s asserted claim 1. Those products are outside the notice of

investigation, and the accused products themselves therefore cannot infringe. Dr.

Madisetti opines that “HPE’s corporate witnesses also supplied testimony supporting my

position that the Aruba access points themselves perform the method of claim 1 without

relying on the clients, i.e., the communicating devices.” See CX-3846C (Madisetti WS)

at Q/A 319. This is wrong. The cited testimony just states that Client Match runs on

certain HPE accused products and not on third-party client devices. That does not mean

that those third-party client devices are not necessary to perform the claimed limitation.

To the contrary, the third-party devices (“communicating devices”) are expressly recited

in the claim.

          Second, complainant generally identifies three types of HPE access points in Dr.

Madisetti’s witness statement, (“Controller Based,” “Instant AP” or “Unified AP”), 25 but

does not reconcile the differences between these products as it relates to the asserted

claim limitations, most importantly because Redacted in Public Version

           See RX-1196C (Lin RWS) at Q/A 40, 57-58; RX-1198C (Balay WS) at Q/A 55-

57. For example, Dr. Madisetti overlooks the fact that Redacted in Public Version


                                                                                               Redacted in Pub

                                    As Dr. Balay explains in her witness testimony,

                                                                             See RX-1198C
                                                                  Redacted in Public Version
(Balay WS) at Q/A 80-82. Dr. Madisetti overlooks the fact that

                                                                                          See RX-

1196C (Lin RWS) at Q/A 58.

25
     Instant On APs are absent from Dr. Madisetti’s analysis.

                                             210

                                         Appx482
              Confidential
           Case: 22-1957   Material
                     Document:           Redacted
                               18 Page: 289 Filed: 12/06/2022

                               Public Version
          Claim 1[a]: “linking the at least two communicating devices for
          transmission of the information at least via a radio communication
          interface of a radio communication system having base stations
          interlinked via a base station network, said linking using channels
          arranged in hierarchical protocol layers;”

          Complainant’s arguments regarding the “linking…” step are both conclusory and

not supported by evidence. See JX-0102.0001 (Technology Brief- What is Aruba

ClientMatch). Complainant argues that the step of linking two communicating devices

(e.g., a phone and laptop) for transmission of information is met by merely providing the

connections via the interlinking of the base stations in a base station network. In support,

complainant relies on one high-level figure in an HPE manual showing a phone and a

laptop individually connected to a network. While the HPE products can be used to

allow third-party devices to connect to a network, that does not necessarily mean there is

any overall link between the identified phone and the laptop for “transmission of

information.” Dr. Madisetti has not shown an overall link between two third-party

devices and, as Dr. Lin testified, the figure alone does not show infringement of this

method claim limitation. See JX-0001 (‘677 Patent) at claim 1 (“CSI[ 26] is supplied for

an overall link between the at least two communicating devices.”); Lin Tr. 571; RX-

1196C (Lin RWS) at Q/A 68-70.

          Claim 1[b]: “supplying channel-specific information, at least from one
          channel for a radio link between one of the communicating devices and
          at least one base station, to a hierarchically higher Internet protocol
          based channel for an overall link between the at least two
          communicating devices; and”

          The accused HPE products do not satisfy limitation 1[b]. Complainant focuses on

Client Match and argues that the “channel-specific information” is Redacted in Public Version

26
     “CSI” is “channel-specific information” or “channel specific information.”

                                              211

                                           Appx483
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 290 Filed: 12/06/2022

                              Public Version
Redacted in Public Version                                      See CX-3846C (Madisetti

WS) at Q/A 336-37; Madisetti Tr. 139. However, even under the three distinct Client

Match algorithms complainant identifies, HPE’s Client Match does not meet the step of

“supplying channel-specific information.”

       First, Client Match does not supply channel-specific information “from one

channel for a radio link” as the claim requires. Instead, as complainant and its expert

concede, Client Match supplies this channel-specific information Redacted in Public Version

                   See RX-1196C (Lin RWS) at Q/A 33; Madisetti Tr. 145.

       Second, Client Match is not supplying such information “to a hierarchically

higher Internet protocol based channel for an overall link between the at least two
                                                                         Redacted in Public Version
communicating devices.” Instead, the CSI identified by Dr. Madisetti




                          Each portion of limitation 1[b] is discussed separately, below.

       “supplying channel-specific information, at least from one channel for a
       radio link between one of the communicating devices and at least one
       base station”

       Dr. Madisetti identifies Redacted in Public Version

         as the “channel-specific information” that originated on the Campus AP and

was not supplied “at least from one channel for a radio link.” See CX-3846C (Madisetti

WS) at Q/A 337. Inasmuch as this information originated on the Campus AP (and not a

cellphone or laptop, for example) and is provided Redacted in Public Version

                              the Campus APs cannot infringe this limitation requiring



                                            212

                                        Appx484
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 291 Filed: 12/06/2022

                              Public Version
that the channel-specific information be supplied “from one channel for a radio link”. 27

See RX-1196C (Lin RWS) at Q/A 85-88.

       Rather than use the originally-accused Redacted in Public Version transmitted by a client

device, the accused APs measure Redacted in Public Version

                                        . 28 See, e.g., CX-0473C.0259-0261 (Interrogatory
                                                                                          Redacted in Public

No. 68); RX-1198C.0012 (Dr. Balay) at Q/A 67-69. For Campus APs, the AP then



                                               The controller Redacted in Public Version



See RX-1196C (Lin RWS) at Q/A 33. In no instance is the accused channel-specific

information supplied from the claimed radio link. 29 Id.

       Under complainant’s proposed construction of the “supplying” step, supplying

includes an AP observing Redacted in Public Version                  and supplying that

information Redacted in Public Version                  See CX-3846C (Madisetti WS) at

Q/A 337-38. However, this reading is inconsistent with the claim language and is


27
  Further, with respect to Instant APs, which Dr. Madisetti does not even argue meet this
claim unless Redacted in Public Version
                                                                                     See
RX-1196C (Lin RWS) at Q/A 86; see also, CX-0485C at Interrogatory No. 68.
28
  In the complaint, complainant originally accused respondents of infringing the ‘677
patent based on the IEEE 802.11k standard. Complainant has since abandoned those
contentions. Redacted in Public Version

      in its U.S. Pat. No. 9,936,441. See U.S. Patent No. 9,936,441 at 2:48-51.
29
   Complainant does not address the Instant AP code. As explained in HPE’s Response
to Interrogatory No. 68, the Instant APs have a Redacted in Public Version
but, like the Campus APs, Redacted in Public Version
             See CX-0485C (HPE Discovery Response).

                                             213

                                          Appx485
                Confidential
            Case: 22-1957    Material
                       Document:           Redacted
                                 18 Page: 292 Filed: 12/06/2022

                                    Public Version
contrary to its plain and ordinary meaning as confirmed by the ‘677 patent and its file

history. See JX-0001 (‘677 Patent); JX-0004 (‘677 Patent File History). With respect to

the claim language, this limitation recites both an origin—”from one channel for a radio

link”—from which the channel-specific information is supplied, and the destination—”to

a hierarchically higher Internet protocol based channel for an overall link”—to which it is

supplied. Likewise, the next limitation (“initiating…”) reinforces that that channel-

specific information must have been “supplied from the channel for the radio link to the

hierarchically higher Internet protocol based channel.” In other words, an AP measuring

an observed signal strength is not channel-specific information “suppl[ied] …from” the

radio link “to” the higher channel, because the measured value originated at the AP. See

RX-1196C (Lin RWS) at Q/A 86.

          In addition, none of the “examples of the supplying of CSI” identified by Dr.

Madisetti (i.e., using at least three functions Redacted in Public Version

                               , demonstrates that this limitation is met. See RX-1196C (Lin

RWS) at Q/A 88-89.

          Redacted in Public Version

          This Client Match functionality (running on the controller) will Redacted in Public Version



          . 30 See RX-1198C (Balay WS) at Q/A 64. Complainant argues “CSI includes the
Redacted in Public Version
                         ” and this “example correlates to the Redacted in Public Version” in the
                                                                                              Redacted in Public Ve

HPE source code. See CX-3846C (Madisetti WS) at Q/A 341-42. However, this

30
     Redacted in Public Version
                                          See RX-1196C (Lin RWS) at Q/A 92-93.

                                                  214

                                              Appx486
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 293 Filed: 12/06/2022

                                Public Version
value is never supplied over a channel for a radio link, as explained above. See RX-

1196C (Lin RWS) at Q/A 90.

       Another type of CSI Dr. Madisetti identifies with respect to the Redacted in Public Version is

“Redacted in Public Version                                                                              ”

See CX-3846C (Madisetti WS) at Q/A 352, 356, 366. Not only is this never supplied

over a channel for a radio link (RX-1196C (Lin RWS) at Q/A 90; RX-0935C at Q/A 88),

but this purported CSI is not “from a radio link between one of the communicating
                                                                            Redacted in Public Version
devices and at least one base station,” as required by the claim. The

complainant points to (CX-3846C (Madisetti WS) at Q/A 352-353; RDX-0002C.0227) is

for Redacted in Public Version (e.g., AP 2 or AP 3), and not the AP the client is linked

to (AP 1), i.e., the claimed “radio link.” See, e.g., RDX-0002C.0226 (Dr. Madisetti

admits that pbss.signal is for the “potential AP association.”). CSI for a destination AP is

not “from a radio link between one of the communicating devices and at least one base

station” because no “radio link” has been established with that proposed AP. See RX-

1196C (Lin RWS) at Q/A 92-93; JX-0188C (Martin Dep. Tr.) at 167.

       Dr. Madisetti references the Redacted in Public Version function, claiming that it is

Redacted in Public Version

              meaning it is used to Redacted in Public Version

                          See CX-3846C (Madisetti WS) at Q/A 354, 355

(Redacted in Public Version                                                                     ), 352; see

also CX-3847C (Jones WS) at Q/A 99, 100, 98. Dr. Madisetti’s identification of the

Redacted in Public Version function does not meet the supplying limitation for several reasons.


First, Dr. Madisetti does not provide any explanation as to how he believes that relates to

                                               215

                                            Appx487
             Confidential
        Case: 22-1957     Material
                    Document:           Redacted
                              18 Page: 294 Filed: 12/06/2022

                                             Public Version
the claimed “supplying…” limitation. See RX-1196C (Lin RWS) at Q/A 97. Second,

Dr. Madisetti’s analysis contradicts complainant’s invalidity expert, Dr. Martin,

regarding a similar feature in the Matta prior art. See RX-1196C (Lin RWS) at Q/A 94;

see also id. at Q/A 97, 160. The Redacted in Public Version                    is a Redacted in Public Version

     , i.e., it is used to Redacted in Public Version

             , and is used Redacted in Public Version

                     As explained in detail below, Dr. Martin opines that, in the context of the

Matta prior art, using channel-specific information as a “gatekeeper” to eliminate

possible APs from consideration does not satisfy the claims. See CX-3930C (Martin WS)

at Q/A 50.

       Redacted in Public Version
                                         Example
                                                                                                     Redacted in Public Version
       This Client Match functionality (running on the controller) performs




              . Complainant argues that “CSI includes the Redacted in Public Version

                                                                         ” as another example. See CX-

3846C (Madisetti WS) at Q/A 339, 353-356; RX-1198C (Balay WS) at Q/A 65.
           Redacted in Public Version
However,                                is not channel-specific information “from a radio link between
                                                                                            Redacted in Public Ve

one of the communicating devices and at least one base station,” and the                                            value is

never supplied over a channel for a radio link (as explained above). See CX-0485C (HPE

Discovery Response); Lin Tr. 585-586.

       Further, as shown in Dr. Madisetti’s own demonstrative (CDX-1C.677.142 at

CDX-0001C-677.0144), one accused CSI is the Redacted in Public Version

                                                           216

                                                        Appx488
                 Confidential
            Case: 22-1957     Material
                        Document:           Redacted
                                  18 Page: 295 Filed: 12/06/2022

                                               Public Version
Redacted in Public Version

                                   In his overview, Dr. Madisetti states that the Redacted in Public Version



                                                                                                                                          See
                                                                                               Redacted in Public Version
CX-3846C (Madisetti WS) at Q/A 351. This information about a                                                                does not

meet the limitation. See RX-1196C (Lin RWS) at Q/A 95-96. The comments in the code

refer to this as a Redacted in Public Version (CPX-0008C.0036 (HPE Produced Source Code

Q3_HPE_CODE_0000001-5775) line 461; RX-1196C (Lin RWS) at Q/A 96), denoting

that Redacted in Public Version                                                            . 31 In other words, this

purported CSI cannot be “from a radio link between one of the communicating devices

and at least one base station.”

          Dr. Madisetti references the Redacted in Public Version function with respect to the

Redacted in Public Version, and his identification of this function does not meet the

supplying limitation for the same reasons discussed above. See RX-1196C (Lin RWS) at

Q/A 97; see also id. at Q/A 94, 160.

          Redacted in Public Version
                                       Example
          Redacted in Public Version
                                       is an algorithm used to Redacted in Public Version

                                                               See RX-1198C (Balay WS) at Q/A 66. Complainant
                                               Redacted in Public Version
argues that “CSI includes the                                           ” and the Redacted in Public Version



                                                                                                                            ” See

                                                                                                                            Redacted in Pub
31
     This is also true for Dr. Madisetti’s reliance on Redacted in Public Version for his
                            . See RX-1196C (Lin RWS) at Q/A 95-96.

                                                                            217

                                                                     Appx489
               Confidential
         Case: 22-1957      Material
                      Document:           Redacted
                                18 Page: 296 Filed: 12/06/2022

                                                       Public Version
CX-3846C (Madisetti WS) at Q/A 358. However, the Redacted in Public Version actually has
                                                                                                                             Redacted in Public Version
Redacted in Public Version                                           and it is important to be clear about
            Redacted in Public Version
      The                                referenced in Dr. Madisetti’s testimony about “Redacted in Public Version

                                             ” (CX-3846C (Madisetti WS) at Q/A 357) corresponds to the
                                                                                           Redacted in Public Version
Redacted in Public Version                                                        . This                                cannot infringe claim

1 because it was (1) never supplied from a channel for a radio link because it is the
                                                                                             Redacted in Publi
Redacted in Public Version and (2) is not supplied over                                                          to the alleged IP channel.

See RX-1196C (Lin RWS) at Q/A 98.
                                 Redacted in Public Version
        The second                                            that Dr. Madisetti references is allegedly Redacted in Public Version
                                                                                                                              Redacted in Public Version
        . vCX-3846C (Madisetti WS) at Q/A 360. Like all of the accused

       discussed above, this also was not supplied from the claimed radio link, but rather

Redacted in Public Version . Further, it is only used as an input to Redacted in Public Version

for Redacted in Public Version                                                                  . See RX-1196C (Lin RWS) at

Q/A 98. As discussed below, Dr. Martin agrees that Redacted in Public Version

                       falls outside the claims. See CX-3930C (Martin WS) at Q/A 50; JX-

0188C (Martin Dep. Tr.) at 167. Thus, this purported CSI is not used to Redacted in Public Version

                                                as Dr. Madisetti opines.

        “supplying…to a hierarchically higher Internet protocol based channel
        for an overall link between the at least two communicating devices”

        The accused HPE products do not meet this portion of limitation 1[b].

Complainant argues that CSI is supplied to a “hierarchically higher Internet protocol

based channel for an overall link between the at least two communication devices”

because some (but not all) of the CSI is sent between the controller and AP using a


                                                                            218

                                                                        Appx490
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 297 Filed: 12/06/2022

                               Public Version
Redacted in Public Version                . See CX-3846C (Madisetti WS) at Q/A 342.

Complainant’s theory is wrong for several reasons.

       As an initial matter, Client Match on the Instant and Unified APs Redacted in Public Version

                        and thus, they do not infringe. See RX-1196C (Lin RWS) at Q/A

124. Dr. Madisetti has no rebuttal opinion beyond saying that Redacted in Public Version

                                  Madisetti Tr. 153. However, Dr. Madisetti did not

review any Instant AP source code. Moreover, multiple experts, fact, and corporate

witnesses testified that Redacted in Public Version

                                                                                          See RX-1196C

(Lin RWS) at Q/A 124; RX-0513C.0012; RX-0514C.0015.

       With respect to Campus APs Redacted in Public Version



                                                                      32
                                                                              See RX-1196C (Lin

RWS) at Q/A 100-02. The communicating devices (e.g., phones and laptops) identified

by complainant have no awareness of, or access to, Redacted in Public Version

                                                                No information transmitted
                                                                      Redacted in Publi

from a communication device to a Campus AP is ever sent over                              because, as

explained in the HPE ArubaOS 8.7.1.0 User Guide, Redacted in Public Version
                                                                                                33
                                                                                                     See RX-


32
  Further, Redacted in Public Version
See RX-1198C (Balay WS) at Q/A 73-80; RX-0516.
33
  Client Match also does not operate a “hierarchically higher Internet protocol based
channel for an overall link between the at least two communicating devices” because the
application Redacted in Public Version                                  See RX-1196C (Lin
RWS) at Q/A 113. Neither the controller’s    Redacted in Public Version nor the Campus AP’s
                                              219

                                           Appx491
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 298 Filed: 12/06/2022

                                Public Version
0516.0817; RX-1196C (Lin RWS) at Q/A 76 (“The UDP version of PAPI uses a UDP

channel for these communications, which is not used to carry the traffic from any client

device.”). Rather, Redacted in Public Version              that is not a part of any link

between the communicating devices. Id., RDX-0002C.0231; CX-3587 (ArubaOS

8.7.1.0_User_Guide-a00105869en_us.pdf); RX-1198C (Balay WS) at Q/A 76. Thus,
                                                                                                 Redacted in Publi

Redacted in Public Version                            , sending information over                                     is not

sending information to a “hierarchically higher Internet protocol based channel for an
                                                                             Redacted in Publi

overall link between the at least two communicating devices” because

communications are separate from the overall link between the devices.

        Complainant’s Proposed Claim Construction

        Dr. Madisetti seeks to split in half the clause “a hierarchically higher Internet

protocol based channel for an overall link between the at least two communicating

devices,” opining that the last half (“for an overall link…”) modifies the “supplying” verb

that appears thirty-one words earlier, and not the language that immediately precedes it,

i.e., “a hierarchically higher Internet protocol based channel.” From this, Dr. Madisetti

opines that the accused products meet the “overall link” because CSI is provided for the

purpose of maintaining a good link and therefore it is “for an overall link between the at


Redacted in Public Version
              Id. Instead, Redacted in Public Version is processed by Redacted in Public Version

                                                     Id. Redacted in Public Version

                                                        See RX-0479C; RX-1196C (Lin
RWS) at Q/A 114-116. Thus, Client Match does not operate a “hierarchically higher
Internet protocol based channel for an overall link between the at least two
communicating devices” because Redacted in Public Version
           See RX-1196C (Lin RWS) at Q/A 116; RX-1198C (Balay WS) at Q/A 76-80.

                                               220

                                           Appx492
        Case: 22-1957         Document: 18        Page: 299      Filed: 12/06/2022

                              Public Version
least two communicating devices.” See CX-3846C (Madisetti WS) at Q/A 344. This

reading goes against rules of grammar, 34 intrinsic evidence, and what complainant’s

invalidity expert Dr. Martin opines.

       First, the surrounding claim language refutes complainant’s proposed

construction. Limitation 1(a) explains that “linking” of the “two communicating devices”

occurs via “channels arranged in hierarchical protocol layers.” This tells a person of

ordinary skill that the “link” in “higher Internet protocol based channel for an overall link

between the at least two communicating devices” likewise refers to an actual link

between the devices, and not merely a “purpose,” as Dr. Madisetti opines. Further, in

limitation 1(b), CSI is supplied to a “hierarchically higher Internet protocol channel for

an overall link between the at least two communicating devices,” and in limitation 1(c)

the “initiating” step is based on the CSI supplied “to the hierarchically higher Internet

protocol based channel for the overall link.” Thus, the higher Internet protocol based

channel must be for an overall link (and not for a “purpose” of maintaining a good link

via a handoff) as “the” overall link must exist before the handoff is initiated. See RX-

1196C (Lin RWS) at Q/A 108.

       The specification shows that the higher IP channel is for an overall link between

the communicating devices. The Abstract states “This hierarchically higher channel is an

Internet protocol-based channel for the overall link between the at least two


34
  The doctrine of the last antecedent is a long established rule of grammar which allows
the “qualifying phrase to apply only to the immediately preceding antecedent.” Red River
Holdings, LLC v. United States, 87 Fed. Cl. 768, 795 (2009); see also Barnhart v.
Thomas, 540 U.S. 20, 21 (2003) (“rule of the last antecedent,” under which a limiting
clause or phrase should be read to modify only the noun or phrase that it immediately
follows.)

                                            221

                                         Appx493
        Case: 22-1957        Document: 18         Page: 300     Filed: 12/06/2022

                             Public Version
communicating devices.” See JX-0001 (‘677 Patent). The Summary of the Invention

states that “[a]ccording to the invention,” the “hierarchically higher channel which is an

Internet protocol based channel for the overall link between the two or more

communication devices.” Id. at 3:17-22. Further the patent explains that the prior art

shows “an Internet protocol based channel is used for the overall link” (id. at 2:65-3:2)

and that the higher OSI layer is “an Internet protocol based channel for the overall link.”

Id. at 5:7-10. Each of these disclosures show that the proper reading of the claim is that

“for an overall link” describes the hierarchically higher Internet protocol channel.

        The file history supports this reading. JX-0004 (‘677 Patent File History). In an

office action response dated 10/26/07, the patentee’s arguments highlighted the proper

view of the Internet protocol channel being for the overall link. As illustrated in RDX-

0002C.0234, the patentee criticized prior art because “any data exchanged on the overall

link using the internet protocol is unaware of the physical channel conditions.” See JX-

0004.0267 (‘677 Patent File History). Moreover, as shown in RDX-0002C.0235, a final

rejection dated 9/2/2008 shows the examiner agreed with the same construction when

they stated: “in VoIP system a hierarchically higher Internet protocol based channel is

used for an overall link between the at least two communicating devices).” See JX-

0004.0279 (‘677 Patent File History).

       Complainant’s invalidity expert, Dr. Martin, agrees with respondents’ proposed

construction. Dr. Martin opines that having a hierarchically higher Internet protocol

based channel for an overall link means a hierarchically higher channel used to link the

communicating devices such that they can communicate with one another. See JX-

0188C (Martin Dep. Tr.) at 64-65, 67. He further explains that the importance of this is

                                            222

                                        Appx494
             Confidential
         Case: 22-1957    Material
                    Document:           Redacted
                              18 Page: 301 Filed: 12/06/2022

                                               Public Version
to ensure there “is a logical link between the two devices, an overall link between them.”

Id. at 109-110.

        As Dr. Lin testified, Dr. Madisetti’s cited intrinsic evidence does not support his

proposed construction. See RX-1196C (Lin RWS) at Q/A 112. For example, Dr.

Madisetti cites Figure 2 as purportedly describing the ‘677 patent’s claimed method, but

Fig. 2 does not recite all the claim elements. Id. The rest of Dr. Madisetti’s citations are

not persuasive. Id. Indeed, even if complainant’s reading of the claim was correct, the
             Redacted in Public Version
purpose of                                in Campus APs is to pRedacted in Public Version

                                                                                                                 See RX-

1196C (Lin RWS) at Q/A 113, 123. Therefore, the accused HPE products do not meet

this limitation.

                                                                                     Redacted in Public Versio

        Complainant’s Alternative Theory: Client Match Itself is

        Complainant argues that “[t]he ClientMatch software is Redacted in Public Version



                                                                      ” See Compl. Br. at 53 (citing CX-

3846C (Madisetti WS) at Q/A 361). The implication is that supplying the identified CSI

to the Client Match application within the HPE device itself is supplying to a

hierarchically higher Internet protocol based channel at layer 4 of the OSI networking

stack. This is wrong. As an initial matter, complainant’s alternative theory does not

solve its “overall link” problem as the supposed “channel” Redacted in Public Version

                             is not part of an “overall link” between the two communicating devices

(e.g., phone and laptop). Further, complainant’s theory is factually incorrect because, as

explained above, Redacted in Public Version

                                                             223

                                                         Appx495
                        Confidential
                  Case: 22-1957      Material
                               Document:           Redacted
                                         18 Page: 302 Filed: 12/06/2022

                                            Public Version
Redacted in Public Version
                             See RX-1196C (Lin RWS) at Q/A 114-17. Redacted in Public Version




                                   See RX-1196C (Lin RWS) at Q/A 118-19.

               Further, as Dr. Lin explains, an application can talk directly to layer 2 without

going through a networking or transport layer. See Lin Tr. 652. There are many different

applications that operate in user-space but that are not part the OSI networking stack.

Examples are applications like Microsoft Word or Minesweeper. Id.; RX-1196C (Lin

RWS) at Q/A 119. As Mr. Overby testified, just because an application is operating

within a device does not mean it is part of the networking stack, and indeed the type of

calls being used in this situation are all calling straight to the device driver software,

bypassing the intermediate layers. See RX-0935C (Overby WS) at Q/A 77 (citing Linux

manual pages). This was confirmed by Dr. Lin. See RX-1196C (Lin RWS) at Q/A 122.

Indeed, Dr. Madisetti cites no evidence to support his opinion that any user-space

application is part of the OSI networking layers.

               Lastly, complainant argues that Redacted in Public Version

                                                                                allegedly means that

information is supplied to at least layer 4 because Redacted in Public Version

                             See Compl. Br. at 53-54 (citing CX-3846C (Madisetti WS) at Q/A 361).

However, this intra-device communication is not related to the networking stack because

sending measurement data between software on the same device is not supplying

information to a hierarchically higher IP based channel for the overall link between two

                                                         224

                                                      Appx496
                         Confidential
                       Case: 22-1957  Material
                                Document:           Redacted
                                          18 Page: 303 Filed: 12/06/2022

                                            Public Version
communicating devices. The accused Redacted in Public Version was not sent through layers

1-6, as would be required if Redacted in Public Version                                                        . The

Redacted in Public Version is Redacted in Public Version                                                                            .

See RX-1196C (Lin RWS) at Q/A 120-22. This movement of data within the AP is not

related to the claimed “overall link” between the communicating devices. Id. at Q/A 123.

                     Claim 1[c]: “initiating at least one of a changeover in respect of at least
                     one multiple access medium and a handover based on the channel-
                     specific information supplied from the channel for the radio link to the
                     hierarchically higher Internet protocol based channel for the overall
                     link.”

                     The accused HPE products do not infringe this limitation for several reasons.

First, there can be no initiating a changeover or a handover “based on the channel-

specific information supplied from the channel for the radio link” because, as explained

above, the alleged channel-specific information is never supplied from the radio link. See

RX-1196C (Lin RWS) at Q/A 151. There cannot be any initiating a changeover or a

handover based on supplying the channel-specific information “to the hierarchically

higher Internet protocol based channel for the overall link” because, as explained above,
Redacted in Publi

                    message exchanges are not “for the overall link” between two communicating

devices. For example, the two communicating devices identified by Dr. Madisetti that
                                                                                         Redacted in Publi

purport to share an overall link have no awareness of, or access to, the
                                                                                                       Redacted in Public Version
                                                                                        35
communications, because the Redacted in Public Version                                       and                                .


35
  With respect to Instant APs, Redacted in Public Version
            and thus there can be no initiating a changeover or a handover based on
supplying the channel-specific information “to the hierarchically higher Internet protocol
based channel for the overall link.” See RX-0513C.0012; RX-0514C.0015; RX-1198C
                                                           Redacted in Public Version

(Balay WS) at Q/A 79-80; See discussion of
                                                                   ; RX-1196C (Lin
                                                         225

                                                      Appx497
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 304 Filed: 12/06/2022

                               Public Version
See RDX-0002C.0231; CX-3587; RX-1198C (Balay WS) at Q/A 74-76.

       Second, the HPE accused products do not initiate a changeover or handover

because Redacted in Public Version

                                              When Client Match Redacted in Public Version




See RX-1196C (Lin RWS) at Q/A 22-23, 30, 148, 153, 155, 170; RX-1198C (Balay WS)

at Q/A 59-62; RX-1199C (Gielty WS) at Q/A 28-30; Gielty Tr. 322-323. Thus, at the

time a HPE accused AP sends Redacted in Public Version, Redacted in Public Version



                           This is because Redacted in Public Version

                 In fact, the 802.11v standard expressly states that the client must be able

to reject any 802.11v request. 36

       The Aruba documents produced in this case confirm that Redacted in Public Version

        (JX-0065C (“Redacted in Public Version                                  ”), RX-

0485C (Q3_HPE_0059339 – 416) at 363 (“Redacted in Public Version
                                                                                Redacted in Public Ver

                       ”); see RX-0485C (Q3_HPE_0059339 – 416) at 361 (“

                            ”); id. at 363 (“Redacted in Public Version ”); see also JX-

0065C (Q3_HPE_0017078 – 088 at 083), id. at 082; See RX-0486C (Q3_HPE_0059417

– 462). Complainant and its experts do not dispute these facts, and they did not analyze


RWS) at Q/A 37, 124; RX-0935C (Overby WS) at Q/A 94.
36
  See RX-0289.001 (802.11v Standard), id. at .0034 (“5.2.12.3 BSS transition
management.”)); id. at .207 (Fig. 10-6k (“STA roaming evaluation and decision”)); id. at
.0153-0154; RDX-0002C.0237; see also Gielty Tr. 316, 316-317, 319-321.

                                            226

                                         Appx498
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 305 Filed: 12/06/2022

                              Public Version
any client device source code to confirm how they respond to a 802.11v request. See

Madisetti Tr. 191; JX-0186C (Jones Dep. Tr.) at 221-223. Dr. Madisetti apparently

agrees with this position because he acknowledges that a “user of the products” may

initiate a handover, which supports the point that the client and/or a user must accept or
                                                                            Redacted in Public Version

deny any request. See CX-3846C (Madisetti WS) at Q/A 369. Thus, it is                                    , 37

Redacted in Public Version                            See RX-1196C (Lin RWS) at Q/A

153.

       Although Dr. Madisetti opines that “initiating” merely requires the start of

something, and not completion (Madisetti Tr. 190-191), complainant’s invalidity expert,

Dr. Martin, interprets “initiating” to require the handover be completed based on the

supplied CSI. Dr. Martin applies his interpretation to opine that the Takagi prior art does

not disclose “initiating” a handover because it is “not inevitable,” JX-0188C (Martin Dep.

Tr.) at 182-183, e.g., Takagi’s radio terminal can decide to move in a direction opposite

the new AP, and the handoff may not complete. Id. at 184-185. Based on Dr. Martin’s
                                                                                Redacted in Public Version
analysis, the accused HPE products are not initiating a handover merely by




       Complainant argues that the “Redacted in Public Version

                                                             , but complainant’s claim that


37
   None of the respondents in this investigation provide the claimed “communicating
devices” (e.g., smartphone or laptop), nor has complainant alleged that they do. As the
alleged CSI is not sent to the client devices, they cannot be initiating a handover “based
on” the supplied CSI.

                                            227

                                         Appx499
                     Confidential
                Case: 22-1957     Material
                            Document:           Redacted
                                      18 Page: 306 Filed: 12/06/2022

                                           Public Version
this encompasses “initiating” a handover or changeover is misplaced. See CX-3846C

(Madisetti WS) at Q/A 371. Complainant has not provided any evidence that this
Redacted in Public Version
                             actually occurs. As Dr. Balay’s unrebutted testimony shows, this

functionality Redacted in Public Version                                                          See RX-

1198C (Balay WS) at Q/A 66-71; RX-1196C (Lin RWS) at Q/A 153, 155. However,

Redacted in Public Version

                                                                                              This lack of

evidence undermines complainant’s case as the only asserted independent claim is a

method claim, which requires evidence of actual use. Moreover, complainant’s claim

that Redacted in Public Version                                                      inconsistent with

the teachings of the ‘677 patent. See JX-0001 (‘677 Patent) at 3:37-43; 5:29-31.

             Finally, the HPE accused products do not initiate a handover “based on” the CSI

allegedly being supplied to the “hierarchically higher Internet protocol based channel.”

Complainant argues that “HPE’s access points / controllers initiate a handover based on

the channel-specific information” during at least Redacted in Public Version

                                          ” See CX-3846C (Madisetti WS) at (Q/A 370. Each is

incorrect as discussed below. 38


38
  In addition to the three identified functions, complainant argues that “channel-specific
information” can further include Redacted in Public Version
                                                                   See CX-3846C
(Madisetti WS) at Q/A 337. Dr. Madisetti provides no analysis regarding how this
purported CSI would meet the claim 1 limitations. First, Redacted in Public Version
            is just an indication of Redacted in Public Version
                                                        Further, a handover is not initiated
based on this information: the cited code Redacted in Public Version

Also, the cited code is Redacted in Public Version so this function is Redacted in Public Version and Dr.
                                                        228

                                                     Appx500
                Confidential
           Case: 22-1957     Material
                       Document:           Redacted
                                 18 Page: 307 Filed: 12/06/2022

                                           Public Version
          Redacted in Public Version
                                       Example

          Complainant argues that “Redacted in Public Version initiates a handover (Redacted in Public Version
                                                           Redacted in Public Version
                                       ) based at least on ‘                            ” See CX-3846C (Madisetti

WS) at Q/A 370. However, Dr. Madisetti admits that this algorithm Redacted in Public Version

                                                                  See CX-3846C (Madisetti WS) at Q/A

353. Dr. Jones’ code analysis and Dr. Madisetti’s demonstrative CDX-0001C.677.146

confirm the same. CX-3847C (Jones WS) at Q/A 99; see also RX-1196C (Lin RWS) at

Q/A 158. As Mr. Jones admits, Redacted in Public Version

                                           See CX-3847C at Q/A 99; RX-0521C at lns. 3033-45.

Thus, Redacted in Public Version

                                            See RX-1196C (Lin RWS) at Q/A 158; see also RX-

0485C.0030; JX-0064C.

          Further, neither of the identified CSI 39 are used as a basis to initiate a handover or

changeover because, Redacted in Public Version

                                                                            See RX-1196C (Lin RWS) at Q/A

159, 160, 96, 97. Dr. Madisetti acknowledges that the identified CSI are ultimately used

(Redacted in Public Version                             ) to Redacted in Public Version


Madisetti does not show that the alleged channel-specific information Redacted in Public Version
                   Second, Redacted in Public Version                   is again not CSI nor is
this information sent over a channel for a radio link. See RX-1196C (Lin RWS) at Q/A
                                                                                Redacted in Public Version
196. Third, Redacted in Public Version        is not CSI, rather, it is simply
                                    See RX-1196C (Lin RWS) at Q/A 161, 196.
39                                                                                                     Redacted in Public Version
     As noted above, Dr. Madisetti identifies as channel-specific information
                                                                                    (ii)
the “RSSI measurement of the current link” that are checked in est_client_rel_view. See
CX-3846C (Madisetti WS) at Q/A 356, 355, 366. Neither of these meet the claim
limitations for the reasons discussed here.

                                                          229

                                                      Appx501
                Confidential
         Case: 22-1957       Material
                       Document:           Redacted
                                 18 Page: 308 Filed: 12/06/2022

                                             Public Version
Redacted in Public Version

                       See CX-3846C (Madisetti WS) at Q/A 366. Indeed, complainant’s other

expert, Dr. Martin, agrees that using CSI to Redacted in Public Version

                                  would not meet the “initiating” limitation. See RX-1196C (Lin RWS)

at Q/A 160); CX-3930C (Martin WS) at Q/A 50; JX-0188C (Martin Dep. Tr.) at 167.
                                                   Redacted in Public Version
       Lastly, one of the identified                                               is only for Redacted in Public Version
                                                                Redacted in Publ

                                                  not the                          of the “radio link” between the identified

communicating device and the base station to which it is linked. See RX-1196C (Lin

RWS) at Q/A 159-161; see CX-3847C (Jones WS) at Q/A 99 (Dr. Jones agreeing that the

AP Redacted in Public Version

                                                                         ). The claims require that the CSI be from

one channel for a radio link between the one communicating device and the connected

base station. The proposed destination AP is not linked to the communicating device.

Thus, there can be no initiating a changeover or handover “based on” supplying the
             Redacted in Publ

identified                      values because those values are not “supplied from the channel for the

radio link.”

       Redacted in Public Version
                                    Example
                                                                                                                        Redacted in Public Version
       Complainant argues that “Redacted in Public Version initiates a handover (
                                                                                       Redacted in Public Version
                                                         ) based using                                          ” See Compl. Br. at

58 (citing CX-3846C (Madisetti WS) at Q/A 370). However, any steering is not based on

channel-specific information at all, but rather is based on Redacted in Public Version

                                                                                                                    . See RX-1196C

(Lin RWS) at Q/A 162. For example, as per the Redacted in Public Version function, the

                                                                  230

                                                           Appx502
                    Confidential
              Case: 22-1957      Material
                           Document:           Redacted
                                     18 Page: 309 Filed: 12/06/2022

                                                 Public Version
Redacted in Public Version is triggered based on two inquiries: (1) Redacted in Public Version


                                            (RX-0521C at lns. 2627-28), and (2) fRedacted in Public Version

(id. at lns. 2632-2640). Only after these inquiries occur does Redacted in Public Version

                                                  (id. at 2648) Redacted in Public Version                                           Even if

Redacted in Public Version

                                                                                                                                   Thus, the
        Redacted in Public Version 40                                                                                    Redacted in Public Version
cited                                   do not become the basis for initiating a handover in the

              . See RX-1196C (Lin RWS) at Q/A 162; see also RX-0485C.0030; JX-0064C.

            Further, as discussed above with respect to Redacted in Public Version, neither of the

identified CSI are used as a basis to initiate a handover or changeover because, instead,

Redacted in Public Version

                                        See RX-1196C (Lin RWS) at Q/A 162, 163; id. at Q/A 90, 94. As

noted above, Dr. Martin agrees that Redacted in Public Version

                                          would not meet the “initiating” limitation. Id. at Q/A 160; CX-

3930C (Martin WS) at Q/A 50.
                                                        Redacted in Publ

            Lastly, one of the identified                                  values is only for Redacted in Public Version
                                                                           Redacted in Publ

                                                       not the                                of the “radio link” between the identified

communicating device and the base station to which it is linked. Mr. Jones admits that

the current AP Redacted in Public Version

                                                                                                                  See CX-3847C

40
     Dr. Madisetti identifies as channel-specific information Redacted in Public Version


                                 See CX-3846C (Madisetti WS) at Q/A 352, 355, 366.
Neither of these meet the claim limitations for the reasons discussed here.

                                                                             231

                                                                   Appx503
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 310 Filed: 12/06/2022

                               Public Version
                                               Redacted in Public Version
(Jones WS) at Q/A 98. Thus, with respect to                             , there can be no initiating a
                                               Redacted in Pub

handover “based on” supplying the identified                     values because those values are not

“from the channel for the radio link.”

       Redacted in Public Version

       Complainant argues that Redacted in Public Version

                                                                                             See Compl. Br.
                                                                                     Redacted in Public Version
at 49 (citing CX-3846C (Madisetti WS) at Q/A 357). However, this                                                  is not

based on CSI sent to the allegedly hierarchically higher IP channel. Rather, as Mr. Jones’

confirms, this algorithm is based on Redacted in Public Version 41 (CX-3847C at Q/A

101), which is a value Redacted in Public Version                           , not Redacted in Public Version

       See RX-1196C (Lin RWS) at Q/A 164-65; id. at Q/A 98. In other words, this

evaluation does not use an SNR value that ever left the AP, and certainly not one that was

received via PAPI UDP. Thus, with respect to the Redacted in Public Version, there can be no

initiating a changeover or handover “based on” CSI supplied to the “hierarchically higher

Internet protocol based channel for the overall link” because Redacted in Public Version

                          Further, the other CSI complainant points to with respect to the

Redacted in Public Version

                   are, again, Redacted in Public Version

                                            , and thus do not form the basis of a handover.




41
  As explained by respondents, Redacted in Public Version
                                              See RX-1196C (Lin RWS) at Q/A 164-
65; CX-0485C.

                                            232

                                         Appx504
             Confidential
           Case: 22-1957  Material
                    Document:           Redacted
                              18 Page: 311 Filed: 12/06/2022

                               Public Version
See CX-3846C (Madisetti WS) at Q/A 371; id. at Q/A 358; RX-1196C (Lin RWS) at Q/A

98, 99.

                        b.      Claim 1: NETGEAR Accused Products

          There are at least three distinct reasons why the accused NETGEAR products do

not infringe the ‘677 patent. First, the accused application used in NETGEAR’s

products, Redacted in Public Version, does not supply channel-specific information “to a

hierarchically higher Internet protocol based channel for an overall link between the at

least two communicating devices.” Instead, Redacted in Public Version

                                             that is not part of the overall link between the

at least two communicating devices.

          Unlike the ‘677 patent, Redacted in Public Version
                                                                                                  Redacted in Public

                                   See RX-1196C (Lin RWS) at Q/A 42-43. Rather,



                     Id. at Q/A 43. Between the client and the APs Redacted in Public Version
                                                                                       Redacted in Public

                                                                                 Id.

     , on the other hand, uses Redacted in Public Version           to create communications

links between the AP nodes and Redacted in Public Version           in the network, as further

explained below.

          In general, complainant accuses the use of Redacted in Public Version to show

how the accused devices supply information to a hierarchically higher internet protocol

channel. However, the source code related to Redacted in Public Version           is not related

to networking, and thus cannot meet the “hierarchically higher Internet protocol based

channel” requirement for transmission of information. See Overby Tr. 467.

                                              233

                                           Appx505
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 312 Filed: 12/06/2022

                                                   Public Version
                                                                           Redacted in Public Version
Complainant’s sole evidence comes from                                                              , and complainant chose to forego
                  Redacted in Public Version
any analysis of                                documents, testimony, or code review. See Madisetti Tr. 132.

Further, at JX-0088C.2395 (Redacted in Public Version                                                                                            ), even

the Redacted in Public Version                                       shows that Redacted in Public Version

                                                                                                        Specifically, the guide states that

Redacted in Public Version

                See JX-0088C.2432 (Redacted in Public Version



                                                                                                                                See RX-0346
                                                                                                               Redacted in Public Version
(IEEE 1905 Wikipedia Page). Thus, complainant’s reliance on                                                                                   shows that

Redacted in Public Version are sent between APs, and the accused NETGEAR products are


not “supplying channel-specific information…to a hierarchically higher Internet protocol

based channel for an overall link between the at least two communicating devices.”
                                        Redacted in Public Version
        Second, because                                              does not meet the “supplying” limitation, it also
                                                                                                               Redacted in Public Version
cannot meet the claimed “initiating” limitation at least because                                                                            never initiates

a handover based on supplying CSI “to a hierarchically higher Internet protocol based

channel for an overall link between the at least two communicating devices.”
                                 Redacted in Public Version
        Third, even if                                        met the “supplying” limitation (it does not), it does not

perform the “initiating” limitation. It is the client devices, such as laptops or

smartphones, that decide whether to initiate a handover. At most, Redacted in Public Version




                                                                             234

                                                                         Appx506
             Confidential
         Case: 22-1957    Material
                    Document:           Redacted
                              18 Page: 313 Filed: 12/06/2022

                                 Public Version
                                 i.       Redacted in Public Version Overview

        NETGEAR products support Redacted in Public Version technologies which

provide Redacted in Public Version

                                   Dr. Lin, Mr. Overby, and Mr. Gielty provide a thorough

overview of certain features of Redacted in Public Version within their witness statements

which is summarized in the following paragraphs. See RX-1196C (Lin RWS) at Q/A 41-

46; RX-0935C (Overby WS) at Q/A 74-86; RX-1199C (Gielty WS) at Q/A 10-30.

                                 ii.      Individual Limitations Not Found in the
                                          NETGEAR Products

        As discussed below, there are issues with complainant’s identification of

NETGEAR accused products. Complainant’s allegations are limited to NETGEAR
                                                         Redacted in Public Version
products using Redacted in Public Version that provide                                compatibility. Even though

complainant introduces the idea of Redacted in Public Version                                    , complainant does not
                                                                                                                   Redacted in Public Version
cite to or support the allegations with any source code or evidence about

      . Madisetti Tr. 131. Instead, complainant concludes after looking at one of 12

chipsets that “Redacted in Public Version                                                                                      function in

sufficiently similar fashion such that Redacted in Public Version products also infringe.” See CX-

3846C (Madisetti WS) at Q/A 454-55. However, complainant does not show how

Redacted in Public Version are either similar or differentiated through its analysis. Thus,
                                                                                      Redacted in Public Version
only the products including Redacted in Public Version that provide                                                functionality

were analyzed.




                                                235

                                             Appx507
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 314 Filed: 12/06/2022

                               Public Version
       Claim 1 [preamble]: “A method for transmitting information in a
       communication system with at least two communicating devices,
       comprising:”

       NETGEAR does not directly or indirectly infringe the method claim 1 as it relates

to the “at least two communicating devices” portion of the claim. As previously stated,

the accused NETGEAR products only include relevant access points. Complainant’s

theories require third-party devices (e.g., phone and laptop) to perform one or more steps

of the ‘677 patent’s asserted independent claim 1, a method claim. Inasmuch as no single

entity performs all the steps of claim 1 of the ‘677 patent, NETGEAR cannot infringe.

       Claim 1[a]: “linking the at least two communicating devices for
       transmission of the information at least via a radio communication
       interface of a radio communication system having base stations
       interlinked via a base station network, said linking using channels
       arranged in hierarchical protocol layers;”

       The accused NETGEAR products do not link two communicating devices, e.g.,

laptop, tablet, or mobile phone (or “meters” shown in demonstratives) for transmission of

information. See CDX-0001C.677.147; CX-3846C (Madisetti WS) at Q/A 469. That the

NETGEAR access points can be used to allow third-party devices to individually connect

to a network does not mean that there is any overall link between the phone and the

laptop “for transmission of the information.” In other words, complainant has not shown

that there is any link between two communicating devices for the transmission of

information.

       Complainant argues that the accused products infringe based on a Redacted in Public Version

                                  from Qualcomm. See JX-0049C.0010 (Redacted in Public Version

                   ). However, the pages show Redacted in Public Version             , and do not




                                              236

                                           Appx508
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 315 Filed: 12/06/2022

                              Public Version
provide any evidence of the two communicating devices being linked across the base

station network. See CX-3846C (Madisetti WS) at Q/A 463-64.

       Complainant’s reliance on a third-party YouTube video in support of its

allegations (CX-3859.0001), is improper and unpersuasive for several reasons. See

Compl. Br. at 88. Complainant relies on its expert witness to explain in vague terms who

and what is depicted in the video. Complaint’s expert witness has no basis upon which to

do so. See id. The video lacks any indicia of authentication. It is unclear who is seen in

the video. Much of the audio is unclear. The video does not even purport to list credits,

or the names or identities of responsible persons or companies. The individuals seen in

the video were not identified or deposed. No documentation supporting the video was

offered. See Hr’g Tr. 27, 613. In addition to the questionable source and unreliability of

the video, there is no correlation between a presentation of the animated PowerPoint

demonstration and the accused NETGEAR products, no mention of how the functions

described in the video would actually work in the accused NETGEAR products, and no

mention of NETGEAR at all in the video by the speakers, and no explanation of who the

speakers are or their qualifications. No inference can be made about how NETGEAR

products actually work. See RX-1196C (Lin RWS) at Q/A 169-70. Thus, the video does

not provide any support of Dr. Madisetti’s opinions. Id.

       Complainant’s argument that Redacted in Public Version implementations are

the same is wrong for several reasons. First, complainant states that NETGEAR’s fact

witness, Mr. Steve Gielty, confirms the similarity of operation. However, Mr. Gielty

explicitly stated that the two implementations are both Redacted in Public Version

            See JX-0173C (Gielty Dep. Tr.) at 127. While both Redacted in Public Version

                                              237

                                          Appx509
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 316 Filed: 12/06/2022

                                           Public Version
Redacted in Public Version                              , complainant has not provided any evidence that

Redacted in Public Version                                                                          , nor has it stated that

they do in each case. Further, Redacted in Public Version is a NETGEAR marketing term related
                        Redacted in Public Version
to certain NETGEAR                                   that Redacted in Public Version



                 See CX-0478C, Interrogatory 87. Also, Redacted in Public Version as described

above with respect to any NETGEAR Redacted in Public Version

       Id.; RX-1196C (Lin RWS) at Q/A 77.

        Finally, complainant states that “[d]ocumentation for Redacted in Public Version

          shows that it has functionality that meets the limitations of the asserted claims

in the same way as the Redacted in Public Version discussed in this chart.” See CX-3846C
                                                               Redacted in Public Version                        Redacted in Public Version
(Madisetti WS) at Q/A 474. However, this                                                    document describes

                                                                                  JX-0049C.0026 (Redacted in Public Version

                    ); RX-1196C (Lin RWS) at Q/A 22-23, 42, 63, 77. As discussed

above, NETGEAR’s Redacted in Public Version products use Redacted in Public Version, not

Redacted in Public Version.

        Claim 1[b]: “supplying channel-specific information, at least from one
        channel for a radio link between one of the communicating devices and
        at least one base station, to a hierarchically higher Internet protocol
        based channel for an overall link between the at least two
        communicating devices; and”

        The NETGEAR accused products do not meet this limitation for several reasons.

First and foremost, in the link between the APs and the AP acting as a controller, the

communications are sent only as layer 2 communications. See RX-1196C (Lin RWS) at

Q/A 125-26. Communications between the AP and the client are also performed via

                                                               238

                                                            Appx510
                             Confidential
                    Case: 22-1957         Material
                                    Document:           Redacted
                                              18 Page: 317 Filed: 12/06/2022

                                              Public Version
802.11 standard communication protocols, which is also performed on layer 2. Id. Thus,

no information in the NETGEAR products is supplied to a “hierarchically higher Internet

protocol.”
                                                   Redacted in Public Version
                  Complainant’s citations to                                    source code functions only confirm that
Redacted in Public Version
                             is limited to layer 2 communications. For example, each of the complainant

arguments relies on Redacted in Public Version
                                                                                                                Redacted in Pub

                                                                                             but they confirm

                 reliance on layer 2. 42 The Redacted in Public Version determines which AP to

recommend for steering “based on an 802.11k Beacon Report.” See CX3846C (Madisetti

WS) at Q/A 477. Inasmuch as 802.11k is strictly a Layer 2 protocol a Beacon Report is

not supplied to “a hierarchically higher Internet protocol based channel.”

                  Further, there is no evidence that this function has information about a second

communicating device (part of the overall link between two communicating devices), and

Redacted in Public Version                                                                     . Complainant cites to the
Redacted in Public Version
                                    to state that Redacted in Public Version

                                                                                      (2.4 vs 5 GHz network channels).
                                                                                                                         Redacted in Public

However, that is the basic premise of any channel steering under this function in

             and does not indicate that any channel-specific information is supplied to “a

hierarchically higher Internet protocol based channel.” Complainant’s reliance on the
Redacted in Public Version
                                    is wrong for the same reasons. See CX-3846C (Madisetti WS) at Q/A

479.


42
     There is no evidence that Broadcom implements Redacted in Public Version
                                See CX-3846C (Madisetti WS) at Q/A 467.

                                                                       239

                                                               Appx511
           Confidential
         Case: 22-1957  Material
                  Document:           Redacted
                            18 Page: 318 Filed: 12/06/2022

                              Public Version
                                                                                                      Redacted in Public Version
       Qualcomm’s Redacted in Public Version                 explicitly confirms that
                                                                                                                           Redacte

relies on Layer 2 protocols. Any information that is transferred between Wi-Fi nodes (
                                                                                                Redacted in Public Version
                                                                ) for the purpose of
                                                                                                  Redacted in Public Version
                                              . See JX-0088C.2395, .2432 (

                                        ). Inasmuch as Redacted in Public Version



 . Further, at JX-0088C (Redacted in Public Version                                                  ) at

Q3_HPE_0129611 (page 2432), the guide states that IEEE standard 1905.1 defines a

common interface including for wireless transmissions IEEE 802.11, which is also layer

2. See RX-1196C (Lin RWS) at Q/A 46, 130.
                                                 Redacted in Public Version
       With no support from the source code or                                product literature to support

its case, complainant argues that within the Redacted in Public Version

                                    Redacted in Public Version

                                           See CX-3846C (Madisetti WS) at Q/A 480-81.
                                                                                          Redacted in Public Version
This argument is wrong. The cited code in line 1659 appears to show a

                                                                                to the device driver layer.

See RX-1196C (Lin RWS) at Q/A 133. However, this socket was never “connected” or

“bound” to an IP address, and complainant has not provided any code or evidence that

would show otherwise. Without evidence that the identified socket is ever associated

with an IP address, you cannot send or receive any IP-related traffic over the network,

and thus cannot send information to layer 4 or higher. Although socket is in the user

space, it does not interface with the networking stack in the OSI model or lower layers.

See RX-0935C (Overby WS) at Q/A 77-86.

                                           240

                                        Appx512
        Case: 22-1957         Document: 18        Page: 319      Filed: 12/06/2022

                              Public Version
       Moreover, even if the socket were considered a means to supply channel-specific

information to Layer 4 or higher, this would still not satisfy the claim because the socket

is not “a hierarchically higher Internet protocol based channel for an overall link between

the at least two communicating devices.” The identified socket is an internal

communication within the NETGEAR access point and does not form “an overall link”

between two communication devices. Similar to the HPE sockets, the communicating

devices identified by complainant have no awareness of, or access to, this socket. See

RX-1196C (Lin RWS) at Q/A 102-03.

       Complainant’s reliance on the third-party YouTube video is of no avail. Indeed,

complainant does not address portions of the video describing information exchange “in

the MAC layer,” (layer 2) and not in “a hierarchically higher Internet protocol based

channel.” Complainant’s reliance on a supposed engineer’s general statement that “it is

done at the application layer as well as driver, so you know throughout” is misplaced as

well because this statement does not explain what is done at various layers, nor does it

explain which layers are used.

       Claim 1[c]: “initiating at least one of a changeover in respect of at least
       one multiple access medium and a handover based on the channel-
       specific information supplied from the channel for the radio link to the
       hierarchically higher Internet protocol based channel for the overall
       link.”

       The NETGEAR accused products do not meet the “initiating” limitation as

complainant argues. First, there can be no initiating a changeover or a handover because,

as explained above, the NETGEAR products do not supply the identified channel-specific

information to a hierarchically higher Internet protocol based channel for an overall link

between two communicating devices.

                                            241

                                         Appx513
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 320 Filed: 12/06/2022

                                           Public Version
                                                   Redacted in Public Version
       Complainant argues that “                                                Network triggers clients roaming between

APs’, meaning that the NETGEAR products initiate a handover.” See Compl. Br. at 95

(citing CX-3846C (Madisetti WS) at Q/A 484). Even if this were true, complainant has
                     Redacted in Public Version
not shown that any                                “trigger” is “based on” channel-specific information

being “supplied from the channel for the radio link to the hierarchically higher Internet
                                                                                              Redacted in Public Version
protocol based channel for the overall link.” Indeed, the                                                                  documentation

states that roaming is Redacted in Public Version

                                                                             . See JX-0049C.0009 (Redacted in Public Version

                  ). Even the Redacted in Public Version mentioned in the documentation

is Redacted in Public Version

                                                                                                                                                              .

See RX-1196C (Lin RWS) at Q/A 167-68.
                                                         Redacted in Public Version
        Complainant argues that the                                                   documentation shows “initiating”

“based on the channel-specific information supplied…to the hierarchically higher
                                                                                                       Redacted in Public Version
Internet protocol based channel for the overall link” because                                                                       purportedly

provides “Redacted in Public Version                                     ” See Compl. Br. at 96 (citing CX-3846C
                                                                                                                                          Redacted in Public Ver

(Madisetti WS) at Q/A 484); RX-1196C (Lin RWS) at Q/A 167-68. However, “

                                   ” means that certain content, such as streaming 4K video or

web browsing, “gets the appropriate bandwidth.” Id. This is not related to initiating

handovers or changeovers, and does not show that CSI is supplied to a higher IP based

channel for the overall link between two communicating devices.
                                                                                            Redacted in Public Version
       Second, complainant’s reliance on the supposed                                                                    YouTube video (it is

not clear who took the video) for this limitation is unpersuasive. Id. at Q/A 169-70. For

                                                                       242

                                                               Appx514
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 321 Filed: 12/06/2022

                              Public Version
example, complainant cites to one engineer’s purported statement that “they will send a

request to steer it to the other access point, but the devices can refuse to move.” Id. This

excerpt actually supports NETGEAR’s position that “steering” is not the same as

“initiating” as explained above. Id. This confirms the end-user device (not the accused

products) decides whether to initiate a handover and connect to a different access point.

       Third, like the HPE products discussed above, the NETGEAR accused products

do not initiate a handover because the client/communication device always decides

whether to initiate a handover. See RX-1199C (Gielty WS) at Q/A 30. For example,

even when Redacted in Public Version                                                , such as

moving to a new AP, it is always the client that decides whether to follow the

recommendation. See Gielty Tr. 322-323. Complainant does not dispute this fact. In the

case of 802.11v, a transition management frame allows “an AP to request” a client device

to transition to a specific AP, but the client device does not have to honor that request.

See, e.g., RX-0289.0034, .0207; see also discussion of HPE products and limitation 1[b],

above. Ultimately, it is up to the client to decide whether to initiate a handoff, and

complainant does not show that a client device does so based on the claimed channel-

specific information supplied to the claimed higher Internet protocol based channel. 43

Finally, complainant’s citations to NETGEAR corporate deposition testimony have not

shown that the NETGEAR products practice the initiating limitation.

                       c.      Claim 1: CommScope Accused Products


43
  See RX-0289.001 (802.11v Standard), id. at .0034 (“5.2.12.3 BSS transition
management.”)); id. at .207 (Fig. 10-6k (“STA roaming evaluation and decision”)); id. At
.0153-0154; RDX-0002C.0237; see also Gielty Tr. 316-317, 319-321.

                                             243

                                         Appx515
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 322 Filed: 12/06/2022

                                Public Version
        There are at least three distinct reasons why the accused CommScope products do

not infringe the ‘677 patent. First, complainant does not identify any third-party client

devices required to infringe for this respondent, such as a smartphone or laptop, to satisfy

the claimed “communicating device” limitation. Instead, complainant argues that certain

Mesh APs that are part of a Smart Mesh WiFi base station network are the claimed

“communicating devices.” However, the Mesh APs are base stations, not communicating

devices, which is the only technically correct reading, because the Mesh APs (base

stations) are not “communicating devices” in the ‘677 patent which, for example,

separately claims “communicating devices” and a “radio communication system having

base stations interlinked via a base station network.” See RX-1196C (Lin RWS) at Q/A

50-51; RDX-0002C.247. Rather, the Ruckus APs form the network’s backbone. See

RX-0956 (Overview of Smart Mesh Networking); RDX-0002C.0246; RDX-0002C.0248.

        Second, Smart Mesh is not supplying channel-specific information “to a

hierarchically higher Internet protocol based channel for an overall link between the at

least two communicating devices.” Instead, the CSI identified by Dr. Madisetti is only

ever sent within a Mesh AP’s operating system via Redacted in Public Version that is not part of

the overall link between the at least two communicating devices. The accused APs seek

out ways to Redacted in Public Version           and the Redacted in Public Version collects

information Redacted in Public Version

Id.; RX-1201C (Jou WS) at Q/A 10-22. Redacted in Public Version that does not have

any bearing on the “overall link” between the APs, but is an internal communication

system for use between the APs as opposed to over a network. See RX-1196C (Lin

RWS) at Q/A 113.

                                              244

                                           Appx516
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 323 Filed: 12/06/2022

                             Public Version
                                                                          Redacted in Public Ve   Redacted in Public Ver

       Further, Smart Mesh communications between APs takes place at                         .



              . See RX-1196C (Lin RWS) at Q/A 52-54. Redacted in Public Version

                                                                          . Id.

       Third, inasmuch as Smart Mesh does not meet the “supplying” limitation, it

cannot meet the claimed “initiating” limitation at least because Smart Mesh never

initiates a handover based on supplying CSI “to a hierarchically higher Internet protocol

based channel for an overall link between the at least two communicating devices,” as

discussed below.

                              i.     CommScope’s Smart Mesh Overview

       CommScope’s Smart Mesh is Redacted in Public Version

                                                  . Dr. Lin, Mr. Overby, and Dr. Jou

provide a thorough overview of certain features of CommScope’s Smart Mesh within

their witness statements which is summarized in the following paragraphs. See RX-

1196C (Lin RWS) at Q/A 50-53; RX-0935C (Overby WS) at Q/A 74-86; RX-1201C (Jou

WS) at Q/A 10-14.

                              ii.    Individual Limitations Not Found in the
                                     CommScope Products

       Complainant’s allegations are directed to CommScope’s Smart Mesh feature. See

Compl. Br. at 63 (citing CX-3846C (Madisetti WS) at Q/A 391-92); RX-1196C (Lin

RWS) at Q/A 64-65. However, certain accused products, like the R310 series AP

products do not support Smart Mesh functionality. Id.




                                           245

                                        Appx517
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 324 Filed: 12/06/2022

                              Public Version
                                                           Redacted in Public Ve

       Although complainant argues that “                                          Access Points, alone or with

controllers, perform a method (or allow a user to perform a method) for transmitting

information in a communication system with at least two communicating devices” where

the “communicating devices are shown as Mesh APs,” complainant has not shown the

accused products (or a user of the accused products) are transmitting information in a

communication system with at least two communicating devices.

       Claim 1 [preamble]: “A method for transmitting information in a
       communication system with at least two communicating devices,
       comprising:”
                                  Redacted in Public Ve

       Complainant argues that “                          Access Points perform a method (or allow a user

to perform a method) for transmitting information in a communication system with at

least two communicating devices” where the “communicating devices are shown as Mesh

APs,” however, this makes the accused CommScope products both the claimed “base

stations” and the claimed “communicating devices” in the mesh network. See CX-

0221.0324 (Unleashed 200.9 User Guide ). However, the terms of the claim should have

different meanings and the accused APs cannot satisfy both terms of the claim or else the

terms would be rendered superfluous. 44 See RX-1196C (Lin RWS) at Q/A 80-81.

       Claim 1[a]: “linking the at least two communicating devices for
       transmission of the information at least via a radio communication
       interface of a radio communication system having base stations
       interlinked via a base station network, said linking using channels
       arranged in hierarchical protocol layers;”

       Complainant argues that the linking of at least two communicating devices (e.g.,

the mesh access points) is “done via the radio communication interface (e.g., the Wi-Fi

44
  Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005) (“A
claim construction that gives meaning to all the terms of the claim is preferred over one
that does not do so.”).

                                                           246

                                                   Appx518
         Case: 22-1957        Document: 18        Page: 325      Filed: 12/06/2022

                              Public Version
interface) of a radio communications system having base stations (e.g., the root access

points) interlinked via a base-station network (e.g., the network interlinking the access

points).” See Compl. Br. at 65 (citing CX-3846C (Madisetti WS) at Q/A 410-11); RX-

1196C (Lin WS) Q/A 79-80. CommScope’s Mesh APs are not “communicating devices”

as the ‘677 patent claims clearly distinguish between “communicating devices” and “base

stations interlinked via a base station network.” The accused Mesh APs are “base

stations interlinked via a base station network” and are not the “communicating devices,”

such as mobile phones or laptops connecting to base stations as envisioned by the ‘677

patent. See, e.g., JX-0001 (‘677 Patent) at 5:17-31, Fig. 1. In fact, complainant does not

dispute that the APs are base stations in a “base station network.” See RDX-0002C.0251.

At least under complainant’s arguments, the claimed “base station network” comprises

both Root APs and Mesh APs, and thus, both Root APs and Mesh APs are base stations

and not the “communicating devices.”

       Complainant does not provide any evidence to show that the APs perform the

steps of “linking.” See CX-3846C (Madisetti WS) at Q/A 410-11. Complainant does not

identify or provide any evidence that shows which Mesh APs it considers to be linked, as

required by the claim.

       Claim 1[b]: “supplying channel-specific information, at least from one
       channel for a radio link between one of the communicating devices and
       at least one base station, to a hierarchically higher Internet protocol
       based channel for an overall link between the at least two
       communicating devices; and”

       The CommScope accused products do not meet the “supplying” limitation for

several reasons. See RX-1196C (Lin RWS) at Q/A 139-40. First, as explained above,

complainant has not provided any evidence that shows the accused products perform

                                            247

                                         Appx519
        Case: 22-1957        Document: 18         Page: 326     Filed: 12/06/2022

                              Public Version
limitation 1[a] (“linking”). Id. at Q/A 140-141. For this reason alone, the accused

products do not infringe limitation 1[b].

       Second, complainant’s allegations regarding its identification of “communicating

devices” are inconsistent and improper. Id. at Q/A 142-43. For example, complainant

argues that “information is supplied for an overall link between the at least two

communicating devices, e.g., the information relating to the connection between base

station E and communicating device A is supplied for the connection between

communicating device B and communicating device A” and “[t]hat information can be

used for communicating device B to connect to communicating device C instead.” See

CX-3846C (Madisetti WS) at Q/A 416-17. In the prior limitation 1[a], complainant

identified the “two communicating devices” generally as “the mesh access points”

without identifying any specific mesh access points that meet the claim limitation. Now,

with respect to the “supplying” limitation 1[b], complainant identifies three

communicating devices (A, B, and C) (i.e., three mesh access points) without specifying

which ones are the claimed “two communicating devices.” However, regardless of the

defined “two communicating devices” all are base stations in its annotated figure CX-

0221.0324 (Unleashed 200.9 User Guide ), thus the accused products cannot infringe at

least because the APs are all the same, and are not “supplying channel-specific

information, at least from one channel for a radio link between one of the communicating

devices [e.g., communicating device A, B, or C] and at least one base station [e.g., Root

APs].” Complainant has not provided any evidence, nor can it, that shows a “channel for

a radio link between one of the communicating devices [e.g., communicating device B]

and at least one base station [e.g., Root AP].” See RDX-0002C.0247-250.

                                            248

                                        Appx520
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 327 Filed: 12/06/2022

                              Public Version
       Complainant has not provided any evidence that shows any channel-specific

information is supplied to a hierarchically higher Internet protocol based channel for an

overall link between the at least two communicating devices (in this hypothetical

arrangement) because each Mesh AP in the network exchanges information on layer 2, as

discussed above. Further, as to complainant’s argument that the claimed “radio link” is

between communicating device A and Root AP, complainant has not shown that any CSI

about that radio link is supplied to a “hierarchically higher Internet protocol based

channel for an overall link between the at least two communicating devices,” nor has it

identified what would be the “overall link” between APs in that arrangement.

       Specifically, as illustrated in its own demonstrative (CDX-0001C-677.0134),

complainant has not explained whether the overall link is between device A and device

B, or between device A and device C, or between device B and device C. Even if the

overall link was between device A and B, the CommScope products could not infringe

this limitation because there is no evidence that channel-specific information (e.g., from

the radio link between communicating device A and the Root AP), is supplied to a

hierarchically higher Internet protocol based channel for an overall link between, for

example, devices A and B.

       Third, none of the alleged channel-specific information identified in

complainant’s infringement contentions are supplied to a “hierarchically higher Internet

protocol based channel for an overall link between the two communicating devices.”

Complainant argues that the “Redacted in Public Version

                             ” and claims that the “Redacted in Public Version           .”

See CX-3846C (Madisetti WS) at Q/A 415. Complainant further argues that these are

                                            249

                                         Appx521
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 328 Filed: 12/06/2022

                               Public Version
Redacted in Public Version        Id. However, this is not an accurate depiction of the cited

code, because Redacted in Public Version call does not supply any network information to layer 4,

nor is it relevant to the issues related to the ‘677 patent. See RX-0935C (Overby WS) at

Q/A 83-86. Redacted in Public Version

                            and Dr. Madisetti has not cited any evidence that would show

otherwise. Id. Complainant refers to a Linux Drivers Textbook that explains that “[a]ny

ioctl command that is not recognized by the protocol layer is passed to the device layer.”

See CDX-0001C.677.136; CX-3846C (Madisetti WS) at Q/A 415. That is what happens

in the cited CommScope code. Yet, this shows Redacted in Public Version



                                            This would explain Redacted in Public Version

                                                    See RX-1196C (Lin RWS) at Q/A 144-

46. Here, Redacted in Public Version                                             , so that the

application can talk to the device driver, but it does not go through the IP layer (or layer

3/4).

        Claim 1[c]: “initiating at least one of a changeover in respect of at least
        one multiple access medium and a handover based on the channel-
        specific information supplied from the channel for the radio link to the
        hierarchically higher Internet protocol based channel for the overall
        link.”

        The accused CommScope products do not infringe this claim element for several

reasons. First, complainant argues that the accused access points initiate a handover

“based on the channel-specific information” discussed in limitation 1[b]. See Compl. Br.

at 73 (citing CX-3846C (Madisetti WS) at Q/A 416-17); RX-1196C (Lin RWS) at Q/A



                                              250

                                           Appx522
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 329 Filed: 12/06/2022

                              Public Version
174-78. However, complainant never identifies which “CSI” from limitation 1[b] it

contends is the basis for initiating a handover.

       Second, complainant argues that “information can be used for communicating

device B to connect to communicating device C instead, which involves switching from

communicating with one base station, e.g., base station E, to communicating with a

different base station, e.g., base station D.” See CX-3846C (Madisetti WS) at Q/A 416-

17; RX-1196C (Lin RWS) at Q/A 176. However, complainant has not provided an

evidence that shows that any handover was “based on the channel-specific information

supplied from the channel for the radio link to the hierarchically higher Internet protocol

based channel for the overall link.”

       Finally, the accused Smart Mesh APs do not initiate a handover or changeover

“based on the channel-specific information…to the hierarchically higher Internet protocol

based channel for the overall link.” See RX-1196C (Lin RWS) at Q/A 177-78. As

explained above, Mesh APs Redacted in Public Version, and thus, no channel-specific

information is supplied to a hierarchically higher Internet protocol based channel for the

overall link between two communicating devices.


                                       *      *      *

       Asserted dependent method claims 2-6 of the ‘677 patent read as follows:

               2. A method according to claim 1, wherein said supplying
                   sends the channel-specific information to the
                   hierarchically higher Internet protocol based channel
                   via a bit transmission channel to provide specific
                   information about a physical radio link between the one
                   of the communicating devices and the at least one base
                   station.


                                             251

                                           Appx523
        Case: 22-1957         Document: 18        Page: 330      Filed: 12/06/2022

                              Public Version
               3. A method according to claim 2, wherein said supplying
                   supplies the channel-specific information to the
                   hierarchically higher Internet protocol based channel
                   via a data link layer channel to ensure the radio link
                   between the at least one of the communicating devices
                   and the at least one base station.

               4. A method according to claim 2, wherein the channel-
                   specific information relates to parameter information
                   about the radio link between the at least one of the
                   communicating devices and the at least one base
                   station.

               5. A method according to claim 2, wherein the channel-
                   specific information relates to calculations on data
                   relating to the radio link between the at least one of the
                   communicating devices and the at least one base
                   station.

               6. A method according to claim 3, wherein the channel-
                   specific information is control information related to
                   the radio link between the at least one of the
                   communicating devices and the at least one base
                   station.

JX-0001 (‘677 Patent) at 6:3-26.

                       d.     Dependent Claim 2 : “A method according to
                              claim 1, wherein said supplying sends the
                              channel-specific information to the
                              hierarchically higher Internet protocol based
                              channel via a bit transmission channel to provide
                              specific information about a physical radio link
                              between the one of the communicating devices
                              and the at least one base station.”

       Complainant has not provided evidence that the accused products send channel-

specific information to the hierarchically higher Internet protocol based channel “via a bit

transmission channel” as required by the claim. Rather, complainant concludes that this

element is met without demonstrating that a “bit transmission channel” is present in the




                                            252

                                         Appx524
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 331 Filed: 12/06/2022

                                             Public Version
accused devices, or that any alleged “channel-specific information” is supplied via the

“bit transmission channel.” See RX-1196C Lin WS) at Q/A 179-82.

       Further, complainant argues that the accused products meet claim 2 because in
                Redacted in Publ

“claim 1, the                      can be supplied via the bit transmission channel, e.g., layer 1.” See

Compl. Br. at 59, 74, 97 (citing CX-3846C (Madisetti WS) at Q/A 374, 418, 488). This

is wrong for the same reasons discussed above because any RSSI information is provided

based on Layer 2 protocols, and there is no evidence that RSSI is supplied to “a

hierarchically higher Internet protocol based channel for an overall link between the at

least two communicating devices.” See RX-1196C (Lin RWS) at Q/A 179-82.

                                      e.     Dependent Claim 3: “A method according to
                                             claim 2, wherein said supplying supplies the
                                             channel-specific information to the
                                             hierarchically higher Internet protocol based
                                             channel via a data link layer channel to ensure
                                             the radio link between the at least one of the
                                             communicating devices and the at least one base
                                             station.”

       The accused products do not infringe claim 3. See RX-1196C (Lin RWS) at Q/A

183-86. Complainant has not provided any evidence that the accused products infringe.

Instead, complainant concludes that this element is met without providing any evidence

that a “data link layer channel” is present in the products, or that any alleged “channel-

specific information” is supplied via the “data link layer channel.”

       Complainant argues that the HPE accused products meets the limitations

contained in claim 2. For the reasons discussed above, this is wrong. Further,

complainant argues that the accused products meet claim 3 because in “claim 1, the

channel specific information can be supplied via the data link layer, e.g., layer 2.” See


                                                           253

                                                       Appx525
                     Confidential
                Case: 22-1957     Material
                            Document:           Redacted
                                      18 Page: 332 Filed: 12/06/2022

                                                                 Public Version
Compl. Br. at 60; CX-3846C (Madisetti WS) at Q/A 376. This opinion is inconsistent

with complainant’s positions related to how the channel-specific information is
                       Redacted in Public Version
transmitted                                       . Specifically, complainant, through its prior analysis of claim 1,

argued that channel-specific information is supplied to Redacted in Public Version, but here

contends it is supplied to a “data link layer, e.g., layer 2” (Redacted in Public Version).

Complainant’s analysis stating that channel-specific information is being supplied in two

apparently disparate manners is wrong. See RX-1196C (Lin RWS) at Q/A 184.

Complainant has not provided any evidence to support its positions.

              Complainant argues that the accused NETGEAR and CommScope products meet

the limitations contained in claim 2. For the reasons discussed above, this is wrong. See

RX-1196C (Lin RWS) at Q/A 185-186. Complainant argues that the accused products
                                              Redacted in Publ

meet claim 3 because “                                           can be supplied via the data link layer, e.g., layer 2, to the
Redacted in Public Version
                             discussed above to ensure that the radio link between the at least one of the

communicating devices and the at least one base station, e.g., Redacted in Public Version

        ” See Compl. Br. at 75, 98; CX-3846C (Madisetti WS) at Q/A 419, 489. However,

complainant has not provided any evidence in support.

                                             f.                  Dependent Claim 4: “A method according to
                                                                 claim 2, wherein the channel-specific
                                                                 information relates to parameter information
                                                                 about the radio link between the at least one of
                                                                 the communicating devices and the at least one
                                                                 base station.”

              Complainant has not provided any evidence that the accused products practice

claim 4. See CX-3846C (Madisetti WS) at Q/A 377-78, 420, 490. Instead, complainant

summarily concludes that this element is met without providing any evidence that


                                                                                254

                                                                            Appx526
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 333 Filed: 12/06/2022

                                            Public Version
“channel-specific information” is supplied and whether it includes any alleged

“parameter information.” See Compl. Br. at 60, 75, 98; RX-1196C (Lin RWS) at Q/A

187-90. Complainant further argues that the accused products meet the limitations of

claim 2. For the reasons discussed above, this is wrong. Complainant does not provide
                        Redacted in Publ

any evidence that the                      qualifies as “parameter information” as disclosed in the
                                                                                       Redacted in Publ

patent. In the ‘677 patent, the example surrounds QoS information, but                                    is not

congruent to this type of information. Id. at Q/A 188-90.

                          g.                 Dependent Claim 5: “A method according to
                                             claim 2, wherein the channel-specific
                                             information relates to calculations on data
                                             relating to the radio link between the at least one
                                             of the communicating devices and the at least
                                             one base station.”

        The accused products do not infringe claim 5. See RX-1196C (Lin RWS) at Q/A

191-194. Complainant has not provided any evidence that the accused products infringe.

Instead, complainant’s expert concludes that this element is met without providing any

evidence that “channel-specific information” is supplied and whether it allegedly relates

to “calculations on data relating to the radio link.” See Compl. Br. at 60, 76, 98; CX-

3846C (Madisetti WS) at Q/A 379-380, 421, 491.

        Complainant argues that the HPE accused products meet the limitations contained

in claim 2. For the reasons discussed above, this is incorrect. See RX-1196C (Lin RWS)

at Q/A 192. Further, complainant does not demonstrate that the Redacted in Public Version was
                                                                                                  Redacted in Public Version
performed based on “data relating to the radio link,” but is instead based on                                                  .

        Complainant argues that the NETGEAR and CommScope products infringe claim

2. For the reasons discussed above, this is wrong. Further, complainant argues that the


                                                          255

                                                       Appx527
                     Confidential
               Case: 22-1957      Material
                            Document:           Redacted
                                      18 Page: 334 Filed: 12/06/2022

                                                       Public Version
accused products meet claim 5 because in “claim 1, the channel-specific information
                                           Redacted in Public Version

includes calculations on                                                of the proposed channel between the at least one of the

communicating devices and the at least one base station.” See Compl. Br. at 76, 98; CX-

3846C (Madisetti WS) at Q/A 421, 491. Complainant has not provided sufficient

evidence to support his position. See RX-1196C (Lin RWS) at Q/A 193-94.

                                      h.                  Dependent Claim 6: “A method according to
                                                          claim 3, wherein the channel-specific
                                                          information is control information related to the
                                                          radio link between the at least one of the
                                                          communicating devices and the at least one base
                                                          station.”

              The accused products do not infringe claim 6. See RX-1196C (Lin RWS) at Q/A

195-98. Complainant has not provided any evidence that the accused products infringe.

Id.

              Complainant argues for all respondents that the accused products meet the

limitations contained in claim 3. See Compl. Br. at 61, 76, 99 (citing CX-3846C

(Madisetti WS) at Q/A 382-83, 422-23, 492-93). For the reasons discussed above, this is

wrong. Complainant further claims that control information in HPE accused products is

“Redacted in Public Version                                                      ” “Redacted in Public Version           ” or
 Redacted in Public Version
“                             ” Id. at Q/A 382. However, complainant has not explained why any of the

purported “channel-specific information” is “control information” in the ‘677 patent, or

why it would satisfy the limitations found in claim 1, where complainant points to a

different alleged channel-specific information. See RX-1196C (Lin RWS) at Q/A 195-

98. Further, complainant has not established how NETGEAR and CommScope provide

any of the purported “channel-specific information” as “control information” in the ‘677


                                                                                256

                                                                             Appx528
              Confidential
        Case: 22-1957      Material
                     Document:           Redacted
                               18 Page: 335 Filed: 12/06/2022

                                   Public Version
patent. Id.

                3.           Indirect Infringement (Inducement)

       Complainant argues that HPE directly infringes asserted method claims 1-6 of the

‘677 patent:

               The evidence has shown that HPE directly infringes the asserted
       claims by testing and operating the HPE Products in the United States.
       CX-3846C (Madisetti WS) at Q/A 384. As discussed above, the HPE
       Products practice the asserted claims when operated, including when
       operated with their roaming and/or steering functionality. Id. HPE tests
       the HPE Products in the United States and abroad, thereby performing all
       the steps in the asserted claims. Id. CX-3591C.0018 shows that HPE tests
       the sticky client function discussed above. Id. CX-3591C.0016 shows
       that HPE tests the multiple access points and clients, e.g., communicating
                                                                         Redacted in P

       devices. Id. And CX-3591C.0020-21 shows that HPE tests
                  with multiple access points and clients, e.g., communicating
       devices. Id.

               HPE’s corporate deposition testimony also shows that HPE
       directly infringes the claims of this patent by conducting tests of the
       accused products in the United States. CX-3846C (Madisetti WS) at Q/A
       385 (citing JX-0179C.0023-24 and .0035). For example, Redacted in Public Version

                     . Id.

               HPE’s interrogatory responses further show that HPE directly
       infringes the claims of this patent. CX-3846C (Madisetti WS) at Q/A 386.
       Redacted in Public Version

                           CX-3846C (Madisetti WS) at Q/A 384 (citing to CX-
       0477C.0003-04). Respondents’ Expert, Dr. Lin, incorrectly testified in his
       witness statement that the Redacted in Public Version
                                                 .” RX-1196C (Lin WS) at Q/A
       200. As demonstrated at the hearing, HPE’s interrogatory responses
                                                               Redacted in Public Version
       contradict that testimony by explicitly describing that
                                                    Tr. (Lin) at 568:15-569:22.

  Compl. Br. at 61-62.

       Complainant argues that HPE induces infringement of the asserted method claims

1-6 of the ‘677 patent:

                                               257

                                            Appx529
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 336 Filed: 12/06/2022

                                                Public Version
                The evidence has shown that HPE induces infringement of the
       asserted claims by end users in the United States. CX-3846C (Madisetti
       WS) at Q/A 387. Evidence of that inducement can be found in, among
       other things, HPE’s user manuals and instructions as to how to use the
       products. Id. HPE also provides a vast array of support to its United
       States customers via its support websites, e.g.,
       https://support.hpe.com/hpesc/public/home/ and
       https://asp.arubanetworks.com/. Id.

               HPE induces infringement of its customers by providing the
       ArubaOS user guide that instructs HPE’s customers as to how to set up
       and use the products in an infringing manner. CX-3846C (Madisetti WS)
       at Q/A 388 (citing CX-0104.0016). The ArubaOS guide provides detailed
       instructions describing ClientMatch and showing how to configure
       ClientMatch. Id. (citing CX-0104.0569-70).

               HPE’s interrogatory responses further show that HPE induces
       infringement. CX-3846C (Madisetti WS) at Q/A 389 (citing CX-
       0477C.0004-05, Response to Interrogatory No. 175). HPE’s responses to
       RFAs also indicate that HPE induces infringement. Id. (citing CX-
       0476C.0383-86).

Compl. Br. at 62-63.

       Complainant argues that CommScope directly infringes asserted method claims 1-

6 of the ‘677 patent:

               CommScope directly infringes the asserted claims by testing and
                        Redacted in Public Ve

       operating the          Access Points in the United States. CX-3846C  Redacted in Public Ve

       (Madisetti WS) at Q/A 424. As discussed above, the CommScope
       Access Points practice the asserted claims when operated, including when
                                                                      Redacted in Public Ve

       operated with the Redacted in Public Version. Id. CommScope tests the
       Access Points in the United States and abroad, thereby performing all the
       steps in the asserted claims. Id. CommScope’s deposition testimony
       shows that CommScope directly infringes the claims of this patent by
       conducting tests of the accused products in the United States. Id. This
       includes Redacted in Public Version , which would encompass the
       accused functionality. Id. (citing JX-0175C.26 (Jou Tr.) at 97:8-12;
       139:22-140:12.

Compl. Br. at 76-77.

       Complainant argues that CommScope induces infringement of the asserted

method claims 1-6 of the ‘677 patent:
                                                      258

                                                    Appx530
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 337 Filed: 12/06/2022

                                  Public Version
               CommScope induces infringement of the asserted claims by end
       users in the United States. CX-3846C (Madisetti WS) at Q/A 425.
       Evidence of that inducement can be found in, among other things, user
       manuals and instructions as to how to use the products. Id. CommScope
       also provides a vast array of support to its United States customers via its
       support websites. Id.

               CommScope induces infringement of its customers by providing
       documents and detailed instructions to its customers showing them how to
       deploy the Redacted in Public Version that infringe the ‘677 Patent as
       discussed above. CX-3846C (Madisetti WS) at Q/A 426. For example,
                                                                          Redacted in Public Version
       JX-0029C.0379-399 includes an entire chapter devoted to
                                       Thus, CommScope induces infringement of the
                                                                           Redacted in Public Version
       asserted claims by end users in the United States. Id. The
                                      chapter also includes a reference to another
       chapter, which contains “recommendations and best practices in planning
       and deploying Redacted in Public Version .” Id. (citing JX-0029C.399).
       The Redacted in Public Version Best Practices chapter starts at JX-0029C.0401.

               CommScope’s interrogatory responses further show that
       CommScope induces infringement. CX-3846C (Madisetti WS) at Q/A
       427; see, e.g., CX-0472C.0006 (Response to Interrogatory No. 175).
       CommScope’s responses to RFAs also show that CommScope induces
       infringement. CX-3846C (Madisetti WS) at Q/A 427; see, e.g., CX-
       0471C.0006-07 (Response to RFA 220; Response to RFA 222).

Compl. Br. at 77-78.

       Complainant argues that NETGEAR directly infringes asserted method claims 1-6

of the ‘677 patent:

               NETGEAR directly infringes the asserted claims by testing and
       operating the NETGEAR Products in the United States. CX-3846C,
       Madisetti WS at Q/A 494. Complainant has shown that the NETGEAR
       Products practice the asserted claims when operated, including when
       operated with their roaming and/or steering functionality. Id.
       NETGEAR’s deposition testimony shows that NETGEAR directly
       infringes the claims of this patent by conducting tests of the accused
       products in the United States. CX-3846C, Madisetti WS at Q/A 495; see
       e.g., JX-0172C.0030, .08, .10, .17-18, .23-24, .29, .41-42, .48. For
       example, NETGEAR Redacted in Public Version
                                                   CX-3846C, Madisetti WS at
       Q/A 495; JX-0172C.0030. Another example excerpt of NETGEAR’s
       deposition testimony at JX-0172C.0030 shows that NETGEAR directly

                                                   259

                                               Appx531
           Confidential
        Case: 22-1957   Material
                  Document:           Redacted
                            18 Page: 338 Filed: 12/06/2022

                             Public Version
       infringes the claims of this patent by conducting tests of the NETGEAR
       Products in the United States. CX-3846C at Q/A 495.

               NETGEAR’s interrogatory responses show that NETGEAR
       directly infringes the claims of this patent. CX-3846C, Madisetti WS at
       Q/A 496. As shown in those responses, NETGEAR specifically tests
       Redacted in Public Version            . Id. (citing CX-0481C.0004
       (Response to Interrogatory No. 174 (4/21/2021)). NETGEAR’s
       documents also show that NETGEAR tests the NETGEAR Products in the
       United States, thereby performing all the steps in the asserted claims. CX-
       3846C, Madisetti WS at Q/A 497 (citing CX-3921C.0002).).

Compl. Br. at 99-100.

       Complainant argues that NETGEAR induces infringement of the asserted method

claims 1-6 of the ‘677 patent:

                NETGEAR induces infringement of the asserted claims by end
       users in the United States. CX-3846C, Madisetti WS at Q/A 498.
       Evidence of that inducement can be found in among other things, user
       manuals and instructions as to how to use the products. Id. NETGEAR’s
       user guides include instructions to its end users as to how to set up and use
       the NETGEAR products in an infringing manner. CX-3846C, Madisetti
       WS at Q/A 499. The example user guide at CX-1361C.0003, .07, .08, and
       .11 is illustrative, showing for example “When to Use Your Extender” and
       “Use as an Access Point.” Id. NETGEAR’s interrogatory responses
       further indicate that NETGEAR induces infringement of its end users.
       CX-3846C, Madisetti WS at Q/A 500 (citing CX-0481C.0004-06
       (Response to Interrogatory No. 175)). NETGEAR’s responses to RFAs
       also indicate that NETGEAR induces infringement of its end users. CX-
       3846C, Madisetti WS at Q/A 500 (citing CX-0480C.0004-06 (Response to
       RFA 159)).

Compl. Br. at 100.

                        a.       Direct Infringement of the ‘677 Patent

       As discussed below, complainant has not shown direct infringement. See RX-

1196C (Lin RWS) at Q/A 199-200. The ‘677 patent claims a method for transmitting

information in a communications network, which requires at least two communicating

devices. Without the communicating devices, one could not perform the method. Dr.

                                             260

                                         Appx532
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 339 Filed: 12/06/2022

                              Public Version
Madisetti’s allegations require that a third-party provide at least a mobile phone and

laptop, for example, to even meet the limitation required by all asserted claims. There

cannot be any direct infringement if the respondents do not provide the “at least two

communicating devices.” Moreover, even for the “supplying” limitation, respondents

cannot directly infringe because a third-party device, such a mobile phone that can

communicate via radio, is required in order to have a radio link between that device and a

base station.

       Testing

       While Dr. Madisetti opines that respondents infringe by testing the accused

products in the United States, to the extent any such testing could be considered an

infringing act, Dr. Madisetti has not provided any evidence to support that the testing

could perform each and every claim limitation of the asserted patent.

       Nothing Dr. Madisetti cites shows that HPE actually tests any of the accused

products in the United States. Certain HPE documents contain testing details, but no

such information regarding the testing being done in the United States. See CX-

3591C.0016, .0018, 0020-21 (Redacted in Public Version ). Dr. Madisetti’s conclusory

opinion has not shown direct infringement through testing (in the U.S.) of any device. As

confirmed by respondents’ interrogatory and other discovery responses, and the
                                                                                  Redacted in Public

testimony of HPE’s corporate witness, the accused Client Match functionality is

                                        See, e.g., CX-0477 (HPE’s Response to

Interrogatory No. 174 (Redacted in Public Version                       ); RX-1198C

(Balay WS) at Q/A 85; CX-0481C (NETGEAR’s Response to Interrogatory No. 174);

CX-0472C (CommScope’s Response to Interrogatory No. 174 (CommScope’s

                                            261

                                        Appx533
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 340 Filed: 12/06/2022

                              Public Version
understanding is that Redacted in Public Version

                            )); RX-1201C (Jou WS) at Q/A 22. Thus, complainant has

not shown direct infringement through testing (in the U.S.) of any device.

                       b.     Indirect Infringement of the ‘677 patent

       As discussed below, complainant has not shown indirect infringement. See RX-

1196C (Lin RWS) at Q/A 201. Complainant does not argue that respondents’ customers

directly infringe claims 1-6 of the ‘677 patent or that the accused products necessarily

infringe claims 1-6. As discussed above, infringement of the ‘677 patent requires

multiple entities such that neither respondents’ customers nor a third-party manufacturer

could directly infringe claims 1-6 of the ‘677 patent. The accused products also do not

necessarily use the 802.11, 802.11k, 802.11v, 802.11r, or 802.1Q standards, as the

accused products are capable of supporting hundreds of different standards and protocols.

Id. at Q/A 199-201. Complainant has not pointed to any specific instances of direct

infringement or provided any evidence that the accused products necessarily infringe the

‘677 patent. Id.

       Respondents do not encourage, and do not possess a specific intent to encourage,

another’s infringement of the ‘677 patent. Id. Thus, there is no basis on which a finding

of indirect infringement can be found as to any of the respondents.

       Complainant argues that respondents’ advertisements, distribution channels,

circulation of instruction manuals, and customer support, among other things, induces

respondents’ customers to infringe the ‘677 patent. However, respondents do not

encourage, and do not possess a specific intent to encourage, another’s infringement of

the ‘677 patent through use of their manuals, advertisements, distribution, or otherwise.

                                            262

                                         Appx534
            Confidential
       Case: 22-1957     Material
                   Document:           Redacted
                             18 Page: 341 Filed: 12/06/2022

                                Public Version
Id. The fact that respondents advertise their products, distribute their products, provide

technical support, etc. to respondents’ customers plays no role in any specific intent to

infringe the ‘677 patent. Id.

       C.      Domestic Industry (Technical Prong)

       As noted above, complainant relies on method claims 1-6 of the ‘677 patent for

the technical prong of the domestic industry requirement.

       Complainant argues, inter alia:

               Technical Prong of Domestic Industry for the ‘677 Patent –
               SCALANCE W700 Series Products

               The evidence has shown that Siemens provides “SCALANCE
       W700 Series Products” that perform the methods of the asserted claims of
       the ‘677 Patent using their Redacted in Public Version
                    . See generally CX-3846C, Madisetti WS at Q/A 501-524.
       Those products include SCALANCE W7xx products such as W72x,
       W73x, W73fx, W74x, W76x, W77x, and W78x and substantially similar
       products. CX-3846C, Madisetti WS at Q/A 501. Dr. Madisetti analyzed
       the SCALANCE W700 Series Products, and he found them to meet all the
       limitations of the asserted claims of the ‘677 Patent. CX-3846C, Madisetti
       WS at Q/A 501-524. In his analysis, Dr. Madisetti reviewed several
       documents, which are cited in his witness statement. Id.

       ….

               Technical Prong of Domestic Industry for the ‘677 Patent –
               SCALANCE W1750D

               The evidence has shown that the SCALANCE W1750D or its
       users practice the methods of claims 1-6 of the ‘677 Patent. See generally
       CX-3846C, Madisetti WS at Q/A 525-540. The SCALANCE W1750D is
       Redacted in Public Version             CX-3846C, Madisetti WS at Q/A
       529. Redacted in Public Version


                                         Id. Thus, the SCALANCE W1750D meets
       all the limitations of the asserted claims of the ‘677 Patent. CX-3846C,
       Madisetti WS at Q/A 525-540.


                                            263

                                       Appx535
            Confidential
         Case: 22-1957   Material
                   Document:           Redacted
                             18 Page: 342 Filed: 12/06/2022

                                Public Version
Compl. Br. at 100-101, 104; see id. at 101-108.

        Respondents disagree. See Resps. Br. 277-78; Resps. Reply Br. 91-93.

        As discussed below, the evidence shows that complainant has not satisfied the

technical prong of the domestic industry requirement.

        As discussed below, complainant has not satisfied the technical prong of the

domestic industry requirement for the same reasons the NETGEAR and HPE accused

products do not infringe the asserted claims.

        Category 1: SCALANCE W700

        Complainant’s arguments as to why the “SCALANCE W700” series products

allegedly practice the ‘677 patent Redacted in Public Version

       See Compl. Br. at 101-02. Complainant summarily argues that the Siemens APs

use “Redacted in Public Version.” See Compl. Br. at 101. However, complainant cites no

evidence that the Scalance W7xx products actually use Redacted in Public Version, or that, even

if they do, that the identified Redacted in Public Version is the same code present and

enabled on the identified Scalance W7xx products. Id. at 101. In any event, the Siemens

APs would not be within the scope of the ‘677 patent claims for Redacted in Public Version

                                                           . See RX-1196C (Lin RWS) at Q/A

7, 202-03, 204-15. Further, the evidence cited to show Siemens’ direct practice of the

claims does not show any of the claimed limitations. See id. at 102-03 (citing “wireless

site survey and configuration,” wireless support, and configuration support in documents,

but no claim limitations).




                                               264

                                           Appx536
                  Confidential
              Case: 22-1957    Material
                         Document:           Redacted
                                   18 Page: 343 Filed: 12/06/2022

                                          Public Version
            Category 2: The Scalance W1750D

            As to “SCALANCE W1750D,” Redacted in Public Version




                                                                                                                                      Redacted in

                             See Compl. Br. at 104; CX-3846C (Madisetti WS) at Q/A 525-40.



             the identified Scalance W1750D is not within the scope of the ‘677 patent claims

and does not satisfy the technical prong. See RX-1196C (Lin RWS) at Q/A 7, 202-03,

216-20.

            In summary, complainant’s arguments regarding the Scalance W1750D are

wrong, and the Scalance W1750D is not within the scope of the asserted ‘677 patent

claims. Siemens W1750D is based on the Redacted in Public Version

                                                                  . See RX-1198C (Balay WS) at Q/A 15-18; CX-

3634C Redacted in Public Version

      d; RX-1205; RX-1204; RX-1203; RX-1207; RX-1206. However, complainant’s
                                                                                                           Redacted in Publi

analysis for the Redacted in Public Version are based primarily on the product’s use of

functionality. See CX-3846C (Madisetti WS) at Q/A 530. As discussed above, the
Redacted in Public Version                      Redacted in Public Version
                             does not use the                                message system, but rather uses a different

system named Redacted in Public Version                                                        . Moreover, it appears
                                                                                                               Redacted in Public Version

that complainant never analyzed the code for the Instant APs (including the                                                            ).
                                                                                                                               Redacted in Pub

See RX-1196C (Lin RWS) at Q/A 218. Thus, it has not been established that the

       is within the scope of the ‘677 patent claims and likewise no viable domestic

industry evidence for the Scalance W1750D.

                                                                        265

                                                                Appx537
                       Confidential
                  Case: 22-1957     Material
                              Document:           Redacted
                                        18 Page: 344 Filed: 12/06/2022

                                                    Public Version
               Complainant’s arguments regarding Dr. Balay’s “self-serving” testimony are not

persuasive. See Compl. Br. at 105. Dr. Balay testified that Redacted in Public Version

                                                                   Balay Tr. 404 (“Redacted in Public Version



                                     ). Indeed, Redacted in Public Version

                                                               . See Resps. Br. at 37, 188; Balay Tr. 398.

               Indeed, complainant has presented no evidence that Siemens has ever purchased
                      Redacted in Public V                                                                   Redacted in Public V

or used an                               controller or that a Scalance W1750D ever has been used with an

controller, let alone in the United States. Complainant has not presented any evidence of

a Scalance W1750D operating Redacted in Public Version

                    , let alone in the United States. The only specific evidence in the record

regarding the use of the Scalance W1750D is Redacted in Public Version

                              . See JX-0185C (Maker Dep. Tr.) at 94-95.

               Complainant’s argument that equates the W1750D to a Campus AP as sold is not

persuasive. Dr. Balay stated that Redacted in Public Version

              See Balay Tr. 412, 403. The record evidence shows that the W1750D is sold as an
Redacted in Public Version
                             and while Redacted in Public Version                                       , there is

no evidence that it has ever been done nor has complainant stated that it tested this

functionality.

               D.                Validity of the ‘677 Patent

               Respondents argue, inter alia:

                      At the time of the ‘677 Patent’s purported invention, the patent’s
               underlying technology was well-known. For example, at the time of the
               ‘677 Patent, radio communications systems, including cellular and Wi-Fi
                                                                 266

                                                              Appx538
Case: 22-1957       Document: 18         Page: 345       Filed: 12/06/2022

                     Public Version                                       N



  networks, were well-known. JX-0188C (Martin Tr.) at 122:21-25. JX-
  0001 (‘677 Patent) at 1:29-38, 2:47-54, 2:55-58; 4:53-61, 4:31-47. Base
  station networks, layered communication protocols (such as the ISO/OSI
  model), Internet protocol communications, and Quality of Service (QoS)
  were also all well-known at the time. RX-0778 (Lin WS) at Q/A 19;
  RDX-0002C.0004. Importantly, handoff methods within radio
  communication systems were also well-known, including handoffs being
  initiated based on radio channel quality information. JX-0188C (Martin
  Tr.) at 123:1-5; JX-0001 at 4:67-5:3; RX-0925 (Pitcher) at 10:63-11:9,
  11:28-37; RX-1190 (Takagi) at [0088]; RX-0266 (Ahmed) at 19:13-26;
  RX-0241 (Matta) at 3:54-64, 3:44-53, 3:65-4:4.

        The asserted claims (1-6) of the ‘677 Patent are invalid in view of
  numerous independent references which are identified below.

         x   Claims 1-6 are anticipated by Pitcher (RX-0778 at Q/A
             31-100)
         x   Claims 1-6 are anticipated by Matta (RX-0778 at Q/A
             101-156)
         x   Claims 1-6 are anticipated by Takagi (RX-0778 at Q/A
             157-208)
         x   Claims 1-6 are anticipated by Ahmed (RX-0778 at Q/A
             209-253)
         x   Claims 1-6 are rendered obvious by Takagi in view of
             Pitcher (RX-0778 at Q/A 157-208)
         x   Claims 1-6 are rendered obvious by Matta in view of
             Matta ‘915 (RX-0778 at Q/A 101-156); RX-0226
             (Matta ‘915)
         x   Claims 1-6 are rendered obvious by Pitcher in view of
             Park (RX-0778 at Q/A 31-100); RX-0178 (Park).

         As discussed below, each of these references discloses or renders
  obvious every limitation of claims 1-6 of the ‘677 Patent.

          Q3 does not challenge that many of the claim limitations are
  disclosed in the prior art. In fact, for Takagi, there is only a single dispute
  regarding limitation (1[c]), i.e., whether Takagi discloses “initiating…a
  handover based on supplying channel-specific information from the
  channel for the radio link to the hierarchically higher Internet protocol
  based channel for the overall link.” Q3 does not challenge that the
  channel-specific information is supplied according to the claim (limitation
  1[b]), but only whether that supplying results in initiating a handover. As
  shown below, Takagi’s preferred embodiment expressly discloses this
  limitation and Q3’s challenge should be rejected. Q3’s challenges to the

                                       267

                                Appx539
        Case: 22-1957        Document: 18         Page: 346     Filed: 12/06/2022

                              Public Version
       remaining references should also be rejected because Pitcher, Matta, and
       Ahmed anticipate or render obvious the asserted claims.

Resps. Br. at 231-32; see id. at 232-77; Resps. Reply Br. 83-91.

       Complainant disagrees. See Compl. Br. at 108-27; Compl. Reply Br. 32-38.

       For the reasons set forth below, respondents have not shown by clear and

convincing evidence that the asserted claims of the ‘677 patent are invalid.

               1.      Pitcher alone and Pitcher combined with Park

       As discussed below, respondents have not shown by clear and convincing

evidence that U.S. Patent No. 6,947,405 (“Pitcher”), RX-0925, anticipates claims 1-6, or

that Pitcher in combination with U.S. Patent No. 5,912,878 (“Park”), RX-0178, render

claims 1-6 obvious.

       Pitcher does not disclose “supplying channel specific information … to a

hierarchically higher Internet protocol based channel,” as required by element 1[b]. See

CX-3930C (Martin WS) at Q/A 35. Citing the examples in Figures 8 and 9, respondents’

expert, Dr. Lin opines that the “channel specific information” in Pitcher is measurements

of a radio signal, such as signal strength and Bit Error Rate, and that the mobile terminal

(element 22) supplies that information between the mobile terminal (element 22) and the

wireless home network (element 100) to the mobile switching center (element 40). Id.

However, in Figures 8 and 9 the measurements of the radio signal are not supplied to a

hierarchically higher layer. Id. Instead, they are supplied from the mobile station

(element 22) to radio base station (element 28) to the mobile switching center (element

40), without being supplied to a hierarchically higher layer. Id.




                                            268

                                        Appx540
         Case: 22-1957           Document: 18     Page: 347      Filed: 12/06/2022

                                 Public Version
       Along the path for relaying measurement information from the mobile station to

the radio base station to the mobile switching center, Pitcher never discloses supplying

that measurement information to a hierarchically higher layer. See CX-3930C (Martin

WS) at Q/A 36. Instead that information stays at the same layer. Respondents’ expert,

Dr. Lin opines that Figure 8 shows radio measurements sent from the mobile terminal to

the cyber base station via the voice client. Id. However, as shown above, Figure 8 shows

sending measurements from the mobile station to the radio base station to the mobile

switching station. Id. Thus, the voice client and cyber base station are bypassed in favor

of the radio base station. Id.

       Complainant has annotated Figure 3 to further show this bypassing, which shows

that any radio measurements sent in the example of Figure 8 can skip the voice client and

cyber base station altogether as shown by the yellow lines. Id.; CDX-0006C.022.

Inasmuch as the measurement data in Figure 8 is never sent to the voice client, it is never

“encapsulated in ‘internet protocol packets’” to be sent to the cyber base station. See CX-

3930C (Martin WS) at Q/A 36. Thus, Dr. Lin’s opinion that these messages are

encapsulated in “internet protocol packets” is incorrect. Id. The “voice client 102

encapsulates messages between the mobile terminal 22 and cyber base station 128 in

internet protocol packets.” Id.; Pitcher at 5:7-10. Therefore, in the example of Figure 8

(as well as the example in Figure 9), there is no encapsulation in IP packets. See CX-

3930C (Martin WS) at Q/A 36. Accordingly, it would be incorrect to conclude that the

measurement data in the embodiments of Figure 8 or Figure 9 is encapsulated into an IP

packet, and therefore supplied to a hierarchically higher internet protocol layer. Id.



                                            269

                                         Appx541
         Case: 22-1957        Document: 18        Page: 348       Filed: 12/06/2022

                              Public Version
       Respondents’ expert, Dr. Lin opines that Pitcher’s “Cellular Messages” disclose

supplying channel specific information to a hierarchically higher layer. See CX-3930C

(Martin WS) at Q/A 37. Yet, the Cellular Messages are already “higher layer protocol”

messages and thus are not supplied to a hierarchically higher layer. Id.; Pitcher at 4:50-

51, 4:58-59. To the extent layer 3 information is sent using a Cellular Message over

internet protocol, which is also layer 3, that information remains at layer 3, and thus is

not supplied to a hierarchically higher layer. See CX-3930C (Martin WS) at Q/A 37.

The only layer 2 information that Pitcher discloses as potentially part of a Cellular

Message is “addressing, error control, and Slow Associated Control Channel (SACCH)

information.” Id.; Pitcher at 4:59-61. However, none of that information is identified by

Dr. Lin as the claimed channel specific information. See CX-3930C (Martin WS) at Q/A

37. This is because none of that information is disclosed by Pitcher as being a basis for

the initiation of a handover or changeover. Id. Further, Pitcher does not refer to Cellular

Messages as containing the measurement data that Dr. Lin opines is the “channel specific

information,” (e.g., signal strength and Bit Error Rate). Id. Instead, Pitcher discloses that

“[t]hese Cellular Messages include control channel messages, call setup and tear-down

messages, voice information and data.” Id.; Pitcher at 4:50-51; 4:47-49.

       Pitcher’s disclosure that “the cyber base station 128 may report measurements of

the mobile terminal transmissions” does not disclose element 1[b]. See CX-3930C

(Martin WS) at Q/A 38; Pitcher at 11:28-38. There is no indication in Pitcher of the

specific layer used to transmit those measurements. Id. Rather, Pitcher states that “the

cyber base station 128 may either report the same values the mobile terminal 22 reports”

or that “the broadband modem may provide wireless home network measurement data to

                                            270

                                         Appx542
         Case: 22-1957         Document: 18        Page: 349       Filed: 12/06/2022

                               Public Version
the cyber base station 128 via the voice client 102.” Id. Those passages do not describe

how those values are reported or how the modem may provide the measurement data. Id.

In neither of those instances are the measurements discussed as being supplied to a

hierarchically higher channel. Id. Moreover, the layers of those measurements are never

discussed. Id. Indeed, Dr. Lin testified at the hearing that “Pitcher . . . doesn’t explicitly

state one way or the other” whether the cyber base station communicates with the mobile

switching center using internet protocol. Lin Tr. 624.

       With respect to respondents’ obviousness arguments, Pitcher in combination with

Park does not disclose claim element 1[b] obvious. See CX-3930C (Martin WS) at Q/A

39. Respondents’ expert, Dr. Lin’s opinion that combining Pitcher with Park would

improve the overall performance of a communication system is incorrect. Id. For

example, adding additional information for Pitcher’s system to process would not

necessarily improve user response time. Id. Moreover, Pitcher already allows a “mobile

end station to move or roam around from place to place and still be able to communicate

with other end stations on the Internet,” as disclosed by Park. Id.; Park at 2:65-3:4. Any

alleged “improved performance” that could be provided by importing Park’s alleged

disclosure of supplying lower layer channel information to higher layers is outweighed by

other detriments that Dr. Lin did not consider. See CX-3930C (Martin WS) at Q/A 39.

Respondents’ expert, Dr. Lin suggests that his substitution would involve modifications

to the mobile switching center, but Pitcher expressly seeks to minimize changes to the

mobile switching center because “such infrastructure is complicated and expensive” and

the mobile switching centers “are very complex and require a long development cycle to

create and test new features.” Id.; Pitcher at 6:54-59; 14:15-22. Thus, a person of

                                             271

                                          Appx543
         Case: 22-1957        Document: 18         Page: 350      Filed: 12/06/2022

                              Public Version
ordinary skill would not have been motivated to add the feature suggested by Dr. Lin.

See CX-3930C (Martin WS) at Q/A 39.

       Pitcher does not disclose element 1[c] for at least the reason that Pitcher does not

disclose initiating of the handover or changeover based on the claimed channel-specific

information, where that channel specific information is “for a radio link between one of

the communicating devices and at least one base station.” See CX-3930C (Martin WS) at

Q/A 40. The main problem with Dr. Lin’s opinion is that he identifies three examples of

base stations in Pitcher: (1) base station 28, (2) cyber base station 128; and (3) wireless

home network 100. See Resps. Br. at 242-43; CX-3930C (Martin WS) at Q/A 41.

       The claims provide two requirements of the base station. See CX-3930C (Martin

WS) at Q/A 42. First, in limitation 1[b] the channel specific information is from a

channel for a radio link between the communicating device and the base station. Id.

Second, a handover from limitation 1[c] requires a “switch from communicating with one

base station to communicating with a different base station.” Id. The only switching

from communicating with one base station to another base station that is described in

Pitcher is switching between base stations 28 and cyber base stations 128. Id. The

mobile switching station initiates handovers in Pitcher. Id.; Pitcher at 3:21-26; 11:6-10;

11:54-60; 13:24-29; Figs. 8-9. Thus, it follows that handoffs (switching from

communicating with one base station to another base station) can occur only between

base stations 28 and/or cyber base stations 128. See CX-3930C (Martin WS) at Q/A 42.

Consequently, when a handoff occurs, it is a handover between radio base stations and/or

cyber base stations as set forth for example in Figures 8 and 9. Pitcher at 10:57-14:7.

“[The] cyber base station 128 may mimic the operation of the radio base stations 28 so

                                             272

                                         Appx544
         Case: 22-1957        Document: 18        Page: 351      Filed: 12/06/2022

                              Public Version
that the mobile switching center 40 does not know the difference between them.” See

Pitcher at 5:17-19; 6:60-61; CX-3930C (Martin WS) at Q/A 42. Thus, the mobile

switching center is merely controlling connections to an array of base stations 28. See

CX-3930C (Martin WS) at Q/A 42; Pitcher at 3:14-26.

       Further, Pitcher does not contemplate roaming between wireless home networks

100 in the same cell coverage area. See CX-3930C (Martin WS) at Q/A 42. This is

apparent from Figure 4, in which all of the wireless home networks in a standard cell

coverage area are connected to the same radio base station 28 and cyber base station 128.

Id.; Pitcher at 5:64-6:4; RX-0925.0005; CDX-0006C.023. However, when the mobile

switching station initiates a handover to or from a cyber base station, it does not do so

based on channel specific information for a radio link between the mobile station 22 and

the cyber base station 128. See CX-3930C (Martin WS) at Q/A 42. Rather, any alleged

channel specific information is between the mobile station 22 and the wireless home

network 100. Id. Respondents’ expert, Dr. Lin admitted this during the hearing. See Lin

Tr. 629, 631. Inasmuch as a handover requires a “switch from communicating with one

base station to communicating with a different base station,” and Pitcher’s mobile

switching station only initiates handovers between radio base stations 28 and the cyber

base station 128, Pitcher’s alleged base stations are limited to radio base stations 28 and

cyber base stations 128. Id. Thus, Pitcher cannot meet the limitation of “initiating at … a

handover based on the channel-specific information supplied from the channel for the

radio link …” Id.

       Moreover, Pitcher never initiates “a changeover in respect of … [a] multiple

access medium.” Id. Regardless of whether the mobile station device is ultimately

                                            273

                                         Appx545
         Case: 22-1957        Document: 18         Page: 352      Filed: 12/06/2022

                               Public Version
communicating with a mobile station 22 or cyber base station 128, it still does so using a

cellular standard. Id. Indeed, nothing in Pitcher describes a mobile station that is able to

handle calls without using the cellular standard. Id. For example, when the mobile

terminal communicates with voice client 102, it still does so using the cellular standard.

Id.; Pitcher at 4:47-59; 7:51-52. Pitcher does not suggest that the mobile switching center

initiates any change among the mobile stations as to the multiple access medium for the

cellular standard they are using. See CX-3930C (Martin WS) at Q/A 42. For example,

Pitcher does not disclose the mobile switching center initiating a mobile station’s change

from communicating in using CDMA based cellular standard to a TDMA based cellular

standard. Id. Additionally, Dr. Lin’s discussion of the embodiments shown in Figures 8-

9 and their related written description passages has not shown that this limitation is met

because, as discussed above, the measurement data in Figures 8 and 9 are never sent to

the voice client, and thus never “encapsulated in ‘internet protocol packets’” to be sent to

the cyber base station. Id. Accordingly, they are never supplied to hierarchically higher

internet protocol based channel, and thus cannot from the basis of the “channel specific

information.” Id.

       Dependent claims 2-6 are valid over Pitcher and over Pitcher in view of Park. See

CX-3930C (Martin WS) at Q/A 43. Respondents’ expert, Dr. Lin does not rely upon

Park for any of the additional limitations for claims 2-6, but opines that Pitcher itself

discloses those limitations, and thus the combination fails for the same reasons discussed

above. Id. Further, Dr. Lin has not identified within Pitcher several additional

limitations required by these claims. Id. For example, he does not identify any specific

“bit transmission channel” within Pitcher for claim 2. Id. He does not identify any

                                             274

                                         Appx546
        Case: 22-1957         Document: 18        Page: 353      Filed: 12/06/2022

                              Public Version
specific “data link layer channel” within Pitcher for claim 3. Id. While he identifies

“BER (bit error rate)” as “control information” for claim 6, he is incorrect that BER

controls the quality of the signal and thus qualifies as control information. Id. Instead,

BER provides the information of the number of bit errors over time. Id.

               2.      Matta alone and Matta combined with Matta ‘915

       As discussed below, respondents have not shown by clear and convincing

evidence that U.S. Patent No. 7,099,283 (“Matta”), RX-0241, anticipates claims 1-6 or

that Matta in combination with U.S. Patent No. 7,245,915 (“Matta ‘915”), RX-0226,

render claims 1-6 obvious.

       Matta does not disclose element 1[b] for at least the reason that Matta does not

disclose “supplying channel specific information … to a hierarchically higher Internet

protocol based channel.” See CX-3930C (Martin WS) at Q/A 45. Respondents’ expert,

Dr. Lin opines that the claimed channel specific information is met by “layer 2

measurements” discussed in Matta. Id.; Matta at 11:53-58. However, Dr. Lin does not

show that those layer 2 measurements are supplied to a hierarchically higher Internet

protocol based channel. See CX-3930C (Martin WS) at Q/A 45-46. Indeed, Dr. Lin

makes assumptions about what a person of ordinary skill would have understood about

Matta, as opposed to what Matta actually discloses. Id.

       Dr. Lin opines that a person of ordinary skill “would understand that the layer 2

measurement information is likewise transmitted in IP packets.” Id.; RX-0778C, Lin WS

at Q/A at 42. Dr. Lin opines that layer 2 measurement data is actually transmitted to the

routers via layer 3 based on Matta’s disclosure that “access router 22 collects QoS data.”

Id.; Matta at 15:4-6. Dr. Lin opines that routers must only operate at layer 3 so that he

                                            275

                                         Appx547
         Case: 22-1957        Document: 18        Page: 354      Filed: 12/06/2022

                              Public Version
can further assume that a “POSITA would therefore have understood Matta’s access

router to use layer 3 communications in obtaining the QoS measurements from other

hops.” See CX-3930C (Martin WS) at Q/A 46; RX-0778C, Lin WS at Q/A at 42. Dr.

Lin’s assumptions and opinion about a person of ordinary skill’s supposed understanding

are not persuasive. See CX-3930C (Martin WS) at Q/A 46. Indeed, at the hearing Dr.

Lin acknowledged that Matta’s “wireless hops” are not the same as the “hops” he referred

to in his opinion. Lin Tr. 640-641. Respondents’ expert, Dr. Lin opines that inasmuch as

an access router 22 collects layer 2 measurements about the wireless hop between remote

terminal 12 and base station 16, that that collection must occur via the internet protocol

(layer 3). See CX-3930C (Martin WS) at Q/A 47. However, the access router 22 is part

of an access point that also contains the radio tower 18 and server 20. Id.; Matta at 4:63-

66. Moreover, the Access Point can be a single device, containing a radio tower, server,

and access router, working together collectively. See CX-3930C (Martin WS) at Q/A 47;

RX-0241.0003.

       In view of the foregoing, it is not necessary for an IP packet to be sent to or within

that device containing layer 2 measurements. See CX-3930C (Martin WS) at Q/A 47. A

person of ordinary skill would have understood that information sent between server 20

and access router 22 does not have to be sent via internet protocol, and instead could

simply be layer 2 data that is passed around the device. Id. In other words, a person of

ordinary skill would not have understood that every data transmission intra-device in a

network such as that described by the Matta references must be accomplished via layer 3.

Id. This is apparent given that Matta and Matta ‘915 describe components of the network

that are operating in layer 2. Id.; Matta ‘915 at 5:51-53. Even router to router

                                            276

                                         Appx548
         Case: 22-1957        Document: 18         Page: 355      Filed: 12/06/2022

                               Public Version
transmission need not necessarily occur at layer 3 and can occur at layer 2. See CX-

3930C (Martin WS) at Q/A 47.

       Moreover, Matta states that a “frame refers to the groups of bits at layer 2, the

same as a packet at layer 3.” Id.; Matta at 14:61-62. Matta ‘915 indicates that the routers

transmit data in frames, i.e., at layer 2: “[u]sing routing tables and routing protocols,

access routers read the network address in each transmitted frame and make a decision on

how to send it based on the most expedient route.” See CX-3930C (Martin WS) at Q/A

47; Matta ‘915 at 5:47-50 (emphasis added). This shows that routers in Matta and Matta

‘915 also transmit and manipulate information via layer 2. See CX-3930C (Martin WS)

at Q/A 47.

       Further, Dr. Lin’s opinion that access routers 22 are collecting wireless layer 2

information across the core network 26 is not persuasive. Id.; RX-0778C, Lin WS at Q/A

42. Matta does not indicate that a single access router 22 collects and analyzes layer 2

measurement data from wireless hops 34 across the core network. See CX-3930C

(Martin WS) at Q/A 47. Respondents’ expert, Dr. Lin admitted at the hearing that he is

not opining that the access routers 22 are part of the core network 26. Lin Tr. 635-636.

Matta discloses collecting layer 3 QoS information via probing packets sent through the

fixed core network, but does not disclose collecting layer 2 QoS information via those

probing packets. Id.; Matta at 7:33-39; 7:53-56; 3:7-64; Lin Tr. 637. Matta indicates that

the processing of layer two QoS parameters occurs locally at access points 22. See CX-

3930C (Martin WS) at Q/A 47.

       Dr. Lin is incorrect in his opinion that Matta explains that layer 2 measurements

are combined with layer 3 measurements. See CX-3930C (Martin WS) at Q/A 48.

                                             277

                                          Appx549
        Case: 22-1957         Document: 18        Page: 356     Filed: 12/06/2022

                              Public Version
Combining layer 2 and layer 3 measurements does not mean that layer 2 measurements

are supplied to layer 3. Id. As shown in Figure 10, the layer 2 and layer 3 information is

merely combined. Id.; Matta at 2:50-52. Dr. Lin cites to the following excerpt from

Matta as support for his opinion: “[a]nother approach can be to map layer 2 QoS

parameters of the wireless hop 34 into layer 3 QoS parameters.” See CX-3930C (Martin

WS) at Q/A 48. However, as Dr. Lin concedes, mapping is just an example of

combining, which does not qualify as supplying layer 2 information to layer 3. Id. In

other words, mapping layer 2 QoS parameters into layer 3 QoS parameters does not mean

that layer 2 information is supplied to layer 3. Id. For example, the mapping of layer 2

QoS parameters into layer 3 QoS parameters could involve a transformation of the layer 2

QoS parameters instead of a supplying to parameters to layer 3. Id. A map is a function

that transforms or converts the layer 2 parameters into layer 3 parameters. Id.

       Matta ‘915 does not disclose “supplying channel specific information … to a

hierarchically higher Internet protocol based channel.” See CX-3930C (Martin WS) at

Q/A 49. Respondents’ expert, Dr. Lin cites to many passages from Matta ‘915, none of

which show supplying channel specific information from layer 2 to layer 3. Id. For

example, Dr. Lin cites to Matta ‘915 at 1:6-11, which only shows that Matta ‘915

discloses “layer three quality of service (QoS) aware trigger.” Id. Dr. Lin cites to Matta

‘915 at 4:34-43, which only discloses an “all-IP wireless communication system that is

suitable for real-time applications such as VoIP.” Id. Neither of those things show

supplying channel specific information from layer 2 to layer 3 or higher. Id. Similarly,

just because a handoff trigger “can be used by a handoff mechanism at any layer such as

layer 2, layer 3, or both,” does not mean that channel specific information is supplied

                                            278

                                        Appx550
         Case: 22-1957         Document: 18         Page: 357      Filed: 12/06/2022

                               Public Version
from layer 2 to layer 3 or higher. Id. Likewise, the statement in Matta ‘915 that “the

handoff triggering mechanism is moved to layer 3” does not mean that channel specific

information is supplied from layer 2 to layer 3 or higher. Id.; Lin Tr. 644-645.

        Matta does not disclose element 1[c] for at least the reason that Matta does not

disclose that initiating of a handover or changeover is based on the claimed channel-

specific information supplied from the channel for the radio link to the hierarchically

higher Internet protocol based channel for the overall link. See CX-3930C (Martin WS)

at Q/A 50. Any QoS parameters relating to wireless hops that are used in Matta’s

triggering decision are not also used to initiate (or cause, or facilitate, the beginning of) a

switch from communicating with one base station to communicating with a different base

station. Id. Instead, the layer 2 QoS parameters are used as a gatekeeper to eliminate

base stations that do not meet the threshold signal-to-noise ratio. Id.; Matta at 15:12-21.

Matta further explains that in another approach path selection will be solely based on the

QoS13 ranking parameters, thereby excluding QoS layer 2 parameters from the initiation

of switching from communicating with one base station to communicating with a

different base station. See CX-3930C (Martin WS) at Q/A 50; Matta at 15:21-26.

        Matta ‘915 does not disclose element 1[c]. See CX-3930C (Martin WS) at Q/A

51. For this limitation, Dr. Lin relies on similar positions he has set forth for limitation

1[b] as they relate to Matta ‘915, and are similarly incorrect. Id. Further, dependent

claims 2-6 are valid over Matta alone and over Matta in view of Matta ‘915. See CX-

3930C (Martin WS) at Q/A 52. Dr. Lin does not rely upon Matta ‘915 for any of the

additional limitations for claims 2-6, but opines that Matta itself discloses those

limitations. Id. As these claims all depend from claim 1, Dr. Lin has not demonstrated

                                              279

                                          Appx551
         Case: 22-1957         Document: 18        Page: 358      Filed: 12/06/2022

                               Public Version
invalidity of these claims for at least all of the reasons already discussed for claim 1. Id.

Further, Dr. Lin has not identified within Matta several additional limitations required by

these claims. Id. He does not identify any specific “bit transmission channel” within

Matta for claim 2. Id. He does not identify any specific “data link layer channel” within

Matta for claim 3. Id. While he identifies “BER (bit error rate)” as “control information”

for claim 6, he is wrong that BER controls the quality of the signal and thus qualifies as

control information. Id. Instead, BER provides the information of the number of bit

errors over time. Id.

               3.       Takagi alone and Takagi combined with Pitcher

       As discussed below, respondents have not shown by clear and convincing

evidence that EP Patent Application No. EP0903905A2 (“Takagi”), RX-1190, anticipates

claims 1-6 or that Takagi in combination with Pitcher render claims 1-6 obvious.

       Takagi does not disclose element 1[c] for at least the reason that Takagi does not

disclose initiating a handover or changeover based on the claimed channel-specific

information, which is “for a radio link between one of the communicating devices and at

least one base station” as recited in the claim. See CX-3930C (Martin WS) at Q/A 54.

Respondents’ expert, Dr. Lin’s opinion rests on stretching what an embodiment of Takagi

does with “received signal strength or the BER.” See CX-3930C (Martin WS) at Q/A 55.

Dr. Lin relies on embodiments of Takagi that purportedly show a radio terminal (e.g.,

Fig. 8) supplying a notification of received signal strength or BER (bit error rate) to a

gateway. Id. Complainant highlighted certain portions related to signal strength and

BER in Figure 8, showing that when the gateway receives the signal strength and BER

information, it does not initiate a handover between base stations. Id. Rather, it merely

                                             280

                                          Appx552
        Case: 22-1957         Document: 18        Page: 359      Filed: 12/06/2022

                              Public Version
allows a gateway to start preparation for the handoff to another gateway. Id. Thus, the

gateway’s preparation for a handoff does not involve initiating a handover between base

stations. Id. Instead, the gateway’s preparation allows the gateway to take steps to

prepare for switching gateways, if necessary, in response to an imminent handover

between base stations. Id.; Takagi at [0088], [0106]. The procedure involving sending

the received signal strength or the BER to the gateway only allows the gateway to

“predict[] a handoff across base stations” and “detect[] the completion of a handoff”; not

initiate a handoff. See CX-3930C (Martin WS) at Q/A 55; Takagi at [0109]; Takagi at

[0023], [0024], [0113].

       Takagi does not disclose a process for initiating a handover at the TCP layer of

the gateway. See CX-3930C (Martin WS) at Q/A 56. As Dr. Lin admits, that procedure

relates to a handoff of the gateways, which by nature cannot be initiating handovers

between access points. Id. Moreover, Dr. Lin’s characterization of those steps as

“initiating a handoff” is not persuasive. Id. Instead, Takagi itself describes those steps as

“the preparation” for when a “handoff between gateway device is likely to occur.” Id.;

Takagi at [0106] (stating twice “a gateway device that is conjectured to be a moving

target.”) (emphasis added).

       Both a person of ordinary skill and a lay person would have understood that

preparing for something does not mean initiating that thing. See CX-3930C (Martin WS)

at Q/A 56. Takagi’s description of the prior art explains that the transfer of gateways

after a handoff between base stations requires the gateways to exchange information so

that the TCP connection can be relayed to the new gateway. Id.; Takagi at [0009]. Thus,

Takagi tries to predict when a base station handover requiring a change of gateways will

                                            281

                                         Appx553
        Case: 22-1957        Document: 18        Page: 360      Filed: 12/06/2022

                              Public Version
occur, so as to start that transfer of information, presumably to improve throughput. See

CX-3930C (Martin WS) at Q/A 56; Takagi at [0024], [0025]. Figure 2 of Takagi

provides an example for illustrating the statement above and the principals of Takagi

related to these statements. See CX-3930C (Martin WS) at Q/A 56. In Takagi, the

gateways (e.g., elements 901, 902, and 903) each cover a set of base stations. Id.; Takagi

at [0072]. For example, gateway 901 is indirectly connected to base stations 1401, 1402,

and 1403, and gateway 902 is directly connected to base stations 1404, 1405, and 1406,

and so on for gateway 903. See CX-3930C (Martin WS) at Q/A 56.

       Takagi in view of Pitcher does not disclose element 1[c]. See CX-3930C (Martin

WS) at Q/A 57. As discussed above, Pitcher does not disclose this element. Id. Further,

Dr. Lin has not demonstrated that the combination would “improve [the] performance” of

Takagi, or that a person of ordinary skill in the art would have had a reasonable

expectation of success in making that combination. Id. Respondents’ expert, Dr. Lin did

not consider a number of issues that would have deterred a person of ordinary skill from

combining Takagi with Pitcher. Id. A person of ordinary skill would not have been

motivated to combine Takagi and Pitcher. See CX-3930C (Martin WS) at Q/A 58.

Indeed, Pitcher explicitly teaches away from any modifications of its infrastructure or

mobile switching center due to the complexity and effort required to make such changes.

Id.

       Combining Pitcher and Takagi would necessarily require the kind of

modifications that Pitcher seeks to avoid. Id. A person ordinary skill would not have

sought to implement Pitcher’s mobile switching center 40 or its related functions in

Takagi given the considerable effort and expense associated with modifying the

                                           282

                                        Appx554
         Case: 22-1957          Document: 18      Page: 361      Filed: 12/06/2022

                                Public Version
switching center to operate in the environment of Takagi. Id. Dr. Lin’s combination

involves modifying Pitcher’s mobile switching center for use in the system of Takagi. Id.

However, Pitcher seeks minimize changes to the mobile switching center because “such

infrastructure is complicated and expensive” and the mobile switching centers “are very

complex and require a long development cycle to create and test new features.” Id.;

Pitcher at 6:54-59; 14:15-22.

       Further, this combination involves the considerable costs and engineering effort

required to redesign the radio terminals, base station, routers, and gateways of Takagi, all

so that they can support the supplying of layer 1 or layer 2 channel information to a

mobile switching center 40. See CX-3930C (Martin WS) at Q/A 59. Those changes are

unnecessary given that the radio terminals of Takagi are sufficiently handing-off between

base stations in the first place. Id.; Takagi at [0107] and [108]. Respondents’ expert, Dr.

Lin has not provided any reason why the mobile switching center of Pitcher needs to be

reworked to be used in Takagi so that the mobile switching center can decide to handoff

Takagi’s radio terminals, when those terminals are already sufficiently being handed-off

between base stations. See CX-3930C (Martin WS) at Q/A 59. Moreover, Dr. Lin

appears not to have considered the overall complexity of combining the two disparate

references of Takagi and Pitcher, which teach vastly different technologies. Id.

       Pitcher teaches a system that allows a wireless home network to function

essentially as replacement for cellular radio base stations. Id.; Pitcher at 1:66-2:43. That

functionality requires Pitcher’s invention of a cyber base station connected over the

internet to a voice client that connects to the mobile home network. See CX-3930C

(Martin WS) at Q/A 59; Pitcher at Figs. 3 and 4. On the other end, the cyber base station

                                            283

                                         Appx555
         Case: 22-1957        Document: 18         Page: 362      Filed: 12/06/2022

                              Public Version
connects to the cellular services mobile switching station. See CX-3930C (Martin WS) at

Q/A 59. Takagi focuses on improvements to internet gateway devices at the transport

layer. Id.; Takagi at [0017]. A person of ordinary skill would not have looked to take

features that purportedly involve supplying of layer 1 or layer 2 channel information to a

cellular mobile switching center 40 (Pitcher) and apply those to a reference that is

focused on improving transport layer internet gateway communications (Takagi). See

CX-3930C, (Martin WS) at Q/A 59. Inasmuch as those technologies are so different

from each other, the sheer complexities of combining them (e.g., the engineering effort,

the experimentation, the costs) and the lack of motivation to do so would prevent a

person of ordinary skill from attempting that combination. Id.

       Dependent claims 2-6 are not invalid in view of Takagi alone and over Takagi in

view of Pitcher. See CX-3930C (Martin WS) at Q/A 60. Dr. Lin does not rely upon

Pitcher for any of the additional limitations for claims 2-6, but opines that Takagi itself

discloses those limitations. Id. As these claims all depend from claim 1, these claims are

valid for at least the reasons discussed for claim 1. Id. Further, Dr. Lin has not identified

within Takagi several additional limitations required by these claims. Id. He does not

identify any specific “bit transmission channel” within Takagi for claim 2. Id. He does

not identify any specific “data link layer channel” within Takagi for claim 3. Id. While

he identifies “BER (bit error rate)” as “control information” for claim 6, he is wrong that

BER controls the quality of the signal and thus qualifies as control information. Id.

Instead, BER provides the information of the number of bit errors over time. Id.




                                             284

                                         Appx556
        Case: 22-1957        Document: 18        Page: 363     Filed: 12/06/2022

                             Public Version
              4.      Ahmed

       As discussed below, respondents have not shown by clear and convincing

evidence that U.S. Patent No. 7,502,361 (“Ahmed”), RX-0266, anticipates claims 1-6.

       Ahmed does not disclose element 1[b] at least for the reason that Ahmed does not

disclose “supplying channel specific information … to a hierarchically higher Internet

protocol based channel.” See CX-3930C (Martin WS) at Q/A 62. Respondents’ expert,

Dr. Lin opines that the claimed “channel specific information” is Ahmed’s “signal

strength information,” which he further opines is “sent to the network node’s ‘handoff

manager,’ which operates at the Subnetwork layer.” See CX-3930C (Martin WS) at Q/A

63; RX-0778C, Lin WS at Q/A 71. Indeed, Ahmed does not disclose providing signal

strength information to a network node’s subnetwork layer. See CX-3930C (Martin WS)

at Q/A 64. An embodiment of a mobile communication system of Ahmed is described in

annotated Figure 1 of the cited demonstrative, where an example mobile station 102 is

annotated in green color and an example network node 104 is annotated in blue color.

Id.; CDX-006C.031 (citing Ahmed); Ahmed at 5:49-50, 6:37-41, and 6:41-45.

       Ahmed relies on a “a new protocol layer” that “is provided as part of a protocol

stack.” See CX-3930C (Martin WS) at Q/A 64; Ahmed at Abstract. That new protocol

layer is called the “Subnetwork protocol layer.” See CX-3930C (Martin WS) at Q/A 64;

Ahmed at 10:3-5. The Subnetwork layer “is included specifically to handle mobility

management and other functions.” See CX-3930C (Martin WS) at Q/A 64; Ahmed at

10:6-8. The Subnetwork layer is shown, for example, in Fig. 3A. See CX-3930C (Martin

WS) at Q/A 64; CDX-0006C.032 (Ahmed, Fig. 3A). The Subnetwork layer includes

functional processing modules as shown in annotated Fig. 3B in the cited demonstrative,

                                           285

                                       Appx557
        Case: 22-1957         Document: 18        Page: 364      Filed: 12/06/2022

                              Public Version
where the Mobility Management Module (yellow) includes a handoff manger module

(11:15-16), which is the focus of Dr. Lin’s opinions that are rebutted below. See CX-

3930C (Martin WS) at Q/A 64; CDX-0006C.033 (citing Ahmed, Fig. 3B); Ahmed at

10:48-50.

       With regard to Dr. Lin’s opinion that Ahmed meets the limitation of “supplying

channel specific information … to a hierarchically higher Internet protocol based

channel,” Dr. Lin opines that Ahmed at 19:13-19 shows that limitation. See CX-3930C

(Martin WS) at Q/A 65; Ahmed at 19:13-19. However, that passage does not show that

signal strength information is provided to a hierarchically higher Internet protocol based

channel. Id. Ahmed does not disclose where the mobile devices provide signal strength

information to, much less that they are supplied to a hierarchically higher Internet

protocol based channel. See CX-3930C (Martin WS) at Q/A 65. Dr. Lin opines that the

signal strength information is provided to the handoff manager module of subnetwork

layer of the network node and, from that opinion, further opines that the signal strength

information is supplied to a hierarchically higher Internet protocol based channel. Id.

       Ahmed discloses “a handoff manager module that is responsible for collecting

relevant information from neighboring nodes.” Id.; Ahmed at 19:14-16 (emphasis

added). However, Ahmed does not state that the handoff manager is responsible for

collecting information from mobile devices, and is silent about what information, if any,

the handoff manager module collects from mobile devices. See CX-3930C (Martin WS)

at Q/A 65. Ahmed is silent as to how the mobile devices “assist in handoff decisions by

providing signal strength information from neighboring nodes” and where that

information is provided. Id. Further, even if Ahmed disclosed a mobile device providing

                                            286

                                        Appx558
        Case: 22-1957        Document: 18        Page: 365     Filed: 12/06/2022

                             Public Version
signal strength information to a handoff manager module in the Subnetwork layer, that

would not qualify “supplying channel specific information … to a hierarchically higher

Internet protocol based channel.” Id. This is because the handoff manager is located at

the subnetwork layer, which is below network layer (layer 3) and transport layer (layer

4). Id.; CDX-0006C.0323; Ahmed at 10:59-64.

       Ahmed’s written description further demonstrates that the subnetwork layer is

below the network and transport layers in the following passage: “Subnetwork layer D

also functions as a convergence layer, which supports higher network layers such as

TCP/IP, UDP, and mobile TCP. Interface to such higher layer is through a higher layer

protocol interface module 22 (FIG. 3B), which provides interface functions, as known in

the art, for the Subnetwork layer.” See CX-3930C (Martin WS) at Q/A 66; Ahmed at

10:59-64.

       Respondents’ approach overlooks the fact that the Subnetwork layer is below

layer 3 by pointing to the following sentence from Ahmed: “However, it is to be

appreciated that a network layer above the Subnetwork layer D is optional in that the

Subnetwork layer may directly support a transport/network protocol, for example, mobile

TCP.” See CX-3930C (Martin WS) at Q/A 66; Ahmed at 10:64-67. However, even if

the Subnetwork layer can “directly support a transport/network protocol,” it does not

mean that Ahmed discloses supplying signal strength information from the mobile device

to transport/network layer. See CX-3930C (Martin WS) at Q/A 66. It further does not

suggest that the functional processing modules as shown in Fig. 3B, such as the handoff

manager module (part of the mobility manager module) can be adapted to support and

receive transport/network layer information that would be used to initiate a handoff. Id.

                                           287

                                        Appx559
         Case: 22-1957        Document: 18         Page: 366      Filed: 12/06/2022

                              Public Version
Indeed, Ahmed offers no proposed changes to the handoff manager module to support

receiving transport/network layer information. Id. Respondents’ expert, Dr. Lin’s cited

passage from Ahmed only suggests that the Subnetwork layer D can directly support the

transport/network protocol – not that Subnetwork layer D can be significantly changed

such that all of its functionality occurs at the transport/network layer. Id.

       Further, Ahmed does not disclose element 1[c] for at least the reason that Ahmed

does not disclose that the initiating of a handover or changeover is based on the claimed

channel-specific information supplied from the channel for the radio link to the

hierarchically higher Internet protocol based channel for the overall link. See CX-3930C

(Martin WS) at Q/A 67. For example, Ahmed discloses that “mobiles communicating

with the network node also assist in handoff decisions by providing signal strength

information from neighboring nodes.” See CX-3930C (Martin WS) at Q/A 68; Ahmed at

19:16-18. However, Dr. Lin does not explain how “assisting in handoff decisions”

equates to initiating a handover. See CX-3930C (Martin WS) at Q/A 68. Presumably,

this is because Ahmed does not provide any details regarding how the mobile devices

“assist in handoff decisions by providing signal strength information from neighboring

nodes.” Id. Assisting in handoff does not mean initiating a handoff. Id. For example,

assisting in a handoff could occur as a final check after a handoff has been initiated and

thus the signal strength information would only be used to block an already initiated

handoff. Id. Regardless, without any further details from Ahmed, Dr. Lin cannot meet

his burden show that “assist[ing] in handoff decisions by providing signal strength

information from neighboring nodes” anticipates the “initiating” requirement of this

limitation. Id. Moreover, Ahmed does not disclose, and Dr. Lin has not shown, any

                                             288

                                         Appx560
         Case: 22-1957        Document: 18        Page: 367      Filed: 12/06/2022

                              Public Version
signal strength information is supplied to the handoff manager to “make[] the decisions

as to when and to which node a mobile should handoff.” Id. Accordingly, in that

scenario, Dr. Lin has not shown that Ahmed anticipates the part of the limitation that

requires “initiating … based on the channel specific information supplied from the

channel for the radio link to the hierarchically higher Internet protocol based channel for

the overall link.” Id.

       Dependent claims 2-6 are valid and enforceable over Ahmed. See CX-3930C

(Martin WS) at Q/A 69. First, these claims all depend from claim 1, and thus are valid

for at least all of the reasons already discussed for claim 1. Id. Further, Dr. Lin has not

identified within Ahmed several additional limitations required by these claims. Id. He

does not identify any specific “bit transmission channel” within Ahmed for claim 2. Id.

He does not identify any specific “data link layer channel” within Takagi for claim 3. Id.

While he identifies “BER (bit error rate)” as “control information” for claim 6, he is

incorrect that BER controls the quality of the signal and thus qualifies as control

information. Id. Instead, BER provides the information of the number of bit errors over

time. Id.

               5.        Secondary Considerations

       As discussed above, objective evidence, also known as “secondary

considerations,” includes commercial success, long felt need, and failure of others.

Graham, 383 U.S. at 13-17 (1966); Dystar, 464 F.3d at 1361. “[E]vidence arising out of

the so-called ‘secondary considerations’ must always when present be considered en

route to a determination of obviousness.” Stratoflex, 713 F.2d at 1538. Nevertheless,

secondary considerations, such as commercial success, will not always dislodge a

                                            289

                                         Appx561
         Case: 22-1957        Document: 18         Page: 368      Filed: 12/06/2022

                               Public Version
determination of obviousness based on analysis of the prior art. See KSR Int’l Co. v.

Teleflex Inc., 550 U.S. at 426 (commercial success did not alter conclusion of

obviousness).

       Yet, the parties, and especially complainant, presented no argument or evidence

concerning secondary considerations. The subject is absent from their posthearing briefs,

and from the Joint Outline. Consequestly, the administrative law judge concludes that

secondary considerations would have no affect on an obviousness determination,

especially if any asserted claim were found to be invalid.


VII.   Domestic Industry (Economic Prong)

       A violation of section 337(a)(1)(B), (C), (D), or (E) can be found “only if an

industry in the United States, with respect to the articles protected by the patent,

copyright, trademark, mask work, or design concerned, exists or is in the process of being

established.” 19 U.S.C. § 1337(a)(2). Section 337(a) further provides:

                (3) For purposes of paragraph (2), an industry in the United States
                shall be considered to exist if there is in the United States, with
                respect to the articles protected by the patent, copyright, trademark,
                mask work, or design concerned—

                   (A) significant investment in plant and equipment;

                   (B) significant employment of labor or capital; or

                   (C) substantial investment in its exploitation, including
                   engineering, research and development, or licensing.

19 U.S.C. § 1337(a)(3).

       With respect to the economic prong, and whether or not section 337(a)(3)(A) or

(B) is satisfied, the Commission has held that “whether a complainant has established that

its investment and/or employment activities are significant with respect to the articles

                                             290

                                         Appx562
         Case: 22-1957        Document: 18         Page: 369      Filed: 12/06/2022

                               Public Version
protected by the intellectual property right concerned is not evaluated according to any

rigid mathematical formula.” Certain Printing and Imaging Devices and Components

Thereof, Inv. No. 337-TA-690, Comm’n Op. at 27 (Feb. 17, 2011) (“Printing and

Imaging Devices”) (citing Certain Male Prophylactic Devices, Inv. No. 337 TA-546,

Comm’n Op. at 39 (Aug. 1, 2007)). Rather, the Commission examines “the facts in each

investigation, the article of commerce, and the realities of the marketplace.” Id. “The

determination takes into account the nature of the investment and/or employment

activities, ‘the industry in question, and the complainant’s relative size.’” Id. (citing

Stringed Musical Instruments at 26).

       With respect to the economic prong of the domestic industry requirement, for all

three asserted patents, complainant relies exclusively on evidence relating to its licensee,

Siemens Industry, Inc. (also referred to as SII). Complainant argues, “The evidence

demonstrates that SII’s employment of labor directed to SII’s Domestic Industry

Products, in context, comprises significant, qualifying domestic industry activities under

19 U.S.C § 1337(a)(2) and (a)(3)(B).” Compl. Br. at 280-81; see id. at 271-93.

Respondents argue, “Q3 has failed to present sufficient evidence to satisfy the economic

prong of the ITC’s domestic industry requirement.” Resps. Br. at 278; see id. at 278-95.

       For the reasons discussed below, complainant has not satisfied the economic

prong of the domestic industry requirement of 19 U.S.C. § 1337(a)(3)(B).

       A.      Whether SII’s Investments in the United States Are
               Significant

       Complainant argues:

               The evidence demonstrates that SII’s employment of labor directed
       to SII’s Domestic Industry Products, in context, comprises significant,

                                             291

                                          Appx563
  Confidential
Case: 22-1957  Material
         Document:           Redacted
                   18 Page: 370 Filed: 12/06/2022

                               Public Version                                                             N



 qualifying domestic industry activities under 19 U.S.C § 1337(a)(2) and
 (a)(3)(B). See gen., CX-3931C (Rev. J. Brown WS). The Domestic
                                                      Redacted in Public V

 Industry Products comprise a “large part” of        business and are very
 significant to SII’s overall business. JX-0180C at 26:8-27:4, Tr. at        Redacted in Public Version

 281:12-17. Likewise, SII’s technical support teams—the

                        —provide critical and significant value-added
 technical support directed towards the Domestic Industry Products in the
 United States, without which the products are for the most part not salable.
 The number of U.S.-based SII technical employees working to support the
 Domestic Industry Products is also relatively and absolutely significant.
                                        Redacted in

 As of September 2020, SII employed        individuals at the Johnson City
 Facility, including members of the Redacted in Public Version
                           See JX-0159C (Redacted in Public Version


                                      ; JX-0140C; JX-0180C at 147:3-
 150:3; JX-0145C. The Redacted in Public Version
 employees are U.S.-based but are based in various locations throughout
 the United States, not Johnson City. See JX-0111C.0005; JX-0180C at
 32:16-33:5. Table 3 shows the overall direct or allocated costs that SII
 incurred related to each of these teams in fiscal years 2019 and 2020:

     Table 3. SII’s U.S. Investments Relating to the Domestic Industry
                                 Products


                                   Redacted in Public Version
  Redacted in Public Version




  Redacted in Public Version



  Redacted in Public Version
  Redacted




                                       292

                                   Appx564
  Confidential
Case: 22-1957  Material
         Document:           Redacted
                   18 Page: 371 Filed: 12/06/2022

                   Public Version                                            N



 Table 3 relies on JX-0109C (Redacted in Public Version
           ); JX-0145C (same); CX-0276C (Email from Siemens’ Counsel
 re: Redacted in Public Version     ); CX-3736C (same); JX-0151C (2020
                                           Redacted in Pub

 Employee Expenses); JX-0154C (SII’s         US Performance); JX-0155C
                                                                  Redacted in Public Ve

 (same); JX-0158C (Computer Supply Investments); JX-0165C (
            Personnel and Costs); JX-0166C (Redacted in Public Version Real
 Estate); JX-0180C (Richards Dep.) at 39:14–19, 150:13–18.

        Although all the investments listed in Table 3 are cognizable under
 the domestic industry requirement, Complainant’s economic expert, Justin
 Brown, only considered the labor expenses listed in Table 4 to ensure he
 presented a conservative analysis (CX-3931C at Q/A 90):

   Table 4. Labor Costs Considered in the Domestic Industry Analysis

   Redacted in Public Version     Redacted in Public Version



         When the sales-based allocation factors are applied on top of SII’s
 already-allocated labor expenditures for FY2019 and FY2020, as shown in
 Table 5, SII’s costs that are attributable to the Domestic Industry Products
 are significant compared to the overall revenues and profits associated
 with the sale of those products, collectively and individually. CX-3931C
 (Brown WS) at Q/A 91–127. The relatively high cost of technical support
 for the Domestic Industry Products reflects the significant level of value
 added represented by these labor expenses, which are essential to the
 salability of the domestic industry products.




                                     293

                              Appx565
  Confidential
Case: 22-1957  Material
         Document:           Redacted
                   18 Page: 372 Filed: 12/06/2022

                               Public Version
                             Table 5. Allocation of Labor Expenses

                                                                                           Redacted i
                               Redacted




                             Redacted in Public Version



                                                                                                  Redacted in Public Versio

        As shown in Table 5, SII invested a total of $
 Redacted in Public Versio
                                                                 and
$           in technical support and logistics labor expenditures directed
towards the Domestic Industry Products in fiscal years 2019 and 2020,           Redacted in Public Ve                  Redacted in Public Ve

respectively. See also, id. (showing a total of $          and $       in
labor expenditures for FY 2019 and FY 2020, respectively for the
SCALANCE products, which practice the ‘677 and ‘853 Patents); see
                                          Redacted in Public Versio   Redacted in Public Versio

also, id. (showing a total of $         and $          , for FY 2019 and FY
2020, respectively for the RUGGEDCOM products that practice the ‘305
Patent). As discussed above, at each level of allocation, the calculations
performed on SII’s domestic industry investments are conservative. See,
e.g., CX-3931C (Brown WS) at Q/A 83, 90, 99-104. Further, if additional
allocations such as on a patent by patent, product by product, team by
team, or shortened time period bases, such adjustments can be performed
easily. CX-3931C (Rev. J. Brown WS) at Q/A 102, 104, 109–110; see
also, Table 6.




                                                            294

                                            Appx566
       Confidential
    Case: 22-1957   Material
              Document:           Redacted
                        18 Page: 373 Filed: 12/06/2022

                          Public Version                                               N



            Table 6. SII’s Combined Technical Support Labor Expenses
          Allocated to the Domestic Industry Products by Asserted Patents
                          (FY2019 and FY2020 Combined)



                          Redacted in Public Version




Compl. Br. at 280-84.

       Respondents argue:

                Q3 has failed to present sufficient evidence to satisfy the economic
       prong of the ITC’s domestic industry requirement. Q3, a non-practicing
       entity, does not make or sell any products; it does not even have any
       employees. JX-0170C (Bodepudi Dep. Tr.) at 57:7-64:20; Tr. (Brown) at
       15:21-22; 279:10-14, 287:20-24. Rather, Q3 relies solely the investments
       of its licensee’s U.S. subsidiary, Siemens Industry Inc. (“SII”), to establish
       the economic prong of the domestic industry in this Investigation. JX-
       0170C (Bodepudi) at 57:7-64:20; Tr. (Brown) at 279:15-19. But the DI
                                                          Redacted in Public Version
       Products are Redacted in Public Version, manufactured,          outside of the
       United States, in Germany and Canada, by Siemens AG or Siemens
       Canada, respectively. JX-0180C (Richards Dep. Tr.) at 199:11-19;
       212:15-214:3; 214:7-17; 214:21-216:8; Tr. (Brown) at 287:20-288:22.
       Despite the bold predictions in the Complaint that it intended to prove a
       domestic industry under all three prongs of Section 337(a)(3), Q3’s
       domestic industry claims have now been reduced exclusively to SII’s
       alleged “technical support” activities under Section 337(a)(3)(B). CX-
       3931C (Brown WS) at Q/A 50; RX-1208C (Bazelon WS) at Q/A 23; Tr.
       (Brown) at 277:21-24, 278:6-10.

               But even these claims fail for several reasons. First, and most
       importantly, the aggregate numbers Q3 claims as qualifying investments
       are so impossibly low that there cannot be a sufficient domestic industry.

                                            295

                                    Appx567
       Confidential
    Case: 22-1957   Material
              Document:           Redacted
                        18 Page: 374 Filed: 12/06/2022

                          Public Version                                                     N


                                                                         Redacted in Public Ve

       As set forth in detail below, Q3’s own figures are a trivial ~$       per
                                                                             Redacted in Public Versio

       year for eaFKRIWKH‫ތ‬DQG‫ތ‬3DWHQWVDQGEDUHO\PRUHa          SHU
       \HDUIRUWKH‫ތ‬3DWHQW7KHVHILJXUHVLQWKHPVHOYHVDUHZRHIXOO\VKRUWRI
       the ITC’s domestic industry requirement and are meaningless when placed
       in context of the tens of billions of dollars in Siemens’ revenues. Indeed,         Redacted in Pu

       as set forth below, Q3’s claimed domestic industry investments are
                          of Siemens revenues. Moreover, even these shockingly
       low figures are based on faulty calculations and methodology. Q3 has
       failed to show that SII’s investments in the U.S. are significant. RX-
       1208C (Bazelon WS) at Q/A 17. Second, these investments include
       activities that are purely sales and marketing and improperly include
       profits and work performed outside of the United States. Id. These
       claimed investments are also inflated because they are based on
       investments in products that Siemens Redacted in Public Version

                                                                 Id. In addition,
       Q3 has failed to provide the requisite support to substantiate certain
       investments. Id. Finally, Q3 has failed to show that a sales-allocation to
       the alleged DI Products is appropriate in this Investigation. Id. Any one
       of these flawed approaches, but certainly in combination, are fatal to Q3’s
       domestic industry arguments.

Resps. Br. at 278-79.

       In its reply brief, complainant argues, inter alia:

               Respondents argue that Q3’s investments are “overstated” and
       “inflated.” Id. at 286-293. This is not correct as a matter of law or fact.
       The relevant Domestic Industry that the Commission should assess is the
                                                Redacted in Pub

       investments and expenditures of SII’s               group, which is the SII
       segment most closely tied to the Domestic Industry Products.
       Respondents’ analysis is inaccurate and improper because it uses different
       definitions of the Domestic Industry for the numerator and denominator.
                                                     Redacted in Pub

       See id. Like Q3, Respondents use SII’s                segments’ investments that
       are related solely to the Domestic Industry Products, but compare these
       investments to Siemens’ and SII Redacted in Public Version’ overall revenues. Id.
       at 280. As the evidence shows, Siemens and Siemens’ Redacted in Public Version
       Segment contain a multitude of other companies and business segments
       that do not sell or support the Domestic Industry Products. See, e.g., JX-
       0163C (Nov. 12, 2020, Presentation: Redacted in Public Version); JX-0180C at
       20:11-22:6 (stating that SII is made up of many different business
       segments, including Redacted in Public Version, which, in turn, is made up of
       different business segments), 205:15-206:4 (noting that Siemens includes
       separate legal entities such as Siemens Health and Siemens Energy). As
       Mr. Richards testified, Redacted in Public Version

                                             296

                                      Appx568
                     Confidential
                Case: 22-1957     Material
                            Document:           Redacted
                                      18 Page: 375 Filed: 12/06/2022

                                                             Public Version
             Redacted in Public Version
                                                                                                                                                                  See
             id. at 22:18-20; see also, JX-0163C.0006-8.

Compl. Br. at 84-85.

             Siemens Industry Inc. (“SII”) is a large corporation with revenues of over $15

billion per year in the United States. See RDX-0038C.011 (Supplemental Coleman

Bazelon Demonstratives); RX-0333.0021 (Siemens Ann. Rpt.). According to

complainant, “Redacted in Public Version

                                                                                                                                                                        .”

Compl. Br. at 278.
                                                                     Redacted in Public Version
             In FY2019 SII invested $                                                                 in labor for its Redacted in Public Version Division
                                                                                Redacted in Public Version
(also “Redacted in Public Version Segment”), $                                                                    in labor for its Redacted in Public Version
                                      Redacted i                     Redacted in Public Version
Business Unit (also “                         ”), and $                                           in its Redacted in Public Version
                                                   Redacted in Pub

Business Segment (also “                                        ”). See RDX-0038C.014 (Supplemental Coleman Bazelon

Demonstratives); JX-0164C (SII Labor Expenditures). In FY2020, SII invested
 Redacted in Public Version                                                                                                 Redacted in Public Version
$                             in labor for its Redacted in Public Version Segment, $                                                                     in labor for its

Redacted in Public Version Business Unit, and $Redacted in Public Version in its Redacted in Public Version


            Group. See RDX-0038C.015 (Supplemental Coleman Bazelon Demonstratives);

JX-0164C (SII Labor Expenditures).

             “Table 6” from complainant’s brief (reproduced below) shows that when properly
                                                                                             Redacted in Public Versio

allocated, there were investments of only $                                                                          for each of the ‘677 and ‘853 patents
                                                                                      Redacted in Public Versio

in FY2019 and FY2020 combined and $                                                                           for the ‘305 patent in alleged labor

expenditures. Those investments are small when one considers the amounts of

investment in absolute numbers, and moreover insignificant especially when one

                                                                                             297

                                                                                    Appx569
                           Confidential
                         Case: 22-1957  Material
                                  Document:           Redacted
                                            18 Page: 376 Filed: 12/06/2022

                                                               Public Version
                                                                                                                    Redacted in Public Version    Redacted in

considers the fact that during the same period, SII invested more than $                                                                         ,$
Redacted in Public Ver       Redacted in Public Version
                    , and $                               in labor for its Redacted in Public Version Segment, Redacted in Public Version

                         Unit, and Redacted in Public Version                              Group, respectively. 45

                            Table 6. SII’s Combined Technical Support Labor Expenses
                          Allocated to the Domestic Industry Products by Asserted Patents
                                          (FY2019 and FY2020 Combined)



                                                           Redacted in Public Version




Compl. Br. at 284.

                     As shown in the table from respondents’ brief (reproduced below), these numbers

are extremely low in comparison to Siemens’ revenues:




45
   In each investigation, “the inquiry depends on ‘the facts in each investigation, the
article of commerce, and the realities of the marketplace.’” Certain Carburetors and
Products Containing Such Carburetors, Inv. No. 337-TA-1123, Comm’n Op. at 8 (Oct.
28, 2019) (quoting Printing and Imaging Devices, Comm’n Op. at 27)).

                                                                                298

                                                                            Appx570
                     Confidential
                Case: 22-1957     Material
                            Document:           Redacted
                                      18 Page: 377 Filed: 12/06/2022

                                                           Public Version

                                                                                                         Q3’s        Q3’s        Q3’s
                                                          Siemens Revenue
                                                                    Redacted in Public Ver             claimed     claimed     claimed
  Fiscal         Siemens overall                           from its
                                                                                                    investments investments investments
  Year              Revenues
                                                                                                     in the ‘677 in the ‘853 in the ‘305
                                                               Segment
                                                                                                        Patent      Patent      Patent

FY2019          $102.20 billion 46                       $18.1 billion                          Redacted in Public Version
FY2020          $67.24 billion                           $17.62 billion

TOTAL $169.44 billion                                    $35.72 billion

Resps. Br. at 280.

           As shown in the table above, complainant’s claimed investments in the ‘677 and
                         Redacted in Public Version                                                Redacted in Public Version                           Redacted in Public Ve

‘853 patents are                                      of Siemens revenues and                                                   of Siemens

               segment revenue. Complainant’s claimed domestic industry investments in the
                       Redacted in Public Version                                            Redacted in Public Version

‘305 patent are                                     of Siemens revenues and                                               of Siemens revenues from its
Redacted in Public Version
                             segment. These numbers are not disputed. These figures for the three

asserted patents derive from the calculations of complainant’s economic expert. As

discussed below, under these circumstances, even if the entirety of complainant’s alleged

domestic industry investments is counted, it cannot be said that complainant has shown

“significant employment of labor or capital.” 48

           Complainant’s economic expert, Mr. Brown, originally provided testimony that
                         Redacted in Public Version                                                                        Redacted in Public Versio

investments of $                                      in the ‘677 and ‘305 patents, and $                                                          in the ‘853 patent

46
  Siemens’ revenues in this table are from CX-0004 (Siemens FY2019 Annual Report)
and CX-0669 (Siemens FY2020 Annual report) with conversions from Euros to dollars,
calculated by respondents according to www.cuurrencymatrix.com on August 17, 2021.
47
  See CDX-0007C.034 (Demonstratives for the Witness Statement of Justin Brown)
(breaking down SII’s alleged investments by FY).
48
  As discussed subsequently, the evidence shows that the alleged domestic investments
overstate the amounts properly attributable to any domestic industry.

                                                                       299

                                                                      Appx571
                             Confidential
                           Case: 22-1957  Material
                                    Document:           Redacted
                                              18 Page: 378 Filed: 12/06/2022

                                                      Public Version
accounted for 3.94% of the DI Product sales. Id.; CDX-0003C.0036-37; Brown Tr. 290-

292. Later, Mr. Brown submitted a revised witness statement. Brown Tr. 289. After

UHGXFLQJWKHDPRXQWRILQYHVWPHQWVLQWKH‫ތ‬SDWHQWIXUWKHUE\ UHIOHFWLQJ
    Redacted in Public V                    Redacted in Public Versio

$                     QRWWKHFXUUHQW                               E\LQWKH‫ތ‬SDWHQWDQGLQWKH‫ތ‬
                                                                                                                                 Redacted in Public Ve

patent, Mr. Brown concluded that the investments in each patent by SII was still

See CX-3931C (Brown WS) at Q/A 114-15; CDX-0007C.0037 (Demonstratives for the

Witness Statement of Justin Brown); RX-1208C (Bazelon SRWS) at Q/A 49; Brown Tr.

291-292.

                     Complainant compares these investments to sales of only the products practicing

each asserted patent. However, this approach does not take into account whether these

investments are significant in the context of SII or the marketplace. See RX-1208C

(Bazelon SRWS) at Q/A 49. Even if the alleged expenditures Mr. Brown considers

constitute 3.94% of the DI Product sales, complainant has failed to provide adequate

context for why 3.94% is significant. See id. at Q/A 45, 48. Moreover, although

complainant argues that these activities add value, it remains unclear how much value is

added by the activities performed by SII with respect to the imported DI products. Id.

Given that a large portion of SII’s investments are related to purely sales and marketing

activities, it is unclear whether any value is being added to the alleged DI products in the

United States through SII’s “technical support.” Id. at Q/A 48, 59.

                     The 3.94% is the most generous significance value possible because it is the

alleged labor expenditures associated with certain of the alleged DI products compared to

the sales of only those same products. Id. at Q/A 50. However, the evidence shows that
                                                                                                               Redacted in Public Ve

the alleged DI products are often used in combination with other Siemens

                                                                                300

                                                                             Appx572
                             Confidential
                      Case: 22-1957       Material
                                    Document:           Redacted
                                              18 Page: 379 Filed: 12/06/2022

                                                              Public Version
Redacted in Public Version
                             products and there is an overlap between the alleged DI products used in

Redacted in Public Version                                                   . See JX-0163C (Siemens presentation);

JX-0180C (Richards Dep. Tr.) at 30-31; RDX-0038C.003 (Supplemental Coleman

Bazelon Demonstratives). Thus, the alleged labor expenditures associated with the DI

products should have been compared to the sales of the Redacted in Public Version segment in the

United States. See RX-1208C (Bazelon SRWS) at Q/A 50. This would result in the

investments representing 0.01% of the share of revenues from the Redacted in Public Version

VHJPHQWIRUWKH‫ތ‬SDWHQWDQGIRUWKH‫ތ‬DQG‫ތ‬SDtents. Id.; RDX-

0038C.013 (Supplemental Coleman Bazelon Demonstratives); JX-0163C (Siemens

presentation).

                   As argued by respondents, the results would have differed markedly had

complainant performed a comparison of the alleged technical support labor expenses
                                                                                                                          Redacted in Pub

relating to the alleged DI products to the total domestic labor expenses in the
                                      Redacted i

business group, the                                business unit, and the Redacted in Public Version segment. See RX-1208C

(Bazelon SRWS) at Q/A 52. For the ‘305 patent in FY2019 and FY2020, respectively,
                                                                                    Redacted in Pub

this amounts to 2.01% and 2.36% of the domestic                                                       personnel expenses, 0.29% and
                                               Redacted i                                                                               Redacted in Public Ve

0.32% of the domestic                                       personnel expenses, and 0.09% and 0.10% of domestic

                             personnel expenses. Id.; RDX-0038C.014-.015 (Supplemental Coleman

Bazelon Demonstratives); JX-& 6,,SHUVRQQHOFRVWV )RUWKH‫ތ‬DQG‫ތ‬SDWHQWV

in FY2019 and FY2020, respectively, this amounts to 0.77% and 0.80% of the domestic
Redacted in Pub                                                                  Redacted i                                Redacted in Public V

                  personnel expenses, 0.11% of the domestic                                   personnel expenses, and                         of

the domestic Redacted in Public Version personnel expenses. Id.



                                                                           301

                                                                       Appx573
                    Confidential
                 Case: 22-1957   Material
                           Document:           Redacted
                                     18 Page: 380 Filed: 12/06/2022

                                                                     Public Version
                An appropriate comparison to show the significance of what is being done in the

U.S. with respect to the alleged DI products as compared to other products in the U.S.
                                                        Redacted i

would be to consider the                                             personnel expenses or the Redacted in Public Version personnel
                                                                                                                                                            Redacted in Public Vers

expenses. There is an overlap between the alleged DI products used in

                                                                                See JX-0163C (Siemens presentation); JX-0180C

(Richards Dep. Tr.) at 30-31. Indeed, Mr. Richards, SII’s Director of Engineering and
                     Redacted in Publi

Services for                             testified that the alleged DI products are Redacted in Public Version

                                                           . See CX-3931C (Brown WS) at Q/A 49; JX-0180C (Richards

Dep. Tr.) at 23; Brown Tr. 280. These are not significant investments in the context of

SII’s business and Siemens as a whole.

                Additionally, inasmuch as these products are rRedacted in Public Version
                           Redacted in Public Version
manufactured,                                            outside of the United States, a proper comparison would have

been that of the U.S. labor expenditures associated with the alleged DI products with the

expenditures in activities associated with the alleged DI products outside of the United

States. See RX-1208C (Bazelon SRWS) at Q/A 53. For example, a comparison could

have been done between SII’s alleged investments in the United States and Siemens

Canada’s alleged investments outside of the United States relating to the alleged DI
                                                                               Redacted         Redacted                                                                          Redacted in

products. Siemens Canada employed                                                         and              manufacturing employees and                                                          and
Redacted in

              R&D employees in FY2019 and FY2020, respectively. Id.; JX-0105C (Siemens CA

headcount). Siemens Canada’s labor expenses in just these two categories of employees
                                                                                                              Redacted in Public Version
related to the alleged RuggedCom DI products were                                                                                          higher than SII’s labor
                                                                                                                              Redacted in Public Version
expenses related to the alleged DI products in FY2019 and                                                                                                  higher in FY2020.

See RX-1208C (Bazelon SRWS) at Q/A 52; RDX-0038C.016 (Supplemental Coleman

                                                                                           302

                                                                                  Appx574
         Case: 22-1957        Document: 18        Page: 381      Filed: 12/06/2022

                              Public Version
Bazelon Demonstratives); 49 JX-0106C (Siemens CA salaries). This comparison does not

include other relevant activities within Siemens Canada, including engineering testing,

service and repair, new product integration, and customer support. See JX-0105C

(Siemens CA headcount). It is expected the Siemens AG numbers relating to the

SCALANCE products would be similar, if not greater, than those of Siemens Canada.

See RX-1208C (Bazelon SRWS) at Q/A 53.

       B.      Whether Certain Expenditures Are Overstated

       Respondents argue that complainant’s “investments include activities that are

purely sales and marketing and improperly include profits and work performed outside of

the United States.” Resps. Br. at 279. As discussed below, the investments on which

complainant relies to establish a domestic industry include sales and marketing activities

for which complainant did not allocate or remove from its domestic industry analysis.

See RX-1208C (Bazelon SRWS) at Q/A 23; Brown Tr. 281-284. Yet, it is well-

established that sales and marketing, alone, are insufficient to establish a domestic

industry. Certain Collapsible Sockets for Mobile Electronic Devices and Components

Thereof, Inv. No. 337-TA-1056, Comm’n Op. at 19-20 (July 9, 2018) (“[I]t is well-settled

that evidence of sales and marketing investments alone are not sufficient to demonstrate

the existence of a domestic industry.”); Schaper Mfg. Co. v. U.S. Int’l Trade Comm’n,

717 F.2d 1368, 1373 (Fed. Cir. 1983) (“Schaper’s very large expenditures for advertising

and promotion cannot be considered part of the production process. Were we to hold



49
  The numbers shown in RDX-0038C.017 (Supplemental Coleman Bazelon
Demonstratives) have been revised to remove the non-practicing RSG9xx products from
the calculations.

                                            303

                                         Appx575
                       Confidential
                Case: 22-1957       Material
                              Document:           Redacted
                                        18 Page: 382 Filed: 12/06/2022

                                            Public Version
otherwise, few importers would fail the test of constituting a domestic industry.”).

Indeed, the Commission typically does not consider sales and marketing expenses in the

satisfaction of the domestic industry requirement. See Certain Kinesiotherapy Devices

and Components Thereof, Inv. No. 337-TA-823, Comm’n Op. at 29 n.8 (July 12, 2013)

(noting that “sales and marketing and are not the sort of expenditures” that the

Commission has credited under the economic prong).

            As discussed above, complainant relies on alleged technical labor support

expenses for activities performed by the Siemens Redacted in Public Version
                                                            Redacted in Pub

Engineering Support Team, also referred to as                            . See CX-3931C (Brown WS) at Q/A
                                                                                                Redacted in Pub

83, 84; CDX-0004C.024. Mr. Richards testified that the work of his team (the

Engineering Support Team) is Redacted in Public Version

                                                                  . See JX-0180C (Richards Dep. Tr.) at

33, 35. Additionally, Mr. Richards testified that Redacted in Public Version

                                                                                                . Id. at 36.

Complainant did not account for these sales activities, and instead, includes the entirety
         Redacted in Pub

of the                     Engineering Support Team’s labor in its domestic industry analysis. Brown

Tr. 281. Yet, not all the activities upon which complainant relies constitute typical

customer service activities. See RX-1208C (Bazelon SRWS) at Q/A 23, 24. Rather,

these activities include Redacted in Public Version

           , which could be viewed as part of sales and marketing activities. Id.; JX-0126C,

JX-0127C, JX-0131C, JX-0132; RDX-0007C.009.

            Additionally, the expenditures included in complainant’s domestic industry

analysis include profits paid to Redacted in Public Version

                                                        304

                                                      Appx576
                           Confidential
                         Case: 22-1957  Material
                                  Document:           Redacted
                                            18 Page: 383 Filed: 12/06/2022

                                                         Public Version
Redacted in Public Ver
                                                                                                                     Redacted in Public Version
                     . For example, complainant relies on the labor expenses for



                         See CX-3931C (Brown WS) at Q/A 85. While these employees are considered

part of SII on a Redacted in Public Version, they are in fact Redacted in Public Version

Id. at Q/A 64; CX-0265C.

                     Moreover, when it contracts the Redacted in Public Version Team, SII Redacted in Public Version

                                                                                                                                                      .

See RX-1208C (Bazelon SRWS) at Q/A 34; RDX-0038C.010 (Supplemental Coleman

Bazelon Demonstratives); JX-0180C (Richards Dep. Tr.) at 79-80. The evidence on

which complainant relies states that these “expenses” are revenue. See JX-0154C
                                                                                                        Redacted in Pub

(Brown Exhibit 2 - Excel Spreadsheet ‘US Performance FY20                                                                 Service,’ ‘US
                                   Redacted in Pub                       Redacted in Pub

Performance FY19                                     Service,’ and ‘US                     Services Part Numbers’). Additionally,

Mr. Richards testified that the Redacted in Public Version

                                                                                                                                                  .

See JX-0180C (Richards Dep. Tr.) at 111; RX-1208C (Bazelon SRWS) at Q/A 34.

Complainant does not account for the profit margin and instead argues that it is

appropriate to consider profits as part of the domestic industry analysis because it is an

expense to SII. See CX-3931C (Brown WS) at Q/A 70. However, profits are not

considered in the analysis of a domestic industry. See, e.g., Lelo, Inc. v. ITC, 786 F.3d

879, 884-85 (Fed. Cir. 2015).

                     Thus, the expenditures on which complainant relies are overstated when

considered within the proper legal framework.



                                                                         305

                                                                   Appx577
          Case: 22-1957         Document: 18         Page: 384     Filed: 12/06/2022

                                Public Version
VIII. Conclusions of Law

              1. The Commission has subject matter, personal, and in rem jurisdiction in

      this investigation.

              2. The accused products have been imported or sold for importation into the

      United States.

              3. The accused products do not infringe the asserted claims of U.S. Patent

      Nos. 8,797,853; 7,895,305; and 7,609,677.

              4. The domestic industry requirement has not been satisfied with respect to

      U.S. Patent Nos. 8,797,853; 7,895,305; and 7,609,677.

              5. It has not been shown by clear and convincing evidence that the asserted

      claims of U.S. Patent Nos. 8,797,853; 7,895,305; and 7,609,677 are invalid.


IX.       Initial Determination on Violation

          Accordingly, it is the INITIAL DETERMINATION of the undersigned that a

violation of section 337 (19 U.S.C. § 1337) has not occurred in the importation into the

United States, the sale for importation, or the sale within the United States after

importation, of certain routers, access points, controllers, network management devices,

other networking products, and hardware and software components thereof that infringe

the asserted claims of U.S. Patent No. 8,797,853; U.S. Patent No. 7,895,305; and U.S.

Patent No. 7,609,677.

          Further, this Initial Determination, together with the record of the hearing in this

investigation consisting of (1) the transcript of the hearing, with appropriate corrections




                                               306

                                           Appx578
        Case: 22-1957        Document: 18         Page: 385     Filed: 12/06/2022

                             Public Version
as may hereafter be ordered, and (2) the exhibits received into evidence in this

investigation, is CERTIFIED to the Commission.

       In accordance with 19 C.F.R. § 210.39(c), all material found to be confidential by

the undersigned under 19 C.F.R. § 210.5 is to be given in camera treatment.

       The Secretary shall serve a public version of this ID upon all parties of record and

the confidential version upon counsel who are signatories to the Protective Order, as

amended, issued in this investigation.


X.     Recommended Determination on Remedy and Bonding

       This is the recommended determination of the administrative law judge on

remedy and bonding.

       The administrative law judge must issue a recommended determination

concerning the appropriate remedy in the event that the Commission finds a violation.

See 19 C.F.R. § 210.42(a)(1)(ii). That recommendation is contained herein below.

Nevertheless, the Commission did not authorize the administrative law judge to take

public interest evidence or to provide findings and recommendations concerning the

public interest. Thus, in accordance with the usual Commission practice and the

applicable Commission Rule, only the Commission can determine the role that public

interest factors may play in this investigation. See 19 C.F.R. § 210.50(b)(1).

       Complainant argues, inter alia:

       In this Investigation, the evidence shows that Q3 faces unfair competition
       by the Respondents in the U.S. market for routers, access points,
       controllers, network management devices, other networking products,
       and hardware and software components. The facts in this Investigation
       warrant the Commission exercising its full remedial authority to prevent
       future importation, sales, offers for sale, and promotion of infringing

                                            307

                                         Appx579
       Case: 22-1957         Document: 18          Page: 386     Filed: 12/06/2022

                             Public Version
       products in the United States. As set forth below, the evidence at the
       hearing demonstrated the appropriate and necessary remedies are limited
       exclusion orders (“LEO”), cease-and desist-orders (“CDO”), and a 100%
       bond during the Presidential review period.

Compl. Br. at 293-94.

       Respondents argue, inter alia:

              The evidence in this Investigation establishes that there has been
       no violation of Section 337 and therefore no remedial orders or bond
       should issue. However, should the Commission determine that there has
       been a violation of Section 337, the scope of any remedial order should be
       narrowly tailored to address only those specific unfair acts found by the
       Commission, without interrupting legitimate commerce.

Resps. Br. at 296.

       A.      Limited Exclusion Order

       The Commission has broad discretion in selecting the form, scope, and extent of

the remedy in a section 337 proceeding. Viscofan, S.A. v. United States Int’l Trade

Comm’n, 787 F.2d 544, 548 (Fed. Cir. 1986). A limited exclusion order directed to

respondents’ infringing products is among the remedies that the Commission may

impose. See 19 U.S.C. § 1337(d).

       Complainant argues:

               Section 337 requires that a LEO be issued against those
       Respondents found in violation unless such relief is determined to be
       contrary to the public interest. See 19 U.S.C. § 1337(d)(1) (the
       Commission “shall direct that the [infringing] articles concerned, imported
       by any person violating the provision of this section, be excluded from
       entry into the United States”). If a violation is found, the ALJ should
       recommend that the Commission issue an LEO containing the standard,
       customary language used by the Commission covering each Respondents’
       infringing articles “manufactured by or on behalf of” or “imported by or
       on behalf of” any Respondent found to violate Section 337, as well as any
       parents, subsidiaries, affiliates, and other related entities typically included
       in an LEO. See Personal Transporters, Components Thereof, & Manuals
       Therefor (“Personal Transporters”), Inv. No. 337-TA-935, Comm’n Op.

                                             308

                                        Appx580
         Case: 22-1957         Document: 18          Page: 387   Filed: 12/06/2022

                               Public Version
       (Pub. Version) at 5 (Apr. 20, 2016). The LEOs should exclude from entry
       into the U.S. the Respondents’ Accused Products that infringe the asserted
       claims of the Asserted Patents.

Compl. Br. at 294.

       Respondents argue:

               To the extent a limited exclusion order is issued, the Commission
       should include a provision whereby Respondents can certify that their
       imported products are not subject to exclusion. Certification provisions
       are frequently included in exclusion orders and would help mitigate the
       possibility that an exclusion order improperly prohibits the legitimate
       importation of non-covered products. Certain Access Control Sys. &
       Components Thereof, Inv. No. 337-TA-1016, Comm’n Op. at 34 (Apr. 21,
       2018) (“[C]ertification provisions are included in exclusion orders to aid
       CBP in enforcement of Commission orders.”).

Resps. Br. at 296.

       The administrative law judge recommends that in the event the Commission

determines that a violation of section 337 has occurred, and if consideration of the

statutory public interest factors does not require that remedies be set aside or modified,

the Commission should issue a limited exclusion order covering all of the infringing

articles imported, sold for importation, or sold after importation by respondents and

should apply to respondents’ affiliated companies, parents, subsidiaries or other related

business entities, or their successors or assigns.

       Further, in the event the Commission does issue a limited exclusion order in this

investigation, the exclusion order should include a provision that allows the respondents

to certify, pursuant to procedures to be specified by U.S. Customs and Border Protection,

that they are familiar with the terms of the order, that they have made appropriate inquiry,

and that, to the best of their knowledge and belief, the products being imported are not

excluded from entry under the order.

                                             309

                                          Appx581
            Confidential
        Case: 22-1957    Material
                   Document:           Redacted
                             18 Page: 388 Filed: 12/06/2022

                             Public Version
       B.       Cease and Desist Order

       Section 337 provides that in addition to, or in lieu of, the issuance of an exclusion

order, the Commission may issue a cease and desist order as a remedy for a violation of

section 337. 19 U.S.C. § 1337(f)(1). Under Commission precedent, “[c]ease and desist

orders are generally issued when, with respect to the imported infringing products,

respondents maintain commercially significant inventories in the United States or have

significant domestic operations that could undercut the remedy provided by an exclusion

order.” Certain Air Mattress Systems, Components Thereof, and Methods of Using the

Same, Inv. No. 337-TA-971, Comm’n Op. at 49 (May 17, 2017) (citations and footnote

omitted); Ground Fault Circuit Interrupters and Products Containing Same, Inv. No.

337-TA-615, Comm’n Op. at 24 (Mar. 26, 2009).

       Complainant argues:

              The evidence established that CDOs are warranted against each of
       the Respondents because they maintain commercially significant
       inventories of infringing products in the U.S. and have significant
       domestic operations:

            x   CommScope maintains U.S. operations and U.S. inventory of
                                                                     Redacted in Public Ve

                various Accused Products in excess of     units. See JX-
                0026C; CX-0197; CX-0202; JX-0174C (Hejnicki).

            x   HPE maintains U.S. operations and U.S. inventory of various
                                               Redacted in Public Versio

                Accused Products in excess of        units. See CX-0312; JX-
                0182C (Tewari); CX-0313; CX-0314.

            x   NETGEAR maintains U.S. operations and U.S. inventory of
                                                                     Redacted in Public Version
                various Accused Products in excess of        units. See CX-
                0110; CX-0113; CX-0482; JX-0168C (Apperley).

Compl. Br. at 295.




                                            310

                                        Appx582
  Confidential
Case: 22-1957  Material
         Document:           Redacted
                   18 Page: 389 Filed: 12/06/2022

                    Public Version                                                      N



 Respondents argue:

          Q3 has failed to show that a cease and desist order is necessary and
 that a limited exclusion order would not afford complete relief. RX-
 1208C (Bazelon WS) at Q/A 71. First, Q3 fails to show that any of
 Respondents’ inventory of the accused products is significant. Id. at Q/A
 72. Q3 merely states what it alleges Respondents’ inventory in the United
 States is quantitatively but provides no context as to how or why this
 inventory level is significant. CPHB at 284-285. Notwithstanding Q3’s
 failure to show that this inventory is significant, Q3 has failed to establish
 that this is inventory only of the accused products. Q3 argues that
                                                                Redacted in Public Ve

 CommScope maintains inventory in excess of               units; HPE
                                   Redacted in Public Versio

 maintains inventory in excess of            units; and that NETGEAR
                                   Redacted in Public Version
 maintains inventory in excess of              units. CPHB at 285.
 However, these numbers represent Respondents’ entire U.S. inventory,
 not just that of the accused products. Indeed, this inventory includes,
 inter alia, switches, raw materials, and components, none of which are
 accused of infringing the Asserted Patents. See, e.g., JX-0089C (HPE
 inventory) (including non-accused products); CX-0197C (CommScope
 inventory) (including non-accused products); JX-0026C (Ruckus
 Inventory) (showing non-accused products); JX-0046C (NETGEAR
 inventory) (showing non-accused products); RX-1199C (Gielty WS) at
 Q/A 33 (noting the inclusion of raw materials and components); RX-
 1208C (Bazelon WS) at Q/As 74, 78. Q3 also improperly counts products
 that will be shipped outside of the U.S. RX-1208C (Bazelon WS) at Q/A
 76; RX-1198C (Balay WS) at Q/A 54; RX-1199C (Gielty WS) at Q/A 34;
 RX-1201C (Jou WS) at Q/A 25. Because Q3 has failed to show what
 Respondents’ actual inventory of the accused products is, or whether any
 such inventory is significant, a cease and desist order is not appropriate in
 this Investigation.

          Additionally, Q3 fails to account for whether the inventory actually
 sits in the warehouse, or whether the stock is immediately depleted. Id.;
 RX-1208C (Bazelon WS) at Q/As 71, 77. Indeed, the practice of the
 Respondents is Redacted in Public Version
                                                   CX-0485C.0041 (HPE 11th
 Supp. Rog Resps.); RX-1198C (Balay WS) at Q/A 53; RX-1199C (Gielty
 WS) at Q/A 32; RX-1201C (Jou WS) at 24; Tr. (Jou) at 348:18-350:20.
 Q3 has also not shown that the inventory is representative of Respondents’
 actual inventory in the U.S.; but rather just a snapshot in time. RX-1208C
 (Bazelon WS) at Q/As 74-75, 77; CX-0485C.0041 (HPE’s 11th Supp. Rog
 Resps.); JX-0182C (Tewari Dep. Tr.) at 203:17-204:19, 208:2-20; RX-
 1198C (Balay WS) at Q/A 53; RX-1199C (Gielty WS) at Q/A 32; RX-
 1201C (Jou WS) at Q/A 24.


                                          311

                              Appx583
            Confidential
       Case: 22-1957     Material
                   Document:           Redacted
                             18 Page: 390 Filed: 12/06/2022

                                              Public Version
               Moreover, Q3 has not shown that a limited exclusion order would
       not result in the requested relief. Q3 does not manufacture or sell
       products. JX-0170C (Bodepudi) at 57:7-64:20. Nor does Q3 receive a
       reasonable royalty for products under any license for the Asserted Patents.
       Consequently, Q3 has not shown that the sales of any inventory would
       cause any incremental harm to Q3 or cause any economic losses or
       otherwise “undercut the relief provided by the exclusion order.” Thus, Q3
       has shown no need for a cease and desist order in this Investigation.
       Additionally, Q3’s corporate representative admitted that he could not
       identify any harm from Respondents’ continued sales of the accused
       products. JX-0170C (Bodepudi) at 146:12-158:17. This is expected as
       Q3 only has at most three employees (which Q3 disputes, claiming it has
       no employees) and does not manufacture or sell products. JX-0170C
       (Bodepudi) at 15:21-22, 57:7-64:20. Accordingly, a cease and desist order
       should not be issued in this Investigation.

               To the extent the Commission finds that a cease and desist order is
       appropriate, such a remedy should only be directed to the products found
       to be in violation of Section 337. Additionally, the Commission should
       allow a carve-out for imports that are for repairs, replacement, and
       fulfillment of warranties; for design-around and testing; and for
       certification of compliance with any applicable standards. RX-1208C
       (Bazelon WS) at Q/A 71. Each of the Respondents perform these actions
       in the United States. JX-0182C (Tewari Dep. Tr.) at 209:18-210:19; RX-
       1198C (Balay WS) at Q/A 52; RX-1199C (Gielty WS) at Q/A 31; RX-
       1201C (Jou WS) at Q/A 23. These carve outs have been previously
       granted by the Commission and Respondents provide current customers in
       the U.S., with support, maintenance, and/or replacement of products under
       various circumstances. See e.g., Certain Magnetic Data Storage Tapes &
       Cartridges Containing the Same, Inv. No. 337-TA-1012, Comm’n Op. at
       127-128, (Apr. 2, 2018). Accordingly, they are proper in this
       Investigation.

Resps. Br. at 296-99.

       As noted above, complainant argues that CommScope maintains inventory in
            Redacted in Public Version                                            Redacted in Public Version
excess of                                ; HPE maintains inventory in excess of                                ; and

NETGEAR maintains inventory in excess of Redacted in Public Version. Those gross numbers do

not appear to be disputed.




                                                             312

                                                        Appx584
        Case: 22-1957         Document: 18        Page: 391      Filed: 12/06/2022

                              Public Version
       While there is no lower limit on the number of articles a domestic respondent

must have in inventory before the inventory can be found to be commercially significant,

a complainant must nevertheless demonstrate, based on the record, that a cease and desist

order is necessary to address the violation found in the investigation so as not to undercut

the relief provided by the exclusion order. See Certain Magnetic Data Storage Tapes

and Cartridges Containing Same (II), Inv. No. 337-TA-1076, Comm’n Op. at 62-63

(June 20, 2019); Certain Magnetic Tape Cartridges & Components Thereof, Inv. No.

337-TA-1058, Comm’n Op. at 65 (quoting Certain Agricultural Vehicles and

Components Thereof, Inv. No. 337-TA-487, Comm’n Op. at 14 (Sept. 24, 2004)). Under

the proper legal standard, one of respondents’ arguments directly weakens complainant’s

ability to make such a showing in this instance. Respondents argue that the inventory

numbers upon which complainant bases its arguments reflect their entire inventories at a

given time, including an unspecified number of products that are not accused in this

investigation. See Resps. Br. at 297.

       As seen in the quotation above from complainant’s main brief, complainant refers

to the inventories in question as pertaining to “infringing products,” but does not address

the question of whether any of the inventories contain non-accused products and if so to

what extent. When filing its reply brief, complainant had seen respondents’ main brief,

and argued in its reply that respondents admitted that they maintain commercially

significant inventories of accused products in the United States. Yet, in its reply,

complainant did not address the particular issue raised by respondents concerning the

extent to which their inventories include non-accused (and potentially non-infringing)

products. See Compl. Reply Br. at 88.

                                            313

                                         Appx585
         Case: 22-1957         Document: 18        Page: 392      Filed: 12/06/2022

                               Public Version
        In its scant reply on the question of the issuance of cease and desist orders, with

respect to a somewhat different issue raise by respondents (i.e., the “transient nature” of

inventories), complainant argued, “Respondents admit that their U.S. inventory of

Accused Products ‘could be build-up of higher than normal levels of certain products to

meet requested demand. . . .’” Id. (citing RX-1208C (Bazelon WS) at Q/A 75-77). The

administrative law judge has considered that evidence, and whether or not it resolves the

issue of inventories containing accused and non-accused products. It has been

determined that the evidence is not strong enough to determine the mix of potentially

infringing and non-infringing products in respondents’ inventories, and whether

respondents have, or could obtain, inventories of infringing products sufficient to

undercut other relief imposed by the Commission. In fact, some of the testimony relied

upon further weakens complainant’s arguments for the issuance of cease and desist

orders. See, e.g., id. at Q/A 77 (“Consequently, Respondents’ inventory is not indicative

of sales that would substitute for future importation. Rather, for the most part, it is a

reflection of past sales.”).

        Accordingly, the administrative law judge does not recommend the issuance of

cease and desist orders, in the event that violations of section 337 are found in this

investigation.

        C.       Bond

        Pursuant to section 337(j)(3), the administrative law judge and the Commission

must determine the amount of bond to be required of a respondent, during the 60-day

Presidential review period following the issuance of permanent relief, in the event that


                                             314

                                         Appx586
           Confidential
       Case: 22-1957    Material
                  Document:           Redacted
                            18 Page: 393 Filed: 12/06/2022

                                   Public Version
the Commission determines to issue a remedy. The purpose of the bond is to protect the

complainant from any injury. 19 U.S.C. § 1337(j)(3); 19 C.F.R. §§ 210.42(a)(1)(ii),

210.50(a)(3).

       Complainant argues:

               First, calculating the appropriate amount of bond based on price
       differential or a reasonable royalty is impractical or insufficient. See
       Certain Microsphere Adhesives, Process for Making Same, & Prods.
       Containing Same, Including Self-Stick Repositionable Notes
       (“Microsphere Adhesives”), Inv. No. 337-TA-366, Comm’n Op. at 24-25;
       see also CX-0233. The disparate pricing among and within categories of
       Respondents’ Accused Products makes such a formulation difficult for
       U.S. Customs and Border Patrol to administer. See, e.g., CX-0197; CX-
       0198. Under similar conditions, the Commission has set a 100 percent
       bond during the Presidential Review Period. See Microsphere Adhesives,
       at 35-36; see also Certain Digital Multimeters & Prods. with Multimeter
       Functionality (“Digital Multimeters”), Inv. No. 337-TA-588, Comm’n Op.
       at 12-13 (June 3, 2008). Thus, a bond equal to 100 percent of the selling
       price should be entered for Respondents’ infringing products.

                        Moreover, a 100% bond is necessary because Q3 will suffer injury
       if Respondents are permitted to continue to import and sell their infringing
       and unlicensed products during the Presidential Review period at
       Complainant’s expense. The Respondents maintain significant domestic
       inventories of imported Accused Products. See CX-0312 (“With respect
       to the statistical data on the quantity and value of the imports of the
       involved articles, based on the investigation to date, HPE Respondents
                                                                       Redacted in Public Version
       state that they have imported approximately                                       units since January
                                                          Redacted in Public Version
       2019 with an approximate value of                                             ”); CX-0109 (“With
       respect to the statistical data on the quantity and value of imports of the
       involved articles, NETGEAR states that it has imported approximately
       Redacted in Public Version
                                  units since October 2018, with an approximate total value of                 Redacted in Public Ve

       US Redacted in Public Version.”)); see also JX-0026C (CommScope had                              units
                                                                                       Redacted in Public Ve

       of the Accused Products in the United States, with
                                     Redacted in Public Ve
                                                                                            units in           Redacted in Publi

       Louisville, Kentucky;                        units in Carson, California; and                   units
       in Sunnyvale California); JX-0116C; JX-0027C; JX-0174C (Hejnicki Dep.
       115:2-116:7 (confirming CommScope maintains inventory of the accused
       products in the United States in at least Louisville, Kentucky; Carson,
       California; Sunnyvale, California; Seattle, Washington; and Cary, North
       Carolina)); JX-0046C; JX-0168C (Apperley Dep. 51:4-9, 57:6-58:9
       (confirming NETGEAR maintains inventory of the accused products in
       the United States in City of Industry, California)); JX-0089C; CX-0313;

                                                               315

                                                             Appx587
    Case: 22-1957         Document: 18        Page: 394      Filed: 12/06/2022

                          Public Version                                       N



       JX-0182C (Tewari Dep. 195:17-196:3 (confirming HPE maintains
       inventory of the accused products in the United States)).

Compl. Br. at 297-98.

       Respondents argue:

                Q3 requests the imposition of 100% bond. CPHB at 285-286.
       However, Q3 has not shown that a 100% bond is necessary or appropriate
       in this Investigation. Q3 argues that a price differential is not practical in
       this Investigation. Id. Respondents agree, especially given that Q3 does
       not manufacture or sell products. RX-1208C (Bazelon WS) at Q/As 80-
       81; Tr. (Brown) at 279:10-14. Further, Siemens’ products are not
       comparable to Respondents’ products. RX-1208C (Bazelon WS) at Q/A
       81. Indeed, Siemens’ products are designed for industrial applications
       such as oil and gas refineries or machines to manufacture airplanes. JX-
       0180C (Richards Dep. Tr.) at 28:3-31:3; Tr. (Brown) at 280:9-17.

               Moreover, because Q3 does not manufacture or sell products in the
       United States (or at all), Q3 is not suffering any injury. JX-0170C
       (Bodepudi Dep. Tr.) at 57:7-64:20; RX-1208C (Bazelon WS) at Q/A 80.
       Indeed, Q3’s corporate representative testified that he could not identify
       any harm from Respondents’ continued sales of the accused products. JX-
       0170C (Bodepudi Dep. Tr.) at 46:12-158:17. Additionally, Q3 has not
       shown that it competes for any sales of the accused products, and does not
       show that Respondents obtain any advantage from the alleged infringing
       activity. RX-1208C (Bazelon WS) at Q/A 80.

               Q3 also alleges it may be injured by the failure to collect
       reasonable royalties or revenue from Respondents. CPHB at 286-287.
       However, Respondents have not taken a license to the Asserted Patents
       and Q3 is not receiving any reasonable royalties for the Asserted Patents.
       RX-1208C (Bazelon WS) at Q/A 80. Therefore, Q3 cannot be injured by
       the failure to receive royalties. Q3 also argues that Respondents have
       imported large quantities of the “involved” articles, warranting a 100%
       bond and citing to Respondents’ responses to the complaint. CPHB at
       287. However, these numbers are misleading, and identify imports of
       non-accused products. Compare Compl. Ex. 23 (Doc ID. 720175) with
       CX-3846C (Madisetti WS) at Q/As 52, 109, 171, 291, 391, 429, 542, 595,
       618. The fact that Respondents import products does not result in injury
       to Q3. RX-1208C (Bazelon WS) at Q/A 80.

               Q3 also argues for a 100% bond because (i) there are a wide
       variety of accused products and (ii) there is insufficient evidence to
       determine what royalty rate would be reasonable for all patents and all
       products. CPHB at 287. Neither of these arguments justify a 100% bond.
                                            316

                                     Appx588
           Case: 22-1957     Document: 18         Page: 395      Filed: 12/06/2022

                             Public Version
       It is Q3’s burden to establish the necessity for a reasonable bond.
       Conclusory arguments that it would be difficult to determine a price
       differential or a royalty rate does not justify the request for 100% bond.
       Moreover, Q3’s is in the business of monetizing patents, and thus, it is
       impractical that Q3 would not be able to identify a royalty rate for the
       Asserted Patents. RX-1208C (Bazelon WS) at Q/A 82; Tr. (Brown) at
       278:25-279:8. Because Q3 has failed to meet its burden, no bond should
       issue in this Investigation. RX-1208C (Bazelon WS) at Q/As 79-83.
       Alternatively, a nominal bond should issue. Id. at Q/A 83.

Resps. Br. at 299-300.

       When reliable price information is available, the Commission has often set bond

by eliminating the differential between the domestic product and the imported, infringing

product. Certain Microsphere Adhesives, Processes for Making Same, and Products

Containing Same, Including Self-Stick Repositionable Notes, Inv. No. 337-TA-366,

Comm’n Op. at 24 (1995). In other cases, the Commission has turned to alternative

approaches, especially when the level of a reasonable royalty rate could be ascertained.

Certain Integrated Circuit Telecommunication Chips and Products Containing Same,

Including Dialing Apparatus, Inv. No. 337-TA-337, Comm’n Op. at 41 (1995). A 100

percent bond has been required when no effective alternative existed. Certain Flash

Memory Circuits and Products Containing Same, Inv. No. 337-TA-382, USITC Pub. No.

3046, Comm’n Op. at 26-27 (July 1997) (a 100% bond imposed when price comparison

was not practical because the parties sold products at different levels of commerce, and

the proposed royalty rate appeared to be de minimis and without adequate support in the

record).

       In this investigation, there is no dispute that complainant is in the business of

determining the value of patents. Furthermore, its domestic industry case relies on the

investments of SII. Thus, complainant could have offered evidence concerning the

                                            317

                                        Appx589
       Case: 22-1957        Document: 18         Page: 396      Filed: 12/06/2022

                             Public Version
appropriate royalty rate or other bond for the accused products. Under these

circumstances, the administrative law judge agrees with respondents that no bond

requirement should issue in this investigation. See Certain Magnetic Tape Cartridges

and Components Thereof, Inv. No. 337-TA-1058, Comm’n Op. at 73-74 (imposing no

bond upon failure to show bond is warranted).


XI.    Order

       To expedite service of the public version of this document, the parties shall file a

joint proposed public version, on the date and in the manner required by Order No. 29.




                                                 David P. Shaw
                                                 Administrative Law Judge

Issued: December 7, 2021




                                           318

                                       Appx590
          Case: 22-1957      Document: 18     Page: 397    Filed: 12/06/2022

                             Public Version

CERTAIN ROUTERS, ACCESS POINTS, CONTROLLERS,                       Inv. No. 337-TA-1227
NETWORK MANAGEMENT DEVICES, OTHER
NETWORKING PRODUCTS, AND HARDWARE AND
SOFTWARE COMPONENTS THEREOF


                   CONFIDENTIAL CERTIFICATE OF SERVICE

       I, Lisa R. Barton, hereby certify that the attached INITIAL DETERMINATION has
been served upon the following parties as indicated, on December 7, 2021.




                                               Lisa R. Barton, Secretary
                                               U.S. International Trade Commission
                                               500 E Street, SW, Room 112
                                               Washington, DC 20436

On Behalf of Complainant Q3 Networking LLC:

Johnathan J. Engler, Esq.                                   ‫ ܆‬Via Hand Delivery
ADDUCI, MASTRIANI & SCHAUMBERG, LLP                         ‫ ܆‬Via Express Delivery
1133 Connecticut Avenue, N.W., 12th Floor                   ‫ ܆‬Via First Class Mail
Washington, DC 20036
                                                            ‫ ܈‬Other: Email Notification
Email: engler@adduci.com
                                                            of Availability for Download

On Behalf of Respondents CommScope Holding Company,
Inc., CommScope, Inc., Arris US Holdings, Inc. Ruckus
Wireless, Inc., Hewlett Packard Enterprise Co., Aruba
Networks, LLC, and Netgear, Inc.:

Eric S. Namrow, Esq.                                        ‫ ܆‬Via Hand Delivery
MORGAN, LEWIS & BOCKIUS LLP                                 ‫ ܆‬Via Express Delivery
1111 Pennsylvania Ave, N.W.                                 ‫ ܆‬Via First Class Mail
Washington, D.C. 20004-2541
                                                            ‫ ܈‬Other: Email Notification
Email: eric.namrow@morganlewis.com
                                                            of Availability for Download




                                      Appx591
Case: 22-1957   Document: 18   Page: 398   Filed: 12/06/2022




                        Appx592
Case: 22-1957   Document: 18   Page: 399   Filed: 12/06/2022




                        Appx593
Case: 22-1957   Document: 18   Page: 400   Filed: 12/06/2022




                        Appx594
Case: 22-1957   Document: 18   Page: 401   Filed: 12/06/2022




                        Appx595
Case: 22-1957   Document: 18   Page: 402   Filed: 12/06/2022




                        Appx596
Case: 22-1957   Document: 18   Page: 403   Filed: 12/06/2022




                        Appx597
Case: 22-1957   Document: 18   Page: 404   Filed: 12/06/2022




                        Appx598
Case: 22-1957   Document: 18   Page: 405   Filed: 12/06/2022




                        Appx599
Case: 22-1957   Document: 18   Page: 406   Filed: 12/06/2022




                        Appx600
Case: 22-1957   Document: 18   Page: 407   Filed: 12/06/2022




                        Appx601
Case: 22-1957   Document: 18   Page: 408   Filed: 12/06/2022




                        Appx602
Case: 22-1957   Document: 18   Page: 409   Filed: 12/06/2022




                        Appx603
Case: 22-1957   Document: 18   Page: 410   Filed: 12/06/2022




                        Appx604
Case: 22-1957   Document: 18   Page: 411   Filed: 12/06/2022




                        Appx605
Case: 22-1957   Document: 18   Page: 412   Filed: 12/06/2022




                        Appx606
Case: 22-1957   Document: 18   Page: 413   Filed: 12/06/2022




                        Appx607
Case: 22-1957   Document: 18   Page: 414   Filed: 12/06/2022




                        Appx608
Case: 22-1957   Document: 18   Page: 415   Filed: 12/06/2022




                        Appx609
Case: 22-1957   Document: 18   Page: 416   Filed: 12/06/2022




                        Appx610
Case: 22-1957   Document: 18   Page: 417   Filed: 12/06/2022




                        Appx611
Case: 22-1957   Document: 18   Page: 418   Filed: 12/06/2022




                        Appx612
Case: 22-1957   Document: 18   Page: 419   Filed: 12/06/2022




                        Appx613
Case: 22-1957   Document: 18   Page: 420   Filed: 12/06/2022




                        Appx614
Case: 22-1957   Document: 18   Page: 421   Filed: 12/06/2022




                        Appx615
Case: 22-1957   Document: 18   Page: 422   Filed: 12/06/2022




                        Appx616
Case: 22-1957   Document: 18   Page: 423   Filed: 12/06/2022




                        Appx617
             Case: 22-1957         Document: 18     Page: 424   Filed: 12/06/2022



FORM 30. Certificate of Service                                                          Form 30
                                                                                        July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF SERVICE

           Case Number 2022-1957
    Short Case Caption Q3 Networking LLC v. ITC


 NOTE: Proof of service is only required when the rules specify that service must
 be accomplished outside the court’s electronic filing system. See Fed. R. App. P.
 25(d); Fed. Cir. R. 25(e). Attach additional pages as needed.

I certify that I served a copy of the foregoing filing on 12/06/2022

by               U.S. Mail            Hand Delivery       ✔ Email           Facsimile
                 Other:

on the below individuals at the following locations.

        Person Served                  Service Location (Address, Facsimile, Email)
Julie S. Goldemberg                julie.goldemberg@morganlewis.com
Morgan, Lewis & Bockius LLP

Dion M. Bregman                    dion.bregman@morganlewis.com
Morgan, Lewis & Bockius LLP

Michael J. Lyons                   michael.lyons@morganlewis.com
Morgan, Lewis & Bockius LLP

Jason E. Gettleman                 jason.gettleman@morganlewis.com
Morgan, Lewis & Bockius LLP

Andrew V. Devkar                   andrew.devkar@morganlewis.com
Morgan, Lewis & Bockius LLP

✔       Additional pages attached.
  Date: _________________
        12/06/2022                           Signature:   /s/ Patrick Conroy

                                             Name:         Patrick Conroy




                                        Save for Filing
       Case: 22-1957   Document: 18   Page: 425   Filed: 12/06/2022




         CERTIFICATE OF SERVICE – ADDITIONAL PAGE



       Person Served          Service Location (Address, Facsimile, Email)

Eric S. Namrow                eric.namrow@morganlewis.com
Morgan, Lewis & Bockius LLP
Stephanie L. Roberts          stephanie.roberts@morganlewis.com
Morgan, Lewis & Bockius LLP
Michael Liberman              michael.liberman@usitc.gov
U.S. International Trade
Commission
Wayne W. Herrington           wayne.herrington@usitc.gov
U.S. International Trade
Commission
Sidney A. Rosenzweig          Sidney.rosenzweig@usitc.gov
U.S. International Trade
Commission
             Case: 22-1957         Document: 18        Page: 426       Filed: 12/06/2022



FORM 19. Certificate of Compliance with Type-Volume Limitations                             Form 19
                                                                                           July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2022-1957

  Short Case Caption: Q3 Networking LLC v. ITC

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

        ✔       the filing has been prepared using a proportionally-spaced typeface
                and includes __________
                               13,907    words.

                the filing has been prepared using a monospaced typeface and includes
                __________ lines of text.

                the filing contains __________ pages / __________ words / __________
                lines of text, which does not exceed the maximum authorized by this
                court’s order (ECF No. __________).


        12/06/2022
  Date: _________________                       Signature:        /s/ Patrick J. Conroy

                                                Name:             Patrick J. Conroy




                                             Save for Filing
              Case: 22-1957         Document: 18          Page: 427    Filed: 12/06/2022



FORM 31. Certificate of Confidential Material                                               Form 31
                                                                                           July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                    CERTIFICATE OF CONFIDENTIAL MATERIAL

             Case Number: 2022-1957

  Short Case Caption: Q3 Networking LLC v. ITC

 Instructions: When computing a confidential word count, Fed. Cir. R.
 25.1(d)(1)(C) applies the following exclusions:

     x   Only count each unique word or number once (repeated uses of the same
         word do not count more than once).

     x   For a responsive filing, do not count words marked confidential for the first
         time in the preceding filing.

 The limitations of Fed. Cir. R. 25.1(d)(1) do not apply to appendices; attachments;
 exhibits; and addenda. See Fed. Cir. R. 25.1(d)(1)(D).


The foregoing document contains ____________ number of unique words (including
numbers) marked confidential.

                 This number does not exceed the maximum of 15 words permitted by
                 Fed. Cir. R. 25.1(d)(1)(A).

                 This number does not exceed the maximum of 50 words permitted by
                 Fed. Cir. R. 25.1(d)(1)(B) for cases under 19 U.S.C. § 1516a or 28
                 U.S.C. § 1491(b).

         ✔       This number exceeds the maximum permitted by Federal Circuit Rule
                 25.1(d)(1), and the filing is accompanied by a motion to waive the
                 confidentiality requirements.
        12/06/2022
  Date: _________________                          Signature:     /s/ Patrick J. Conroy

                                                   Name:          Patrick J. Conroy




                                                Save for Filing
